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              21-2763                   To Be Argued By:
                                   ELENA LALLI CORONADO

    United States Court of Appeals
           FOR THE SECOND CIRCUIT

                  Docket No. 21-2763
                        _____
            UNITED STATES OF AMERICA,
                                   Appellee,
                            -vs-

       AZIKIWE AQUART, aka ZEE, NATHANIEL
       GRANT, aka CORRECTIONAL OFFICER
       STONE, EFRAIN JOHNSON,
                                  Defendants,
      (For continuation of caption, see inside cover)
                          _____
     ON APPEAL FROM THE UNITED STATES DISTRICT
      COURT FOR THE DISTRICT OF CONNECTICUT

     GOVERNMENT APPENDIX VOLUME I (Pages 1 to 132)

                         VANESSA ROBERTS AVERY
                         United States Attorney
                         District of Connecticut
                         157 Church Street, 25th Floor
                         New Haven, Connecticut 06510
                         (203) 821-3700
    ELENA LALLI CORONADO
    TARA E. LEVENS (of counsel)
    Assistant United States Attorneys
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    AZIBO AQUART, aka D., aka Dreddy, aka
    Jumbo, aka Azibo Smith, aka Azibo Siwatu
    Jahi Smith,
                              Defendant-Appellant.
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                                                                                  APPEAL,CLOSED,EFILE

                                 U.S. District Court
                       District of Connecticut (New Haven)
           CRIMINAL DOCKET FOR CASE #: 3:06-cr-00160-SRU All Defendants


Case title: USA v. Aquart et al                                  Date Filed: 06/06/2006

Magistrate judge case numbers: 3:06-mj-00117-HBF                 Date Terminated: 07/08/2013
                               3:06-mj-00119-HBF


Assigned to: Judge Stefan R. Underhill

Defendant (1)
Azikiwe Aquart                                   represented by Beverly Van Ness
TERMINATED: 12/14/2011                                          74 Trinity Place, 11th Floor
also known as                                                   New York, NY 10006
Zee                                                             917-456-6918
TERMINATED: 12/14/2011                                          Email: bvanness.law@gmail.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: CJA Appointment

                                                                 Colleen Quinn Brady
                                                                 99 Hudson Street, 8th Floor
                                                                 New York, NY 10013
                                                                 212-431-1354
                                                                 Email: sequinbrady@netzero.com
                                                                 LEAD ATTORNEY
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: CJA Appointment

                                                                 David Stern
                                                                 Rothman, Schneider, Soloway & Stern LLP
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                                                                 New York, NY 10013
                                                                 212-571-5500
                                                                 Fax: 212-571-5507
                                                                 Email: dstern@rssslaw.com
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                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: CJA Appointment

                                                                 Jeremiah F. Donovan
                                                                 Jeremiah Donovan
                                                                 Attorney at Law
                                                   GA1
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                                                           P.O. Box 554
                                                           Old Saybrook, CT 06475
                                                           860-388-3750
                                                           Fax: 860-388-3181
                                                           Email: jeremiah_donovan@sbcglobal.net
                                                           TERMINATED: 12/01/2008
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment

                                                           Robert J. Sullivan , Jr.
                                                           Law Offices of Robert Sullivan
                                                           2220 Park Avenue
                                                           Bridgeport, CT 06604
                                                           203-227-1404
                                                           Fax: 203-226-6403
                                                           Email: rsullivan@sullivanfirm.net
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment

Pending Counts                                             Disposition
CONTROLLED SUBSTANCE - SELL,
DISTRIBUTE, OR DISPENSE -
(Possession with intent to distribute cocaine              Dismissed on Government motion.
base"crack")
(2s)
                                                           The defendant is sentenced to Life
                                                           imprisonment on Count Two, Life
                                                           imprisonment on Count Three and Life
MURDER, FIRST DEGREE and 18:2                              imprisonment on Count Four; a special
(2sssss-4sssss)                                            assessment of $300.00 to be paid
                                                           immediately; a Fine of $25,000.00 on Count
                                                           Two, Fine of $25,000.00 on Count Three
                                                           and a Fine of $25,000.00 on Count Four

Highest Offense Level (Opening)
   ------------        - ---
Felony

Terminated Counts                                          Disposition
CONSPIRACY TO DISTRIBUTE
NARCOTICS                                                  Dismissed on Government motion.
(1)
CONSPIRACY TO DISTRIBUTE
NARCOTICS -(Conspiracy to possess with
intent to distribute more than fifty grams of              Dismissed on Government motion.
cocaine base)
(1s)
MURDER, FIRST DEGREE; (VCAR                                Dismissed on Government motion.
Conspiracy to Commit Murder)

                                                GA2
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(1ss)
ATTEMPT/CONSPIRE TO
MAIM/ASSAULT(Conspiracy to Murder in
                                                          Dismissed on Government motion.
Aid of Racketeering)
(1sss)
Conspiracy to Murder in Aid of
Racketeering                                              Dismissed on Government motion.
(1ssss)
ATTEMPT/CONSPIRE TO
MAIM/ASSAULT                                              Dismissed on Government motion.
(1sssss)
MURDER, FIRST DEGREE; (VCAR
Murder); and 18:2 (Aiding & Abetting)                     Dismissed on Government motion.
(2ss-4ss)
MURDER, FIRST DEGREE(Murder in Aid
of Racketeering)                                          Dismissed on Government motion.
(2sss-4sss)
MURDER, FIRST DEGREE
                                                          Dismissed on Government motion.
(2ssss-4ssss)
CONTROLLED SUBSTANCE - SELL,
DISTRIBUTE, OR DISPENSE;
(Conspiracy to Possess with Intent to
Distribute and Distribution of 50 Grams or                Dismissed on Government motion.
More of a Detectable Quantity of Cocaine
Base
(5ss)
CONTINUING CRIMINAL
ENTERPRISE(Drug-Related Murder)                           Dismissed on Government motion.
(5sss-7sss)
CONTINUING CRIMINAL ENTERPRISE
                                                          Dismissed on Government motion.
(5ssss-7ssss)
CONTINUING CRIMINAL ENTERPRISE
and 18:2                                                  Dismissed on Government motion.
(5sssss-7sssss)
CONTROLLED SUBSTANCE - SELL,
DISTRIBUTE, OR DISPENSE; (Possession
with Intent to Distribute a Mixture and
                                                          Dismissed on Government motion.
Substance Containing a Detectable Quantity
of Cocaine Base
(6ss)
CONSPIRACY TO DISTRIBUTE
CONTROLLED SUBSTANCE(Conspiracy
to Possess with Intent to Distribute 50                   Dismissed on Government motion.
Grams or More of Cocaine Base)
(8sss)
Conspiracy to Possess with Intent to
Distribute 50 Grams or More of Cocaine
                                                          Dismissed on Government motion.
Base
(8ssss)
                                               GA3
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CONSPIRACY TO DISTRIBUTE                                     Dismissed on Government motion.
CONTROLLED SUBSTANCE
(8sssss)
CONTROLLED SUBSTANCE - SELL,
DISTRIBUTE, OR DISPENSE(Possession
                                                             Dismissed on Government motion.
with Intent to Distribute Cocaine Base)
(9sss)
Possession with Intent to Distribute Cocaine
Base                                                         Dismissed on Government motion.
(9ssss)
CONTROLLED SUBSTANCE - SELL,
DISTRIBUTE, OR DISPENSE                                      Dismissed on Government motion.
(9sssss)

Highest Offense Level (Terminated)
Felony

Complaints                                                   Disposition
21:841A=CD.F and 846


Assigned to: Judge Janet Bond Arterton

Defendant (2)
Nathaniel Grant                                represented by Dan E. LaBelle
TERMINATED: 03/16/2012                                        Halloran & Sage
also known as                                                 315 Post Rd. West
Correctional Officer Stone                                    Westport, CT 06880
TERMINATED: 03/16/2012                                        203-227-2855
                                                              Email: labelle@halloran-sage.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: CJA Appointment

Pending Counts                                               Disposition
None

Highest Offense Level (Opening)
   ------------        - ---
None

Terminated Counts                                            Disposition
CONSPIRACY TO DISTRIBUTE
NARCOTICS                                                    Dismissed by USA
(1)

Highest Offense Level (Terminated)
Felony

                                                GA4
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Complaints                                                  Disposition
Conspire to Possess With Intent to
Distribute Cocaine Base ("Crack")


Assigned to: Judge Janet Bond Arterton

Defendant (3)
Azibo Aquart                                  represented by Beverly Van Ness
TERMINATED: 12/18/2012                                       The Woolworth Bldg.
also known as                                                233 Broadway, Suite 2704
D.                                                           New York, NY 10279
TERMINATED: 12/18/2012                                       212-274-0402
also known as                                                Email: bvanness.law@gmail.com
Dreddy                                                       TERMINATED: 09/18/2020
TERMINATED: 12/18/2012                                       LEAD ATTORNEY
also known as                                                ATTORNEY TO BE NOTICED
Jumbo                                                        Designation: Retained
TERMINATED: 12/18/2012
also known as                                               David A. Moraghan
Azibo Smith                                                 Smith, Keefe, Moraghan & Waterfall, LLC
TERMINATED: 12/18/2012                                      P.O. Box 1146
also known as                                               257 Main St., 2nd Floor
Azibo Siwatu Jahi Smith                                     Torrington, CT 06790
TERMINATED: 12/18/2012                                      860-482-7651
                                                            Fax: 860-482-7845
                                                            Email: dam@skmwlaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: CJA Appointment

                                                            Justin T. Smith
                                                            Duffy Law, LLC
                                                            129 Church Street
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                                                            06510
                                                            New Haven, CT 06510
                                                            203-946-2000
                                                            Fax: 203-907-1383
                                                            Email: justin@duffylawct.com
                                                            TERMINATED: 07/21/2020
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: CJA Appointment

                                                            Marc Bookman
                                                            Atlantic Center for Capital Representation
                                                            1315 Walnut Street
                                                            Suite 905
                                                            Philadelphia, PA 19107
                                                            215-732-2227
                                                            Email: marcbookman12@gmail.com
                                               GA5
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                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Michael O. Sheehan
                                                         Sheehan & Reeve
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                                                         New Haven, CT 06511
                                                         203-787-9026
                                                         Fax: 203-787-9031
                                                         Email: msheehan@sheehanandreeve.com
                                                         TERMINATED: 07/16/2020
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: CJA Appointment

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                                                         Indiana Federal Community Defender
                                                         111 Monument Circle
                                                         Suite 3200
                                                         Indianapolis, IN 46204
                                                         317-383-3520
                                                         Email: monica_foster@fd.org
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Sean Joseph Bolser
                                                         Federal Capital Appellate Resourse Counsel
                                                         Project
                                                         Federal Defenders of NY
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                                                         Brooklyn, NY 11201
                                                         718-330-1200
                                                         Fax: 718-855-0760
                                                         Email: sean_bolser@fd.org
                                                         TERMINATED: 09/18/2020
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Public Defender

Pending Counts                                           Disposition
Conspiracy to Murder in Aid of                           Defendant is hereby sentenced on Count
Racketeering                                             One, the defendant Azibo Aquart is
(1sss)                                                   sentenced to a term of imprisonment of ten
                                                         years with three years of supervised
                                                         release.All sentences imposed on Counts 1
                                                         through 8 are to run consecutively to each
                                                         other. AMENDED JUDGMENT: The
                                                         defendant shall pay to the United States a
                                                         special assessment of $100.00 on each of
                                                         Counts One through Eight, for a total of
                                                         $800, which shall be made to the Clerk of
                                                         Court from defendants earnings under the
                                                         Bureau of Prisons Inmate Financial
                                              GA6
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                                                         Responsibility Program. Title 18, United
                                                         States Code, Section 3013(a).
                                                         JUDGMENT FOLLOWING REMAND: As
                                                         to Count 1 of the Fourth Superseding
                                                         Indictment, the Defendant is ordered
                                                         committed to custody of the Attorney
                                                         General of the United States to be
                                                         imprisoned for a period of 10 years;
                                                         supervised release for a term of 3 years;
                                                         special assessment in the amount of $100
                                                         shall be paid immediately. All sentences of
                                                         imprisonment and supervised release are to
                                                         run concurrently.
                                                         Pursuant to Title 18, United States Code,
                                                         Sections 3591-3597 and in accordance with
                                                         the Special Verdict Form (Penalty Phase)
                                                         dated June 15, 2011, it is hereby
                                                         ORDERED that the death penalty be
                                                         imposed on defendant Azibo Aquart on
                                                         each of Counts Two and Four.
                                                         JUDGMENT FOLLOWING REMAND: As
MURDER, FIRST DEGREE                                     to Counts 2-4 of the Fourth Superseding
(2sss-4sss)                                              Indictment, the Defendant is ordered
                                                         committed to custody of the Attorney
                                                         General of the United States to be
                                                         imprisoned for life; supervised release for a
                                                         term of 5 years; special assessment in the
                                                         amount of $100 as to each count shall be
                                                         paid immediately. All sentences of
                                                         imprisonment and supervised release are to
                                                         run concurrently.
                                                         Pursuant to Title 18, United States Code,
                                                         Sections 3591-3597, and Title 21, United
                                                         States Code, Section 848(n)(9)(1996), and
                                                         in accordance with the Special Verdict Form
                                                         (Penalty Phase) dated June 15, 2011, it is
                                                         hereby ORDERED that the death penalty be
                                                         imposed on defendant Azibo Aquart on
                                                         each of Counts Five and Seven.
                                                         JUDGMENT FOLLOWING REMAND: As
CONTINUING CRIMINAL ENTERPRISE
                                                         to Counts 5-7 of the Fourth Superseding
(5sss-7sss)
                                                         Indictment, the Defendant is ordered
                                                         committed to custody of the Attorney
                                                         General of the United States to be
                                                         imprisoned for a period of 40 years;
                                                         supervised release for a term of 5 years;
                                                         special assessment in the amount of $100 as
                                                         to each count shall be paid immediately. All
                                                         sentences of imprisonment and supervised
                                                         release are to run concurrently.
Conspiracy to Possess with Intent to                     On Count Eight, the defendant Azibo
Distribute 50 Grams or More of Cocaine                   Aquart is sentenced to a term of life
                                                         imprisonment and supervised release for
                                             GA7
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Base                                                       life.
(8sss)                                                     JUDGMENT FOLLOWING REMAND: As
                                                           to Count 8 of the Fourth Superseding
                                                           Indictment, the Defendant is ordered
                                                           committed to custody of the Attorney
                                                           General of the United States to be
                                                           imprisoned for a period of 40 years;
                                                           supervised release for a term of 5 years;
                                                           special assessment in the amount of $100
                                                           shall be paid immediately. All sentences of
                                                           imprisonment and supervised release are to
                                                           run concurrently.

Highest Offense Level (Opening)
   ------------        - ---
Felony

Terminated Counts                                          Disposition
CONSPIRACY TO DISTRIBUTE
NARCOTICS -(Conspiracy to possess with
intent to distribute more than fifty grams of              Dismiss by USA
cocaine base)
(1)
MURDER, FIRST DEGREE; (VCAR
Conspiracy to Commit Murder)                               Dismiss by USA
(1s)
ATTEMPT/CONSPIRE TO
MAIM/ASSAULT(Conspiracy to Murder in
                                                           Dismiss by USA
Aid of Racketeering)
(1ss)
MURDER, FIRST DEGREE; (VCAR
Murder); and 18:2 (Aiding & Abetting)                      Dismissed by USA
(2s-4s)
MURDER, FIRST DEGREE(Murder in Aid
of Racketeering)                                           Dismissed by USA
(2ss-4ss)
UNLAWFUL TRANSPORT OF
                                                           On Count Three, the defendant Azibo
FIREARMS, ETC. - (Possession of firearms
                                                           Aquart is sentenced to a term of life
and ammunition by a convicted felon)
                                                           imprisonment.
(3)
CONTROLLED SUBSTANCE - SELL,
DISTRIBUTE, OR DISPENSE;
(Conspiracy to Possess with Intent to
Distribute and Distribution of 50 Grams or                 Dismissed by USA
More of a Detectable Quantity of Cocaine
Base
(5s)
CONTINUING CRIMINAL
ENTERPRISE(Drug-Related Murder)                            Dismissed by USA
(5ss-7ss)

                                                GA8
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UNLAWFUL TRANSPORT OF                                      Dismissed by USA
FIREARMS, ETC.; and 924(e)(1);
(Possession of a Firearm by a Convicted
Felon)
(7s)
CONSPIRACY TO DISTRIBUTE
CONTROLLED SUBSTANCE(Conspiracy
to Possess with Intent to Distribute 50                    Dismissed by USA
Grams or More of Cocaine Base)
(8ss)
UNLAWFUL TRANSPORT OF
FIREARMS, ETC.(Possession of a Firearm
                                                           Dismissed by USA
by a Convicted Felon)
(10ss)
Possession of a Firearm by a Convicted
Felon                                                      Dismissed by USA
(10sss)

Highest Offense Level (Terminated)
Felony

Complaints                                                 Disposition
None

Assigned to: Judge Janet Bond Arterton

Defendant (4)
Efrain Johnson                               represented by David P. Hoose
TERMINATED: 07/08/2013                                      Sasson, Turnbull & Hoose - Northhampton
                                                            100 Main Street, 3rd Floor
                                                            Northampton, MA 01060
                                                            413-586-4800
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                                                            Email: dhoose@strhlaw.com
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                                                           Todd Allen Bussert
                                                           Frost Bussert LLC
                                                           350 Orange Street, Suite 100
                                                           New Haven, CT 06511
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                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment


                                              GA9
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Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
   ------------        - ---
None

Terminated Counts                                          Disposition
MURDER, FIRST DEGREE; (VCAR
Conspiracy to Commit Murder)                               Dismissed with Superseding Indictment
(1)
ATTEMPT/CONSPIRE TO
MAIM/ASSAULT(Conspiracy to Murder in
                                                           Dismissed with Superseding Indictment
Aid of Racketeering)
(1s)
Conspiracy to Murder in Aid of
Racketeering                                               Dismissed with Superseding Indictment
(1ss)
ATTEMPT/CONSPIRE TO
MAIM/ASSAULT
(1sss)
MURDER, FIRST DEGREE; (VCAR
Murder); and 18:2 (Aiding & Abetting)                      Dismissed with Superseding Indictment
(2-4)
MURDER, FIRST DEGREE(Murder in Aid
of Racketeering)                                           Dismissed with Superseding Indictment
(2s-4s)
MURDER, FIRST DEGREE
                                                           Dismissed with Superseding Indictment
(2ss-4ss)
MURDER, FIRST DEGREE and 18:2
(2sss-4sss)

Highest Offense Level (Terminated)
Felony

Complaints                                                 Disposition
None



Plaintiff
USA                                         represented by Alina Reynolds
                                                           U.S. Attorney's Office-BPT
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                                                           203-696-3000
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                                                           TERMINATED: 09/18/2020
                                            GA10
Case 21-2763, Document 67, 07/29/2022, 3356837, Page14 of 135

                                        LEAD ATTORNEY
                                        ATTORNEY TO BE NOTICED

                                        David B. Fein
                                        TERMINATED: 05/14/2013
                                        LEAD ATTORNEY
                                        ATTORNEY TO BE NOTICED

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                                        1000 Lafayette Blvd.
                                        Ste 10th Floor
                                        Bridgeport, CT 06604
                                        203-696-3027
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                                        ATTORNEY TO BE NOTICED

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                                        203-821-3700
                                        Email: Gordon.Hall@usdoj.gov
                                        TERMINATED: 09/18/2020
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                                        ATTORNEY TO BE NOTICED

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                                        U.S. Attorney's Office-BPT
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                                        ATTORNEY TO BE NOTICED

                                        James I. Glasser
                                        Wiggin & Dana-NH
                                        265 Church Street P.O. Box 1832
                                        New Haven, CT 06508-1832
                                        203-498-4313
                                        Email: jglasser@wiggin.com
                                        TERMINATED: 09/24/2007
                                        LEAD ATTORNEY
                                        ATTORNEY TO BE NOTICED

                                        John H. Durham
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                                        PO Box 1824
                                        New Haven, CT 06510
                                        203-821-3700
                           GA11
              Case 21-2763, Document 67, 07/29/2022, 3356837, Page15 of 135

                                                            Email: john.durham@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Julie B. Mosley
                                                            U.S. Dept. of Justice-Crim Div.
                                                            Organ.Crime
                                                            Criminal Division
                                                            Organized Crime and Gang Section
                                                            1301 New York Ave., N.W.
                                                            Washington, DC 20005
                                                            202-305-4575
                                                            Fax: 202-514-3601
                                                            Email: Julie.Mosley@usdoj.gov
                                                            TERMINATED: 09/18/2020
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Patrick F. Caruso
                                                            U.S. Attorney's Office-NH
                                                            157 Church St., 23rd floor
                                                            New Haven, CT 06510
                                                            203-821-3791
                                                            Fax: 203-773-5373
                                                            Email: patrick.caruso@usdoj.gov
                                                            TERMINATED: 09/18/2020
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Peter D. Markle
                                                            U.S. Attorney's Office-NH
                                                            157 Church St., 23rd floor
                                                            New Haven, CT 06510
                                                            203-821-3700
                                                            Email: Peter.Markle@usdoj.gov
                                                            TERMINATED: 12/15/2021
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Tracy Lee Dayton
                                                            Levine Lee LLP
                                                            650 Fifth Avenue, 13th Floor
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                                                            Fax: 212-223-4425
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                                                            TERMINATED: 03/30/2017
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Date Filed    #      Docket Text
05/24/2006        1 SEALED COMPLAINT as to Azikiwe Aquart (1). (Attachments: # 1 Affidavit) (S-
             I -I   Barrille, J.) [3:06-mj-00117-HBF] (Entered: 05/31/2006)
                                               GA12
                                                                               -                  I
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05/24/2006       Arrest of Azikiwe Aquart (S-Barrille, J.) [3:06-mj-00117-HBF] (Entered: 05/31/2006)
05/24/2006    3 Minute Entry for proceedings held before Judge Holly B. Fitzsimmons :Initial
                Appearance as to Azikiwe Aquart held on 5/24/2006 Detention Hearing set for
                5/26/2006 12:00 AM before Judge Holly B. Fitzsimmons. Probable Cause Hearing set
                for 6/8/2008 12:00 PM before Judge Holly B. Fitzsimmons. Government's oral motion
                to unseal complaint - GRANTED. Defendant detained. Total 20 minutes.(Court
                Reporter Fazekas.) (S-Barrille, J.) [3:06-mj-00117-HBF] (Entered: 05/31/2006)
05/24/2006       Case unsealed as to Azikiwe Aquart (S-Barrille, J.) [3:06-mj-00117-HBF] (Entered:
                 05/31/2006)
05/24/2006    4 TEMPORARY ORDER OF DETENTION as to Azikiwe Aquart. Signed by Judge
                Holly B. Fitzsimmons on 5/24/06. Detention Hearing set for 5/26/2006 12:00 PM before
                Judge Holly B. Fitzsimmons. (Barrille, J.) [3:06-mj-00117-HBF] (Entered: 05/31/2006)
05/24/2006       Attorney update in case as to Azikiwe Aquart. Attorney Robert J. Sullivan, Jr for
                 Azikiwe Aquart added. (Barrille, J.) [3:06-mj-00117-HBF] (Entered: 05/31/2006)
05/26/2006    1 COMPLAINT Signed by Judge Holly B. Fitzsimmons as to Nathaniel Grant (1).
                (Attachments: # 1 Affidavit) (S-Larsen, M.) [3:06-mj-00119-HBF] (Entered:
                06/01/2006)
05/26/2006    2 Minute Entry for proceedings held before Mag. Judge William I. Garfinkel : Initial
                Appearance as to Nathaniel Grant held on 5/26/2006. Defendant detained. Detention
                Hearing set for 5/31/2006 12:00 PM before Mag. Judge William I. Garfinkel.
                Preliminary Hearing set for 6/7/06 10:00 AM before Mag. Judge William I. Garfinkel.
                Govt.'s oral motion to unseal criminal complaint granted. 10 minutes(Court Reporter
                Corriette.) (S-Larsen, M.) Modified on 6/2/2006 (Larsen, M.). [3:06-mj-00119-HBF]
                (Entered: 06/01/2006)
05/26/2006       Arrest of Nathaniel Grant (Larsen, M.) [3:06-mj-00119-HBF] (Entered: 06/01/2006)
05/26/2006    3 MOTION for Pretrial Detention by USA as to Nathaniel Grant. (Larsen, M.) [3:06-mj-
                00119-HBF] (Entered: 06/02/2006)
05/26/2006    4 ORDER OF TEMPORARY DETENTION as to Nathaniel Grant. Signed by Judge
                William I. Garfinkel on 5/26/06. Detention Hearing set for 5/31/2006 12:00 PM before
                Mag. Judge William I. Garfinkel. (Larsen, M.) Modified on 6/2/2006 (Larsen, M.).
                [3:06-mj-00119-HBF] (Entered: 06/02/2006)
05/26/2006       Case unsealed as to Nathaniel Grant (Larsen, M.) [3:06-mj-00119-HBF] (Entered:
                 06/02/2006)
05/26/2006    7 CJA 20 as to Nathaniel Grant: Appointment of Attorney Dan E. LaBelle for Nathaniel
                Grant. Signed by Clerk on 6/5/06. (Barrille, J.) [3:06-mj-00119-HBF] (Entered:
                06/05/2006)
06/01/2006    5 Minute Entry for proceedings held before Judge William I. Garfinkel :Detention
                Hearing as to Nathaniel Grant held on 6/1/2006. Defendant detained. 5 minutes(Court
                Reporter Corriette.) (Larsen, M.) [3:06-mj-00119-HBF] (Entered: 06/02/2006)
06/01/2006    6 ORDER OF DETENTION without prejudice as to Nathaniel Grant. Signed by Judge
                William I. Garfinkel on 6/1/06. (Larsen, M.) [3:06-mj-00119-HBF] (Entered:
                06/02/2006)
06/02/2006       Docket Entry Correction as to Nathaniel Grant re 2 Initial Appearance. Minute entry
                 modified to reflect proceedings held before Mag. Judge William I. Garfinkel. (Larsen,
                 M.) [3:06-mj-00119-HBF] (Entered: 06/02/2006)
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06/02/2006       Docket Entry Correction as to Nathaniel Grant re 4 Order of Detention. Entry modified
                 to reflect Detention Hearing scheduled before Mag. Judge William I. Garfinkel. (Larsen,
                 M.) [3:06-mj-00119-HBF] (Entered: 06/02/2006)
06/06/2006    8 INDICTMENT returned before Janet C. Hall.Returned before grand jury number B-05-
                2 Bridgeport Rotation, Detainer to issue, as to Azikiwe Aquart (1) count 1, Nathaniel
                Grant (2) count 1. (Barrille, J.) (Entered: 06/07/2006)
06/06/2006    9 ORDER OF ELECTRONIC FILING as to Azikiwe Aquart, Nathaniel Grant . Signed by
                Judge Alan H. Nevas on 6/6/06. (Barrille, J.) (Entered: 06/07/2006)
06/06/2006   10 ORDER OF DETENTION as to Azikiwe Aquart. Signed by Judge Holly B.
                Fitzsimmons on 5/31/06. (Barrille, J.) (Entered: 06/09/2006)
06/06/2006       Judge update in case as to Azikiwe Aquart, Nathaniel Grant. Judge Alan H. Nevas
                 added. (S-Sunbury, B.) (Entered: 07/11/2006)
06/19/2006   11 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Nathaniel Grant: THIS IS
                THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                Jury Selection set for 7/10/2006 09:00 AM in Courtroom Three-Annex, 915 Lafayette
                Blvd., Bridgeport, CT before Judge Alan H. Nevas. Calendar Call set for 7/7/2006 09:00
                AM in Courtroom Three-Annex, 915 Lafayette Blvd., Bridgeport, CT before Judge
                Alan H. Nevas. (Attachments: # 1) SEE ATTACHED(Montz, A.) (Entered: 06/19/2006)
06/28/2006   12 USM Return of Service on Warrant Lodged As Detainer executed as to Azikiwe Aquart
                on 5/26/06 (Gutierrez, Y.) (Entered: 07/05/2006)
06/28/2006   13 USM Return of Service on Warrant Lodged As Detainer executed as to Nathaniel Grant
                on 6/6/06 (Gutierrez, Y.) (Entered: 07/05/2006)
07/05/2006   14 NOTICE of Related Case and Request for Transfer; Alternative Motion to Continue
                Current Trial Setting by Azikiwe Aquart (Sullivan, Robert) (Entered: 07/05/2006)
07/05/2006   15 MOTION to Transfer or MOTION to Continue Current Trial Setting. See Document
                #14 NOTICE of Related Case by Azikiwe Aquart. (Gutierrez, Y.) (Entered: 07/06/2006)
07/06/2006   16 MOTION to Consolidate and MOTION to Transfer Related Case 3:05cr309(PCD) by
                USA as to Azikiwe Aquart, Nathaniel Grant. (Gutierrez, Y.) (Entered: 07/10/2006)
07/10/2006   17 ORDER granting 15 Motion to Transfer/Disqualify/Recuse Judge as to Azikiwe Aquart
                (1); finding as moot 15 Motion to Continue as to Azikiwe Aquart (1); granting 16
                Motion to Transfer/Disqualify/Recuse Judge as to Azikiwe Aquart (1), Nathaniel Grant
                (2); granting 16 Motion as to Azikiwe Aquart (1), Nathaniel Grant (2). Signed by Judge
                Alan H. Nevas on 07/10/2006. (Brooks, L.) (Entered: 07/10/2006)
07/10/2006   18 ORDER OF TRANSFER in case as to Azikiwe Aquart, Nathaniel Grant Case
                reassigned to Judge Peter C. Dorsey for all further proceedings . Signed by Judge Alan
                H. Nevas on 7/10/06. (Barrille, J.) (Entered: 07/12/2006)
07/14/2006   19 MOTION to Compel major case fingerprint exemplars by USA as to Azikiwe Aquart,
                Nathaniel Grant. (Attachments: # 1 Memorandum in Support)(Moore, P.) (Entered:
                07/17/2006)
07/14/2006   20 Minute Entry for proceedings held before Judge Joan G. Margolis :Arraignment as to
                Azikiwe Aquart (1) Count 1 held on 7/14/2006, Plea entered by Azikiwe Aquart Not
                Guilty on counts 1. Jury Selection set for 9/14/2006 10:00 AM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. Defendant detained. 10
                minutes(Tape ) (Moore, P.) (Entered: 07/17/2006)
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07/14/2006   21 Minute Entry for proceedings held before Judge Joan G. Margolis :Arraignment as to
                Nathaniel Grant (2) Count 1 held on 7/14/2006, Plea entered by Nathaniel Grant Not
                Guilty on counts 1. Jury Selection set for 9/14/2006 10:00 AM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. Defendant detained. 10
                minutes(Tape ) (Moore, P.) (Entered: 07/17/2006)
07/14/2006   22 SCHEDULING ORDER as to Azikiwe Aquart, Nathaniel Grant Substantive Motions
                due 8/4/06 Government Response due 8/18/06, Oral argument or evidentiary shall be
                requested, if necessary, in writing before 8/22/06, Jury Selection set for 9/14/2006 10:00
                AM in Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey..
                Signed by Judge Joan G. Margolis on 7/14/06. (Moore, P.) (Entered: 07/17/2006)
07/14/2006   24 MOTION for law student Seth Lloyd to Appear by USA as to Azikiwe Aquart,
                Nathaniel Grant. (Pesta, J.) (Entered: 07/27/2006)
07/14/2006   25 ENDORSEMENT ORDER granting 24 MOTION for law student Seth Lloyd to
                Appearo/b/o USA as to Azikiwe Aquart (1), Nathaniel Grant (2). Signed by Magistrate
                Judge Joan G. Margolis on 7/14/06. (Pesta, J.) (Entered: 07/27/2006)
07/19/2006   23 ELECTRONIC ORDER granting 19 Motion to Compel major case fingerprint
                exemplars as to Azikiwe Aquart (1), Nathaniel Grant (2). Signed by Judge Peter C.
                Dorsey on 7/19/06. (Villano, P.) (Entered: 07/19/2006)
07/27/2006   26 Docket Entry Correction : Added PDF to 25 ENDORSEMENT ORDER granting 24
                MOTION for law student Seth Lloyd to Appear o/b/o USA to Azikiwe Aquart,
                Nathaniel Grant (Pesta, J.) (Entered: 07/27/2006)
07/27/2006   27 Docket Entry Correction: Computer error- Added PDF to 25 ENDORSEMENT
                ORDER granting 24 MOTION for law student Seth Lloyd to Appear o/b/o USA as to
                Azikiwe Aquart, Nathaniel Grant (Pesta, J.) (Entered: 07/27/2006)
07/28/2006   28 MOTION for Reconsideration re 23 Order on Motion to Compel Major Case
                Fingerprint Exemplars by Azikiwe Aquart. (Sullivan, Robert) (Entered: 07/28/2006)
07/31/2006   29 Memorandum in Opposition by USA as to Azikiwe Aquart re 28 MOTION for
                Reconsideration re 23 Order on Motion to Compel Major Case Fingerprint Exemplars
                (Moore, P.) (Entered: 07/31/2006)
08/04/2006   30 First MOTION for Extension of Time To File Pretrial Motions until August 21, 2006 by
                Azikiwe Aquart. (Sullivan, Robert) (Entered: 08/04/2006)
08/15/2006   32 RULINGgranting 28 Motion for Reconsideration but adhering to prior ruling as to
                Azikiwe Aquart (1). Signed by Judge Peter C. Dorsey on 8/15/06. (S-Inferrera, L.)
                (Entered: 08/16/2006)
08/16/2006   31 ELECTRONIC ORDER granting 30 Motion for Extension of Time To File Pretrial
                Motions until August 21, 2006 as to Azikiwe Aquart (1). Signed by Judge Peter C.
                Dorsey on 8/16/06. (Villano, P.) (Entered: 08/16/2006)
08/21/2006   33 MOTION for Bill of Particulars by Azikiwe Aquart. (Sullivan, Robert) (Entered:
                08/21/2006)
08/21/2006   34 MOTION to Compel Discovery; MOTION to Preclude Witnesses, or, Alternatively, to
                Compel Government to Produce All Written Materials Relating to All Witnessess
                Touching on or Relating to the Subject Matter of the Prosecution and for Declaration of
                Jencks Act as Unconstitutional by Azikiwe Aquart. (Sullivan, Robert) (Entered:
                08/21/2006)
08/22/2006   35 MOTION for Hearing Oral Argument on Pending Motions by Azikiwe Aquart.

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                 (Sullivan, Robert) (Entered: 08/22/2006)
09/06/2006   36 EX PARTE MOTION by Azikiwe Aquart. (Jefferson, V.) (Entered: 09/06/2006)
09/08/2006   37 ELECTRONIC ORDER granting 36 ExParte Motion as to Azikiwe Aquart (1). Signed
                by Judge Peter C. Dorsey on 9/8/06. (Miller, K.) (Entered: 09/08/2006)
09/11/2006   38 MOTION for Order Re: to Stay Narcotics Prosecution Until After Related Murder
                Prosecution is Completed; Alternative MOTION to Continue Trial by Azikiwe Aquart.
                (Attachments: # 1 Exhibit Affidavit)(Sullivan, Robert) (Entered: 09/11/2006)
09/12/2006   39 ORDER granting in part 38 Motion for Order Re: to Stay Narcotics Prosecution Until
                After Related Murder Prosecution is Completed; Alternative MOTION to Continue
                Trial as to Azikiwe Aquart (1). Signed by Judge Peter C. Dorsey on 9/12/06. (Villano,
                P.) (Entered: 09/12/2006)
09/12/2006   40 RESPONSE/REPLY by USA as to Azikiwe Aquart re 33 Motion for Bill of Particulars,
                34 Motion to Compel, Government's Omnibus Response to Defendant's Discover
                Motions (Attachments: # 1 Exhibit A)(Glasser, James) (Entered: 09/12/2006)
09/13/2006   41 Minute Entry for proceedings held before Judge Peter C. Dorsey :Change of Plea
                Hearing as to Nathaniel Grant held on 9/13/2006, Plea entered by Nathaniel Grant (2)
                Guilty Count 1. Sentencing set for 12/1/2006 10:00 AM in Courtroom One, 141 Church
                St., New Haven, CT before Judge Peter C. Dorsey. Total Time: 0 hours and 52
                minutes(Court Reporter Falcone, ECRO.) (Villano, P.) (Entered: 09/13/2006)
09/13/2006   42 PLEA AGREEMENT as to Nathaniel Grant (Villano, P.) (Entered: 09/13/2006)
09/13/2006   43 NOTICE OF E-FILED SENTENCING CALENDAR as to Nathaniel Grant: THIS IS
                THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                Sentencing set for 12/1/2006 10:00 AM in Courtroom One, 141 Church St., New
                Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered: 09/13/2006)
09/18/2006   44 NOTICE OF E-FILED JURY SELECTION CALENDAR as to Azikiwe Aquart: THIS
                IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                Jury Selection set for 10/4/2006 09:00 AM in Courtroom One, 141 Church St., New
                Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered: 09/18/2006)
09/19/2006   45 RULING on Defendant's Pretrial Motions, denying 33 Motion for Bill of Particulars as
                to Azikiwe Aquart (1); denying 34 Motion to Compel as to Azikiwe Aquart (1); denying
                35 Motion for Hearing as to Azikiwe Aquart (1) 10 pages. Signed by Judge Peter C.
                Dorsey on 9/19/06. (Jefferson, V.) (Entered: 09/19/2006)
09/29/2006   46 NOTICE OF E-FILED SECOND AMENDED JURY SELECTION CALENDAR as to
                Azikiwe Aquart: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL
                RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT
                PHOTO IDENTIFICATION. Jury Selection set for 10/4/2006 09:00 AM in Courtroom
                One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.)
                (Entered: 09/29/2006)
11/08/2006   47 INDICTMENT returned before Holly B. Fitzsimmons.Returned before grand jury
                number B-05-2 Bridgeport Rotation, Warrant Lodged as Detainer to issue, as to Azikiwe
                Aquart (1) count(s) 1s, 2s, Azibo Aquart (3) count(s) 1, 3. (Gutierrez, Y.) (Entered:
                11/13/2006)
11/08/2006   68 ELECTRONIC FILING ORDER as to Azibo Aquart. Signed by Judge Peter C. Dorsey
                on 11/8/06. (Jefferson, V.) (Entered: 01/08/2007)
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11/20/2006   48 Minute Entry for proceedings held before Judge Peter C. Dorsey :Initial Appearance as
                to Azikiwe Aquart held on 11/20/2006 Jury Selection set for 1/4/2007 09:00 AM in
                Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey. Total
                Time: 0 hours and 19 minutes(Court Reporter Falcone, ECRO.) (Villano, P.) (Entered:
                11/21/2006)
11/20/2006   49 Minute Entry for proceedings held before Judge Peter C. Dorsey :Initial Appearance as
                to Azibo Aquart held on 11/20/2006 Jury Selection set for 1/4/2007 09:00 AM in
                Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey. Total
                Time: 0 hours and 25 minutes(Court Reporter Falcone, ECRO.) (Villano, P.) (Entered:
                11/21/2006)
11/20/2006   50 ELECTRONIC SCHEDULING ORDER as to Azikiwe Aquart, Azibo Aquart
                Substantive Motions due 12/11/06 Government Response due 12/20/06 Jury Selection
                set for 1/4/2007 09:00 AM in Courtroom One, 141 Church St., New Haven, CT before
                Judge Peter C. Dorsey.. Signed by Judge Peter C. Dorsey on 11/20/06. (Villano, P.)
                (Entered: 11/21/2006)
11/20/2006   99 CJA 20 as to Azibo Aquart: Appointment of Attorney Justin T. Smith for Azibo Aquart.
                Signed by Clerk on 4/12/07. (Jefferson, V.) (Entered: 04/12/2007)
11/21/2006   52 USM Return of Service on warrant executed as to Azikiwe Aquart on 5/26/06 (Villano,
                P.) (Entered: 11/29/2006)
11/21/2006   53 USM Return of Service on warrant executed as to Azibo Aquart on 12/19/05 (Villano,
                P.) (Entered: 11/29/2006)
11/29/2006   51 MOTION to Continue Sentence by Nathaniel Grant. (LaBelle, Dan) (Entered:
                11/29/2006)
11/29/2006   54 ELECTRONIC ORDER granting 51 Motion to Continue Sentencing as to Nathaniel
                Grant (2). The sentencing is rescheduled to Wednesday, 1/10/07, at 9:00 a.m. Signed by
                Judge Peter C. Dorsey on 11/29/06. (Miller, K.) (Entered: 11/29/2006)
11/30/2006   55 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                IDENTIFICATION. Sentencing set for 1/10/2007 09:00 AM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                11/30/2006)
11/30/2006   56 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Nathaniel Grant Time
                excluded from 12/1/06 until 1/10/07. The Motion to continue sentencing having been
                granted, the Court finds that the ends of justice served by taking this action outweigh the
                best interest of the public and the defendant in a speedy sentencing. Signed by Judge
                Peter C. Dorsey on 11/30/06. (Villano, P.) (Entered: 11/30/2006)
12/11/2006   57 NOTICE OF E-FILED JURY SELECTION CALENDAR as to Azikiwe Aquart, Azibo
                Aquart: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                IDENTIFICATION. Jury Selection set for 1/5/2007 09:00 AM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                12/11/2006)
12/11/2006   58 MOTION to Compel Witness List by Azikiwe Aquart. (Sullivan, Robert) (Entered:
                12/11/2006)
12/12/2006   59 MOTION for Order Re: to Stay Narcotics Prosecution Until After Related Murder

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                 Prosecution is Completed, MOTION to Continue Jury Selection by Azikiwe Aquart.
                 (Sullivan, Robert) (Entered: 12/12/2006)
12/12/2006   60 MOTION to Dismiss Count Two of Indictment by Azikiwe Aquart. (Sullivan, Robert)
                (Entered: 12/12/2006)
12/14/2006   61 ELECTRONIC ORDER denying 59 MOTION for Order Re: to Stay Narcotics
                Prosecution Until After Related Murder Prosecution is Completed as to Azikiwe Aquart
                (1); denying 59 Motion to Continue Jury Selection as to Azikiwe Aquart (1). Signed by
                Judge Peter C. Dorsey on 12/14/06. (Villano, P.) (Entered: 12/14/2006)
12/19/2006   62 NOTICE OF E-FILED AMENDED JURY SELECTION CALENDAR as to Azikiwe
                Aquart, Azibo Aquart: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES
                WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE MUST
                PRESENT PHOTO IDENTIFICATION. Jury Selection set for 1/10/2007 10:00 AM in
                Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey.
                (Villano, P.) (Entered: 12/19/2006)
12/20/2006   64 CJA 23 Financial Affidavit by Azikiwe Aquart (Jefferson, V.) (Entered: 12/22/2006)
12/21/2006   63 ELECTRONIC ORDER denying without prejudice 58 Motion to Compel Witness List
                as to Azikiwe Aquart (1). The Government shall provide a witness list at least 2 weeks
                prior to the start of trial. Signed by Judge Peter C. Dorsey on 12/21/06. (Villano, P.)
                (Entered: 12/21/2006)
12/22/2006   65 CJA 20 as to Azikiwe Aquart: Appointment of Attorney Robert J. Sullivan, Jr for
                Azikiwe Aquart. Signed by Clerk on 12/22/06. (Moore, P.) (Entered: 12/22/2006)
01/03/2007   66 MOTION to Sever Defendant Motion to Sever Counts by Azibo Aquart. (Attachments:
                # 1 Memorandum in Support of Motion to Sever)(Smith, Justin) (Entered: 01/03/2007)
01/05/2007   67 RESPONSE/REPLY by USA as to Azibo Aquart (Glasser, James) (Entered:
                01/05/2007)
01/08/2007   69 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                01/08/2007)
01/08/2007   70 MOTION for Interim Payment by Azikiwe Aquart. (Sullivan, Robert) (Entered:
                01/08/2007)
01/09/2007   71 ELECTRONIC ORDER granting 70 Motion for Interim Payment as to Azikiwe Aquart
                (1). Signed by Judge Peter C. Dorsey on 1/9/07. (Villano, P.) (Entered: 01/09/2007)
01/09/2007   72 MOTION to Suppress Evidence by Azibo Aquart. (Smith, Justin) (Entered: 01/09/2007)
01/09/2007   73 Memorandum in Support by Azibo Aquart re 72 MOTION to Suppress Evidence
                (Attachments: # 1 Affidavit)(Smith, Justin) (Entered: 01/09/2007)
01/09/2007   74 ELECTRONIC ORDER granting 69 Motion to Continue Sentencing as to Nathaniel
                Grant (2). Signed by Judge Peter C. Dorsey on 1/9/07. (Villano, P.) (Entered:
                01/09/2007)
01/09/2007   75 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                IDENTIFICATION. Sentencing set for 1/29/2007 01:00 PM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                01/09/2007)
01/09/2007   76 RULING denying 72 Motion to Suppress Evidence as to Azibo Aquart (3). Signed by
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                 Judge Peter C. Dorsey on 1/9/07. (Villano, P.) (Entered: 01/09/2007)
01/25/2007       CJA 20 as to Azikiwe Aquart: Authorization to Pay Attorney Robert J. Sullivan, Jr..
                 Amount: $ 17,996.32, Voucher # 070123000009. 65 CJA 20 - Appointment Interim #1
                 payment. Certified by USCA. Signed by Judge Peter C. Dorsey on 1/25/07. (Villano, P.)
                 (Entered: 02/27/2007)
01/26/2007   77 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                01/26/2007)
01/26/2007   78 ELECTRONIC ORDER granting 77 Motion to Continue Sentencing as to Nathaniel
                Grant (2). Sentencing is continued to Wednesday, 2/7/07, at 9:00 a.m. Signed by Judge
                Peter C. Dorsey on 1/26/07. (Miller, K.) (Entered: 01/26/2007)
01/26/2007       Set/Reset Deadlines/Hearings as to Nathaniel Grant: Sentencing set for 2/7/2007 09:00
                 AM in Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey.
                 (Miller, K.) (Entered: 01/26/2007)
01/29/2007   79 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                IDENTIFICATION. Sentencing set for 2/7/2007 09:00 AM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                01/29/2007)
01/30/2007   80 RESPONSE/REPLY by USA as to Azibo Aquart re 66 Motion to Sever Defendant
                (Glasser, James) (Entered: 01/30/2007)
02/02/2007   81 RESPONSE/REPLY by USA as to Azikiwe Aquart re 60 Motion to Dismiss (Glasser,
                James) (Entered: 02/02/2007)
02/06/2007   82 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                02/06/2007)
02/06/2007   83 ELECTRONIC ORDER granting 82 Motion to Continue Sentencing as to Nathaniel
                Grant (2). Sentencing is rescheduled to Monday, 5/7/07, at 9:00 a.m. Signed by Judge
                Peter C. Dorsey on 2/6/07. (Miller, K.) (Entered: 02/06/2007)
02/06/2007       Reset Deadlines/Hearings as to Nathaniel Grant: Sentencing set for 5/7/2007 09:00 AM
                 in Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey.
                 (Jefferson, V.) (Entered: 02/07/2007)
02/08/2007   84 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                IDENTIFICATION. Sentencing set for 5/7/2007 09:00 AM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                02/08/2007)
02/12/2007   85 NOTICE OF E-FILED JURY SELECTION CALENDAR as to Azikiwe Aquart, Azibo
                Aquart: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                IDENTIFICATION. Jury Selection set for 3/1/2007 09:00 AM in Courtroom One, 141
                Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                02/12/2007)
02/21/2007   86 Proposed Jury Instructions by USA as to Azibo Aquart (Glasser, James) (Entered:
                02/21/2007)

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02/21/2007    87 Proposed Voir Dire by USA as to Azibo Aquart (Glasser, James) (Entered: 02/21/2007)
02/21/2007    88 NOTICE of Enhanced Penalties by USA as to Azibo Aquart (Glasser, James) (Entered:
                 02/21/2007)
02/23/2007    89 NOTICE OF E-FILED AMENDED JURY SELECTION CALENDAR as to Azibo
                 Aquart: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                 ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                 IDENTIFICATION. Jury Selection set for 3/1/2007 09:00 AM in Courtroom One, 141
                 Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                 02/23/2007)
02/27/2007    90 ELECTRONIC ORDER granting 66 Motion to Sever Defendant as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 2/27/07. (Villano, P.) (Entered: 02/27/2007)
02/28/2007    91 Minute Entry for proceedings held before Judge Peter C. Dorsey :Hearing as to Azibo
                 Aquart held on 2/28/2007 Total Time: 0 hours and 40 minutes(Court Reporter K.
                 Falcone, ECRO.)(Villano, P.) (Entered: 02/28/2007)
02/28/2007    92 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Azibo Aquart Time
                 excluded from 1/14/07 until 9/6/07. The Court finds that the ends of justice served by
                 taking this action outweigh the best interest of the public and the defendant in a speedy
                 trial for reasons state in open court this date. Signed by Judge Peter C. Dorsey on
                 2/28/07. (Villano, P.) (Entered: 02/28/2007)
03/19/2007    93 RULING denying 60 MOTION to Dismiss Count Two of Indictment as to Azikiwe
                 Aquart (1). Signed by Judge Peter C. Dorsey on 3/19/07. (Pesta, J.) (Entered:
                 03/19/2007)
03/28/2007    94 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Nathaniel Grant Time
                 excluded from 1/10/07 until 5/7/07. The Court finds that the ends of justice served by
                 taking this action outweigh the best interest of the public and the defendant in a speedy
                 sentencing. Signed by Judge Peter C. Dorsey on 3/28/07. (Villano, P.) (Entered:
                 03/28/2007)
04/09/2007    95 SEALED MOTION - Filed separately from case by Azikiwe Aquart. (Jefferson, V.)
                 (Entered: 04/09/2007)
04/09/2007    96 SEALED MOTION - Filed separately from case by Azikiwe Aquart. (Attachments: # 1
                 Exhibit # 2 Text of Proposed Order)(Jefferson, V.) (Entered: 04/09/2007)
04/09/2007    97 ORDER granting 96 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Peter C.
                 Dorsey on 4/9/07. (Jefferson, V.) (Entered: 04/10/2007)
04/12/2007    98 MOTION for Interim Payment by Azibo Aquart. (Smith, Justin) (Entered: 04/12/2007)
04/16/2007   100 ELECTRONIC ORDER granting 98 Motion for Interim Payment as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 4/16/07. (Villano, P.) (Entered: 04/16/2007)
04/17/2007   101 ELECTRONIC ORDER granting 95 Sealed Motion as to Azikiwe Aquart (1). Signed
                 by Judge Peter C. Dorsey on 4/17/07. (Villano, P.) (Entered: 04/17/2007)
05/04/2007   102 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                 05/04/2007)
05/04/2007   103 ELECTRONIC ORDER granting 102 Motion to Continue Sentencing as to Nathaniel
                 Grant (2). Sentencing is rescheduled to 9/28/07 at 1:00 p.m.. Signed by Judge Peter C.
                 Dorsey on 5/4/07. (Villano, P.) (Entered: 05/04/2007)
05/04/2007   104 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                                                GA20
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                   Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                   ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                   IDENTIFICATION. Sentencing set for 9/28/2007 01:00 PM in Courtroom One, 141
                   Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                   05/04/2007)
05/17/2007         CJA 20 as to Azibo Aquart: Authorization to Pay Attorney Justin T. Smith. Amount: $
                   6,952.52, Voucher # 070514000002. 99 CJA 20 - Appointment Interim #1 payment.
                   Signed by Judge Peter C. Dorsey on 5/17/07. (Villano, P.) (Entered: 06/25/2007)
05/17/2007         CJA 20 as to Azikiwe Aquart: Authorization to Pay Attorney Robert J. Sullivan, Jr..
                   Amount: $ 14,413.00, Voucher # 070514000001. 65 CJA 20 - Appointment Interim #2
                   payment Approved by Judge Parker at USCA. Signed by Judge Peter C. Dorsey on
                   5/17/07. (Villano, P.) (Entered: 07/09/2007)
06/28/2007   105 SECOND SUPERSEDING INDICTMENT returned before William I.
                 Garfinkel.Returned before grand jury number B-05-02 Bridgeport Rotation, Detainer to
                 issue, as to Azikiwe Aquart (1) count(s) 1ss, 2ss-4ss, 5ss, 6ss, Azibo Aquart (3) count(s)
                 1s, 2s-4s, 5s, 7s, Efrain Johnson (4) count(s) 1, 2-4. (Villano, P.) (Entered: 07/03/2007)
06/29/2007   106 Minute Entry for proceedings held before Judge Peter C. Dorsey :Arraignment as to
                 Efrain Johnson (4) Count 1,2-4 held on 6/29/2007, Initial Appearance as to Efrain
                 Johnson held on 6/29/2007, Added attorney David Hoose for Efrain Johnson., Plea
                 entered by Efrain Johnson (4) Count 1,2-4. by Efrain Johnson Not Guilty on counts 1, 2
                 - 4 Total Time: 0 hours and 41 minutes(Court Reporter Falcone, ECRO.)(Villano, P.)
                 (Steinberg, C). (Entered: 07/03/2007)
06/29/2007   107 Minute Entry for proceedings held before Judge Peter C. Dorsey :Arraignment as to
                 Azikiwe Aquart (1) Count 1ss,2ss-4ss,5ss,6ss held on 6/29/2007, Initial Appearance as
                 to Azikiwe Aquart held on 6/29/2007, Added attorney Jeremiah F. Donovan for Azikiwe
                 Aquart., Plea entered by Azikiwe Aquart Not Guilty on counts 1ss - 6ss Total Time: 0
                 hours and 17 minutes(Court Reporter Falcone, ECRO.)(Villano, P.) (Entered:
                 07/03/2007)
06/29/2007   108 Minute Entry for proceedings held before Judge Peter C. Dorsey :Arraignment as to
                 Azibo Aquart (3) Count 1s,2s-4s,5s,7s held on 6/29/2007, Initial Appearance as to
                 Azibo Aquart held on 6/29/2007, Added attorney Michael O. Sheehan for Azibo
                 Aquart., Plea entered by Azibo Aquart Not Guilty on counts 1s - 5s & 7s Total Time: 0
                 hours and 17 minutes(Court Reporter Falcone, ECRO.)(Villano, P.) (Entered:
                 07/03/2007)
07/03/2007   109 ELECTRONIC ORDER Government shall file their Notice of Intent to Pursue Capital
                 Punishment on or before March 7, 2008 as to Azikiwe Aquart, Azibo Aquart, Efrain
                 Johnson. Signed by Judge Peter C. Dorsey on 6/29/07. (Villano, P.) (Entered:
                 07/03/2007)
07/06/2007   110 MOTION to Seal by Azibo Aquart. (Sheehan, Michael) (Entered: 07/06/2007)
07/06/2007   111 SEALED MOTION - Filed separately from case by Azibo Aquart. (Ruocco, M.)
                 (Entered: 07/06/2007)
07/10/2007   112 ELECTRONIC ORDER granting 110 Motion to Seal as to Azibo Aquart (3); granting
                 111 Sealed Motion as to Azibo Aquart (3). Signed by Judge Peter C. Dorsey on 7/10/07.
                 (Villano, P.) (Entered: 07/10/2007)
07/10/2007   113 CJA 30: Appointment of Attorney Michael O. Sheehan for Azibo Aquart in Death
                 Penalty Proceedings as to Azibo Aquart. Signed by Clerk on 7/10/07. (Ruocco, M.)
                 (Entered: 07/13/2007)
                                                GA21
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07/10/2007   114 CJA 30: Appointment of Attorney Justin T. Smith for Azibo Aquart in Death Penalty
                 Proceedings as to Azibo Aquart.. Signed by Clerk on 7/10/07. (Ruocco, M.) (Entered:
                 07/13/2007)
07/10/2007   115 CJA 30: Appointment of Attorney Jeremiah F. Donovan for Azikiwe Aquart in Death
                 Penalty Proceedings as to Azikiwe Aquart. Signed by Clerk on 7/10/07. (Ruocco, M.)
                 (Entered: 07/13/2007)
07/10/2007   116 CJA 30: Appointment of Attorney Robert J. Sullivan, Jr for Azikiwe Aquart in Death
                 Penalty Proceedings as to Azikiwe Aquart. Signed by Clerk on 7/10/07. (Ruocco, M.)
                 (Entered: 07/13/2007)
07/13/2007   117 CJA 23 Financial Affidavit by Efrain Johnson (Jefferson, V.) (Entered: 07/19/2007)
07/25/2007   118 ORDER of Referral as to Azikiwe Aquart, Azibo Aquart, Efrain Johnson. Signed by
                 Judge Peter C. Dorsey on 7/24/07. (Moore, P.) (Entered: 07/26/2007)
07/26/2007   119 CJA 30: Appointment of Attorney Todd Allen Bussert for Efrain Johnson in Death
                 Penalty Proceedings as to Efrain Johnson. Signed by Clerk on 7/26/07. (Ruocco, M.)
                 (Steinberg, C). (Entered: 07/27/2007)
07/26/2007   120 CJA 30: Appointment of Attorney David Hoose for Efrain Johnson in Death Penalty
                 Proceedings as to Efrain Johnson. Signed by Clerk on 7/26/07. (Ruocco, M.) (Steinberg,
                 C). (Entered: 07/27/2007)
07/30/2007   121 CJA 23 Financial Affidavit by Nathaniel Grant (Ruocco, M.) (Entered: 07/30/2007)
08/02/2007   122 NOTICE OF E-FILED JURY SELECTION CALENDAR as to Azikiwe Aquart, Azibo
                 Aquart, Efrain Johnson: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES
                 WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE MUST
                 PRESENT PHOTO IDENTIFICATION. Jury Selection set for 9/6/2007 09:00 AM in
                 Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey.
                 (Villano, P.) (Entered: 08/02/2007)
08/02/2007   123 TRANSCRIPT of Detention Hearing as to Nathaniel Grant held on 6/1/06 before Judge
                 Garfinkel. Court Reporter: Corriette. (Barrille, J.) (Entered: 08/02/2007)
08/02/2007   124 TRANSCRIPT of Initial Presentment as to Nathaniel Grant held on 5/26/06 before
                 Judge Garfinkel. Court Reporter: Corriette. (Barrille, J.) (Entered: 08/02/2007)
08/07/2007   125 MOTION to Seal accompanying documents by Efrain Johnson. (Jefferson, V.) (Entered:
                 08/08/2007)
08/07/2007   126 MOTION to Incur Expenses - Filed separately from case by Efrain Johnson. (Jefferson,
                 V.) (Entered: 08/08/2007)
08/07/2007   127 MOTION to Incur Expenses - Filed separately from case by Efrain Johnson. (Jefferson,
                 V.) (Entered: 08/08/2007)
08/07/2007   128 MOTION to Incur Expenses - Filed separately from case by Efrain Johnson. (Jefferson,
                 V.) (Entered: 08/08/2007)
08/07/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Falzarano Court Reporters $ 29.70
                  for Transcript, Voucher # 070731000020. Date of Court Hearing 12/22/05. Signed by
                  Judge Alan H. Nevas on 8/7/07. (Villano, P.) (Entered: 08/27/2007)
08/09/2007   129 ELECTRONIC ORDER granting 125 Motion to Seal as to Efrain Johnson (4); granting
                 126 Motion to Incur Expenses as to Efrain Johnson, to a maximum expenditure of
                 $2,500(4); granting 127 Motion to Incur Expenses as to Efrain Johnson, to a maximum
                 expenditure of $2,500 (4); and granting 128 Motion to Incur Expenses as to Efrain
                                              GA22
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                  Johnson (4), for two nights at hotel and meals at federal per diem rates. Signed by Judge
                  Peter C. Dorsey on 8/9/07. (Miller, K.) (Entered: 08/09/2007)
08/13/2007   130 SEALED MOTION - Filed separately from case by Azikiwe Aquart. (Jefferson, V.)
                 (Entered: 08/14/2007)
08/13/2007   131 MOTION to Incur Expenses - Filed separately from case by Azikiwe Aquart.
                 (Attachments: # 1 Exhibit)(Jefferson, V.) (Entered: 08/14/2007)
08/14/2007   132 MOTION to Seal accompanying documents by Efrain Johnson. (Jefferson, V.) (Entered:
                 08/14/2007)
08/14/2007   133 MOTION to Incur Expenses - Filed separately from case by Efrain Johnson. (Jefferson,
                 V.) (Entered: 08/14/2007)
08/14/2007   134 MOTION to Incur Expenses - Filed separately from case by Efrain Johnson. (Jefferson,
                 V.) (Entered: 08/14/2007)
08/16/2007   135 ELECTRONIC ORDER granting 130 Sealed Motion as to Azikiwe Aquart (1). Signed
                 by Judge Peter C. Dorsey on 8/16/07. (Villano, P.) (Entered: 08/16/2007)
08/16/2007   136 ELECTRONIC ORDER granting 131 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 8/16/07. (Villano, P.) (Entered: 08/16/2007)
08/16/2007   137 ELECTRONIC ORDER granting 132 Motion to Seal as to Efrain Johnson (4); granting
                 133 Motion to Incur Expenses as to Efrain Johnson (4); granting 134 Motion to Incur
                 Expenses as to Efrain Johnson (4). Signed by Judge Peter C. Dorsey on 8/16/07.
                 (Villano, P.) (Entered: 08/16/2007)
08/16/2007   138 CJA 23 Financial Affidavit by Azibo Aquart (Jefferson, V.) (Entered: 08/16/2007)
08/21/2007   139 MEMORANDUM TO ALL COUNSEL APPOINTED UNDER THE CRIMINAL
                 JUSTICE ACT (CJA) as to Azikiwe Aquart, Azibo Aquart, Efrain Johnson. Signed by
                 Judge Peter C. Dorsey on 8/15/07. (Attachments: # 1 Attached Order of Referral)
                 (Inferrera, L.) (Entered: 08/21/2007)
08/27/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Stephen C. Bowles $ 46.20 for
                  Transcript, Voucher # 070817000025. Date of Court Hearing 5/26/06 & 6/1/06. Signed
                  by Judge Alan H. Nevas on 8/27/07. (Villano, P.) (Entered: 09/13/2007)
08/27/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Stephen C. Bowles $ 49.50 for
                  Transcript, Voucher # 070817000026. Date of Court Hearing 12/13/05 & 3/15/06.
                  Signed by Judge Alan H. Nevas on 8/27/07. (Villano, P.) (Entered: 09/13/2007)
08/27/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Stephen C. Bowles $ 85.80 for
                  Transcript, Voucher # 070817000027. Date of Court Hearing 2/8/06, 5/12/06 & 6/5/06.
                  Signed by Judge Alan H. Nevas on 8/27/07. (Villano, P.) (Entered: 09/13/2007)
08/27/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Bowles Reporting Service $ 26.40
                  for Transcript, Voucher # 070817000028. Date of Court Hearing 5/16/06. Signed by
                  Judge Alan H. Nevas on 8/27/07. (Villano, P.) (Entered: 09/13/2007)
08/29/2007   140 ATTORNEY APPEARANCE Peter D. Markle appearing for USA (Jefferson, V.)
                 (Entered: 08/29/2007)
08/29/2007        CJA 20 as to Azikiwe Aquart: Authorization to Pay Attorney Robert J. Sullivan, Jr.
                  Amount: $ 1,880.00, Voucher # 070815000014. 65 CJA 20 - Appointment Interim #4
                  payment Approved by Judge Chester J. Straub at USCA. Signed by Judge Peter C.
                  Dorsey on 8/29/07. (Villano, P.) (Entered: 10/02/2007)
09/04/2007   142 TRANSCRIPT of Proceedings (Arraignment On Second Superceding Indictment), as to
                                               GA23
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                  Azikiwe Aquart, Azibo Aquart held on 6/29/07 before Judge Peter C. Dorsey. Court
                  Reporter: Bowles Reporting Service, Stephen C. Bowles. (Torrenti, R.) (Entered:
                  09/05/2007)
09/04/2007   143 TRANSCRIPT of Proceedings, (Arraignment), as to Azikiwe Aquart, Nathaniel Grant
                 held on 7/14/06 before Judge Joan Glazer Margolis. Court Reporter: Bowles Reporting
                 Service, Stephen C. Bowles. (Torrenti, R.) (Entered: 09/05/2007)
09/04/2007   144 TRANSCRIPT of Proceedings, (Arraignment On First Superceding Indictment), as to
                 Azikiwe Aquart held on 11/20/06 before Judge Peter C. Dorsey. Court Reporter: Bowles
                 Reporting Service, Stephen C. Bowles. (Torrenti, R.) (Entered: 09/05/2007)
09/04/2007   145 TRANSCRIPT of Proceedings, (Arraignment On First Superceding Indictment), as to
                 Azibo Aquart held on 11/20/06 before Judge Peter C. Dorsey. Court Reporter: Bowles
                 Reporting Service, Stephen C. Bowles. (Torrenti, R.) (Entered: 09/05/2007)
09/04/2007   146 TRANSCRIPT of Proceedings, (Hearing On Withdrawal Of Defendant's Motion To
                 Sever), as to Azibo Aquart held on 2/28/07 before Judge Peter C. Dorsey. Court
                 Reporter: Bowles Reporting Service, Stephen C. Bowles. (Torrenti, R.) (Entered:
                 09/05/2007)
09/04/2007        CJA 20 as to Azikiwe Aquart: Authorization to Pay Attorney Robert J. Sullivan, Jr.
                  Amount: $ 1,503.89, Voucher # 070815000013. 65 CJA 20 - Appointment Interim #3
                  payment Approved by Judge B.D. Parker at USCA. Signed by Judge Peter C. Dorsey on
                  9/4/07. (Villano, P.) (Entered: 10/11/2007)
09/05/2007   141 TRANSCRIPT of Proceedings, (Change Of Plea), as to Nathaniel Grant held on 9/13/06
                 before Judge Peter C. Dorsey. Court Reporter: Bowles Reporting Service, Stephen C.
                 Bowles. (Torrenti, R.) (Entered: 09/05/2007)
09/07/2007   147 TRANSCRIPT of Proceedings, (Initial Presentment), as to Azikiwe Aquart held on
                 5/24/06 before Magistrate Judge Holly B. Fitzsimmons. Court Reporter: Bowles
                 Reporting Service, Stephen C. Bowles. (Torrenti, R.) (Entered: 09/07/2007)
09/25/2007        CJA 30: Authorization to Pay Attorney David Hoose in Death Penalty Proceedings as to
                  Efrain Johnson Amount: $ 4,150.00, Voucher # 070920000010. 120 CJA 30 -
                  Appointment Interim #1 payment. Signed by Judge Joan G. Margolis on 9/25/07.
                  (Villano, P.) (Entered: 10/03/2007)
09/25/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Stephen C. Bowles $ 56.10 for
                  Transcript, Voucher # 070919000027. Date of Court Hearing 5/24/06. Signed by Judge
                  Alan H. Nevas on 9/25/07. (Villano, P.) (Entered: 10/05/2007)
09/25/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Stephen C. Bowles $ 528.00 for
                  Transcript, Voucher # 070919000030. Date of Court Hearing 9/13/06, 11/20/06, 2/28/07
                  and 6/29/07. Signed by Judge Alan H. Nevas on 9/25/07. (Villano, P.) (Entered:
                  10/05/2007)
09/25/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Bowles Reporting Service $ 42.90
                  for Transcript, Voucher # 070919000028. Date of Court Hearing 9/14/05. Signed by
                  Judge Alan H. Nevas on 9/25/07. (Villano, P.) (Entered: 10/11/2007)
09/26/2007   148 Sixth MOTION to Continue Sentence by Nathaniel Grant. (LaBelle, Dan) (Entered:
                 09/26/2007)
09/27/2007   149 ELECTRONIC ORDER granting 148 Motion to Continue Sentencing as to Nathaniel
                 Grant (2). Sentencing is rescheduled to 12/20/07 at 9:00 a.m.. Signed by Judge Peter C.
                 Dorsey on 9/27/07. (Villano, P.) (Entered: 09/27/2007)

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09/27/2007   150 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                 Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                 ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                 IDENTIFICATION. Sentencing set for 12/20/2007 09:00 AM in Courtroom One, 141
                 Church St., New Haven, CT before Judge Peter C. Dorsey. (Villano, P.) (Entered:
                 09/27/2007)
09/27/2007   151 SEALED MOTION - Filed separately from case by Efrain Johnson. (Jefferson, V.)
                 (Entered: 09/28/2007)
09/27/2007   152 MOTION to Incur Expenses - Filed separately from case by Efrain Johnson. (Jefferson,
                 V.) (Entered: 09/28/2007)
09/27/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Stephen C. Bowles $ 46.20 for
                  Transcript, Voucher # 070919000026. Date of Court Hearing 2/2/06. Signed by Judge
                  Holly B. Fitzsimmons on 9/27/07. (Villano, P.) (Entered: 10/05/2007)
09/28/2007   153 ELECTRONIC ORDER granting 151 Sealed Motion as to Efrain Johnson (4). Signed
                 by Judge Peter C. Dorsey on 9/28/07. (Villano, P.) (Entered: 09/28/2007)
09/28/2007   154 ELECTRONIC ORDER granting 152 Motion to Incur Expenses as to Efrain Johnson
                 (4). Signed by Judge Peter C. Dorsey on 9/28/07. (Villano, P.) (Entered: 09/28/2007)
10/04/2007        CJA 30: Authorization to Pay Attorney Todd Allen Bussert in Death Penalty
                  Proceedings as to Efrain Johnson Amount: $ 16,341.33, Voucher # 071004000001. 119
                  CJA 30 - Appointment Interim #1 payment. Signed by Judge Joan G. Margolis on
                  10/4/07. (Villano, P.) (Entered: 10/11/2007)
10/04/2007        CJA 30: Authorization to Pay Attorney Michael O. Sheehan in Death Penalty
                  Proceedings as to Azibo Aquart Amount: $ 15,297.05, Voucher # 071004000002. 113
                  CJA 30 - Appointment Interim #1 payment. Signed by Judge Joan G. Margolis on
                  10/4/07. (Villano, P.) (Entered: 10/11/2007)
10/11/2007        CJA 30: Authorization to Pay Attorney Justin T. Smith in Death Penalty Proceedings as
                  to Azibo Aquart Amount: $ 5,459.88, Voucher # 071010000014. 99 CJA 20 -
                  Appointment Interim #1 payment. Signed by Judge Joan G. Margolis on 10/11/07.
                  (Villano, P.) (Entered: 10/19/2007)
10/17/2007        CJA 30: Authorization to Pay Attorney David Hoose in Death Penalty Proceedings as to
                  Efrain Johnson Amount: $ 5,214.70, Voucher # 071010000015. 120 CJA 30 -
                  Appointment Interim #2 payment. Signed by Judge Joan G. Margolis on 10/17/07.
                  (Villano, P.) (Entered: 11/06/2007)
11/07/2007        CJA 30: Authorization to Pay Attorney David Hoose in Death Penalty Proceedings as to
                  Efrain Johnson Amount: $ 2,616.81, Voucher # 071106000002. 120 CJA 30 -
                  Appointment Interim #3 payment. Signed by Judge Joan G. Margolis on 11/7/07.
                  (Villano, P.) (Entered: 11/14/2007)
11/09/2007        CJA 30: Authorization to Pay Attorney Robert J. Sullivan, Jr. in Death Penalty
                  Proceedings as to Azikiwe Aquart Amount: $ 13,864.74, Voucher # 071106000001. 116
                  CJA 30 - Appointment Interim #1 payment. Signed by Judge Joan G. Margolis on
                  11/9/07. (Villano, P.) (Entered: 11/21/2007)
11/21/2007   155 NOTICE OF E-FILED STATUS CONFERENCE CALENDAR as to Azikiwe Aquart,
                 Azibo Aquart, Efrain Johnson: THIS IS THE ONLY NOTICE COUNSEL/THE
                 PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE
                 MUST PRESENT PHOTO IDENTIFICATION. Status Conference set for 12/11/2007
                 02:00 PM in Chambers Room 107, 141 Church St., New Haven, CT before Judge Peter
                 C. Dorsey (Villano, P.) (Entered: 11/21/2007)
                                               GA25
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11/29/2007        CJA 24 as to Efrain Johnson: Authorization to Pay Stephen C. Bowles $ 630.30 for
                  Transcript, Voucher # 071126000003.. Signed by Judge Peter C. Dorsey on 11/29/07.
                  (Villano, P.) (Entered: 12/20/2007)
11/30/2007        CJA 30: Authorization to Pay Attorney Michael O. Sheehan in Death Penalty
                  Proceedings as to Azibo Aquart Voucher # 071130000001. 113 CJA 30 - Appointment
                  Interim #2 payment. Signed by Judge Joan G. Margolis on 11/30/07. (Villano, P.)
                  (Entered: 12/20/2007)
12/10/2007        CJA 30: Authorization to Pay Attorney David Hoose in Death Penalty Proceedings as to
                  Efrain Johnson Voucher # 071210000003. 120 CJA 30 - Appointment Interim #4
                  payment. Signed by Judge Joan G. Margolis on 12/10/07. (Villano, P.) (Entered:
                  12/20/2007)
12/11/2007   160 Minute Entry for proceedings held before Judge Peter C. Dorsey:Status Conference as
                 to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 12/11/2007 in chambers Total
                 Time: 1 hours and 40 minutes(Villano, P.) (Entered: 01/10/2008)
12/20/2007   156 AMENDED ELECTRONIC ORDER as to Azikiwe Aquart, Azibo Aquart, Efrain
                 Johnson re 109 Electronic Order. Government shall file their Notice of Intent to Pursue
                 Capital Punishment on or before May 7, 2008.. Signed by Judge Peter C. Dorsey on
                 12/20/07. (Villano, P.) (Entered: 12/20/2007)
12/20/2007   157 Seventh MOTION to Continue Sentence by Nathaniel Grant. (LaBelle, Dan) (Entered:
                 12/20/2007)
12/20/2007   158 ELECTRONIC ORDER granting 157 Motion to Continue Sentencing as to Nathaniel
                 Grant (2). Sentencing is rescheduled to 2/20/08 at 9:00 a.m.. Signed by Judge Peter C.
                 Dorsey on 12/20/07. (Villano, P.) (Entered: 12/20/2007)
12/20/2007   159 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                 Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                 ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                 IDENTIFICATION. Sentencing set for 2/20/2008 09:00 AM in Courtroom One, 141
                 Church St., New Haven, CT before Judge Peter C. Dorsey (Villano, P.) (Entered:
                 12/20/2007)
01/11/2008        CJA 30: Authorization to Pay Attorney Robert J. Sullivan, Jr in Death Penalty
                  Proceedings as to Azikiwe Aquart Voucher # 080111000002. 116 CJA 30 -
                  Appointment Interim #2 payment. Signed by Judge Joan G. Margolis on 1/11/08.
                  (Villano, P.) (Entered: 01/18/2008)
01/11/2008        CJA 30: Authorization to Pay Attorney David Hoose in Death Penalty Proceedings as to
                  Efrain Johnson Voucher # 080111000003-1. 120 CJA 30 - Appointment Interim #5
                  payment. Signed by Judge Joan G. Margolis on 1/11/08. (Villano, P.) (Entered:
                  01/18/2008)
01/11/2008        CJA 30: Authorization to Pay Attorney David Hoose (Attorney Luke Ryan) in Death
                  Penalty Proceedings as to Efrain Johnson Voucher # 080111000003-2. 120 CJA 30 -
                  Appointment Interim #1 payment. Signed by Judge Joan G. Margolis on 1/11/08.
                  (Villano, P.) (Entered: 01/18/2008)
01/23/2008        CJA 30: Authorization to Pay Attorney Todd Allen Bussert in Death Penalty
                  Proceedings as to Efrain Johnson Voucher # 080122000003. 119 CJA 30 - Appointment
                  Interim #2 payment. Signed by Judge Joan G. Margolis on 1/23/08. (Villano, P.)
                  (Entered: 01/29/2008)
01/31/2008        CJA 30: Authorization to Pay Attorney Jeremiah F. Donovan in Death Penalty
                                               GA26
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                  Proceedings as to Azikiwe Aquart Voucher # 080111000001. 115 CJA 30 -
                  Appointment Interim #1 payment. Signed by Judge Joan G. Margolis on 1/31/08.
                  (Villano, P.) (Entered: 02/11/2008)
02/19/2008   161 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                 02/19/2008)
02/19/2008   162 ELECTRONIC ORDER granting 161 Motion to Continue Sentencing as to Nathaniel
                 Grant (2). The sentencing is rescheduled to Wednesday, March 26, 2008, at 9:00 a.m. A
                 calendar will issue. Signed by Judge Peter C. Dorsey on 2-19-08. (Miller, K.) (Entered:
                 02/19/2008)
02/19/2008        CJA 30: Authorization to Pay Attorney Jeremiah F. Donovan in Death Penalty
                  Proceedings as to Azikiwe Aquart Voucher # 080214000008. 115 CJA 30 -
                  Appointment Interim #2 payment. Signed by Judge Joan G. Margolis on 2/19/08.
                  (Villano, P.) (Entered: 02/26/2008)
02/20/2008   163 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                 Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                 ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                 IDENTIFICATION. Sentencing set for 3/26/2008 09:00 AM in Courtroom One, 141
                 Church St., New Haven, CT before Judge Peter C. Dorsey (Villano, P.) (Entered:
                 02/20/2008)
02/21/2008        CJA 30: Authorization to Pay Attorney Robert J. Sullivan, Jr in Death Penalty
                  Proceedings as to Azikiwe Aquart Voucher # 080220000001. 116 CJA 30 -
                  Appointment Interim #3 payment. Signed by Judge Joan G. Margolis on 2/21/08.
                  (Villano, P.) (Entered: 02/29/2008)
02/22/2008   164 First MOTION for Extension of Time For the Government to File Notice of Death
                 Penalty until June 7 by Azibo Aquart. (Sheehan, Michael) (Entered: 02/22/2008)
02/25/2008   165 ELECTRONIC ORDER granting 164 Motion for Extension of Time For the
                 Government to File Notice of Death Penalty until June 6, 2008 as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 2/25/08. (Villano, P.) (Entered: 02/25/2008)
03/04/2008        CJA 30: Authorization to Pay Attorney Justin T. Smith in Death Penalty Proceedings as
                  to Azibo Aquart Voucher # 080303000008. 114 CJA 30 - Appointment Interim #2
                  payment. Signed by Judge Joan G. Margolis on 3/4/08. (Villano, P.) (Entered:
                  03/12/2008)
03/25/2008   166 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                 03/25/2008)
03/26/2008   167 ELECTRONIC ORDER granting 166 Motion to Continue Sentencing as to Nathaniel
                 Grant (2). Sentencing is rescheduled to 4/30/08 at 9:00 a.m.. Signed by Judge Peter C.
                 Dorsey on 3/26/08. (Villano, P.) (Entered: 03/26/2008)
03/26/2008   168 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                 Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                 ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                 IDENTIFICATION. Sentencing set for 4/30/2008 09:00 AM in Courtroom One, 141
                 Church St., New Haven, CT before Judge Peter C. Dorsey (Villano, P.) (Entered:
                 03/26/2008)
04/02/2008        CJA 30: Authorization to Pay Attorney Justin T. Smith in Death Penalty Proceedings as
                  to Azibo Aquart Voucher # 080327000008. 114 CJA 30 - Appointment Interim #3
                  payment. Signed by Judge Joan G. Margolis on 4/2/08. (Villano, P.) (Entered:
                  04/10/2008)
                                               GA27
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04/04/2008   169 CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                 Johnson ; Voucher # 080327000009. Interim #7 payment. Signed by Judge Joan G.
                 Margolis on 4/4/08. (Inferrera, L.) (Entered: 04/09/2008)
04/09/2008   170 MOTION to Seal Accompanying Document, Application Ex Parte by Efrain Johnson.
                 (Jefferson, V.) (Entered: 04/10/2008)
04/09/2008   171 SEALED MOTION to Incur Expenses by Efrain Johnson. (Jefferson, V.) (Entered:
                 04/10/2008)
04/10/2008         CJA 30: Authorization to Pay Todd Allen Bussert in Death Penalty Proceedings as to
                   Efrain Johnson Voucher # 080410000001. Interim #3 payment. Signed by Judge Joan G.
                   Margolis on 4/10/08. (Inferrera, L.) (Entered: 04/15/2008)
04/14/2008   172 ELECTRONIC ORDER granting 170 Motion to Seal Accompanying Document,
                 Application Ex Parte as to Efrain Johnson (4). Signed by Judge Peter C. Dorsey on
                 4/14/08. (Villano, P.) (Entered: 04/14/2008)
04/14/2008   173 ELECTRONIC ORDER granting 171 Motion to Incur Expenses as to Efrain Johnson
                 (4). Signed by Judge Peter C. Dorsey on 4/14/08. (Villano, P.) (Entered: 04/14/2008)
04/22/2008   174 MOTION to Seal Motion to Incur Expenses by Efrain Johnson. (Jefferson, V.) (Entered:
                 04/22/2008)
04/22/2008   175 MOTION to Incur Expenses by Efrain Johnson. (Attachments: # 1 Exhibit)(Jefferson,
                 V.) (Entered: 04/22/2008)
04/24/2008   176 ELECTRONIC ORDER granting 174 Motion to Seal Motion to Incur Expenses as to
                 Efrain Johnson (4). Signed by Judge Peter C. Dorsey on 4/24/08. (Villano, P.) (Entered:
                 04/24/2008)
04/24/2008   177 ELECTRONIC ORDER granting 175 Motion to Incur Expenses as to Efrain Johnson
                 (4). Signed by Judge Peter C. Dorsey on 4/24/08. (Villano, P.) (Entered: 04/24/2008)
04/25/2008         CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                   Azikiwe Aquart Voucher # 080304000011. Interim payment #4. Signed by Judge Joan
                   G. Margolis on 4/25/08. (Inferrera, L.) (Entered: 06/04/2008)
04/29/2008   178 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                 04/29/2008)
04/30/2008   179 ELECTRONIC ORDER granting 178 Motion to Continue Sentencing as to Nathaniel
                 Grant (2). Sentencing is rescheduled to 6/3/08 at 10:00 a.m.. Signed by Judge Peter C.
                 Dorsey on 4/30/08. (Villano, P.) (Entered: 04/30/2008)
04/30/2008   180 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Nathaniel Grant Time
                 excluded from 5/7/07 until 6/3/08. Defendant's motion to continue sentencing [Doc.
                 178] having been granted, the Court finds that the ends of justice served by taking this
                 action outweigh the best interest of the public and the defendant in a speedy sentencing.
                 Signed by Judge Peter C. Dorsey on 4/30/08. (Villano, P.) (Entered: 04/30/2008)
04/30/2008   181 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                 Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                 ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                 IDENTIFICATION. Sentencing set for 6/3/2008 10:00 AM in Courtroom One, 141
                 Church St., New Haven, CT before Judge Peter C. Dorsey (Villano, P.) (Entered:
                 04/30/2008)
05/06/2008   182 MOTION to Seal Ex Parte Motion to Incur Expenses by Efrain Johnson. (Jefferson, V.)
                                                GA28
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                  (Entered: 05/06/2008)
05/06/2008   183 EX PARTE MOTION to Incur Expenses, filed Under Seal by Efrain Johnson.
                 (Jefferson, V.) (Entered: 05/06/2008)
05/07/2008   184 ELECTRONIC ORDER granting 182 Motion to Seal Ex Parte Motion to Incur
                 Expenses as to Efrain Johnson (4). Signed by Judge Peter C. Dorsey on 5/7/08. (Villano,
                 P.) (Entered: 05/07/2008)
05/07/2008   185 ELECTRONIC ORDER granting 183 Ex Parte Motion to Incur Expenses, filed Under
                 Seal as to Efrain Johnson (4). Signed by Judge Peter C. Dorsey on 5/7/08. (Villano, P.)
                 (Entered: 05/07/2008)
05/16/2008   186 PROPOSED Order Re: Notice of Intention to Seek the Death Penalty by USA as to
                 Azibo Aquart. (Jefferson, V.) (Entered: 05/19/2008)
05/19/2008        CJA 30: Authorization to Pay Todd Allen Bussert in Death Penalty Proceedings as to
                  Efrain Johnson Voucher # 080516000014. Interim #4 payment. Signed by Judge Joan G.
                  Margolis on 5/19/08. (Inferrera, L.) (Entered: 06/04/2008)
05/21/2008   187 ORDER DIRECTING THE GOVERNMENT TO SERVE NOTICE OF ITS
                 INTENTION TO SEEK THE DEATH PENALTY as to Azikiwe Aquart, Azibo Aquart,
                 Efrain Johnson. Signed by Judge Peter C. Dorsey on 5/21/08. (Villano, P.) (Entered:
                 05/21/2008)
06/02/2008   188 MOTION to Continue Sentencing by Nathaniel Grant. (LaBelle, Dan) (Entered:
                 06/02/2008)
06/02/2008   189 ELECTRONIC ORDER granting in part 188 Motion to Continue Sentencing as to
                 Nathaniel Grant (2). Sentencing is rescheduled to 6/30/08 at 2:00 p.m.. Signed by Judge
                 Peter C. Dorsey on 6/2/08. (Villano, P.) (Entered: 06/02/2008)
06/02/2008   191 MOTION to Incur Expenses by Azibo Aquart. (Rodko, B.) (Entered: 06/03/2008)
06/02/2008        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart Voucher # 080602000001. Interim #5 payment. Signed by Judge Joan
                  G. Margolis on 6/2/08. (Inferrera, L.) (Entered: 06/11/2008)
06/03/2008   190 NOTICE OF E-FILED AMENDED SENTENCING CALENDAR as to Nathaniel
                 Grant: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                 ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT PHOTO
                 IDENTIFICATION. Sentencing set for 6/30/2008 02:00 PM in Courtroom One, 141
                 Church St., New Haven, CT before Judge Peter C. Dorsey (Villano, P.) (Entered:
                 06/03/2008)
06/05/2008        CJA 30: Authorization to Pay Michael Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart Voucher # 080604000016. Interim #3 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 6/5/08. (Inferrera, L.) (Entered: 06/17/2008)
06/06/2008   192 ORDER granting 191 Motion to Incur Expenses as to Azibo Aquart (3). Signed by
                 Judge Joan G. Margolis on 6/5/08. (Rodko, B.) (Entered: 06/09/2008)
06/23/2008   193 EX PARTE MOTION by Azikiwe Aquart. (Attachments: # 1 Exhibit)(Rodko, B.)
                 (Entered: 06/27/2008)
06/30/2008   194 ELECTRONIC ORDER granting 193 ExParte Motion as to Azikiwe Aquart (1). Signed
                 by Judge Peter C. Dorsey on 6/30/08. (Villano, P.) (Entered: 06/30/2008)
06/30/2008   195 Minute Entry for proceedings held before Judge Peter C. Dorsey:Bond Hearing as to
                 Nathaniel Grant held on 6/30/2008 Total Time: 0 hours and 37 minutes(Court Reporter
                                               GA29
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                  Falcone, ECRO.)(Villano, P.) (Entered: 07/01/2008)
06/30/2008   196 Appearance Non-Surety Bond Entered as to Nathaniel Grant in amount of $ 50,000.00,
                 (Villano, P.) (Entered: 07/01/2008)
06/30/2008   197 ORDER Setting Conditions of Release as to Nathaniel Grant. Signed by Judge Peter C.
                 Dorsey on 6/30/08. (Villano, P.) (Entered: 07/01/2008)
07/01/2008        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart Voucher # 080625000010. Interim #6 payment. Signed by Judge Joan
                  G. Margolis on 7/1/08. (Inferrera, L.) (Entered: 07/08/2008)
07/01/2008        CJA 30: Authorization to Pay Todd Allen Bussert in Death Penalty Proceedings as to
                  Efrain Johnson Voucher # 080630000003. Interim #5 payment. Signed by Judge Joan G.
                  Margolis on 7/1/08. (Inferrera, L.) (Entered: 07/08/2008)
07/10/2008        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart Voucher # 080709000002. Interim #4 payment. Signed by Judge Joan G.
                  Margolis on 7/10/08. (S-Inferrera, L.) (Entered: 07/21/2008)
07/17/2008        CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                  Johnson Voucher # 080714000004. Interim #9 payment. Signed by Judge Joan G.
                  Margolis on 7/17/08. (S-Inferrera, L.) (Entered: 07/21/2008)
08/18/2008        CJA 20 as to Azikiwe Aquart: Authorization to Pay Robert J. Sullivan. Voucher #
                  080811000001. Interim #7 payment. Signed by Magistrate Judge Joan G. Margolis on
                  8/18/08. (Inferrera, L.) (Entered: 08/19/2008)
08/19/2008   198 Second MOTION to Seal CJA Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 08/19/2008)
08/19/2008   200 EX PARTE MOTION by Azibo Aquart. (Villano, P.) (Entered: 08/25/2008)
08/20/2008   199 ELECTRONIC ORDER granting 198 Motion to File Motion Under Seal as to Azibo
                 Aquart (3). Signed by Judge Peter C. Dorsey on 8-20-08. (Miller, K.) (Entered:
                 08/20/2008)
08/26/2008   201 ELECTRONIC ORDER granting 200 ExParte Motion as to Azibo Aquart (3). Signed
                 by Judge Peter C. Dorsey on 8/26/08. (Villano, P.) (Entered: 08/26/2008)
08/28/2008   204 EX PARTE MOTION to Incur Expenses by Azikiwe Aquart. (Attachments: # 1 Exhibit
                 A 1-25 to Motion, # 2 Exhibit A 26-50 to Motion, # 3 Exhibit A 51-99 to Motion, # 4
                 Exhibit A 100-131 to Motion, # 5 Exhibit B to Motion, # 6 Exhibit C to Motion, # 7
                 Exhibit D to Motion, # 8 Exhibit E to Motion, # 9 Exhibit F to Motion)(Villano, P.)
                 Modified on 9/11/2008 (S-Inferrera, L.). Modified on 9/11/2008 (S-Inferrera, L.).
                 (Entered: 09/05/2008)
08/29/2008   202 SEALED MOTION by USA as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart,
                 Efrain Johnson. (Rodko, B.) (Entered: 09/05/2008)
09/02/2008        CJA 20 as to Azibo Aquart: Authorization to Pay Michael O. Sheehan. Voucher #
                  080829000005. Interim #4 payment. Signed by Magistrate Judge Joan G. Margolis on
                  9/2/08. (Inferrera, L.) (Entered: 09/02/2008)
09/04/2008        CJA 30: Authorization to Pay Todd Allen Bussert in Death Penalty Proceedings as to
                  Efrain Johnson; Interim Voucher #6.. Signed by Magistrate Judge Joan G. Margolis on
                  9/4/08. (Inferrera, L.) (Entered: 09/10/2008)
09/05/2008   203 SEALED ORDER granting 202 Sealed Motion as to Azikiwe Aquart (1), Nathaniel
                 Grant (2), Azibo Aquart (3), Efrain Johnson (4). Signed by Judge Peter C. Dorsey on
                                              GA30
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                  9/5/08. (Rodko, B.) (Entered: 09/05/2008)
09/09/2008   205 ELECTRONIC ORDER granting 204 ExParte Motion as to Azikiwe Aquart (1). Signed
                 by Judge Peter C. Dorsey on 9/9/08. (Villano, P.) (Entered: 09/09/2008)
09/09/2008   206 Third MOTION to Seal CJA Request CJA Request by Azibo Aquart. (Sheehan,
                 Michael) (Entered: 09/09/2008)
09/09/2008   208 ENTERED IN ERROR: MOTION to Incur Expenses by Azikiwe Aquart. (Rodko, B.)
                 Modified on 9/11/2008. (Entered: 09/11/2008)
09/09/2008   209 MOTION to Incur Expenses by Azibo Aquart. (document #208 corrected) (Rodko, B.)
                 (Entered: 09/11/2008)
09/11/2008   207 ELECTRONIC ORDER granting 206 Motion to Seal CJA Request as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 9/11/08. (Villano, P.) (Entered: 09/11/2008)
09/12/2008   210 ELECTRONIC ORDER granting 209 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 9/12/08. (Villano, P.) (Entered: 09/12/2008)
09/18/2008   214 MOTION to Seal Ex Parte Motion by Efrain Johnson. (Rodko, B.) (Entered:
                 09/24/2008)
09/18/2008   215 Sealed Ex Parte MOTION by Efrain Johnson. (Rodko, B.) (Entered: 09/24/2008)
09/19/2008   211 MOTION to Amend 187 ORDER GOVERNMENT'S MOTION TO AMEND ORDER
                 REGARDING NOTICE OF INTENTION TO SEEK THE DEATH PENALTY by USA as
                 to Azikiwe Aquart, Azibo Aquart, Efrain Johnson. (Attachments: # 1 Text of Proposed
                 Order)(Reynolds, Alina) Motion relief and links Modified on 9/22/2008 (Bauer, J.).
                 (Entered: 09/19/2008)
09/22/2008   212 ORDER granting 211 Motion to Amend 187 ORDER GOVERNMENT'S MOTION TO
                 AMEND ORDER REGARDING NOTICE OF INTENTION TO SEEK THE DEATH
                 PENALTY as to Azikiwe Aquart (1), Azibo Aquart (3), Efrain Johnson (4). Signed by
                 Judge Peter C. Dorsey on 9/22/08. (Villano, P.) (Entered: 09/22/2008)
09/23/2008   213 ATTORNEY APPEARANCE Tracy L. Dayton appearing for USA (Dayton, Tracy)
                 (Entered: 09/23/2008)
09/25/2008   216 ELECTRONIC ORDER granting 214 Motion to Seal as to Efrain Johnson (4); granting
                 215 Motion to Incur Expenses as to Efrain Johnson (4). Signed by Judge Peter C.
                 Dorsey on 9/25/08. (Villano, P.) (Entered: 09/25/2008)
10/24/2008   217 MOTION for Leave to Appear Pro Hac Vice Attorney: David Stern. Filing Fee $25.00.
                 Receipt Number N025884. by Azikiwe Aquart. (Ruocco, M.) (Entered: 10/27/2008)
10/27/2008   218 ORDER granting 217 Motion for Leave to Appear Pro Hac Vice: Attorney David Stern
                 as to Azikiwe Aquart (1). Signed by Clerk on 10/27/08. (Ruocco, M.) (Entered:
                 10/27/2008)
10/27/2008        Attorney update in case as to Azikiwe Aquart. Attorney David Stern for Azikiwe Aquart
                  added. (Pesta, J.) (Entered: 10/30/2008)
11/25/2008        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart Voucher # 30-081118000005. Interim #5 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 11/25/08. (Inferrera, L.) (Entered: 12/02/2008)
11/26/2008   219 MOTION for Jeremiah Donovan to Withdraw as Attorney by Azikiwe Aquart.
                 (Donovan, Jeremiah) (Entered: 11/26/2008)
11/26/2008   220 Memorandum in Support by Azikiwe Aquart re 219 MOTION for Jeremiah Donovan to
                                              GA31
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                  Withdraw as Attorney (Donovan, Jeremiah) (Entered: 11/26/2008)
12/01/2008   221 ELECTRONIC ORDER granting 219 Motion to Withdraw as Attorney. Jeremiah F.
                 Donovan withdrawn from case as to Azikiwe Aquart (1). Signed by Judge Peter C.
                 Dorsey on 12-1-08. (Miller, K.) (Entered: 12/01/2008)
12/01/2008   222 MOTION to Seal CJA Motion CJA Motion by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 12/01/2008)
12/01/2008   224 SEALED MOTION CJA Motion - by Azibo Aquart. (Villano, P.) (Entered: 12/04/2008)
12/02/2008   223 ELECTRONIC ORDER granting 222 Motion to Seal CJA Motion CJA Motion as to
                 Azibo Aquart (3). Signed by Judge Peter C. Dorsey on 12/2/08. (Villano, P.) (Entered:
                 12/02/2008)
12/05/2008   225 ELECTRONIC ORDER granting 224 Sealed Motion CJA Motion as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 12/5/08. (Villano, P.) (Entered: 12/05/2008)
12/08/2008        CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                  Aquart Voucher # 081208000002. Interim #1 payment. Signed by Magistrate Judge Joan
                  G. Margolis on 12/8/08. (S-Inferrera, L.) (Entered: 12/16/2008)
12/16/2008        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart Voucher # 081208000008. Interim #5 payment. Signed by Magistrate Judge Joan
                  G. Margolis on 12/16/08. (Inferrera, L.) (Entered: 12/29/2008)
01/05/2009        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart Voucher # 081216000008. Interim #8 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 1/5/09. (S-Inferrera, L.) (Entered: 01/09/2009)
01/13/2009        CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                  Johnson; Voucher # 090108000001; Interim #8 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 1/13/09. (S-Inferrera, L.) (Entered: 01/30/2009)
01/15/2009   226 MOTION to Amend/Correct 212 Amended ORDER Government's Motion To Amend
                 Order Regarding Notice of Intention To Seek The Death Penalty by USA as to Azikiwe
                 Aquart, Azibo Aquart, Efrain Johnson. (Attachments: # 1 Text of Proposed Order)
                 (Reynolds, Alina) Motion relief, links and text Modified on 1/16/2009 (Bauer, J.).
                 (Entered: 01/15/2009)
01/16/2009   227 SECOND AMENDED ORDER granting 226 Motion to Amend/Correct 212 Amended
                 ORDER Government's Motion To Amend Order Regarding Notice of Intention To Seek
                 The Death Penalty as to Azikiwe Aquart (1), Azibo Aquart (3), Efrain Johnson (4).
                 Signed by Judge Peter C. Dorsey on 1/16/09. (Villano, P.) (Entered: 01/16/2009)
01/27/2009        CJA 30: Authorization to Pay Todd Allen Bussert in Death Penalty Proceedings as to
                  Efrain Johnson; Voucher # 090126000002. Interim #7 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 1/27/09. (Inferrera, L.) (Entered: 02/10/2009)
01/29/2009   228 NOTICE OF INTENT TO SEEK DEATH PENALTY by USA as to Azibo Aquart
                 (Reynolds, Alina) (Entered: 01/29/2009)
01/29/2009   229 NOTICE OF INTENT TO SEEK DEATH PENALTY by USA as to Azikiwe Aquart
                 (Reynolds, Alina) (Entered: 01/29/2009)
01/30/2009   230 Certificate of Service by USA as to Azikiwe Aquart, Azibo Aquart re 228 Notice of
                 Intent to Seek Death Penalty, 229 Notice of Intent to Seek Death Penalty (Reynolds,
                 Alina) (Entered: 01/30/2009)
02/09/2009   231 ELECTRONIC ORDER terminating 186 PROPOSED Order Re: Notice of Intention to
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                  Seek the Death Penalty as to Azibo Aquart (3). Entered in Error as a Motion.. Signed by
                  Judge Peter C. Dorsey on 2/9/09. (Villano, P.) (Entered: 02/09/2009)
02/13/2009   238 MOTION to Seal Accompanying Motion by Efrain Johnson. (Villano, P.) (Entered:
                 02/24/2009)
02/13/2009   239 EX PARTE MOTION by Efrain Johnson. (Villano, P.) (Entered: 02/24/2009)
02/17/2009   232 ORAL MOTION to Sever Defendant by Efrain Johnson. (Villano, P.) (Entered:
                 02/18/2009)
02/17/2009   233 ORDER granting 232 Oral Motion to Sever Defendant as to Efrain Johnson (4). Signed
                 by Judge Peter C. Dorsey on 2/17/09. (Villano, P.) (Entered: 02/18/2009)
02/17/2009   244 Minute Entry for proceedings held before Judge Peter C. Dorsey:Status Conference as
                 to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 2/17/2009 Total Time: 1
                 hours and 35 minutes(Villano, P.) (Entered: 03/27/2009)
02/19/2009   234 Fifth MOTION to Seal CJA motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 02/19/2009)
02/19/2009   235 SEALED MOTION to Modify CJA Budget - by Azibo Aquart. (S-Inferrera, L.)
                 (Entered: 02/19/2009)
02/23/2009   242 MOTION to Incur Expenses by Azikiwe Aquart. (Rodko, B.) (Entered: 02/27/2009)
02/23/2009        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart ; Voucher # 090217000002. Interim #6 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 2/23/09. (S-Inferrera, L.) (Entered: 03/13/2009)
02/24/2009   236 ELECTRONIC ORDER granting 234 Motion to Seal CJA motion as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 2/24/09. (Villano, P.) (Entered: 02/24/2009)
02/24/2009   237 ELECTRONIC ORDER granting 235 Sealed Motion to Modify CJA Budget as to
                 Azibo Aquart (3). Signed by Judge Peter C. Dorsey on 2/24/09. (Villano, P.) (Entered:
                 02/24/2009)
02/25/2009   240 ELECTRONIC ORDER granting 238 Motion to Seal Accompanying Motion as to
                 Efrain Johnson (4). Signed by Judge Peter C. Dorsey on 2/25/09. (Villano, P.) (Entered:
                 02/25/2009)
02/25/2009   241 ELECTRONIC ORDER granting 239 ExParte Motion as to Efrain Johnson (4). Signed
                 by Judge Peter C. Dorsey on 2/25/09. (Villano, P.) (Entered: 02/25/2009)
03/03/2009   243 ELECTRONIC ORDER granting 242 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 3/3/09. (Villano, P.) (Entered: 03/03/2009)
03/13/2009        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 090312000008. Interim #6 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 3/13/09. (Inferrera, L.) (Entered: 03/18/2009)
03/19/2009        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 090319000001. Interim #7 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 3/19/09. (Inferrera, L.) (Entered: 03/26/2009)
03/30/2009        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 090327000003. Interim #7 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 3/30/09. (Inferrera, L.) (Entered: 04/06/2009)
03/31/2009   245 Sixth MOTION to Seal CJA Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 03/31/2009)
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03/31/2009   247 MOTION to Incur Expenses by Azibo Aquart. (Villano, P.) (Entered: 04/01/2009)
04/01/2009   246 ELECTRONIC ORDER granting 245 Motion to Seal CJA Motion as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 4/1/09. (Villano, P.) (Entered: 04/01/2009)
04/01/2009   248 ELECTRONIC ORDER granting 247 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 4/1/09. (Villano, P.) (Entered: 04/01/2009)
04/02/2009   249 MOTION to Incur Expenses by Azikiwe Aquart. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Villano, P.) (Entered:
                 04/02/2009)
04/02/2009   250 MOTION to Seal CJA Motion Regarding Budget by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 04/02/2009)
04/02/2009   252 MOTION to Incur Expenses by Azibo Aquart. (Villano, P.) (Entered: 04/06/2009)
04/02/2009   255 THIRD SUPERSEDING INDICTMENT returned before Judge Holly B.
                 Fitzsimmons.Returned before grand jury number B-08-02 as to Azikiwe Aquart (1)
                 count(s) 1sss, 2sss-4sss, 5sss-7sss, 8sss, 9sss, Azibo Aquart (3) count(s) 1ss, 2ss-4ss,
                 5ss-7ss, 8ss, 10ss, Efrain Johnson (4) count(s) 1s, 2s-4s. (Gutierrez, Y.) (Entered:
                 04/06/2009)
04/02/2009         CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                   Azikiwe Aquart; Voucher # 090331000018. Interim #9 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 4/2/09. (Inferrera, L.) (Entered: 04/21/2009)
04/03/2009   251 ELECTRONIC ORDER granting 250 Motion to Seal CJA Motion Regarding Budget as
                 to Azibo Aquart (3). Signed by Judge Peter C. Dorsey on 4/3/09. (Villano, P.) (Entered:
                 04/03/2009)
04/06/2009   253 ORDER granting 249 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Peter C. Dorsey on 4/6/09. (Villano, P.) (Entered: 04/06/2009)
04/06/2009   254 ELECTRONIC ORDER granting 252 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 4/6/09. (Villano, P.) (Entered: 04/06/2009)
04/06/2009   256 SEALED MOTION to Release CJA Funds - by Azikiwe Aquart. (Villano, P.) (Entered:
                 04/08/2009)
04/06/2009   257 MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered: 04/08/2009)
04/09/2009   258 ELECTRONIC ORDER granting 256 Sealed Motion as to Azikiwe Aquart (1). Signed
                 by Judge Peter C. Dorsey on 4/9/09. (Villano, P.) (Entered: 04/09/2009)
04/09/2009   259 ELECTRONIC ORDER granting 257 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 4/9/09. (Villano, P.) (Entered: 04/09/2009)
04/24/2009   260 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Azibo Aquart: THIS IS
                 THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                 ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                 Arraignment set for 4/28/2009 02:00 PM in Courtroom One, 141 Church St., New
                 Haven, CT before Judge Peter C. Dorsey (Villano, P.) (Entered: 04/24/2009)
04/24/2009   261 NOTICE OF E-FILED CALENDAR as to Efrain Johnson: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Arraignment set
                 for 5/4/2009 10:00 AM in Courtroom One, 141 Church St., New Haven, CT before
                 Judge Peter C. Dorsey (Villano, P.) (Entered: 04/24/2009)

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04/28/2009   262 Minute Entry for proceedings held before Judge Joan G. Margolis:Arraignment as to
                 Azikiwe Aquart (1) Count 1sss,2sss-4sss,5sss-7sss,8sss,9sss held on 4/28/2009, Plea
                 entered by Azikiwe Aquart Not Guilty on counts 1sss thru 9sss Total Time: 0 hours and
                 10 minutes(Court Reporter Garguilo, ECRO.)(Villano, P.) (Entered: 05/01/2009)
04/28/2009   263 Minute Entry for proceedings held before Judge Joan G. Margolis:Arraignment as to
                 Azibo Aquart (3) Count 1ss,2ss-4ss,5ss-7ss,8ss,10ss held on 4/28/2009, Plea entered by
                 Azibo Aquart Not Guilty on counts 1sss thru 8sss & 10sss Total Time: 0 hours and 09
                 minutes(Court Reporter Garguilo, ECRO.)(Villano, P.) (Entered: 05/01/2009)
05/04/2009   264 Minute Entry for proceedings held before Judge Joan G. Margolis:Arraignment as to
                 Efrain Johnson (4) Count 1s,2s-4s held on 5/4/2009, Plea entered by Efrain Johnson Not
                 Guilty on counts 1-4 of the Third Superseding Indictment. Total Time: 5 minutes(Tape.)
                 (Rodko, B.) (Entered: 05/04/2009)
06/01/2009   265 MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered: 06/03/2009)
06/04/2009   266 ELECTRONIC ORDER granting 265 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 6/4/09. (Villano, P.) (Entered: 06/04/2009)
06/05/2009        CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 090608000008. Interim #1 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 6/5/09. (Inferrera, L.) (Entered: 06/12/2009)
06/05/2009        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 090603000002. Interim #8 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 6/5/09. (Inferrera, L.) (Entered: 06/12/2009)
06/05/2009        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 090603000001. Interim #8 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 6/5/09. (Inferrera, L.) (Entered: 06/12/2009)
06/18/2009   267 MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered: 06/19/2009)
06/22/2009   268 ELECTRONIC ORDER granting 267 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 6/22/09. (Villano, P.) (Entered: 06/22/2009)
06/25/2009   269 MOTION to Seal CJA Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 06/25/2009)
06/25/2009   271 MOTION to Incur Expenses by Azibo Aquart. (Villano, P.) (Entered: 06/26/2009)
06/26/2009   270 ELECTRONIC ORDER granting 269 Motion to Seal CJA Motion as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 5/26/09. (Villano, P.) (Entered: 06/26/2009)
06/26/2009   272 ELECTRONIC ORDER granting 271 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 6/26/09. (Villano, P.) (Entered: 06/26/2009)
07/15/2009        CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 090714000003. Interim #2 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 7/15/09. (Inferrera, L.) (Entered: 07/22/2009)
07/27/2009   273 MOTION to Continue Motions Deadline by Azibo Aquart. (Smith, Justin) (Entered:
                 07/27/2009)
07/28/2009   274 MOTION to Continue Motions Deadline by Azikiwe Aquart. (Stern, David) (Entered:
                 07/28/2009)
08/10/2009   275 ELECTRONIC ORDER granting 274 Motion to Continue Motions Deadline to 10/9/09
                 as to Azikiwe Aquart (1); granting 273 Motion to Continue Motions Deadline to 10/9/09

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                  as to Azibo Aquart (3). Signed by Judge Peter C. Dorsey on 8/10/09. (Villano, P.)
                  (Entered: 08/10/2009)
09/08/2009   276 MOTION to Continue Trial by Azikiwe Aquart. (Attachments: # 1 Affidavit)(Stern,
                 David) (Entered: 09/08/2009)
09/08/2009        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 090908000020. Interim #9 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 9/8/09. (Inferrera, L.) (Entered: 09/17/2009)
09/14/2009   277 ELECTRONIC ORDER granting 276 Motion to Continue Trial as to Azikiwe Aquart
                 (1). Jury Selection shall be rescheduled to May 6, 2010.. Signed by Judge Peter C.
                 Dorsey on 9/14/09. (Villano, P.) (Entered: 09/14/2009)
09/14/2009   278 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Azikiwe Aquart, Azibo
                 Aquart, Efrain Johnson Time excluded from 4/28/09 until 5/6/2010. Signed by Judge
                 Peter C. Dorsey on 9/14/09. (Villano, P.) (Entered: 09/14/2009)
09/21/2009        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 090917000002. Interim #10 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 9/21/09. (Inferrera, L.) (Entered: 09/29/2009)
09/21/2009   286 Minute Entry for proceedings held before Judge Peter C. Dorsey:Status Conference as
                 to Azikiwe Aquart, Azibo Aquart held on 9/21/2009 Total Time: 1 hours and 30
                 minutes(Villano, P.) (Entered: 10/06/2009)
09/21/2009   311 Minute Entry for proceedings held before Judge Peter C. Dorsey:Status Conference as
                 to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 9/21/2009 Total Time: 1
                 hours and 25 minutes(Villano, P.) (Entered: 12/14/2009)
09/23/2009   279 SEALED MOTION - by USA as to Efrain Johnson. (Torres, K.) (Entered: 09/28/2009)
09/28/2009   280 EX PARTE MOTION by Azikiwe Aquart. (Villano, P.) (Entered: 09/29/2009)
09/30/2009   281 ORDER granting 280 ExParte Motion as to Azikiwe Aquart (1). Signed by Judge Peter
                 C. Dorsey on 9/30/09. (Villano, P.) (Entered: 09/30/2009)
09/30/2009   282 EX PARTE MOTION by Azikiwe Aquart. (Villano, P.) (Entered: 09/30/2009)
09/30/2009   283 EX PARTE MOTION by Azikiwe Aquart. (Villano, P.) (Entered: 09/30/2009)
10/01/2009   284 ELECTRONIC ORDER granting 282 ExParte Motion as to Azikiwe Aquart (1);
                 granting 283 ExParte Motion as to Azikiwe Aquart (1). Signed by Judge Peter C.
                 Dorsey on 10/1/09. (Villano, P.) (Entered: 10/01/2009)
10/05/2009   287 MOTION for Leave to Appear Pro Hac Vice Attorney: Colleen Quinn Brady, Esq..
                 Filing Fee $25.00. Receipt Number B018592. by Azikiwe Aquart. (Villano, P.)
                 (Entered: 10/09/2009)
10/06/2009   285 ELECTRONIC ORDER granting 279 Sealed Motion as to Efrain Johnson (4). Signed
                 by Judge Peter C. Dorsey on 10/6/09. (Villano, P.) (Entered: 10/06/2009)
10/13/2009   288 ELECTRONIC ORDER granting 287 Motion for Leave to Appear Pro Hac Vice for
                 Attorney Colleen Quinn Brady for Azikiwe Aquart. as to Azikiwe Aquart (1). Signed by
                 Judge Peter C. Dorsey on 10/13/09. (Villano, P.) (Entered: 10/13/2009)
10/16/2009   289 SEALED MOTION to Seal Travel Motion - by Azikiwe Aquart. (Inferrera, L.)
                 (Entered: 10/16/2009)
10/16/2009   290 SEALED MOTION for Travel - by Azikiwe Aquart. (Inferrera, L.) (Entered:
                 10/16/2009)
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10/16/2009   291 ELECTRONIC ORDER granting 289 Sealed Motion to Seal Travel Motion as to
                 Azikiwe Aquart (1); granting 290 Sealed Motion To Travel as to Azikiwe Aquart (1).
                 Signed by Judge Peter C. Dorsey on 10/16/09. (Villano, P.) (Entered: 10/16/2009)
10/16/2009         CJA 20 as to Azikiwe Aquart: Authorization to Pay Colleen Brady. Voucher #
                   091015000009. Interim #4 payment. Signed by Magistrate Judge Joan G. Margolis on
                   10/16/09. (Inferrera, L.) (Entered: 10/22/2009)
10/31/2009         CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                   Azibo Aquart; Voucher # 091030000009. Interim #9 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 10/31/09. (Inferrera, L.) (Entered: 11/10/2009)
11/10/2009   292 MOTION to Continue Defendant's Motions Deadline by Azibo Aquart as to Azikiwe
                 Aquart, Azibo Aquart. (Smith, Justin) (Entered: 11/10/2009)
11/10/2009   293 MOTION to Continue Motions Schedule by Azikiwe Aquart. (Attachments: # 1
                 Appendix Notice of Appearance)(Stern, David) (Entered: 11/10/2009)
11/12/2009   294 ELECTRONIC ORDER granting 292 Motion to Continue Defendant's Motions
                 Deadline as to Azikiwe Aquart (1), Azibo Aquart (3); granting 293 Motion to Continue
                 Defendant's Motions Deadline as to Azikiwe Aquart (1). The deadline is extended to
                 12/11/09. Signed by Judge Peter C. Dorsey on 11/12/09. (Villano, P.) (Entered:
                 11/12/2009)
11/12/2009   295 ATTORNEY APPEARANCE: Colleen Quinn Brady appearing for Azikiwe Aquart
                 (Brady, Colleen) (Entered: 11/12/2009)
11/16/2009         CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                   Azikiwe Aquart; Voucher # 091113000010. Interim #5 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 11/16/09. (Inferrera, L.) (Entered: 11/25/2009)
11/17/2009         CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                   Aquart; Voucher # 091110000004. Interim #10 payment. Signed by Magistrate Judge
                   Joan G. Margolis on 11/17/09. (Inferrera, L.) (Entered: 12/01/2009)
11/18/2009   296 SEALED MOTION For Travel Authorization - by Azikiwe Aquart. (Villano, P.)
                 (Entered: 11/19/2009)
11/19/2009   298 MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered: 11/23/2009)
11/20/2009   297 ELECTRONIC ORDER granting in part 296 Sealed Motion For Travel Authorization as
                 to Azikiwe Aquart (1). The travel of the two is seen as duplicative and thus is authorized
                 for only one the the two but not both. Signed by Judge Peter C. Dorsey on 11/20/09.
                 (Villano, P.) (Entered: 11/20/2009)
11/23/2009   299 ELECTRONIC AMENDED ORDER as to Azikiwe Aquart re 296 SEALED MOTION
                 For Travel Authorization - filed by Azikiwe Aquart. Upon reconsideration, Defendant's
                 sealed motion for travel authorization [Doc. No. 296] is Granted. Pursuant to the
                 information provided by defense counsel, the Court finds travel by both counsel and a
                 mitigator specialist to be warranted. Signed by Judge Peter C. Dorsey on 11/23/09.
                 (Villano, P.) (Entered: 11/23/2009)
11/24/2009   300 ELECTRONIC ORDER granting 298 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 11/24/09. (Villano, P.) (Entered: 11/24/2009)
11/25/2009   301 SEALED MOTION To Incur Expenses - by Azikiwe Aquart. (Villano, P.) (Entered:
                 11/30/2009)
11/25/2009   302 MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered: 11/30/2009)

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11/25/2009   303 SEALED MOTION Motion to Incur - by Azikiwe Aquart. (Villano, P.) (Entered:
                 11/30/2009)
11/25/2009   304 MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered: 11/30/2009)
11/30/2009   305 ELECTRONIC ORDER granting 301 Sealed Motion to Incur Expenses as to Azikiwe
                 Aquart (1); granting 303 Sealed Motion to Incur Expenses as to Azikiwe Aquart (1).
                 Signed by Judge Peter C. Dorsey on 11/30/09. (Villano, P.) (Entered: 11/30/2009)
12/01/2009   306 ELECTRONIC ORDER granting 302 Motion to Incur Expenses as to Azikiwe Aquart
                 (1); granting 304 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by Judge
                 Peter C. Dorsey on 12/1/09. (Villano, P.) (Entered: 12/01/2009)
12/07/2009   307 MOTION for Extension of Time to File Pretrial Motions until December 22 2009 by
                 Azikiwe Aquart. (Sullivan, Robert) (Entered: 12/07/2009)
12/08/2009   308 ELECTRONIC ORDER granting 307 Motion for Extension of Time to File Pretrial
                 Motions until December 22 2009 as to Azikiwe Aquart (1). Signed by Judge Peter C.
                 Dorsey on 12/8/09. (Villano, P.) (Entered: 12/08/2009)
12/08/2009   309 MOTION to Continue Defendant's Motion Deadline by Azibo Aquart. (Smith, Justin)
                 (Entered: 12/08/2009)
12/09/2009   310 ELECTRONIC ORDER granting 309 Motion to Continue Defendant's Motion Deadline
                 to 12/22/09 as to Azibo Aquart (3). Signed by Judge Peter C. Dorsey on 12/9/09.
                 (Villano, P.) (Entered: 12/09/2009)
12/14/2009   312 SEALED MOTION Motion to Seal & Motion to Incur Expenses - by Azikiwe Aquart.
                 (Villano, P.) (Entered: 12/15/2009)
12/14/2009   313 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered:
                 12/15/2009)
12/15/2009   314 ELECTRONIC ORDER granting 312 Sealed Motion as to Azikiwe Aquart (1). Signed
                 by Judge Peter C. Dorsey on 12/15/09. (Villano, P.) (Entered: 12/15/2009)
12/15/2009   315 ELECTRONIC ORDER granting 313 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 12/15/09. (Villano, P.) (Entered: 12/15/2009)
12/15/2009        CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                  Aquart ; Voucher # 091214000005. Interim #5 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 12/15/09. (Inferrera, L.) (Entered: 12/28/2009)
12/21/2009   316 MOTION to Sever Defendant by Azibo Aquart. (Attachments: # 1 Memorandum in
                 Support of Motion to Sever Defendants, # 2 Exhibit A-1, # 3 Exhibit A-2, # 4 Exhibit B-
                 1, # 5 Exhibit B-2)(Smith, Justin) (Entered: 12/21/2009)
12/21/2009   317 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered:
                 12/22/2009)
12/22/2009   318 MOTION for Order Re: Compelling Compliance with Local Rules Relating to
                 Discovery and Disclosures by Azikiwe Aquart. (Attachments: # 1 Exhibit A)(Sullivan,
                 Robert) (Entered: 12/22/2009)
12/22/2009   319 MOTION to Strike Statutory Aggravator by Azibo Aquart. (Attachments: # 1 Exhibit A,
                 # 2 Exhibit B)(Sheehan, Michael) (Entered: 12/22/2009)
12/22/2009   320 MOTION to Dismiss Superseding Indictment by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 12/22/2009)
12/22/2009   321 MOTION to Sever Count Nine of the Third Superceding Indictment by Azikiwe Aquart.
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                  (Sullivan, Robert) (Entered: 12/22/2009)
12/22/2009   322 MOTION to Compel Discovery by Azibo Aquart. (Sheehan, Michael) (Entered:
                 12/22/2009)
12/22/2009   323 MOTION to Dismiss Third Superceding Indictment by Azikiwe Aquart. (Sullivan,
                 Robert) (Entered: 12/22/2009)
12/22/2009   324 MOTION to Sever Defendant by Azikiwe Aquart as to Azikiwe Aquart, Nathaniel
                 Grant, Azibo Aquart, Efrain Johnson. (Attachments: # 1 Memorandum in Support of
                 Motion to Sever Defendants, # 2 Exhibit A, # 3 Exhibit B)(Stern, David) (Entered:
                 12/22/2009)
12/22/2009   325 MOTION to Sever Defendant Motion to Sever Count 10 by Azibo Aquart. (Sheehan,
                 Michael) (Entered: 12/22/2009)
12/22/2009   326 MOTION to Strike Aggravating Factors by Azikiwe Aquart. (Attachments: # 1
                 Memorandum in Support of Motion to Strike Aggravating Factors, # 2 Exhibit A, # 3
                 Exhibit B)(Stern, David) (Entered: 12/22/2009)
12/22/2009   327 MOTION to Strike Statutory Aggravators by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 12/22/2009)
12/22/2009   328 MOTION to Dismiss the Government's Notice of Intent to Seek the Death Penalty by
                 Azikiwe Aquart. (Attachments: # 1 Memorandum in Support of Motion to Dismiss the
                 Death Penalty, # 2 Exhibit A)(Stern, David) (Entered: 12/22/2009)
12/22/2009   329 MOTION to Dismiss Death Penalty Notice by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 12/22/2009)
12/23/2009   330 ELECTRONIC ORDER granting 317 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 12-23-09. (Miller, K.) (Entered: 12/23/2009)
01/06/2010   331 MOTION to Seal CJA Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 01/06/2010)
01/06/2010   332 SEALED MOTION CJA Motion - by Azibo Aquart. (Villano, P.) (Entered: 01/07/2010)
01/06/2010        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 11 & 12. Interim payment. Signed by Judge Joan G.
                  Margolis on 1/6/2010. (Torres, K.) (Entered: 01/15/2010)
01/07/2010   333 ELECTRONIC ORDER granting 331 Motion to Seal CJA Motion as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 1/7/2010. (Villano, P.) (Entered: 01/07/2010)
01/07/2010   334 ELECTRONIC ORDER granting 332 Sealed Motion CJA Motion as to Azibo Aquart
                 (3). Signed by Judge Peter C. Dorsey on 1/7/2010. (Villano, P.) (Entered: 01/07/2010)
01/14/2010   335 ORDER Returning Submission as Deficient: Ex Parte Motions returned to Colleen
                 Quinn Brady as to Azikiwe Aquart. Signed by Judge Peter C. Dorsey on 1/13/10.
                 (Torrenti, R.) (Entered: 01/14/2010)
01/15/2010   336 SEALED MOTION to Seal Motion by Azikiwe Aquart. (Inferrera, L.) (Entered:
                 01/15/2010)
01/15/2010   337 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Inferrera, L.) (Entered:
                 01/15/2010)
01/19/2010   338 ELECTRONIC ORDER granting 336 Sealed Motion as to Azikiwe Aquart (1); granting
                 337 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by Judge Peter C.
                 Dorsey on 1/19/2010. (Villano, P.) (Entered: 01/19/2010)
                                               GA39
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01/19/2010   339 SEALED MOTION to Seal Travel Motion - by Azikiwe Aquart. (Villano, P.) (Entered:
                 01/20/2010)
01/19/2010   340 SEALED MOTION Motion for Travel - by Azikiwe Aquart. (Villano, P.) (Entered:
                 01/20/2010)
01/19/2010   341 SEALED MOTION to Seal Motion for Travel - by Azikiwe Aquart. (Villano, P.)
                 (Entered: 01/20/2010)
01/19/2010   342 SEALED MOTION for Travel - by Azikiwe Aquart. (Villano, P.) (Entered: 01/20/2010)
01/20/2010   343 ELECTRONIC ORDER granting 339 Sealed Motion to Seal Travel Motion as to
                 Azikiwe Aquart (1); granting 341 Sealed Motion to Seal Travel Motion as to Azikiwe
                 Aquart (1). Signed by Judge Peter C. Dorsey on 1/20/2010. (Villano, P.) (Entered:
                 01/20/2010)
01/20/2010   344 ELECTRONIC ORDER granting 340 Sealed Motion for Travel as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 1/20/2010. (Villano, P.) (Entered: 01/20/2010)
01/20/2010   345 ELECTRONIC ORDER granting 342 Sealed Motion for Travel as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 1/20/2010. (Villano, P.) (Entered: 01/20/2010)
01/25/2010   346 SEALED MOTION to Seal Motion to Incurr Expenses - by Azikiwe Aquart. (Villano,
                 P.) (Entered: 01/26/2010)
01/25/2010   347 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered:
                 01/26/2010)
01/26/2010   359 Minute Entry for proceedings held before Judge Peter C. Dorsey:Status Conference as
                 to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 1/26/2010 Total Time: 1
                 hours and 20 minutes(Villano, P.) (Entered: 03/05/2010)
01/27/2010   348 ELECTRONIC ORDER granting 346 Sealed Motion to Seal Motion to Incurr Expenses
                 as to Azikiwe Aquart (1); granting 347 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 1/27/2010. (Villano, P.) (Entered: 01/27/2010)
01/28/2010         CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                   Azibo Aquart Voucher # 100127000006. Interim #10 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 1/28/10. (Inferrera, L.) (Entered: 03/10/2010)
02/03/2010   349 Proposed Voir Dire by Azikiwe Aquart (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                 (Stern, David) (Entered: 02/03/2010)
02/04/2010   350 MOTION Establish Jury Selection Procedures by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 02/04/2010)
02/04/2010   351 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered:
                 02/05/2010)
02/05/2010   352 ELECTRONIC ORDER granting in part 351 Motion to Incur Expenses as to Azikiwe
                 Aquart (1). Granted in part to incur the cost of one report and reserving counsel's right
                 to renew a request for the expense of trial testimony if it becomes necessary. Signed by
                 Judge Peter C. Dorsey on 2/5/2010. (Villano, P.) (Entered: 02/05/2010)
02/08/2010   353 MOTION to Seal CJA Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 02/08/2010)
02/08/2010   355 SEALED MOTION to Incur Expenses by Azibo Aquart. (Villano, P.) (Entered:
                 02/11/2010)
02/11/2010   354 ELECTRONIC ORDER granting 353 Motion to Seal as to Azibo Aquart (3). Signed by
                                                GA40
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                   Judge Peter C. Dorsey on 2/11/2010. (Villano, P.) (Entered: 02/11/2010)
02/11/2010   356 ELECTRONIC ORDER granting 355 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 2/11/2010. (Villano, P.) (Entered: 02/11/2010)
02/16/2010         CJA 30: Authorization to Pay Russell T. Neufeld in Death Penalty Proceedings as to
                   Azikiwe Aquart Voucher # 100211000009. Final payment. Signed by Magistrate Judge
                   Joan G. Margolis on 2/16/10. (Inferrera, L.) (Entered: 03/10/2010)
03/01/2010   358 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Villano, P.) (Entered:
                 03/04/2010)
03/03/2010   357 Second MOTION to Continue by Azikiwe Aquart. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C)(Stern, David) (Entered: 03/03/2010)
03/03/2010   361 FOURTH SUPERSEDING INDICTMENT returned before Judge William I.
                 Garfinkel.Returned before grand jury number B-09-02 as to Azikiwe Aquart (1)
                 count(s) 1ssss, 2ssss-4ssss, 5ssss-7ssss, 8ssss, 9ssss, Azibo Aquart (3) count(s) 1sss,
                 2sss-4sss, 5sss-7sss, 8sss, 10sss, Efrain Johnson (4) count(s) 1ss, 2ss-4ss. (S-Torres, )
                 (Entered: 03/08/2010)
03/04/2010         CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                   Aquart Voucher # 100301000008. Interim #6 payment. Signed by Magistrate Judge Joan
                   G. Margolis on 3/4/10. (Inferrera, L.) (Entered: 03/10/2010)
03/08/2010   360 MOTION to Seal CJA Motion Regarding Budget by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 03/08/2010)
03/08/2010         CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                   Azikiwe Aquart; Voucher # 100305000008. Interim #7 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 3/8/10. (S-Inferrera, L.) (Entered: 03/16/2010)
03/09/2010   362 ELECTRONIC ORDER granting 358 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 3/8/2010. (Villano, P.) (Entered: 03/09/2010)
03/10/2010   363 ELECTRONIC ORDER granting 360 Motion to Seal CJA Motion Regarding Budget as
                 to Azibo Aquart (3). Signed by Judge Peter C. Dorsey on 3/10/2010. (Villano, P.)
                 (Entered: 03/10/2010)
03/12/2010   364 SEALED MOTION to Incur Expenses by Azibo Aquart. (Villano, P.) (Entered:
                 03/12/2010)
03/18/2010   365 RESPONSE/REPLY by USA as to Azikiwe Aquart re 357 Motion to Continue (Markle,
                 Peter) (Entered: 03/18/2010)
03/19/2010         CJA 30: Authorization to Pay in Death Penalty Proceedings as to Azikiwe Aquart
                   Voucher # 100312000007. Final payment. Signed by Magistrate Judge Joan G. Margolis
                   on 3/19/10. (S-Inferrera, L.) (Entered: 03/23/2010)
03/19/2010         CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                   Aquart ; Voucher # 100312000020. Interim #12 payment. Signed by Magistrate Judge
                   Joan G. Margolis on 3/19/10. (S-Inferrera, L.) (Entered: 03/29/2010)
03/22/2010   366 REPLY TO RESPONSE to Motion by Azikiwe Aquart re 357 Second MOTION to
                 Continue Trial (Stern, David) (Entered: 03/22/2010)
03/29/2010   367 ELECTRONIC ORDER granting 364 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 3/29/2010. (Villano, P.) (Entered: 03/29/2010)
03/29/2010   368 NOTICE OF E-FILED STATUS CONFERENCE CALENDAR as to Azikiwe Aquart,
                 Azibo Aquart, Efrain Johnson: THIS IS THE ONLY NOTICE COUNSEL/THE
                                                 GA41
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                   PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE
                   MUST PRESENT PHOTO IDENTIFICATION. Status Conference set for 4/7/2010
                   11:30 AM in Chambers Room 107, 141 Church St., New Haven, CT before Judge Peter
                   C. Dorsey (Villano, P.) (Entered: 03/29/2010)
03/30/2010   369 NOTICE OF E-FILED AMENDED STATUS CONFERENCE CALENDAR as to
                 Azikiwe Aquart, Azibo Aquart: THIS IS THE ONLY NOTICE COUNSEL/THE
                 PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE
                 MUST PRESENT PHOTO IDENTIFICATION. Status Conference set for 4/7/2010
                 11:30 AM in Chambers Room 107, 141 Church St., New Haven, CT before Judge Peter
                 C. Dorsey (Villano, P.) (Entered: 03/30/2010)
03/30/2010   370 ELECTRONIC ORDER granting 357 Second Motion to Continue Jury Selection to
                 September, 2010 as to Azikiwe Aquart (1). The continuance seems to be reasonably
                 necessary to ensure defendants rights in the fact of a charge of a capital charge. Counsel
                 should not schedule any matters that would interfere with a 9/10/2010 trial. The Status
                 conference that was scheduled for April 7, 2010 at 11:30 a.m., is hereby canceled.
                 Signed by Judge Peter C. Dorsey on 3/30/2010. (Villano, P.) (Entered: 03/30/2010)
03/30/2010         Terminate Deadlines and Hearings as to Azikiwe Aquart, Azibo Aquart, Efrain Johnson
                   for status conference canceled: (Villano, P.) (Entered: 03/30/2010)
03/30/2010   371 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Azikiwe Aquart, Azibo
                 Aquart, Efrain Johnson Time excluded from 5/6/2010 until 9/10/2010. The Defendant's
                 motion to continue jury selection having been granted, the Court finds that the ends of
                 justice served by taking this action outweigh the best interest of the public and the
                 defendants in a speedy trial. Signed by Judge Peter C. Dorsey on 3/30/2010. (Villano,
                 P.) (Entered: 03/30/2010)
03/30/2010   372 AMENDED ELECTRONIC ORDER as to Azikiwe Aquart, Azibo Aquart re 370
                 Electronic Order on Motion to Continue Jury Selection to September, 2010. Motion to
                 Continue Jury Selection also includes co-defendant Azibo Aquart. Signed by Judge
                 Peter C. Dorsey on 3/30/2010. (Villano, P.) (Entered: 03/30/2010)
04/01/2010   373 Minute Entry for proceedings held before Judge Joan G. Margolis:Arraignment as to
                 Azikiwe Aquart (1) Count 1ssss,2ssss-4ssss,5ssss-7ssss,8ssss,9ssss held on 4/1/2010,
                 Plea entered Not Guilty on counts 1-9, Defendant detained ( Jury Selection set for
                 9/10/2010 09:00 AM in Courtroom One, 141 Church St., New Haven, CT before Judge
                 Peter C. Dorsey) 09 minutes(Court Reporter CD/FTR.)(Gutierrez, Y.) (Entered:
                 04/08/2010)
04/07/2010   374 Minute Entry for proceedings held before Judge Joan G. Margolis:Arraignment as to
                 Azibo Aquart (3) Count 1sss,2sss-4sss,5sss-7sss,8sss,10sss held on 4/8/2010, Plea
                 entered Not Guilty on counts 1, 2, 3, 4, 5, 6, 7, 8 and 10, Defendant detained ( Jury
                 Selection set for 9/10/2010 09:00 AM in Courtroom One, 141 Church St., New Haven,
                 CT before Judge Peter C. Dorsey) 08 minutes(Court Reporter CD/FTR.)(Gutierrez, Y.)
                 Modified on 5/17/2010 (Gutierrez, Y.). (Entered: 04/08/2010)
04/12/2010   375 REPLY TO RESPONSE to Motion by USA as to Azikiwe Aquart, Azibo Aquart re 324
                 MOTION to Sever Defendant, 329 MOTION to Dismiss Death Penalty Notice, 327
                 MOTION to Strike Statutory Aggravators, 320 MOTION to Dismiss Superseding
                 Indictment, 319 MOTION to Strike Statutory Aggravator, 316 MOTION to Sever
                 Defendant, 325 MOTION to Sever Defendant Motion to Sever Count 10, 326 MOTION
                 to Strike Aggravating Factors, 321 MOTION to Sever Count Nine of the Third
                 Superceding Indictment, 323 MOTION to Dismiss Third Superceding Indictment, 328
                 MOTION to Dismiss the Government's Notice of Intent to Seek the Death Penalty
                 (Reynolds, Alina) (Entered: 04/12/2010)
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04/12/2010   376 Minute Entry for proceedings held before Judge Joan G. Margolis:Arraignment as to
                 Efrain Johnson (4) Count 1ss,2ss-4ss held on 4/12/2010, Plea entered by Efrain Johnson
                 Not Guilty on counts 1-4, Defendant detained( Jury Selection set for 9/10/2010 09:00
                 AM in Courtroom One, 141 Church St., New Haven, CT before Judge Peter C. Dorsey)
                 05 minutes(Court Reporter CD-FTR.)(Gutierrez, Y.) (Entered: 04/14/2010)
04/14/2010        CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                  Aquart; Voucher # 100401000008. Interim #7 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 4/14/10. (Inferrera, L.) (Entered: 09/16/2010)
04/16/2010   377 MOTION to Seal CJA Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 04/16/2010)
04/16/2010   379 SEALED MOTION to Incur Expenses by Azibo Aquart. (Villano, P.) (Entered:
                 04/20/2010)
04/20/2010   378 ELECTRONIC ORDER granting 377 Motion to Seal as to Azibo Aquart (3). Signed by
                 Judge Peter C. Dorsey on 4/20/2010. (Villano, P.) (Entered: 04/20/2010)
04/20/2010        CJA 30: Authorization to Pay Robert Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart Voucher # 100415000006 and 100415000007. Interim #13 & 14
                  payments. Signed by Magistrate Judge Joan G. Margolis on 4/20/10. (Inferrera, L.)
                  (Entered: 04/21/2010)
04/21/2010   380 ELECTRONIC ORDER granting 379 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 4/21/2010. (Villano, P.) (Entered: 04/21/2010)
04/26/2010   381 NOTICE OF E-FILED STATUS CONFERENCE CALENDAR as to Azikiwe Aquart,
                 Azibo Aquart, Efrain Johnson: THIS IS THE ONLY NOTICE COUNSEL/THE
                 PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE
                 MUST PRESENT PHOTO IDENTIFICATION. Status Conference set for 4/28/2010
                 10:00 AM in Chambers Room 107, 141 Church St., New Haven, CT before Judge Peter
                 C. Dorsey (Villano, P.) (Entered: 04/26/2010)
04/26/2010   382 WAIVER of Speedy Trial by Azibo Aquart (Sheehan, Michael) (Entered: 04/26/2010)
04/26/2010   383 MOTION for Extension of Time until 5/17/10 to File Response/Reply as to 375 Reply
                 to Response re 324 MOTION to Sever Defendant, 326 MOTION to Strike Aggravating
                 Factors, 321 MOTION to Sever Count Nine of the Third Superceding Indictment, 323
                 MOTION to Dismiss Third Superceding Indictment, 328 MOTION to Dismiss the
                 Government's Notice of Intent to Seek the Death Penalty by Azikiwe Aquart. (Sullivan,
                 Robert) Modified on 4/27/2010 to add link to motions (Garguilo, B). (Entered:
                 04/26/2010)
04/27/2010   384 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Azibo Aquart re 382
                 Waiver of Speedy Trial Time excluded from 5/6/2010 until 9/10/2010. Signed by Judge
                 Peter C. Dorsey on 2/27/2010. (Villano, P.) Modified on 4/28/2010 (Villano, P.).
                 (Entered: 04/27/2010)
04/27/2010   385 WAIVER of Speedy Trial by Azikiwe Aquart (Sullivan, Robert) (Entered: 04/27/2010)
04/27/2010   386 MOTION for Extension of Time to File Response/Reply to Government's Response
                 until May 17, 2010 by Azibo Aquart. (Smith, Justin) (Entered: 04/27/2010)
04/28/2010   387 Minute Entry for proceedings held before Judge Peter C. Dorsey:Status Conference as
                 to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 4/28/2010 Total Time: 0
                 hours and 30 minutes(Villano, P.) (Entered: 04/28/2010)
04/28/2010   388 WAIVER of Speedy Trial by Efrain Johnson (Villano, P.) (Entered: 04/28/2010)
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04/28/2010   389 ELECTRONIC ORDER TO CONTINUE - Ends of Justice as to Efrain Johnson re 388
                 Waiver of Speedy Trial Time excluded from 4/28/2010 until 9/10/2010. Signed by Judge
                 Peter C. Dorsey on 4/28/2010. (Villano, P.) (Entered: 04/28/2010)
04/29/2010   390 ELECTRONIC ORDER granting 383 Motion for Extension of Time to File
                 Response/Reply until 5/17/10 to File Response/Reply as to 375 Reply to Response re
                 324 MOTION to Sever Defendant, 326 MOTION to Strike Aggravating Factors, 321
                 MOTION to Sever Count Nine of the Third Superceding Indictment, 323 MOTION to
                 Dismiss Third Superceding Indictment, 328 MOTION to Dismiss the Government's
                 Notice of Intent to Seek the Death Penalty as to Azikiwe Aquart (1). Signed by Judge
                 Peter C. Dorsey on 4/29/2010. (Villano, P.) (Entered: 04/29/2010)
04/29/2010   391 Reset Deadlines re Motion as to Azikiwe Aquart 321 MOTION to Sever Count Nine of
                 the Third Superceding Indictment, 324 MOTION to Sever Defendant, 328 MOTION to
                 Dismiss the Government's Notice of Intent to Seek the Death Penalty, 326 MOTION to
                 Strike Aggravating Factors, 323 MOTION to Dismiss Third Superceding Indictment.
                 Responses due by 5/17/2010 (Villano, P.) (Entered: 04/29/2010)
04/29/2010   392 ELECTRONIC ORDER granting 386 Motion for Extension of Time to File
                 Response/Reply to Government's Response until May 17, 2010 as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 4/29/2010. (Villano, P.) (Entered: 04/29/2010)
04/29/2010   393 Reset Deadlines re Motions as to Azibo Aquart 322 MOTION to Compel Discovery,
                 319 MOTION to Strike Statutory Aggravator, 329 MOTION to Dismiss Death Penalty
                 Notice, 327 MOTION to Strike Statutory Aggravators, 324 MOTION to Sever
                 Defendant, 325 MOTION to Sever Defendant Motion to Sever Count 10, 316 MOTION
                 to Sever Defendant, 320 MOTION to Dismiss Superseding Indictment, 350 MOTION
                 Establish Jury Selection Procedures. Responses due by 5/17/2010 (Villano, P.) (Entered:
                 04/29/2010)
04/29/2010        CJA 30: Authorization to Pay Robert Soloway in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 100427000001. Final payment. Signed by Magistrate Judge
                  Joan G. Margolis on 4/29/10. (Inferrera, L.) (Entered: 05/11/2010)
05/03/2010   395 MOTION to Seal Motion to Incur Expenses by Azikiwe Aquart. (Garguilo, B) (Entered:
                 05/07/2010)
05/03/2010   396 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Garguilo, B) (Entered:
                 05/07/2010)
05/03/2010   398 MOTION to Seal Motion to Incur Expenses by Azikiwe Aquart. (Garguilo, B) (Entered:
                 05/07/2010)
05/03/2010   399 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Garguilo, B) (Entered:
                 05/07/2010)
05/05/2010   394 Sealed Document: Habeas Writ and Application by USA as to Azikiwe Aquart,
                 Nathaniel Grant, Azibo Aquart, Efrain Johnson - (S-Barrille, J.) (Entered: 05/05/2010)
05/07/2010   397 ORDER granting 395 Motion to Seal as to Azikiwe Aquart (1). Signed by Judge Peter
                 C. Dorsey on 5/7/2010. (Garguilo, B) (Entered: 05/07/2010)
05/07/2010   400 ORDER granting 398 Motion to Seal as to Azikiwe Aquart (1). Signed by Judge Peter
                 C. Dorsey on 5/7/2010. (Garguilo, B) (Entered: 05/07/2010)
05/10/2010   401 ELECTRONCI ORDER granting 396 Motion to Incur Expenses as to Azikiwe Aquart
                 (1). Signed by Judge Peter C. Dorsey on 5/10/2010. (Villano, P.) (Entered: 05/10/2010)
05/10/2010   402 ELECTRONIC ORDER granting 399 Motion to Incur Expenses as to Azikiwe Aquart

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                  (1). Signed by Judge Peter C. Dorsey on 5/10/2010. (Villano, P.) (Entered: 05/10/2010)
05/17/2010   403 MOTION for Extension of Time to Reply to Government's Response to Defendant
                 Azikiwe Aquart's Pre-Trial Motions until 5/24/2010 re 321 MOTION to Sever Count
                 Nine of the Third Superceding Indictment, 318 MOTION for Order Re: Compelling
                 Compliance with Local Rules Relating to Discovery and Disclosures, 324 MOTION to
                 Sever Defendant, 328 MOTION to Dismiss the Government's Notice of Intent to Seek
                 the Death Penalty, 326 MOTION to Strike Aggravating Factors. by Azikiwe Aquart.
                 (Sullivan, Robert) Modified on 5/18/2010 to correct event and add links to motions
                 (Garguilo, B). (Entered: 05/17/2010)
05/17/2010   404 Docket Entry Correction as to Azibo Aquart re 374 Minute Entry for proceedings. Entry
                 modified to add the correct filed date,.(Gutierrez, Y.) (Entered: 05/17/2010)
05/17/2010        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 100517000001. Interim #12 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 5/17/10. (Inferrera, L.) (Entered: 05/20/2010)
05/17/2010        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 100517000001. Interim #12 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 5/17/10. (Inferrera, L.) (Entered: 05/21/2010)
05/18/2010   405 ELECTRONIC ORDER granting 403 Motion for Extension of Time to Reply to
                 Government's Response to Defendant Azikiwe Aquart's Pre-Trial Motions until
                 5/24/2010 as to Azikiwe Aquart (1). Signed by Judge Peter C. Dorsey on 5/18/2010.
                 (Villano, P.) (Entered: 05/18/2010)
05/18/2010        Set/Reset Deadlines re Motion or Report and Recommendation in case as to Azikiwe
                  Aquart 321 MOTION to Sever Count Nine of the Third Superceding Indictment, 318
                  MOTION for Order Re: Compelling Compliance with Local Rules Relating to
                  Discovery and Disclosures, 324 MOTION to Sever Defendant, 328 MOTION to
                  Dismiss the Government's Notice of Intent to Seek the Death Penalty, 326 MOTION to
                  Strike Aggravating Factors. Responses due by 5/24/2010 (Villano, P.) (Entered:
                  05/18/2010)
05/18/2010   406 REPLY TO RESPONSE to Motion by Azibo Aquart re 316 MOTION to Sever
                 Defendant (Smith, Justin) (Entered: 05/18/2010)
05/21/2010   407 REPLY TO RESPONSE to Motion by Azikiwe Aquart re 326 MOTION to Strike
                 Aggravating Factors (Stern, David) (Entered: 05/21/2010)
05/21/2010   408 REPLY TO RESPONSE to Motion by Azikiwe Aquart re 324 MOTION to Sever
                 Defendant (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Stern, David) (Entered:
                 05/21/2010)
05/21/2010        Attorney update in case as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain
                  Johnson. Attorney David B. Fein for USA added. (Villano, P.) (Entered: 05/24/2010)
05/24/2010   409 REPLY TO RESPONSE to Motion by Azikiwe Aquart re 321 MOTION to Sever Count
                 Nine of the Third Superceding Indictment (Sullivan, Robert) (Entered: 05/24/2010)
05/26/2010   410 MOTION to Amend/Correct 407 Reply to Response re 326 MOTION to Strike
                 Aggravating Factors filed by Azikiwe Aquart by Azikiwe Aquart. (Attachments: # 1
                 Memorandum in Support)(Stern, David) Modified on 5/27/2010 to add link to
                 underlying motion(Garguilo, B). (Entered: 05/26/2010)
05/27/2010   411 ELECTRONIC ORDER granting 410 Motion to Amend/Correct 407 Reply to Response
                 as to Azikiwe Aquart (1). Signed by Judge Peter C. Dorsey on 5/27/2010. (Villano, P.)
                 (Entered: 05/27/2010)
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05/28/2010        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart ; Voucher # 100521000003. Interim #11 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 5/28/10. (Inferrera, L.) (Entered: 06/09/2010)
05/28/2010        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 100521000002. Interim #14 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 5/28/10. (Inferrera, L.) (Entered: 06/09/2010)
06/02/2010   412 MOTION to Seal Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 06/02/2010)
06/02/2010   414 SEALED MOTION to Incur Expenses by Azibo Aquart. (Villano, P.) (Entered:
                 06/03/2010)
06/03/2010   413 ELECTRONIC ORDER granting 412 Motion to Seal Budget Motion as to Azibo
                 Aquart (3). Signed by Judge Peter C. Dorsey on 6/2/2010. (Villano, P.) (Entered:
                 06/03/2010)
06/03/2010   415 SEALED MOTION to Seal Motion to Travel by Azikiwe Aquart. (Inferrera, L.)
                 Modified on 6/7/2010 (Inferrera, L.). (Entered: 06/07/2010)
06/03/2010   416 SEALED MOTION for Travel Authorization - by Azikiwe Aquart. (Inferrera, L.)
                 (Entered: 06/07/2010)
06/07/2010        Docket Entry Correction as to Azikiwe Aquart re 415 SEALED MOTION ; corrected to
                  reflect sealed motion (Inferrera, L.) (Entered: 06/07/2010)
06/07/2010   417 ELECTRONIC ORDER granting 415 Sealed Motion to Seal Motion to Travel as to
                 Azikiwe Aquart (1); granting 416 Sealed Motion for Travel Authorization as to Azikiwe
                 Aquart (1). Signed by Judge Peter C. Dorsey on 6/7/2010. (S-Villano, P.) (Entered:
                 06/07/2010)
06/07/2010   418 ELECTRONIC ORDER granting 414 Motion to Incur Expenses as to Azibo Aquart (3).
                 Signed by Judge Peter C. Dorsey on 6/7/2010. (Villano, P.) (Entered: 06/07/2010)
06/08/2010        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart ; Voucher # 100607000003. Interim #15 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 6/8/10. (Inferrera, L.) (Entered: 06/21/2010)
06/08/2010   422 Sealed Document: sealed application by USA as to Efrain Johnson - (S-Barrille, J.)
                 (Entered: 06/24/2010)
06/08/2010   423 Sealed Document: sealed affidavit by USA as to Efrain Johnson re 422 Sealed
                 Document sealed application - (S-Barrille, J.) (Entered: 06/24/2010)
06/08/2010   424 Sealed Document: Sealed warrant and return by USA as to Efrain Johnson re 423 Sealed
                 Document, 422 Sealed Document - (S-Barrille, J.) (Entered: 06/24/2010)
06/16/2010        Case as to Azikiwe Aquart, Azibo Aquart reassigned to Judge Janet Bond Arterton.
                  Judge Peter C. Dorsey no longer assigned to the case. (S-D'Onofrio, B.) (Entered:
                  06/16/2010)
06/17/2010   420 SEALED MOTION Approval for Hours by Azikiwe Aquart. (Torday, B.) (Entered:
                 06/22/2010)
06/17/2010   421 SEALED MOTION Approval of funds by Azikiwe Aquart. (Torday, B.) (Entered:
                 06/22/2010)
06/22/2010   419 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Nathaniel Grant, Azibo
                 Aquart, Efrain Johnson: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES

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                  WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE MUST
                  PRESENT PHOTO IDENTIFICATION.( Status Conference set for 7/6/2010 09:00 AM
                  in Chambers before Judge Janet Bond Arterton) (Torday, B.) (Entered: 06/22/2010)
06/24/2010   431 USM Return of Service on Subpoena executed as to Azikiwe Aquart, Azibo Aquart,
                 Efrain Johnson on 3/30/2010 (Villano, P.) (Entered: 07/12/2010)
06/29/2010   425 AMENDED NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Nathaniel
                 Grant, Azibo Aquart, Efrain Johnson: THIS IS THE ONLY NOTICE COUNSEL/THE
                 PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE
                 MUST PRESENT PHOTO IDENTIFICATION.(A HEARING ON PENDING
                 MOTION AND STATUS Conference set for 7/6/2010 09:00 AM in Courtroom Two,
                 141 Church St., New Haven, CT before Judge Janet Bond Arterton) (Torday, B.)
                 (Entered: 06/29/2010)
07/06/2010   426 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Azibo Aquart: THIS IS
                 THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                 ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                 Motion Hearing set for 7/8/2010 08:30 AM in Courtroom Two, 141 Church St., New
                 Haven, CT before Judge Janet Bond Arterton (Torday, B.) (Entered: 07/06/2010)
07/06/2010   427 Minute Entry for proceedings held before Judge Janet Bond Arterton:Status Conference
                 as to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 7/6/2010 Total Time: 1
                 hours and 30 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 07/06/2010)
07/07/2010   428 MOTION to Compel Discovery of DNA Evidence by Azibo Aquart. (Attachments: # 1
                 Exhibit Exhibits A -I)(Sheehan, Michael) Modified on 7/8/2010 to correct motion event
                 (Kelsey, N.). (Entered: 07/07/2010)
07/08/2010   429 Minute Entry for proceedings held before Judge Janet Bond Arterton:Motion Hearing as
                 to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 7/8/2010 re 322 MOTION to
                 Compel Discovery filed by Azibo Aquart, 324 MOTION to Sever Defendant filed by
                 Azikiwe Aquart, 329 MOTION to Dismiss Death Penalty Notice filed by Azibo Aquart,
                 327 MOTION to Strike Statutory Aggravators filed by Azibo Aquart, 320 MOTION to
                 Dismiss Superseding Indictment filed by Azibo Aquart, 319 MOTION to Strike
                 Statutory Aggravator filed by Azibo Aquart, 428 MOTION to Compel filed by Azibo
                 Aquart, 316 MOTION to Sever Defendant filed by Azibo Aquart, 325 MOTION to
                 Sever Defendant Motion to Sever Count 10 filed by Azibo Aquart, 326 MOTION to
                 Strike Aggravating Factors filed by Azikiwe Aquart, 350 MOTION Establish Jury
                 Selection Procedures filed by Azibo Aquart, 321 MOTION to Sever Count Nine of the
                 Third Superceding Indictment filed by Azikiwe Aquart, 318 MOTION for Order Re:
                 Compelling Compliance with Local Rules Relating to Discovery and Disclosures filed
                 by Azikiwe Aquart, 323 MOTION to Dismiss Third Superceding Indictment filed by
                 Azikiwe Aquart, 328 MOTION to Dismiss the Government's Notice of Intent to Seek the
                 Death Penalty filed by Azikiwe Aquart Total Time: 1 hours and 50 minutes(Court
                 Reporter Sharon Montini.)(Torday, B.) (Entered: 07/08/2010)
07/08/2010   430 Marked Exhibit List by Azibo Aquart (Torday, B.) (Entered: 07/08/2010)
07/15/2010   432 ORDER granting 420 Sealed Motion as to Azikiwe Aquart (1); granting 421 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Janet Bond Arterton on 7/15/10.
                 (Torday, B.) (Entered: 07/15/2010)
07/15/2010        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 100713000007. Interim #15 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 7/15/10. (Inferrera, L.) (Entered: 07/21/2010)
07/21/2010        CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
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                  Azikiwe Aquart; Voucher # 100715000001. Interim #9 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 7/15/10. (Inferrera, L.) (Entered: 07/21/2010)
07/21/2010        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 100720000001. Interim #16 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 7/21/10. (Inferrera, L.) (Entered: 08/03/2010)
07/28/2010   433 Memorandum in Support by Azibo Aquart re 428 MOTION to Compel Production of
                 DNA Evidence (Sheehan, Michael) (Entered: 07/28/2010)
08/04/2010        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 100803000003. Interim #16 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 8/4/10. (Inferrera, L.) (Entered: 08/05/2010)
08/10/2010   434 MOTION to Seal CJA Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 08/10/2010)
08/10/2010   435 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Azibo Aquart, Efrain
                 Johnson: TELEPHONE Scheduling Conference set for 8/17/2010 04:30 PM before
                 Judge Janet Bond Arterton GOVERNMENT TO INITIATE THE CALL TO
                 CHAMBERS AT 203-773-2456.(Torday, B.) (Entered: 08/10/2010)
08/10/2010   439 SEALED MOTION to Incur Expenses by Azibo Aquart. (Torday, B.) (Entered:
                 08/12/2010)
08/10/2010   484 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone
                 Scheduling Conference as to Azikiwe Aquart, Azibo Aquart held on 8/20/2010 50
                 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 09/01/2010)
08/11/2010   436 MOTION to Continue Trial and Jury Selection by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 08/11/2010)
08/11/2010        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 100811000001. Interim #14 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 8/11/10. (Inferrera, L.) (Entered: 08/11/2010)
08/11/2010   437 Memorandum in Support by Azibo Aquart re 436 MOTION to Continue Trial and Jury
                 Selection (Supplemental Statement) (Sheehan, Michael) (Entered: 08/11/2010)
08/12/2010   438 NOTICE OF E-FILED AMENDED CALENDAR as to Azikiwe Aquart, Azibo Aquart,
                 Efrain Johnson: THIS IS THE ONLY NOTICE COUNSEL/THE PARTIES WILL
                 RECEIVE. ALL PERSONS ENTERING THE COURTHOUSE MUST PRESENT
                 PHOTO IDENTIFICATION. Scheduling Conference set for 8/17/2010 04:30 PM in
                 Courtroom Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton
                 (Torday, B.) (Entered: 08/12/2010)
08/12/2010   440 ORDER granting 434 Motion to Seal as to Azibo Aquart (3); granting 439 Motion to
                 Modify CJA budget as to Azibo Aquart (3). Signed by Judge Joan G. Margolis on
                 8/12/10. (S-Torday, B.) (Entered: 08/12/2010)
08/12/2010   441 SEALED MOTION to Seal Motion for Approval of Additional Hours for Associate
                 Attorney - by Azikiwe Aquart. (Inferrera, L.) (Entered: 08/13/2010)
08/12/2010   442 SEALED MOTION for Approval of Additional Hours for Associate Attorney - by
                 Azikiwe Aquart. (Inferrera, L.) (Entered: 08/13/2010)
08/13/2010   443 First MOTION for Leave to File Amended Notice of Intent to Seek the Death Penalty by
                 USA as to Azibo Aquart. (Attachments: # 1 Exhibit)(Dayton, Tracy) (Entered:
                 08/13/2010)

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08/13/2010   444 First MOTION for Leave to File Amended Notice of Intent to Seek the Death Penalty by
                 USA as to Azikiwe Aquart. (Attachments: # 1 Exhibit)(Dayton, Tracy) (Entered:
                 08/13/2010)
08/13/2010   445 ORDER: Defendants 316 , 324 Motions to Sever from one another are DENIED, but
                 any penalty phases will be individualized sequential proceedings; Azikiwes Motion to
                 Sever Count Nine 321 is GRANTED; and Azibos Motion to Sever Count Ten 325 is
                 GRANTED. Signed by Judge Janet Bond Arterton on 08/13/2010. (Kretman, J.)
                 (Entered: 08/13/2010)
08/17/2010   446 NOTICE OF E-FILED CALENDAR: The parties' scheduling conference set for
                 8/17/2010 at 4:30 PM will be held in Chambers Room #118, 141 Church St., New
                 Haven, CT before Judge Janet Bond Arterton. Attorney Stern will participate via
                 telephone. (Tooker, A.) (Entered: 08/17/2010)
08/17/2010   447 Minute Entry for proceedings held before Judge Janet Bond Arterton:Scheduling
                 Conference as to Azikiwe Aquart, Azibo Aquart, Efrain Johnson held on 8/17/2010
                 Total Time: 2 hours and 15 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered:
                 08/18/2010)
08/18/2010        Reset Deadlines/Hearings as to Azikiwe Aquart, Azibo Aquart: TELEPHONE Status
                  Conference set for 8/31/2010 09:30 AM before Judge Janet Bond Arterton; Government
                  to initiate call to chambers. (Torday, B.) (Entered: 08/19/2010)
08/18/2010   451 SEALED MOTION to seal & for approval of services - by Azikiwe Aquart. (Pesta, J.)
                 (Entered: 08/19/2010)
08/18/2010   452 SEALED MOTION for approval of investigative & other resources - by Azikiwe
                 Aquart. (Pesta, J.) (Entered: 08/19/2010)
08/19/2010   448 MOTION to Seal Statement In Support of Motion to Continue Trial by Azibo Aquart.
                 (Sheehan, Michael) (Entered: 08/19/2010)
08/19/2010   449 ORDER ON PENDING MOTIONS:denying 318 Motion for Order as to Azikiwe
                 Aquart (1); denying, without prejudice to renew 326 Motion to Strike as to Azikiwe
                 Aquart (1); granting 444 Motion for Leave to File as to Azikiwe Aquart (1); denying, as
                 moot 319 Motion to Strike as to Azibo Aquart (3); denying 322 Motion to Compel as to
                 Azibo Aquart (3); denying, without prejudice to renew 327 Motion to Strike as to Azibo
                 Aquart (3); granting 428 Motion to Compel as to Azibo Aquart (3); granting 443 Motion
                 for Leave to File as to Azibo Aquart (3)Telephone Status Conference set for 8/31/10 at
                 9:30 a.m.;Counsel for Azibo Aquart to file supplemental briefing (in camera) by
                 8/20/10, as to Doc. #436.. Signed by Judge Janet Bond Arterton on 8/18/10. (Torday, B.)
                 (Entered: 08/19/2010)
08/19/2010   450 ORDER granting 441 Sealed Motion as to Azikiwe Aquart (1); granting 442 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Janet Bond Arterton on 8/18/10.
                 (Torday, B.) (Entered: 08/19/2010)
08/19/2010   453 MOTION to Seal Ex Parte Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 08/19/2010)
08/19/2010   454 Sealed Document: Memo in support of by Azibo Aquart re 448 MOTION to Seal
                 Statement In Support of Motion to Continue Trial - (Torday, B.) (Entered: 08/20/2010)
08/19/2010   455 SEALED MOTION for testing - by Azibo Aquart. (Torday, B.) (Entered: 08/20/2010)
08/19/2010   488 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone
                 Scheduling Conference as to Azikiwe Aquart, Azibo Aquart held on 8/19/2010 50
                 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 09/07/2010)
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08/20/2010   456 SEALED MOTION to Incur Expenses by Efrain Johnson. (Torday, B.) (Entered:
                 08/20/2010)
08/20/2010   457 SEALED MOTION to seal - by Azikiwe Aquart. (Pesta, J.) (Entered: 08/23/2010)
08/20/2010   458 SEALED MOTION for approval of investigative & other resources - by Azikiwe
                 Aquart. (Pesta, J.) (Entered: 08/23/2010)
08/23/2010   459 ORDER granting 453 Motion to Seal as to Azibo Aquart (3); granting 455 Sealed
                 Motion as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 8/20/10. (S-
                 Torday, B.) (Entered: 08/23/2010)
08/24/2010   460 MOTION to Seal Ex Parte Statement Regarding Testing and Continuance of Trial Date
                 by Azibo Aquart. (Sheehan, Michael) (Entered: 08/24/2010)
08/24/2010   461 Sealed Document: Supplemental memorandum by Azibo Aquart re 455 SEALED
                 MOTION for testing - - (Torday, B.) (Entered: 08/25/2010)
08/25/2010   462 ORDER granting 456 Motion to Incur Expenses as to Efrain Johnson (4). Signed by
                 Judge Joan G. Margolis on 8/25/10. (S-Torday, B.) (Entered: 08/25/2010)
08/25/2010   463 MOTION for Bill of Particulars or in the alternative a Motion to Compel Discovery by
                 Azibo Aquart. (Attachments: # 1 Exhibit A)(Smith, Justin). Added MOTION to Compel
                 on 8/26/2010 (Kelsey, N.). (Entered: 08/25/2010)
08/25/2010   464 SEALED MOTION to Seal Ex Parte Motion for Approval of Additional Hours - by
                 Azikiwe Aquart. (Inferrera, L.) (Entered: 08/26/2010)
08/25/2010   465 SEALED Ex Parte MOTION for Approval of Additional Hours for Counsel - by
                 Azikiwe Aquart. (Inferrera, L.) (Entered: 08/26/2010)
08/25/2010   466 SEALED MOTION to Seal Ex Parte Motion for Approval of Investigative and Other
                 Resources - by Azikiwe Aquart. (Inferrera, L.) (Entered: 08/26/2010)
08/25/2010   467 SEALED Ex Parte MOTION to Incur Additional Expenses by Azikiwe Aquart.
                 (Inferrera, L.) (Entered: 08/26/2010)
08/25/2010   468 SEALED MOTION to Seal Ex Parte Motion for Travel Expense Authorization - by
                 Azikiwe Aquart. (Inferrera, L.) (Entered: 08/26/2010)
08/25/2010   469 SEALED Ex Parte MOTION to Incur Travel Expenses by Azikiwe Aquart. (Inferrera,
                 L.) (Entered: 08/26/2010)
08/26/2010   470 Memorandum in Support by Azibo Aquart re 436 MOTION to Continue Trial and Jury
                 Selection (Sheehan, Michael) (Entered: 08/26/2010)
08/26/2010   472 SEALED WRIT of Habeas Corpous Signed by Judge Joan G. Margolis. (S-Torday, B.)
                 (Entered: 08/27/2010)
08/27/2010   473 ORDER granting 464 Sealed Motion as to Azikiwe Aquart (1); granting 465 Sealed
                 Motion as to Azikiwe Aquart (1); granting 466 Sealed Motion as to Azikiwe Aquart (1);
                 granting 467 Motion to Incur Expenses as to Azikiwe Aquart (1); granting 468 Sealed
                 Motion as to Azikiwe Aquart (1); granting 469 Motion to Incur Expenses as to Azikiwe
                 Aquart (1). Signed by Judge Joan G. Margolis on 8/27/2010. (Rodko, B.) (Entered:
                 08/27/2010)
08/27/2010   474 ORDER granting 458 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Joan G.
                 Margolis on 8/25/10. (Pesta, J.) (Entered: 08/27/2010)
08/27/2010   475 ORDER granting 457 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Joan G.
                 Margolis on 8/25/10. (Pesta, J.) (Entered: 08/27/2010)
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08/27/2010   476 ORDER granting 451 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Joan G.
                 Margolis on 8/25/10. (Pesta, J.) (Entered: 08/27/2010)
08/27/2010   477 ORDER granting 452 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Joan G.
                 Margolis on 8/25/10. (Pesta, J.) (Entered: 08/27/2010)
08/27/2010   478 Memorandum in Support by Azibo Aquart re 463 MOTION for Bill of Particulars
                 MOTION to Compel (Sheehan, Michael) (Entered: 08/27/2010)
08/27/2010   479 NOTICE OF INTENT TO SEEK DEATH PENALTY as amended by USA as to Azibo
                 Aquart re 443 First MOTION for Leave to File Amended Notice of Intent to Seek the
                 Death Penalty, 228 Notice of Intent to Seek Death Penalty, 449 Order on Motion for
                 Order, Order on Motion to Strike, Order on Motion for Leave to File,, Order on Motion
                 to Compel,,,,,,,,,,,,,,,,,,,,,,,,,,, (Dayton, Tracy) (Entered: 08/27/2010)
08/27/2010   480 NOTICE OF INTENT TO SEEK DEATH PENALTY as amended by USA as to
                 Azikiwe Aquart re 444 First MOTION for Leave to File Amended Notice of Intent to
                 Seek the Death Penalty, 449 Order on Motion to Strike,,,, Order on Motion to
                 Compel,,,,,,,,,,,, Order on Motion for Leave to File,,,, Order on Motion for Order,,,,,,,,,,,
                 229 Notice of Intent to Seek Death Penalty (Dayton, Tracy) (Entered: 08/27/2010)
08/30/2010   481 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Azibo Aquart: THIS IS
                 THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                 ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                 TELEPHONE Status Conference set for 8/31/2010 09:30 AM before Judge Janet Bond
                 Arterton. The government shall initiate the call to chambers at 203-773-2456. (Torday,
                 B.) (Entered: 08/30/2010)
08/30/2010   482 First MOTION to Compel Federal Rule of Criminal Procedure 12.2(b) Evidence by
                 USA as to Azikiwe Aquart, Azibo Aquart. (Dayton, Tracy) (Entered: 08/30/2010)
08/30/2010         CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                   Aquart; Voucher # 100823000011. Interim #8 payment. Signed by Magistrate Judge
                   Joan G. Margolis on 8/30/10. (Inferrera, L.) (Entered: 09/15/2010)
08/31/2010   483 ORDER granting, until 11/29/10 for jury selection 436 Motion to Continue trial and jury
                 selection as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 8/31/10.
                 (Torday, B.) (Entered: 08/31/2010)
08/31/2010   489 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone
                 Scheduling Conference as to Azikiwe Aquart, Azibo Aquart held on 8/31/2010 Total
                 Time: 1 hours(Court Reporter S. Montini.)(Torday, B.) (Entered: 09/07/2010)
09/02/2010   493 SEALED MOTION To Seal Motion for Approval of Investigative and Other Services -
                 by Azikiwe Aquart. (Villano, P.) Modified on 9/15/2010 (Villano, P.). (Entered:
                 09/15/2010)
09/02/2010   494 SEALED MOTION For Approval of Investigative and Other Resources - by Azikiwe
                 Aquart. (Villano, P.) Modified on 9/15/2010 (Villano, P.). (Entered: 09/15/2010)
09/02/2010   495 SEALED MOTION to Seal Travel Motion - by Azikiwe Aquart. (Villano, P.) Modified
                 on 9/15/2010 (Villano, P.). (Entered: 09/15/2010)
09/02/2010   496 SEALED MOTION For Travel Authorization - by Azikiwe Aquart. (Villano, P.)
                 (Entered: 09/15/2010)
09/02/2010   497 SEALED MOTION to Seal Travel and Temporary Housing Motion - by Azikiwe
                 Aquart. (Villano, P.) (Entered: 09/15/2010)

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09/02/2010   498 SEALED MOTION For Travel and Temporary Housing Authorization - by Azikiwe
                 Aquart. (Villano, P.) (Entered: 09/15/2010)
09/03/2010   485 TRANSCRIPT of Proceedings as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart,
                 Efrain Johnson held on 7/8/10 before Judge Arterton. Court Reporter: S. Montini. Type
                 of Hearing: Transcript of Oral Argument. NOTICE RE REDACTION OF
                 TRANSCRIPTS: The parties have seven (7) calendar days to file with the Court a
                 Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the
                 transcript will be made remotely electronically available to the public without redaction
                 after 90 calendar days. The policy is located on our website at www.ctd.uscourts.gov.
                 Redaction Request due 9/24/2010. Redacted Transcript Deadline set for 10/4/2010.
                 Release of Transcript Restriction set for 12/2/2010. (Montini, S.) (Entered: 09/03/2010)
09/03/2010   486 TRANSCRIPT of Proceedings as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart,
                 Efrain Johnson held on 8/17/10 before Judge Arterton. Court Reporter: S. Montini. Type
                 of Hearing: Transcript of Status Conference. NOTICE RE REDACTION OF
                 TRANSCRIPTS: The parties have seven (7) calendar days to file with the Court a
                 Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the
                 transcript will be made remotely electronically available to the public without redaction
                 after 90 calendar days. The policy is located on our website at www.ctd.uscourts.gov.
                 Redaction Request due 9/24/2010. Redacted Transcript Deadline set for 10/4/2010.
                 Release of Transcript Restriction set for 12/2/2010. (Montini, S.) (Entered: 09/03/2010)
09/08/2010   490 MOTION to Seal Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 09/08/2010)
09/08/2010   491 SEALED MOTION to Modify CJA Budget - by Azibo Aquart. (Torday, B.) (Entered:
                 09/09/2010)
09/11/2010   492 ORDER granting 490 Motion to Seal as to Azibo Aquart (3); granting 491 Sealed
                 Motion as to Azibo Aquart (3). Signed by Judge Joan G. Margolis on 9/11/2010. (S-
                 Rodko, B.) (Entered: 09/13/2010)
09/11/2010         CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                   Johnson; Voucher # 100913000004. Interim #9 payment. Signed by Magistrate Judge
                   Joan G. Margolis on 9/11/10. (Inferrera, L.) (Entered: 10/04/2010)
09/14/2010         CJA 30: Authorization to Pay Justin Smith in Death Penalty Proceedings as to Azibo
                   Aquart; Voucher # 100907000005. Interim #17 payment. Signed by Magistate Judge
                   Joan G. Margolis on 9/14/10. (Inferrera, L.) (Entered: 10/04/2010)
09/14/2010         CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                   Azikiwe Aquart; Voucher # 100907000004. Interim #10 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 9/14/10. (Inferrera, L.) (Entered: 10/13/2010)
09/16/2010   499 ENTERED IN ERROR: MOTION to Continue Sentencing by Azikiwe Aquart.
                 (Sullivan, Robert) Modified on 9/17/2010; Motion filed on Wrong Case (Kelsey, N.).
                 (Entered: 09/16/2010)
09/16/2010   500 MOTION to Seal CJA Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 09/16/2010)
09/16/2010   501 ORDER granting 494 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Joan G.
                 Margolis on 9/16/2010. (Rodko, B.) (Entered: 09/16/2010)
09/16/2010   502 ORDER: denying without prejudice to renew at a later time 496 Sealed Motion as to
                 Azikiwe Aquart (1); denying without prejudice to renew at a later time 498 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 9/16/2010.
                 (Rodko, B.) (Entered: 09/16/2010)
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09/16/2010   503 SEALED MOTION to Incur Expenses by Azibo Aquart. (Torday, B.) (Entered:
                 09/17/2010)
09/20/2010   504 MOTION to Seal CJA Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 09/20/2010)
09/20/2010   505 SEALED MOTION to Incur Expenses by Azibo Aquart. (Torday, B.) (Entered:
                 09/21/2010)
09/22/2010   506 ORDER: granting 504 Motion to Seal as to Azibo Aquart (3); granting 505 Motion to
                 Incur Expenses as to Azibo Aquart (3). Signed by Judge Joan G. Margolis on 9/22/2010.
                 (Rodko, B.) (Entered: 09/22/2010)
09/23/2010   507 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Kelsey, N.) (Entered:
                 09/24/2010)
09/23/2010   508 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Kelsey, N.) (Entered:
                 09/24/2010)
09/23/2010   509 SEALED MOTION to Seal Motion to Incur Expenses by Azikiwe Aquart. (Kelsey, N.)
                 (Entered: 09/24/2010)
09/23/2010   510 SEALED MOTION to Seal Motion to Incur Expenses - by Azikiwe Aquart. (Kelsey,
                 N.) (Entered: 09/24/2010)
09/28/2010   511 MOTION to Seal Ex Parte Motion by Efrain Johnson. (Bussert, Todd) (Entered:
                 09/28/2010)
09/28/2010   513 EX PARTE MOTION by Efrain Johnson. (Villano, P.) (Entered: 09/29/2010)
09/29/2010   512 ELECTRONIC ORDER granting 511 Motion to Seal Ex Parte Motion as to Efrain
                 Johnson (4). Signed by Judge Peter C. Dorsey on 9/29/2010. (Villano, P.) (Entered:
                 09/29/2010)
09/30/2010   514 ORDER: denying without prejudice to renew 503 Motion to Incur Expenses as to Azibo
                 Aquart (3). Signed by Judge Joan G. Margolis on 9/29/2010. (Rodko, B.) (Entered:
                 09/30/2010)
09/30/2010   515 ORDER granting 513 ExParte Motion as to Efrain Johnson (4). Signed by Judge Peter
                 C. Dorsey on 9/30/2010. (Villano, P.) (Entered: 09/30/2010)
10/01/2010   516 MOTION to Seal Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 10/01/2010)
10/01/2010   519 SEALED MOTION to Modify CJA Budget by Azibo Aquart. (Torday, B.) (Entered:
                 10/05/2010)
10/04/2010   517 ORDER: granting 507 Motion to Incur Expenses as to Azikiwe Aquart (1); granting 508
                 Motion to Incur Expenses as to Azikiwe Aquart (1); granting 509 Sealed Motion as to
                 Azikiwe Aquart (1); granting 510 Sealed Motion as to Azikiwe Aquart (1). Signed by
                 Judge Joan G. Margolis on 10/4/2010. (S-Rodko, B.) (Entered: 10/05/2010)
10/05/2010   518 ELECTRONIC ORDER granting 516 Motion to Seal as to Azibo Aquart (3). THIS IS
                 THE ONLY NOTICE COUNSEL WILL RECEIVE FROM THE COURT. Signed by
                 Judge Joan G. Margolis on 10/5/10. (Margolis, Joan) (Entered: 10/05/2010)
10/05/2010   520 Sealed Document: by USA as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart,
                 Efrain Johnson - (Attachments: # 1 Appendix, # 2 Appendix)(S-Barrille, J.) (Entered:
                 10/05/2010)

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10/05/2010   524 WRIT of Writ of Habeas Corpus issued as to Azikiwe Aquart, Nathaniel Grant, Azibo
                 Aquart, Efrain Johnson Signed by Judge Judge Joan G. Margolis. (Torday, B.) (Entered:
                 10/07/2010)
10/06/2010   521 ORDER granting 519 Motion to Incur Expenses as to Azibo Aquart (3). Signed by
                 Judge Joan G. Margolis on 10/6/2010. (Rodko, B.) (Entered: 10/06/2010)
10/06/2010   522 TRANSCRIPT of Proceedings as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart,
                 Efrain Johnson held on 8/31/10 before Judge Arterton. Court Reporter: S. Montini. Type
                 of Hearing: Transcript of Telephonic Status Conference. NOTICE RE REDACTION OF
                 TRANSCRIPTS: The parties have seven (7) calendar days to file with the Court a
                 Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the
                 transcript will be made remotely electronically available to the public without redaction
                 after 90 calendar days. The policy is located on our website at www.ctd.uscourts.gov.
                 Redaction Request due 10/27/2010. Redacted Transcript Deadline set for 11/6/2010.
                 Release of Transcript Restriction set for 1/4/2011. (Montini, S.) (Entered: 10/06/2010)
10/06/2010   523 Sealed Document: Application for Writ of Habeas Corpus by USA as to Azikiwe
                 Aquart, Nathaniel Grant, Azibo Aquart, Efrain Johnson - (Torday, B.) (Entered:
                 10/07/2010)
10/13/2010   525 ENTERED IN ERROR: Second MOTION to Compel Disclosure Pursuant to Federal
                 Rule of Criminal Procedure 12.2 of Expert Evidence of a Mental Condition by USA as
                 to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain Johnson. (Dayton, Tracy)
                 Modified on 10/14/2010: Motion incorrectly docketed on entire case (Kelsey, N.).
                 (Entered: 10/13/2010)
10/13/2010   526 Second MOTION to Compel Disclosure Pursuant to Federal Rule of Criminal
                 Procedure 12.2 of Expert Evidence of a Mental Condition by USA as to Azibo Aquart.
                 Document No. 525 redocketed on correct case. (Kelsey, N.) (Entered: 10/14/2010)
10/14/2010   527 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE
                 PARTIES WILL RECEIVE. A Telephonic Status Conference is set for 10/26/2010 4:00
                 PM before Judge Janet Bond Arterton. The Government shall initiate the call to
                 chambers at 203-773-2456. (Kretman, J.) (Entered: 10/14/2010)
10/14/2010        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 101013000003. Interim #18 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 10/14/10. (Inferrera, L.) (Entered: 10/28/2010)
10/14/2010        CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                  Johnson; Voucher # 101013000004. Interim #10 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 10/14/10. (Inferrera, L.) (Entered: 10/28/2010)
10/14/2010        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 101013000002. Interim #17 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 10/14/10. (Inferrera, L.) (Entered: 10/28/2010)
10/18/2010   528 SEALED MOTION Motion as to CJA Budget - by Azikiwe Aquart. (Torday, B.)
                 (Entered: 10/19/2010)
10/18/2010   529 SEALED MOTION to Incur CJA Expenses by Azikiwe Aquart. (Torday, B.) (Entered:
                 10/19/2010)
10/20/2010   530 RESPONSE/REPLY by Azibo Aquart to 526 Government's 12.2 Motion (Sheehan,
                 Michael) Modified on 10/21/2010 to create link to underlying motion (Kelsey, N.).
                 (Entered: 10/20/2010)
10/20/2010   531 ORDER granting 528 Sealed Motion as to Azikiwe Aquart (1); granting 529 Motion to
                                               GA54
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                  Incur Expenses as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on
                  10/20/2010. (Rodko, B.) (Entered: 10/20/2010)
10/26/2010   532 MOTION to Seal CJA Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 10/26/2010)
10/26/2010   533 ORDER: Azibo Aquart's Motion to Dismiss the Superseding Indictment 320 , Azikiwe
                 Aquart's Motion to Dimiss the Third Superseding Indictment 323 , Azikiwe Aquart's
                 Motion to Dismiss the Government's Notice of Intent to Seek the Death Penalty 328 ,
                 and Azibo Aquart's Motion to Dismiss Death Penalty Notice 329 are DENIED. Signed
                 by Judge Janet Bond Arterton on 10/26/2010. (Kretman, J.) (Entered: 10/26/2010)
10/26/2010   534 SEALED MOTION to Modify CJA Budget by Azibo Aquart. (Torday, B.) (Entered:
                 10/26/2010)
10/26/2010   537 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                 Conference as to Azikiwe Aquart, Azibo Aquart held on 10/26/2010 Total Time: 1
                 hours(Court Reporter S. Montini.)(Torday, B.) (Entered: 11/02/2010)
10/27/2010   535 ORDER granting 532 Motion to Seal as to Azibo Aquart (3); granting 534 Motion to
                 Incur Expenses as to Azibo Aquart (3). Signed by Judge Joan G. Margolis on
                 10/27/2010. (S-Rodko, B.) (Entered: 10/27/2010)
10/29/2010   536 AMENDED SCHEDULING ORDER as to Azikiwe Aquart, Azibo AquartJury
                 Selection set for 3/1-4/2011 09:00 AM in Courtroom Two, 141 Church St., New Haven,
                 CT before Judge Janet Bond Arterton), ( Jury Trial( First Phase) set for 4/6-29/2011
                 09:00 AM in Courtroom Two, 141 Church St., New Haven, CT before Judge Janet Bond
                 Arterton, ( Jury Trial (Second Phase set for 5/9-20/11/2011 09:00 AM in Courtroom
                 Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton,Jury Status
                 conference set for 3/8/2011 09:00 AM in Chambers Room #118, 141 Church St., New
                 Haven, CT before Judge Janet Bond Arterton) Length of Trial 4-6 weeks. Signed by
                 Judge Janet Bond Arterton on 10/28/10. (Torday, B.) (Entered: 10/29/2010)
11/03/2010   538 ORDER OF TRANSFER in case as to Nathaniel Grant, Efrain Johnson Case reassigned
                 to Judge Janet Bond Arterton for all further proceedings. Signed by Judge Peter C.
                 Dorsey on 11/2/10. (Torday, B.) (Entered: 11/03/2010)
11/05/2010   539 MOTION to Seal CJA Budget Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 11/05/2010)
11/05/2010   540 SEALED MOTION to Modify CJA Budget by Azibo Aquart. (Torday, B.) (Entered:
                 11/08/2010)
11/05/2010   541 SEALED MOTION - to Seal Motion to Incur CJA Expenses by Azikiwe Aquart.
                 (Torday, B.) (Entered: 11/08/2010)
11/05/2010   542 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Torday, B.) (Entered:
                 11/08/2010)
11/08/2010   543 ORDER: granting 540 Motion to Incur Expenses as to Azibo Aquart (3). Signed by
                 Judge Joan G. Margolis on 11/8/2010. (Rodko, B.) (Entered: 11/09/2010)
11/08/2010   544 ORDER: granting 541 Sealed Motion as to Azikiwe Aquart (1); granting 542 Motion to
                 Incur Expenses as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on
                 11/8/2010. (Rodko, B.) (Entered: 11/09/2010)
11/08/2010   545 ORDER: granting 539 Motion to Seal as to Azibo Aquart (3). Signed by Judge Joan G.
                 Margolis on 11/8/2010. (Rodko, B.) (Entered: 11/09/2010)
11/10/2010   546 SEALED MOTION - Incur Additional Hours by Azikiwe Aquart. (Torday, B.) (Entered:
                                              GA55
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                  11/15/2010)
11/10/2010   547 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Torday, B.) (Entered:
                 11/15/2010)
11/16/2010   548 MOTION to Seal Notice by Azibo Aquart. (Sheehan, Michael) (Entered: 11/16/2010)
11/16/2010   549 Sealed Document: by Azibo Aquart -Notice Pursuant to Rule 12.2 (Torday, B.)
                 (Entered: 11/16/2010)
11/18/2010   550 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Azibo Aquart: THIS IS
                 THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                 ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                 Telephone Status Conference set for 11/29/2010 01:00 PM before Judge Janet Bond
                 Arterton The government shall initiate the call to chambers at 203-773-2456.(Torday,
                 B.) (Entered: 11/18/2010)
11/22/2010   551 ORDER: denying without prejudice to renew at a later date 495 Sealed Motion as to
                 Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 11/22/2010. (Rodko, B.)
                 (Entered: 11/22/2010)
11/22/2010   552 ORDER: granting 493 Sealed Motion as to Azikiwe Aquart (1); granting 546 Sealed
                 Motion as to Azikiwe Aquart (1); granting 547 Motion to Incur Expenses as to Azikiwe
                 Aquart (1). Signed by Judge Joan G. Margolis on 11/22/2010. (Rodko, B.) (Entered:
                 11/22/2010)
11/22/2010   553 ORDER: granting 500 Motion to Seal as to Azibo Aquart (3); granting 548 Motion to
                 Seal as to Azibo Aquart (3). Signed by Judge Joan G. Margolis on 11/22/2010. (Rodko,
                 B.) (Entered: 11/22/2010)
11/23/2010   554 ORDER: denying without prejudice to renew at a later date 497 Sealed Motion as to
                 Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 11/23/2010. (Rodko, B.)
                 (Entered: 11/23/2010)
11/23/2010   555 Order VACATING: 554 Order on Sealed Motion, 551 Order on Sealed Motion. Signed
                 by Judge Joan G. Margolis on 11/23/2010. (Rodko, B.) (Entered: 11/23/2010)
11/23/2010   556 ORDER: granting 495 Sealed Motion as to Azikiwe Aquart (1); granting 497 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 11/23/2010.
                 (Rodko, B.) (Entered: 11/23/2010)
11/29/2010   557 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart, Azibo Aquart: THIS IS
                 THE ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                 ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                 Telephone Status Conference set for 12/6/2010 09:00 AM before Judge Janet Bond
                 Arterton Attorney Michael Sheehan to initiate the call to chambers at 203-773-2456.
                 (Torday, B.) (Entered: 11/29/2010)
11/29/2010   558 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                 Conference as to Azikiwe Aquart, Azibo Aquart held on 11/29/2010 45 minutes(Court
                 Reporter S. Montini.)(Torday, B.) (Entered: 11/30/2010)
11/30/2010        CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 101110000015. Interim #11 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 11/30/10. (Inferrera, L.) (Entered: 12/07/2010)
11/30/2010        CJA 30: Authorization to Pay Robert J. Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 101110000016. Interim #18 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 11/30/10. (Inferrera, L.) (Entered: 12/07/2010)

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12/03/2010   559 MOTION to Seal Motion by Azibo Aquart. (Sheehan, Michael) (Entered: 12/03/2010)
12/03/2010   560 Sealed Document: Memorandum Reqarding 12.2 procedures by Azibo Aquart (Torday,
                 B.) (Entered: 12/06/2010)
12/06/2010   561 ENTERED IN ERROR: *SEALED* First MOTION for Discovery by USA as to
                 Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain Johnson. (Attachments: # 1
                 Exhibit)(Dayton, Tracy) Modified on 12/7/2010: Motion incorrectly filed on entire case.
                 (Kelsey, N.). (Entered: 12/06/2010)
12/06/2010   562 MOTION to Seal Govt. Discovery Motion, Docket Entry 561 by Azibo Aquart.
                 (Sheehan, Michael) (Entered: 12/06/2010)
12/06/2010   563 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                 Conference as to Azibo Aquart held on 12/6/2010 Total Time: 1 hours and 30
                 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 12/06/2010)
12/06/2010   564 SEALED MOTION - Appointment of Associate Counsel by Azikiwe Aquart. (Torday,
                 B.) (Entered: 12/07/2010)
12/06/2010   565 SEALED MOTION for Appointment of Associate Counsel - by Azikiwe Aquart.
                 (Torday, B.) (Entered: 12/07/2010)
12/06/2010   566 SEALED MOTION for Discovery - by USA as to Azibo Aquart. Document No. 561
                 redocketed to docket motion on correct defendant's case. (Kelsey, N.) (Entered:
                 12/07/2010)
12/06/2010   567 Sealed Document: Reply by USA as to Azibo Aquart re 530 , 549 , 560 Responses re
                 526 MOTION to Compel. Document 566 redocketed to docket second part. (Kelsey, N.)
                 Modified on 12/9/2010 to add missing links (Kelsey, N.). (Entered: 12/07/2010)
12/06/2010        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 19. Interim payment. Signed by Magistrate Judge Joan G. Margolis
                  on 12/6/10. (Inferrera, L.) (Entered: 12/20/2010)
12/08/2010   568 Sealed Document: Supplemental Notice pursuant to Rule 12.2 by Azibo Aquart re 549
                 Sealed Document - (Torday, B.) (Entered: 12/09/2010)
12/09/2010   569 ORDER GRANTED: The reasons for sealing outweights the public's presumed interest
                 in access to filing at this time 559 Motion to Seal as to Azibo Aquart and 562 Motion to
                 Seal as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 12/6/10. (Torday,
                 B.) (Entered: 12/09/2010)
12/09/2010   570 ORDER granting 564 Sealed Motion as to Azikiwe Aquart (1); granting 565 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 12/9/2010.
                 (Rodko, B.) (Entered: 12/09/2010)
12/09/2010        Attorney update in case as to Azikiwe Aquart. Attorney Beverly Van Ness for Azikiwe
                  Aquart added. (Villano, P.) (Entered: 06/29/2011)
12/13/2010        CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                  Aquart; Voucher # 9. Interim payment. Signed by Magistrate Judge Joan G. Margolis on
                  12/13/10. (Inferrera, L.) (Entered: 12/20/2010)
12/15/2010   571 SEALED MOTION to Seal Motion to Incur Expenses - by Azikiwe Aquart. (Torday,
                 B.) (Entered: 12/15/2010)
12/15/2010   572 SEALED MOTION Incur expenses - by Azikiwe Aquart. (Torday, B.) (Entered:
                 12/15/2010)
12/15/2010   573 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                                               GA57
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                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Hearing on
                  Notice of Rule 12.2 set for 12/17/2010 03:15 PM in Courtroom Two, 141 Church St.,
                  New Haven, CT before Judge Janet Bond Arterton (Torday, B.) (Entered: 12/16/2010)
12/16/2010   574 ORDER granting 571 Sealed Motion as to Azikiwe Aquart (1); granting 572 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 12/16/2010.
                 (Rodko, B.) (Entered: 12/16/2010)
12/16/2010   575 Sealed Document: Memorandum Re: proposed 12.2 Order by Azibo Aquart - (Torday,
                 B.) (Entered: 12/17/2010)
12/17/2010   576 Minute Entry for proceedings held before Judge Janet Bond Arterton:Status Conference
                 on Rule 12.2 as to Azibo Aquart held on 12/17/2010 Total Time: 1 hours and 15
                 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 12/20/2010)
12/20/2010   577 SEALED MOTION for Appoointment of Counsel - by Azikiwe Aquart. (Torday, B.)
                 (Entered: 12/20/2010)
12/21/2010   578 ORDER: granting 577 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Joan
                 G. Margolis on 12/21/2010. (Rodko, B.) (Entered: 12/21/2010)
12/22/2010   579 ORDER on 12.2 Notice as to Azibo Aquart. Signed by Judge Janet Bond Arterton on
                 12/22/10. (Torday, B.) (Entered: 12/22/2010)
12/22/2010   580 Sealed Document:Proposed 12.2 Order by Azibo Aquart - (Torday, B.) (Entered:
                 12/22/2010)
12/23/2010   581 Sealed Document: Notice of Disclosure by Azibo Aquart - (Torday, B.) (Entered:
                 12/23/2010)
01/06/2011        Attorney update in case as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain
                  Johnson. Attorney Julie B. Mosley for USA added. (Villano, P.) (Entered: 01/07/2011)
01/10/2011   582 ATTORNEY APPEARANCE Julie B. Mosley appearing for USA firewall attorney
                 (Mosley, Julie) (Entered: 01/10/2011)
01/11/2011        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 110107000005. Interim #14 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 1/11/11. (Inferrera, L.) (Entered: 01/20/2011)
01/11/2011        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # Interim #20. Interim #20 payment. Signed by Magistrate Judge Joan
                  G. Margolis on 1/11/11. (Inferrera, L.) (Entered: 01/20/2011)
01/21/2011   583 SEALED MOTION Motion for Travel - by Azikiwe Aquart. (Torday, B.) (Entered:
                 01/24/2011)
01/21/2011   584 SEALED MOTION Motion for Travel and Housing by Azikiwe Aquart. (Torday, B.)
                 (Entered: 01/24/2011)
01/21/2011   585 Application for Writ of Habeas Corpus ad Testificandum as to Azibo, et al Aquart With
                 Order Thereon. Original writ and Two True Attested Copies Handed USM for Service.
                 Signed by Judge Janet Bond Arterton. (Torday, B.) (Entered: 01/24/2011)
01/21/2011   586 WRIT of Habeas Corpous Ad Testificandum issued as to Azibo Aquart, et al Signed by
                 Judge Judge Janet Bond Arterton. (Torday, B.) (Entered: 01/24/2011)
01/25/2011   587 ORDER granting 583 Sealed Motion as to Azikiwe Aquart (1); granting 584 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 1/25/11.
                 (Rodko, B.) (Entered: 01/26/2011)
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01/28/2011   588 ENTERED IN ERROR: MOTION for Order Re: Case Transcripts by Azikiwe Aquart
                 as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain Johnson. (Stern, David)
                 Modified on 1/31/2011: Motion incorrectly filed on Entire Case (Kelsey, N.). (Entered:
                 01/28/2011)
01/28/2011   589 SEALED MOTION for expenses - by Azikiwe Aquart. (Pesta, J.) (Entered: 01/28/2011)
01/28/2011   590 ORDER: granting 589 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Joan
                 G. Margolis on 1/28/2011. (Rodko, B.) (Entered: 01/28/2011)
01/28/2011   591 MOTION for Order Re: Case Transcripts by Azikiwe Aquart. Document No. 588
                 Redocketed to correctly file on Azikiwe Aquart case. (Kelsey, N.) (Entered: 01/31/2011)
02/01/2011   593 APPLICATION for Writ of Habeas Corpous by USA as to Azikiwe Aquart, Nathaniel
                 Grant, Azibo Aquart, Efrain Johnson (Torday, B.) (Entered: 02/03/2011)
02/01/2011   594 WRIT of Habeas Corpous issued as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart,
                 Efrain Johnson Signed by Judge Mark R. Kravitz. (Torday, B.) (Entered: 02/03/2011)
02/03/2011   592 ATTORNEY APPEARANCE Jacabed Rodriguez-Coss appearing for USA (Rodriguez-
                 Coss, Jacabed) (Entered: 02/03/2011)
02/03/2011   596 ORDER granting 595 Sealed Motion as to Azikiwe Aquart & Azibo Aquart. Signed by
                 Judge Joan G. Margolis on 2/3/11. (Torday, B.) (Entered: 02/07/2011)
02/04/2011   595 SEALED MOTION Motion and Order for Transfer of Custody - by USA as to Azikiwe
                 Aquart, Nathaniel Grant, Azibo Aquart, Efrain Johnson. (Torday, B.) (Entered:
                 02/07/2011)
02/07/2011        CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                  Azikiwe Aquart; Voucher # 110128000013. Interim #12 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 2/7/11. (Inferrera, L.) (Entered: 02/15/2011)
02/07/2011        CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart; Voucher # 110128000011. Interim #15 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 2/7/11. (Inferrera, L.) (Entered: 02/15/2011)
02/08/2011   597 ENTERED IN ERROR: MOTION FOR OPENING STATEMENTS by USA as to
                 Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain Johnson (Attachments: # 1
                 Memorandum in Support)(Dayton, Tracy) Modified on 2/9/2011: used wrong event and
                 incorrectly filed on entire case (Kelsey, N.). (Entered: 02/08/2011)
02/08/2011   598 MOTION for Opening Statement by USA as to Azikiwe Aquart, Azibo Aquart.
                 Document No. 597 redocketed on correct defendant cases and to correct event. (Kelsey,
                 N.) (Entered: 02/09/2011)
02/08/2011   600 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                 Conference as to Azikiwe Aquart, Azibo Aquart held on 2/8/2011 Total Time: 1 hours
                 and 15 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 02/10/2011)
02/09/2011   599 TRIAL SCHEDULING ORDER as to Azikiwe Aquart, Azibo Aquart Initial Voir Dire
                 Questions due 2/11/11 with Final proposed Voir Dire due 3/8/11; Jury Trial(Guilt Phase)
                 set for 4/6-29/2011 09:30 AM in Courtroom Two, 141 Church St., New Haven, CT
                 before Judge Janet Bond Arterton;Jury Trial(Penalty Phase) set for 5/9-20/11 09:30 AM
                 in Courtroom Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton;
                 Jury Selection set for 3/1-4/2011 09:30 AM and 2:00p.m. in Courtroom Two, 141
                 Church St., New Haven, CT before Judge Janet Bond Arterton. Signed by Judge Janet
                 Bond Arterton on 2/9/11. (Torday, B.) (Entered: 02/09/2011)

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02/14/2011   601 SEALED MOTION to Incur Expenses by Azikiwe Aquart, Azibo Aquart. (Torday, B.)
                 (Entered: 02/15/2011)
02/14/2011   602 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Torday, B.) (Entered:
                 02/15/2011)
02/14/2011   603 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Torday, B.) (Entered:
                 02/15/2011)
02/16/2011   604 ORDER: granting 601 Motion to Incur Expenses as to Azikiwe Aquart (1), Azibo
                 Aquart (3). Signed by Judge Joan G. Margolis on 2/16/2011. (Rodko, B.) (Entered:
                 02/16/2011)
02/16/2011   605 ORDER: granting 602 Motion to Incur Expenses as to Azikiwe Aquart (1); granting 603
                 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis
                 on 2/16/2011. (Rodko, B.) (Entered: 02/16/2011)
02/16/2011   606 MOTION to Seal motion for discovery by USA as to Azikiwe Aquart, Azibo Aquart.
                 (Torday, B.) (Entered: 02/16/2011)
02/16/2011   607 SEALED MOTION - for Discovery and Motion to Compel Disclosure under FRCP
                 12.2 by USA as to Azikiwe Aquart, Azibo Aquart. (Torday, B.) (Entered: 02/16/2011)
02/16/2011   608 MOTION to Seal motion for court order by USA as to Azibo Aquart. (Torday, B.)
                 (Entered: 02/16/2011)
02/16/2011   609 SEALED MOTION - Expedited Motion for Court Order by USA as to Azibo Aquart.
                 (Torday, B.) (Entered: 02/16/2011)
02/16/2011   610 MOTION to Seal statement Re: Motion #609 by USA as to Azibo Aquart. (Torday, B.)
                 (Entered: 02/16/2011)
02/16/2011   611 Sealed Document: Statement by USA as to Azibo Aquart re 609 SEALED MOTION - -
                 (Torday, B.) (Entered: 02/16/2011)
02/16/2011   612 TRANSCRIPT of Proceedings: Type of Hearing: Transcript of Hearing Re: Rule 12.2.
                 Held on 12/17/10 before Judge Arterton. Court Reporter: S. Montini. IMPORTANT
                 NOTICE - REDACTION OF TRANSCRIPTS: To remove personal identifier
                 information from the transcript, a party must electronically file a Notice of Intent to
                 Request Redaction with the Clerk's Office within seven (7) calendar days of this date. If
                 no such Notice is filed, the court will assume redaction of personal identifiers is not
                 necessary and the transcript will be made available through PACER without redaction
                 90 days from today's date. The transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. The policy
                 governing the redaction of personal information is located on the court website at
                 www.ctd.uscourts.gov. Redaction Request due 3/9/2011. Redacted Transcript Deadline
                 set for 3/19/2011. Release of Transcript Restriction set for 5/17/2011. (Montini, S.)
                 (Entered: 02/16/2011)
02/16/2011   613 TRANSCRIPT of Proceedings: Type of Hearing: Transcript of Telephone Conference.
                 Held on 12/6/10 before Judge Arterton. Court Reporter: S. Montini. IMPORTANT
                 NOTICE - REDACTION OF TRANSCRIPTS: To remove personal identifier
                 information from the transcript, a party must electronically file a Notice of Intent to
                 Request Redaction with the Clerk's Office within seven (7) calendar days of this date. If
                 no such Notice is filed, the court will assume redaction of personal identifiers is not
                 necessary and the transcript will be made available through PACER without redaction
                 90 days from today's date. The transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
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                  Transcript Restriction. After that date it may be obtained through PACER. The policy
                  governing the redaction of personal information is located on the court website at
                  www.ctd.uscourts.gov. Redaction Request due 3/9/2011. Redacted Transcript Deadline
                  set for 3/19/2011. Release of Transcript Restriction set for 5/17/2011. (Montini, S.)
                  (Entered: 02/16/2011)
02/17/2011   614 Sealed Document: Obejction to Motion for Discovery by Azibo Aquart re 607 SEALED
                 MOTION - - (Torday, B.) (Entered: 02/18/2011)
02/18/2011   615 SEALED MOTION Motion and Order for Transfer of Custody - by USA as to Azikiwe
                 Aquart, Nathaniel Grant, Azibo Aquart, Efrain Johnson. (Torday, B.) (Entered:
                 02/18/2011)
02/18/2011   616 ORDER granting 615 Sealed Motion as to Azikiwe Aquart (1), Nathaniel Grant (2),
                 Azibo Aquart (3), Efrain Johnson (4). Signed by Judge Joan G. Margolis on 2/18/11.
                 (Torday, B.) (Entered: 02/18/2011)
02/23/2011   617 MOTION for Extension of Time to preview juror questionnaires until March 21, 2011
                 by Azikiwe Aquart. (Stern, David) (Entered: 02/23/2011)
02/23/2011   618 MOTION to Sever Defendant by Azikiwe Aquart. (Attachments: # 1 Memorandum in
                 Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D)(Stern, David)
                 (Entered: 02/23/2011)
02/23/2011   619 ENTERED IN ERROR: MOTION for Reconsideration re 349 Proposed Voir Dire filed
                 by Azikiwe Aquart and Court Order Allocating Additional Peremptory Challenges to
                 the Defendants by USA as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain
                 Johnson. (Attachments: # 1 Exhibit)(Rodriguez-Coss, Jacabed) Modified on 2/24/2011:
                 Motion incorrectly filed on entire case (Kelsey, N.). (Entered: 02/23/2011)
02/23/2011   624 Government's Motion for Reconsideration of 599 Order Allocating Additional
                 Peremptory Challenges to Defendants, by USA as to Azikiwe Aquart, Azibo Aquart.
                 Document No. 619 redocketed on correct defendant cases. (Kelsey, N.) (Entered:
                 02/24/2011)
02/24/2011        Set/Reset Deadlines/Hearings. A hearing is scheduled on 617 618 619 as to Azikiwe
                  Aquart, Azibo Aquart for 2/28/2011 04:00 PM in Courtroom Two, 141 Church St., New
                  Haven, CT before Judge Janet Bond Arterton. (Kretman, J.) (Entered: 02/24/2011)
02/24/2011   620 Sealed Document: Response to objections by USA as to Azibo Aquart re 614 Sealed
                 Document, 607 SEALED MOTION - - (Torday, B.) (Entered: 02/24/2011)
02/24/2011   621 MOTION to Seal Response to Objection by USA as to Azibo Aquart. (Torday, B.)
                 (Entered: 02/24/2011)
02/24/2011   622 MOTION to Seal Motion Re: Timetable by Azibo Aquart. (Torday, B.) (Entered:
                 02/24/2011)
02/24/2011   623 SEALED MOTION - Re:Timetable by Azibo Aquart. (Torday, B.) (Entered:
                 02/24/2011)
02/24/2011   625 Certificate of Service by Azikiwe Aquart as to Azikiwe Aquart, re 617 MOTION for
                 Extension of Time to preview juror questionnaires until March 21, 2011, 618 MOTION
                 to Sever Defendant (Stern, David) Modified on 2/25/2011 to correct filer (Brown, S.).
                 (Entered: 02/24/2011)
02/24/2011   626 RESPONSE/REPLY by Azikiwe Aquart as to Azikiwe Aquart, re 624 Motion for
                 Reconsideration, (Stern, David) Modified on 2/25/2011 to correct link and filers
                 (Brown, S.). (Entered: 02/24/2011)

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02/24/2011        Reset Deadlines re Motion or Report and Recommendation in case as to Azikiwe
                  Aquart, Azibo Aquart 617 MOTION for Extension of Time to preview juror
                  questionnaires until March 21, 2011, 618 MOTION to Sever Defendant. Motion
                  Hearing set for 2/28/2011 04:00 PM in Courtroom Two, 141 Church St., New Haven,
                  CT before Judge Janet Bond Arterton (Torday, B.) (Entered: 02/25/2011)
02/25/2011   627 TRIAL MEMO Re The Selection of an Impartial Jury in a Capital Case by USA as to
                 Azikiwe Aquart, Azibo Aquart (Rodriguez-Coss, Jacabed) (Entered: 02/25/2011)
02/25/2011   628 REPLY TO RESPONSE to Motion by USA as to Azikiwe Aquart re 618 MOTION to
                 Sever Defendant (Dayton, Tracy) (Entered: 02/25/2011)
02/28/2011   629 ORDER granting 591 Motion for order for case transcripts as to Azikiwe Aquart (1).
                 Signed by Judge Janet Bond Arterton on 2/28/11. (Torday, B.) (Entered: 02/28/2011)
02/28/2011   630 ORDER Motions to seal granted as the only means to effectuate the Court's Order Re:
                 FireWall attorney procedures 606 Motion to Seal as to Azikiwe Aquart (1); 621 Motion
                 to Seal as to Azibo Aquart (3); 622 Motion to Seal as to Azibo Aquart (3). Signed by
                 Judge Janet Bond Arterton on 2/28/11. (Torday, B.) (Entered: 02/28/2011)
02/28/2011   631 NOTICE of Appearance on behalf of Third Party Subpoena Recipient the United
                 Illuminating Company by United Illuminating Company (Shonka, Natalie) Modified on
                 3/1/2011 to correct filer (Kelsey, N.). (Entered: 02/28/2011)
02/28/2011   632 Third Party MOTION to Quash Subpoena by Third Party Subpoena Recipient the
                 United Illuminating Company by United Illuminating Company (Attachments: # 1
                 Exhibit Subpoena)(Shonka, Natalie) Modified on 3/1/2011 to correct filer (Kelsey, N.).
                 (Entered: 02/28/2011)
02/28/2011   633 ORDER: For the reasons set forth in the Court's bench ruling on February 28, 2011, the
                 following is ordered. Azibo Aquart's Motion 463 for Bill of Particulars is DENIED
                 without prejudice to renew. The Government's Motion 598 for Opening Statement is
                 GRANTED; the Government and each Defendant will be given 20 minutes for an
                 opening statement. Azikiwe Aquart's Motion 617 to Modify Jury Selection Procedures
                 is GRANTED. The Government's Motion 624 for Reconsideration of Order 599
                 Allocating Additional Peremptory Challenges to Defendants is DENIED. Signed by
                 Judge Janet Bond Arterton on 02/28/2011. (Budris, K.) (Entered: 02/28/2011)
02/28/2011   639 Minute Entry for proceedings held before Judge Janet Bond Arterton:Motion Hearing as
                 to Azikiwe Aquart, Azibo Aquart held on 2/28/2011 re 598 MOTION for Opening
                 Statements filed by USA 617 MOTION for extension of time, Azikiwe Aquart 624
                 MOTION for reconsideration Total Time: 2 hours(Court Reporter S. Montini.)(Torday,
                 B.) (Entered: 03/03/2011)
03/01/2011   635 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/1/2011 (2 sessions) Total Time: 1 hours and
                 20 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 03/02/2011)
03/01/2011        CJA 30: Authorization to Pay Justin Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 110223000015. Interim #21 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 3/1/11. (Inferrera, L.) (Entered: 03/15/2011)
03/02/2011   634 Set Motion Hearing in case as to Azikiwe Aquart, Azibo Aquart 607 SEALED
                 MOTION on Discovery under 12.2 b. TELEPHONE Motion Hearing set for 3/4/2011
                 03:15 PM before Judge Janet Bond Arterton Government shall initiate the call to
                 chambers at 203-773-2456.(Torday, B.) (Entered: 03/02/2011)
03/02/2011   636 ORDER Regarding Computer and Cellphone in Courtroom as to Azikiwe Aquart.
                 Signed by Judge Janet Bond Arterton on 3/2/11. (Torday, B.) (Entered: 03/02/2011)
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03/02/2011   637 TRANSCRIPT of Proceedings: Type of Hearing: Transcript of Jury Selection, Day One.
                 Held on 3/1/11 before Judge Arterton. Court Reporter: S. Montini. IMPORTANT
                 NOTICE - REDACTION OF TRANSCRIPTS: To remove personal identifier
                 information from the transcript, a party must electronically file a Notice of Intent to
                 Request Redaction with the Clerk's Office within seven (7) calendar days of this date. If
                 no such Notice is filed, the court will assume redaction of personal identifiers is not
                 necessary and the transcript will be made available through PACER without redaction
                 90 days from today's date. The transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. The policy
                 governing the redaction of personal information is located on the court website at
                 www.ctd.uscourts.gov. Redaction Request due 3/23/2011. Redacted Transcript Deadline
                 set for 4/2/2011. Release of Transcript Restriction set for 5/31/2011. (Montini, S.)
                 (Entered: 03/02/2011)
03/02/2011   638 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/2/2011 Total Time: 1 hours and 10
                 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 03/03/2011)
03/03/2011   640 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/3/2011 Total Time: 1 hours(Court Reporter
                 S. Montini.)(Torday, B.) (Entered: 03/03/2011)
03/03/2011   641 ENTERED IN ERROR: MOTION to Withdraw Document - United Illuminating's
                 Motion to Quash [Document # 632] and to Withdraw Appearance as Third-Party
                 Subpoena Recipient by United Illuminating Company as to Azikiwe Aquart, Nathaniel
                 Grant, Azibo Aquart, Efrain Johnson. (Shonka, Natalie) Modified on 3/4/2011; Motion
                 incorrectly docketed on entire case (Kelsey, N.). (Entered: 03/03/2011)
03/03/2011   642 SEALED MOTION to Incur Expenses-Travel by Azikiwe Aquart. (Torday, B.)
                 (Entered: 03/03/2011)
03/03/2011   643 ORDER granting 642 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Joan G. Margolis on 3/3/11. (Inferrera, L.) (Entered: 03/03/2011)
03/03/2011   644 MOTION to Withdraw Document 632 Third Party MOTION to Quash Subpoena by
                 Third Party Subpoena Recipient the United Illuminating Company; MOTION for
                 United Illuminating to withdraw its appearance in the case as to Azibo Aquart.
                 Document No. 641 redocketed to correct defendant's case, to add second motion relief
                 and to link to underlying motion. (Kelsey, N.) Modified on 3/4/2011 (Kelsey, N.).
                 (Entered: 03/04/2011)
03/04/2011   645 TRANSCRIPT of Proceedings: Type of Hearing: Transcript of Hearing on Motions.
                 Held on 2/28/11 before Judge Arterton. Court Reporter: S. Montini. IMPORTANT
                 NOTICE - REDACTION OF TRANSCRIPTS: To remove personal identifier
                 information from the transcript, a party must electronically file a Notice of Intent to
                 Request Redaction with the Clerk's Office within seven (7) calendar days of this date. If
                 no such Notice is filed, the court will assume redaction of personal identifiers is not
                 necessary and the transcript will be made available through PACER without redaction
                 90 days from today's date. The transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. The policy
                 governing the redaction of personal information is located on the court website at
                 www.ctd.uscourts.gov. Redaction Request due 3/25/2011. Redacted Transcript Deadline
                 set for 4/4/2011. Release of Transcript Restriction set for 6/2/2011. (Montini, S.)
                 (Entered: 03/04/2011)
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03/04/2011   646 EX PARTE MOTION TO DISCLOSUE PRESENTENCE REPORTS AND OTHER
                 PROBATION MATERIALS by USA as to Azikiwe Aquart, Azibo Aquart. (Reynolds,
                 Alina) (Entered: 03/04/2011)
03/04/2011   647 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/4/2011 Total Time: 1 hours and 15
                 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 03/04/2011)
03/04/2011   648 ORDER: Defendant Azikiwe Aquart's 618 Renewed Motion to Sever is DENIED.
                 Signed by Judge Janet Bond Arterton on March 4, 2011. (Kretman, J.) (Entered:
                 03/04/2011)
03/04/2011   649 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Torday, B.) (Entered:
                 03/07/2011)
03/04/2011   652 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Motion
                 Hearing as to Azibo Aquart held on 3/4/2011 re 609 SEALED MOTION - filed by
                 USA, 607 SEALED MOTION - filed by USA Total Time: 1 hours(Court Reporter
                 Sharon Montini.)(Torday, B.) (Entered: 03/08/2011)
03/07/2011   650 ORDER granting in part 607 Sealed Motion as to Azibo Aquart (3); granting in part 609
                 Sealed Motion as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 3/4/11.
                 (Torday, B.) (Entered: 03/07/2011)
03/07/2011   651 RESPONSE/REPLY re 627 Trial Memo by Azikiwe Aquart (Stern, David) Modified on
                 3/8/2011 to add link to to underlying document (Kelsey, N.). (Entered: 03/07/2011)
03/07/2011   653 SEALED MOTION Motion In Limine - by Azibo Aquart. (Torday, B.) (Entered:
                 03/08/2011)
03/07/2011   654 Sealed Document: Withdrawal of Noitce pursuant to Rule 12.2 by Azibo Aquart re 549
                 Sealed Document - (Torday, B.) (Entered: 03/08/2011)
03/08/2011   656 Minute Entry for proceedings held before Judge Janet Bond Arterton:Change of Plea
                 Hearing as to Efrain Johnson held on 3/8/2011(Did not go forward) 30 minutes(Court
                 Reporter S. Montini.)(Torday, B.) (Entered: 03/10/2011)
03/09/2011   655 ORDER: granting 649 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Joan G. Margolis on 3/9/2011. (Rodko, B.) (Entered: 03/09/2011)
03/10/2011   657 MOTION for Bill of Particulars by Azibo Aquart. (Sheehan, Michael) (Entered:
                 03/10/2011)
03/10/2011   658 SEALED MOTION for Approval of Associate Counsel - by Azikiwe Aquart. (Inferrera,
                 L.) (Entered: 03/10/2011)
03/10/2011   659 SEALED MOTION for Approval of Additional Hours for Attorney - by Azikiwe
                 Aquart. (Inferrera, L.) (Entered: 03/10/2011)
03/11/2011   660 ORDER: granting 658 Sealed Motion as to Azikiwe Aquart (1); granting 659 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Joan G. Margolis on 3/11/2011.
                 (Rodko, B.) (Entered: 03/11/2011)
03/11/2011   661 MOTION in Limine by Azikiwe Aquart. (Stern, David) (Entered: 03/11/2011)
03/11/2011   662 ENTERED IN ERROR - SEALED MOTION - by USA as to Azikiwe Aquart,
                 Nathaniel Grant, Azibo Aquart, Efrain Johnson. (Barrille, J.) Modified on 3/15/2011 as
                 motion filed on the wrong case (Barrille, J.). (Entered: 03/11/2011)
03/11/2011   663 ENTERED IN ERROR - SEALED ORDER granting 662 Sealed Motion as to Azikiwe
                 Aquart (1), Nathaniel Grant (2), Azibo Aquart (3), Efrain Johnson (4). Signed by Judge
                                               GA64
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                  William I. Garfinkel on 3/11/11. (Barrille, J.) Modified on 3/15/2011 as order was filed
                  on the wrong case(Barrille, J.). (Entered: 03/11/2011)
03/13/2011   664 MOTION in Limine by Azibo Aquart. (Attachments: # 1 Memorandum in Support)
                 (Smith, Justin) (Entered: 03/13/2011)
03/14/2011   665 NOTICE OF EXPERT WITNESSES by USA as to Azikiwe Aquart, Azibo Aquart
                 (Dayton, Tracy) (Entered: 03/14/2011)
03/14/2011   666 SEALED MOTION to Seal Application for Issuance of Subpoena - by Azikiwe Aquart.
                 (Inferrera, L.) (Entered: 03/14/2011)
03/14/2011   667 SEALED MOTION for Issuance of Subpoena - by Azikiwe Aquart. (Inferrera, L.)
                 (Entered: 03/14/2011)
03/14/2011   668 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Inferrera, L.) (Entered:
                 03/14/2011)
03/15/2011   706 SEALED MOTION seal objections - by USA as to Azibo Aquart. (Torday, B.) (Entered:
                 03/29/2011)
03/15/2011   707 Sealed Document: Firewall Response by USA as to Azibo Aquart re 653 SEALED
                 MOTION Motion In Limine - - (Torday, B.) (Entered: 03/29/2011)
03/17/2011   669 Memorandum in Opposition by USA as to Azikiwe Aquart, Azibo Aquart re 664
                 MOTION in Limine, 661 MOTION in Limine And Memorandum in Support of Motions
                 to Admit Evidence (Dayton, Tracy) (Entered: 03/17/2011)
03/17/2011   670 MOTION to Seal CJA Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 03/17/2011)
03/17/2011   671 ORDER: granting 668 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Joan G. Margolis on 3/17/2011. (Rodko, B.) (Entered: 03/17/2011)
03/17/2011   672 SEALED MOTION to Incur Expenses by Azibo Aquart. (Inferrera, L.) (Entered:
                 03/17/2011)
03/21/2011   673 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/21/2011 Total Time: 8 hours(Court Reporter
                 Sharon Montini.)(Torday, B.) (Entered: 03/22/2011)
03/21/2011   682 SEALED MOTION Motion and Order for Transfer of Custody - by USA as to Azikiwe
                 Aquart, Azibo Aquart. (Torday, B.) (Entered: 03/24/2011)
03/22/2011   674 ORDER: granting 672 Motion to Incur Expenses as to Azibo Aquart (3). Signed by
                 Judge Joan G. Margolis on 3/22/2011. (Rodko, B.) (Entered: 03/22/2011)
03/22/2011   678 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/22/2011, continued to 3/23/11 at 8:30am
                 Total Time: 9 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.)
                 (Entered: 03/23/2011)
03/23/2011   675 ENTERED IN ERROR: MOTION Challenge to Juror 413 by Azibo Aquart. (Sheehan,
                 Michael) Modified on 3/24/2011; Document is not a Motion (Kelsey, N.). (Entered:
                 03/23/2011)
03/23/2011   676 ENTERED IN ERROR: MOTION Challenge to Juror 11 by Azibo Aquart. (Sheehan,
                 Michael) Modified on 3/24/2011; document is not a Motion (Kelsey, N.). (Entered:
                 03/23/2011)
03/23/2011   677 ENTERED IN ERROR: MOTION Oppposition to Challenge to Juror 17 by Azibo
                                               GA65
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                  Aquart. (Sheehan, Michael) Modified on 3/24/2011; Document is Not a Motion (Kelsey,
                  N.). (Entered: 03/23/2011)
03/23/2011   679 SEALED MOTION for Issuance of Subpoena - by Azikiwe Aquart. (Inferrera, L.)
                 (Entered: 03/23/2011)
03/23/2011   680 Response in Opposition to 685 Defendants' Challenge to Juror #413 as to Azikiwe
                 Aquart, Azibo Aquart, by USA. (Reynolds, Alina) Modified on 3/24/2011: corrected
                 event, corrected link to underlying document and corrected docket entry text (Kelsey,
                 N.). (Entered: 03/23/2011)
03/23/2011   684 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/23/2011 continued to 3/24 at 9:30am Total
                 Time: 9 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 03/24/2011)
03/23/2011   685 Defense Challenge for Cause to Juror No. 413 by Azikiwe Aquart, Azibo Aquart;
                 Document No. 675 redocketed on correct defendants cases. (Kelsey, N.) (Entered:
                 03/24/2011)
03/23/2011   686 Defense Challenge for Cause to Juror No. 11 by Azikiwe Aquart, Azibo Aquart;
                 Document No. 676 redocketed on correct defendants' cases. (Kelsey, N.) (Entered:
                 03/24/2011)
03/23/2011   687 Defense Opposition to Government's Challenge to Juror No. 17 by Azikiwe Aquart,
                 Azibo Aquart ; Document No. 677 redocketed on correct defendants' cases. (Kelsey, N.)
                 (Entered: 03/24/2011)
03/23/2011   689 ORDER granting 682 Sealed Motion as to Azikiwe Aquart (1), Azibo Aquart (3).
                 Signed by Judge Janet Bond Arterton on 3/23/11. (Torday, B.) (Entered: 03/24/2011)
03/24/2011   681 ENTERED IN ERROR: MOTION Opposition to Jury Challenge by Azibo Aquart.
                 (Sheehan, Michael) Modified on 3/24/2011; Document is Not a Motion (Kelsey, N.).
                 (Entered: 03/24/2011)
03/24/2011   683 RESPONSE/REPLY by USA as to Azikiwe Aquart, Azibo Aquart re 686 Defendants'
                 Challenge to Juror No. 11 (Rodriguez-Coss, Jacabed) Modified on 3/24/2011 to correct
                 link to underlying document (Kelsey, N.). (Entered: 03/24/2011)
03/24/2011   688 Defense Opposition to Government's Challenge for Cause to Juror No. 69 and Defense
                 Challenge for Cause to Juror No. 91, by Azikiwe Aquart, Azibo Aquart. Document No.
                 681 redocketed on correct defendants' cases. (Kelsey, N.) (Entered: 03/24/2011)
03/24/2011   690 GOVERNMENTS Response to 687 Defense Opposition to Government's Challenge to
                 Juror No. 17 by USA as to Azikiwe Aquart, Azibo Aquart. (Dayton, Tracy) Modified on
                 3/25/2011 to correct event and edit docket entry text (Kelsey, N.). (Entered: 03/24/2011)
03/24/2011   693 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/24/2011, continued until 3/25/11 at 9:30am
                 Total Time: 6 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.)
                 (Entered: 03/25/2011)
03/25/2011   691 RESPONSE/REPLY by Azikiwe Aquart, Azibo Aquart as to Azikiwe Aquart, Azibo
                 AquartDEFENSE CHALLENGE FOR CAUSE TO JUROR NO. 96 (Sheehan, Michael)
                 Modified on 3/28/2011 to remove incorrect defendants' names (Kelsey, N.). (Entered:
                 03/25/2011)
03/25/2011   692 Certificate of Service by Azikiwe Aquart, Azibo Aquart re 688 Reply/Response Misc
                 Defendants Opposition to Governments Challenge for Cause to Juror No. 69 and
                 Defense Challenge for Cause to Juror No. 91 (Sheehan, Michael) (Entered: 03/25/2011)

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03/25/2011   702 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/25/2011, continued to 3/28/11 at 8:30am
                 Total Time: 9 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.)
                 (Entered: 03/28/2011)
03/26/2011   694 RESPONSE/REPLY by Azibo Aquart as to Azikiwe Aquart, Azibo Aquart DEFENSE
                 CHALLENGE FOR CAUSE TO JUROR NO. 196 (Sheehan, Michael) (Main Document
                 694 replaced on 4/1/2011 to correct missing electronic signature) (Kelsey, N.) (Entered:
                 03/26/2011)
03/26/2011   695 MOTION Strike Juror 258 for Cause by USA as to Azikiwe Aquart, Azibo Aquart.
                 (Dayton, Tracy) (Entered: 03/26/2011)
03/27/2011   696 MOTION Strike Juror 215 for cause by USA as to Azikiwe Aquart, Azibo Aquart.
                 (Dayton, Tracy) (Entered: 03/27/2011)
03/27/2011   697 MOTION to Sever Defendant by Azibo Aquart. (Sheehan, Michael) (Entered:
                 03/27/2011)
03/27/2011   698 RESPONSE/REPLY by Azibo Aquart as to Azikiwe Aquart, Azibo Aquart re 695
                 Motion for Miscellaneous Relief Objection to Motion to Strike Juror 258 (Sheehan,
                 Michael) (Entered: 03/27/2011)
03/28/2011   699 MOTION to Strike Juror #69 for Cause by USA as to Azikiwe Aquart, Azibo Aquart.
                 (Rodriguez-Coss, Jacabed) (Entered: 03/28/2011)
03/28/2011   700 MOTION Motion to Strike Juror 31 by USA as to Azikiwe Aquart, Azibo Aquart.
                 (Reynolds, Alina) (Entered: 03/28/2011)
03/28/2011   701 ORDER granting 667 Sealed Motion as to Azikiwe Aquart (1); granting 679 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Janet Bond Arterton on 3/25/11.
                 (Torday, B.) (Entered: 03/28/2011)
03/28/2011   703 ORDER withdrawing 632 Motion to Quash as to Azibo Aquart (3); granting 644
                 Motion to Withdraw Document#32 as to Azibo Aquart (3); granting 644 Motion to
                 withdraw appearance as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on
                 3/28/11. (Torday, B.) (Entered: 03/28/2011)
03/28/2011        Attorney update in case as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart, Efrain
                  Johnson. Attorney Natalie Nicole Shonka terminated. (Torday, B.) (Entered:
                  03/28/2011)
03/28/2011   704 Response by USA as to Azikiwe Aquart, Azibo Aquart re 688 Defense Opposition to
                 Government's Challenge for Cause to Juror No. 69 and Defense Challenge for Cause to
                 Juror No. 91 (Rodriguez-Coss, Jacabed) Modified on 3/29/2011 to correct underlying
                 link and edit docket entry text (Kelsey, N.). (Entered: 03/28/2011)
03/28/2011   708 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/28/2011, contnued to 3/29/11 8:20am Total
                 Time: 10 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                 03/29/2011)
03/29/2011   705 RESPONSE/REPLY by Azibo Aquart as to Azikiwe Aquart, Azibo Aquart re 700
                 Motion for Miscellaneous Relief (Sheehan, Michael) (Entered: 03/29/2011)
03/29/2011   709 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/29/2011, until 3/30/11 Total Time: 10 hours
                 and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 03/30/2011)
03/30/2011   712 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
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                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Telephone
                  Conference on Discovery request from firewall attorney set for 4/5/2011 09:00 AM
                  before Judge Janet Bond Arterton (Torday, B.) (Entered: 03/31/2011)
03/30/2011   713 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azikiwe Aquart, Azibo Aquart held on 3/30/2011, continued to 3/31/11 for Azibo
                 Aquart only. Oral open end speedy trial waiver by Azikiwe Aquart, GRANTED. Total
                 Time: 8 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 03/31/2011)
03/30/2011   714 ORAL WAIVER of Speedy Trial(OPEN END NO DATES SET) by Azikiwe Aquart
                 (Torday, B.) (Entered: 03/31/2011)
03/30/2011   715 ORAL ORDER SPEEDY TRIAL EXCLUDABLE (Open End No Date Set) as to
                 Azikiwe Aquart re 714 Waiver of Speedy Trial. Signed by Judge Janet Bond Arterton on
                 3/30/11. (Torday, B.) (Entered: 03/31/2011)
03/30/2011   724 ORAL ORDER granting, absent objection from government 697 Motion to Sever
                 Defendant as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 3/30/11.
                 (Torday, B.) (Entered: 04/05/2011)
03/31/2011   710 RESPONSE/REPLY by Azibo Aquart Request to Reconsider Challenge to Juror 392
                 (Sheehan, Michael) (Entered: 03/31/2011)
03/31/2011   711 ORDER OF TRANSFER in case as to Azikiwe Aquart only; Case reassigned to Judge
                 Stefan R. Underhill for all further proceedings. Signed by Judge Janet Bond Arterton on
                 3/31/11. (Inferrera, L.) (Entered: 03/31/2011)
03/31/2011   720 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azibo Aquart held on 3/31/2011, continued to 4/4/11 at 8:30am Total Time: 6 hours
                 and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 04/04/2011)
04/01/2011   716 Memorandum in Opposition by USA as to Azibo Aquart re 657 MOTION for Bill of
                 Particulars (Rodriguez-Coss, Jacabed) (Entered: 04/01/2011)
04/03/2011   717 RESPONSE/REPLY by Azibo Aquart Challenge to Juror 451 (Sheehan, Michael)
                 (Entered: 04/03/2011)
04/03/2011   718 RESPONSE/REPLY by Azibo Aquart Challenge to Juror 420 (Sheehan, Michael)
                 (Entered: 04/03/2011)
04/03/2011   719 RESPONSE/REPLY by Azibo Aquart Challenge to Juror 445 (Sheehan, Michael)
                 (Entered: 04/03/2011)
04/04/2011   721 MOTION Motion to Qualify Juror 420 by USA as to Azibo Aquart. (Rodriguez-Coss,
                 Jacabed) (Entered: 04/04/2011)
04/04/2011   722 SEALED MOTION to Incur Expenses Re: Transcripts by Azibo Aquart. (Torday, B.)
                 (Entered: 04/05/2011)
04/04/2011   723 REPLY TO RESPONSE to Motion by Azibo Aquart re 653 SEALED MOTION Motion
                 In Limine - (Torday, B.) (Entered: 04/05/2011)
04/04/2011   726 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Falcone, K.) (Entered:
                 04/05/2011)
04/04/2011   729 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azibo Aquart held on 4/4/2011, continued to 4/6/11. Total Time: 10 hours(Court
                 Reporter S. Montini.)(Torday, B.) (Entered: 04/05/2011)
04/05/2011   725 ORDER: In light of Defendant Azibo Aquart's withdrawal of his Fed. R. Crim. P. 12.2
                                               GA68
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                  Notice and after colloquy with counsel about the nature and scope of the Shannon
                  testimony identified in Defendant's 653 Motion in Limine, the Government 707
                  Response requesting that the Court's order be renewed to require discovery to be
                  provided to the firewall team and to allow Government experts to examine and evaluate
                  Defendant for the conditions asserted in Defendant's 12.2.(b)(2) notice is DENIED for
                  the reasons of record. Signed by Judge Janet Bond Arterton on 4/5/2011. (Kretman, J.)
                  (Entered: 04/05/2011)
04/05/2011   727 RESPONSE/REPLY by Azibo Aquart Reply to 721 Challenge to Juror 420 (Sheehan,
                 Michael) Modified on 4/7/2011 to add link to underlying motion (Kelsey, N.). (Entered:
                 04/05/2011)
04/05/2011   728 RESPONSE/REPLY by Azibo Aquart Request to reconsider Challenge to Juror 529
                 (Sheehan, Michael) (Entered: 04/05/2011)
04/05/2011   730 ORDER granting 722 Motion to Incur Expenses as to Azibo Aquart (3). Signed by
                 Judge Janet Bond Arterton on 4/5/11. (Torday, B.) (Entered: 04/05/2011)
04/05/2011   731 RESPONSE/REPLY by Azibo Aquart Request for reconsideration on Challenge to
                 Juror 518 (Sheehan, Michael) (Entered: 04/05/2011)
04/05/2011   732 RESPONSE/REPLY by Azibo Aquart Request for Reconsideration on Challenge to
                 Juror 525 (Sheehan, Michael) (Entered: 04/05/2011)
04/05/2011   733 First MOTION To excuse Juror 552 by USA as to Azibo Aquart. (Dayton, Tracy)
                 (Entered: 04/05/2011)
04/06/2011   734 Minute Entry for proceedings held before Judge Janet Bond Arterton:Voir Dire begun
                 on 4/6/2011 Azibo Aquart (3) on Count 1sss,2sss-4sss,5sss-7sss,8sss,10sss, Jury
                 Selection as to Azibo Aquart held on 4/6/2011, CONTINUED TO 4/11/11 Total Time: 6
                 hours and 30 minutes(Court Reporter S.)(Torday, B.) Modified on 6/8/2011 to edit
                 text(Walker, J.). (Entered: 04/06/2011)
04/06/2011        CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                  Aquart; Voucher # 110328000015. Interim #22 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 4/6/11. (Inferrera, L.) (Entered: 04/21/2011)
04/08/2011   735 MOTION to Seal CJA Motion by Azibo Aquart. (Sheehan, Michael) (Entered:
                 04/08/2011)
04/08/2011   736 MOTION to Unseal Document Court Conference and for Copy of Transcript by USA as
                 to Azibo Aquart. (Rodriguez-Coss, Jacabed) (Entered: 04/08/2011)
04/08/2011   737 MOTION Reply to Juror No. 392 re 710 Reply/Response Misc by USA as to Azibo
                 Aquart. (Markle, Peter) (Entered: 04/08/2011)
04/08/2011   738 MOTION for Order Re: Case Transcripts by Azikiwe Aquart. (Stern, David) (Entered:
                 04/08/2011)
04/08/2011   740 SEALED CJA MOTION - by Azibo Aquart. (Pesta, J.) (Entered: 04/11/2011)
04/09/2011   739 RESPONSE/REPLY by Azibo Aquart re 736 Motion to Unseal Document Objection to
                 Government Motion (Sheehan, Michael) (Entered: 04/09/2011)
04/11/2011   741 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Telephone
                 Status Conference set for 4/14/2011 at 1:00 PM before Judge Stefan R. Underhill. The
                 Government will initiate the call.(Hungerford, A.) (Entered: 04/11/2011)

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04/11/2011   742 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azibo Aquart held on 4/11/2011 Total Time: 6 hours(Court Reporter S. Montini.)
                 (Torday, B.) (Entered: 04/11/2011)
04/12/2011   743 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                 to Azibo Aquart held on 4/12/2011,fINAL JURY SELECTION 4/19/11 AT 8:30A.M. (
                 Pretrial Conference set for 4/14/2011 09:00 AM in Courtroom Two, 141 Church St.,
                 New Haven, CT before Judge Janet Bond Arterton) Total Time: 4 hours(Court Reporter
                 Sharon Montini.)(Torday, B.) (Entered: 04/12/2011)
04/13/2011   744 RESPONSE/REPLY by Azibo Aquart re 669 Memorandum in Opposition to Motion
                 Government's Motion in Limine (Smith, Justin) (Entered: 04/13/2011)
04/14/2011   745 To the extent the following motions are addressing proceedings before Judge Underhill,
                 ORDER denying as moot 482 Motion to Compel as to Azikiwe Aquart (1); denying as
                 moot 607 Sealed Motion as to Azikiwe Aquart (1); denying as moot 661 Motion in
                 Limine as to Azikiwe Aquart (1); denying as moot 666 Sealed Motion as to Azikiwe
                 Aquart (1); denying as moot 690 Motion to strike juror as to Azikiwe Aquart (1);
                 denying as moot 695 Motion to strike juror as to Azikiw Aquart (1); denying as moot
                 696 Motion to strike juror as to Azikiwe Aquart (1); denying as moot 699 Motion to
                 Strike Juror as to Azikiwe Aquart (1); denying as moot 700 Motion to Strike Juror as to
                 Azikiwe Aquart(1). Motions are denied without prejudice to repleading. Signed by
                 Judge Stefan R. Underhill on 4/14/11. (Hungerford, A.) (Entered: 04/14/2011)
04/14/2011   746 ORDER granting in part and denying in part 738 Motion for Case Transcripts as to
                 Azikiwe Aquart (1). Transcripts may be released to the defendant, but not on an
                 expedited basis. Signed by Judge Stefan R. Underhill on 4/14/11. (Hungerford, A.)
                 (Entered: 04/14/2011)
04/14/2011   747 Minute Entry for proceedings held before Judge Janet Bond Arterton: denying,see
                 order[#633] 463 Motion to Compel as to Azibo Aquart (3); granting 608 Motion to Seal
                 as to Azibo Aquart (3); granting 610 Motion to Seal as to Azibo Aquart (3); granting
                 646 ExParte Motion as to Azibo Aquart (3); granting in part and denying in part 657
                 Motion for Bill of Particulars as to Azibo Aquart (3); denying 664 Motion in Limine as
                 to Azibo Aquart (3); denying 736 Motion to Unseal Document as to Azibo Aquart (3);
                 Motion Hearing as to Azibo Aquart held on 4/14/2011 re 609 SEALED MOTION -
                 filed by USA. Deadlines set: Expert Report for guilt phase due 4/15/11; Defendant obj.
                 to photos due 4/15/11; Deft. objection [#744] to govt's intent to introduce statements
                 against penal interest by E. Johnson(Under Advisement) Total Time: 3 hours and 30
                 minutes(Court Reporter S. Montini.) (Torday, B.) (Entered: 04/14/2011)
04/14/2011   748 ORDER denying 695 Motion Strike Juror 258 as to Azibo Aquart (3); granting 696
                 Motion Strike Juror 215 as to Azibo Aquart (3); granting 699 Motion to StrikeJuror 69
                 as to Azibo Aquart (3); granting 700 Motion Strike Juror 31 as to Azibo Aquart (3);
                 granting 721 Motion Strike Juror 420 as to Azibo Aquart (3); denying 733 Motion
                 Strike Juror 552 as to Azibo Aquart (3); finding as moot 737 Motion Strike Juror 392 as
                 to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 4/14/11. (Torday, B.)
                 (Entered: 04/14/2011)
04/14/2011        Minute Entry for proceedings held before Judge Stefan R. Underhill:Telephone Status
                  Conference as to Azikiwe Aquart held on 4/14/2011 20 minutes(Court Reporter Susan
                  Catucci.)(Sbalbi, B.) (Entered: 04/20/2011)
04/14/2011   779 Minute Entry for proceedings held before Judge Stefan R. Underhill:Telephone
                 Scheduling Conference as to Azikiwe Aquart held on 4/14/2011 (Court Reporter Susan
                 Catucci.)(Sbalbi, B.) (Entered: 05/03/2011)

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04/15/2011   749 ORDER granting 740 Sealed Motion as to Azibo Aquart (3). Signed by Judge Joan G.
                 Margolis on 4/14/11. (Torday, B.) (Entered: 04/15/2011)
04/15/2011   750 First MOTION to Preclude testimony regarding polygraph examination reports by USA
                 as to Azibo Aquart. (Dayton, Tracy) (Entered: 04/15/2011)
04/18/2011   754 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                 Conference as to Azibo Aquart held on 4/18/2011 Total Time: 1 hours(Court Reporter
                 s.)(Torday, B.) (Entered: 04/21/2011)
04/19/2011   751 Minute Entry for proceedings held before Judge Janet Bond Arterton:FINAL Jury
                 Selection as to Azibo Aquart held on 4/19/2011, TRIAL TO START 4/20/11 AT
                 8:30AM. Total Time: 4 hours(Court Reporter S. Montini.)(Torday, B.) (Entered:
                 04/19/2011)
04/20/2011   752 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 4/20/2011 Jury Trial Continued Until 4/21/11 at 9:30am Total
                 Time: 7 hours and 15 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered:
                 04/21/2011)
04/21/2011   753 ORDER: The Government's 750 Motion to Preclude Testimony Regarding Polygraph
                 Examination Reports is GRANTED, absent objection and for good cause shown. Signed
                 by Judge Janet Bond Arterton on 4/21/11. (Kretman, J.) (Entered: 04/21/2011)
04/21/2011   755 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 4/21/2011 Jury Trial Continued Until 4/25/11 at 9:30am Total
                 Time: 5 hours and 30 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered:
                 04/21/2011)
04/21/2011   756 NOTICE of Supplemental Disclosure Pursuant to Fed.R.Crim.P. 16(b) by Azibo Aquart
                 (Smith, Justin) (Entered: 04/21/2011)
04/22/2011   757 Motion regarding Admissibility of Grand Jury Transcript by Azibo Aquart Trial
                 (Sheehan, Michael) Modified on 4/25/2011 to correct event(Kelsey, N.). (Entered:
                 04/22/2011)
04/22/2011   758 Motion to Withdraw Defendant Azibo Aquart's 756 Supplemental Disclosure Pursuant
                 to Fed.R.Crim.P. 16(b) by Azibo Aquart re 756 Notice (Other) (Smith, Justin) Modified
                 on 4/25/2011 to correct event (Kelsey, N.). (Entered: 04/22/2011)
04/22/2011   759 NOTICE Defendant Azibo Aquart's Supplemental Disclosure Pursuant to Fed.R.Crim.P.
                 16(b) date 4.22.11 by Azibo Aquart (Smith, Justin) (Entered: 04/22/2011)
04/22/2011   760 Motion to Modify sequestration Order by Azibo Aquart (Sheehan, Michael) Modified
                 on 4/25/2011 to correct event (Kelsey, N.). (Entered: 04/22/2011)
04/25/2011   761 ORDER Premitting defense mitigation specialist and paralegal to bring electronic
                 equipment into Court as to Azibo Aquart. Signed by Judge Janet Bond Arterton on
                 4/25/11. (Torday, B.) (Entered: 04/25/2011)
04/25/2011   762 ORDER: Defendant Azibo Aquart's 760 Motion for Modification of the Sequestration
                 Order is GRANTED as set forth on the record of April 25, 2011. Signed by Judge Janet
                 Bond Arterton on 4/25/2011. (Kretman, J.) (Entered: 04/25/2011)
04/25/2011   764 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 4/25/2011 Jury Trial Continued Until 4/26/11 at 9:30am Total
                 Time: 7 hours(Court Reporter S. Montini.)(Torday, B.) (Entered: 04/26/2011)
04/26/2011   763 Proposed Jury Instructions by Azibo Aquart (Smith, Justin) (Entered: 04/26/2011)

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04/26/2011   765 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 4/26/2011 Jury Trial Continued Until 4/27/11 AT 9:30AM Total
                 Time: 5 hours and 30 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered:
                 04/26/2011)
04/27/2011   766 MOTION To Admit Coconspirator Statements by USA as to Azibo Aquart. (Dayton,
                 Tracy) (Entered: 04/27/2011)
04/27/2011   767 TRIAL MEMO Concerning Impeachment of Government Witnesses by Agent Reports
                 and Notes by USA as to Azibo Aquart (Reynolds, Alina) (Entered: 04/27/2011)
04/27/2011   771 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 4/27/2011 Jury Trial Continued Until 4/28/11 AT 9:30AM Total
                 Time: 6 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 04/29/2011)
04/28/2011   768 SEALED MOTION Motion In Limine - by Azibo Aquart. (Torday, B.) (Entered:
                 04/28/2011)
04/28/2011   769 ORDER: For the reasons set forth on the record on April 28, 2011, the Government's
                 766 Motion to Admit Co-conspirator Statements is GRANTED, and Defendant's 768
                 Motion in Limine is GRANTED in part and DENIED in part. Signed by Judge Janet
                 Bond Arterton on 4/28/2011. (Kretman, J.) (Entered: 04/28/2011)
04/28/2011   770 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 4/28/2011 Jury Trial Continued Until 4/29/11 AT 9:30AM Total
                 Time: 5 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                 04/29/2011)
04/29/2011   772 MOTION in Limine to allow cross-examination regarding prior conduct of witness by
                 Azibo Aquart. (Torday, B.) (Entered: 04/29/2011)
04/29/2011   774 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 4/29/2011 Jury Trial Continued Until 5/2/11 AT 9:30AM Total
                 Time: 6 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                 05/02/2011)
05/02/2011   773 Proposed Jury Instructions by Azibo Aquart (Sheehan, Michael) (Entered: 05/02/2011)
05/02/2011   775 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/2/2011 Jury Trial Continued Until 5/3/11 at 9:30am Total Time:
                 6 hours and 10 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 05/02/2011)
05/02/2011   776 ORDER granting 726 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Stefan R. Underhill on 5/2/11. (Hungerford, A.) (Entered: 05/02/2011)
05/02/2011   777 ORDER denying without prejudice to renewal closer to trial 646 Ex Parte Motion as to
                 Azikiwe Aquart (1). Signed by Judge Stefan R. Underhill on 5/2/11. (Hungerford, A.)
                 (Entered: 05/02/2011)
05/03/2011   778 MOTION In Limine To exclude use of prior convictions outside FRE 609 by USA as to
                 Azibo Aquart. (Dayton, Tracy) Modified on 5/4/2011 to correct motion event(Kelsey,
                 N.). (Entered: 05/03/2011)
05/03/2011   780 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Jury Selection
                 set for 9/12/2011 at 9:00AM before Judge Stefan R. Underhill. Jury trial will follow
                 immediately thereafter. (Sbalbi, B.) (Entered: 05/03/2011)
05/03/2011   781 Proposed Jury Instructions by USA as to Azibo Aquart (Dayton, Tracy) (Main
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                  Document 781 replaced on 5/5/2011) (Kelsey, N.). (Entered: 05/03/2011)
05/03/2011   782 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/3/2011 Jury Trial Continued Until 5/4/11 at 9:30am Total Time:
                 6 hours(Court Reporter S. Montini.)(Torday, B.) (Entered: 05/04/2011)
05/04/2011   783 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/4/2011 Jury Trial Continued Until 5/5/11 AT 9AM Total Time:
                 6 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 05/04/2011)
05/05/2011   784 SEALED MOTION to Incur Expenses re Transportation and Lodging of Witnesses by
                 Azibo Aquart. (Kelsey, N.) (Entered: 05/05/2011)
05/05/2011   785 Docket Entry Correction as to Azibo Aquart re 781 Proposed Jury Instructions/Request
                 to Charge: Corrected pdf. (Kelsey, N.) (Entered: 05/05/2011)
05/05/2011   911 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/5/2011 AT 5/9/11 AT 9:30AM Total Time: 5 hours and 30
                 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 06/02/2011)
05/06/2011   786 SEALED MOTION to Incur Expenses re: Expert Witness by Azibo Aquart. (Kelsey, N.)
                 (Entered: 05/06/2011)
05/09/2011   787 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/9/2011 Jury Trial Continued Until 5/10/11 AT 9:30AM Total
                 Time: 6 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 05/09/2011)
05/09/2011   788 MOTION to Preclude Evidence That DNA Results Were reviewed by a Second Examiner
                 by Azibo Aquart. (Sheehan, Michael) (Entered: 05/09/2011)
05/10/2011   789 ORDER: granting 786 Motion to Incur Expenses as to Azibo Aquart (3). Signed by
                 Judge Joan G. Margolis on 5/10/2011. (Rodko, B.) (Entered: 05/10/2011)
05/10/2011   790 MOTION to Preclude Testimony of Thomas Martin by Azibo Aquart. (Smith, Justin)
                 (Main Document 790 replaced on 5/12/2011) (Kelsey, N.). (Entered: 05/10/2011)
05/10/2011   791 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/10/2011 Jury Trial Continued Until 5/11/11 @ 9:30am Total
                 Time: 6 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 05/11/2011)
05/11/2011   792 ORDER: Defendant's 788 Motion to Preclude is GRANTED by agreement of the parties
                 on the terms set forth on the record. Signed by Judge Janet Bond Arterton on 5/11/2011.
                 (Kretman, J.) (Entered: 05/11/2011)
05/11/2011   793 MOTION To Quash Subpoena Issued to Connecticut State Laboratory by USA as to
                 Azibo Aquart. (Attachments: # 1 Exhibit May 19, 2008 Discovery Letter, # 2 Exhibit
                 Defense email)(Dayton, Tracy) Modified on 5/12/2011 to correct motion event (Kelsey,
                 N.). (Entered: 05/11/2011)
05/11/2011   795 Oral MOTION for contempt as to Christine Roy for failure to produce records. by
                 Azibo Aquart. (Torday, B.) (Entered: 05/12/2011)
05/11/2011   796 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/11/2011 Jury Trial Continued Until 5/12/11 9am Total Time: 6
                 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 05/12/2011)
05/12/2011   794 Docket Entry Correction as to Azibo Aquart re 790 MOTION to Preclude Testimony of
                 Thomas Martin: Corrected pdf to include electronic signature. (Kelsey, N.) (Entered:
                 05/12/2011)
05/12/2011   798 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
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                  Azibo Aquart held on 5/12/2011 Jury Trial Continued Until 5/13 @ 9:30am Total Time:
                  3 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                  05/13/2011)
05/13/2011   797 MOTION to Preclude Admission of Summary Chart by Azibo Aquart. (Attachments: # 1
                 Exhibit A, # 2 Exhibit B)(Smith, Justin) (Entered: 05/13/2011)
05/13/2011   799 ORDER granting 784 Motion to Incur Expenses as to Azibo Aquart (3). Signed by
                 Judge Joan G. Margolis on 5/13/11. (Pesta, J.) (Entered: 05/13/2011)
05/13/2011   800 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/13/2011 Jury Trial Continued Until 5/16 at 9:30am Total Time:
                 6 hours(Court Reporter S. Montini.)(Torday, B.) (Entered: 05/13/2011)
05/13/2011   857 Minute Entry for proceedings held before Judge Janet Bond Arterton:Charge
                 Conference as to Azibo Aquart held on 5/13/2011 Total Time: 2 hours(Court Reporter S.
                 Montini.)(Torday, B.) (Entered: 05/25/2011)
05/14/2011   801 MOTION in Limine to Introduce Prior Inconsistent Statements of Witnesses by Azibo
                 Aquart. (Attachments: # 1 Memorandum in Support)(Smith, Justin) (Entered:
                 05/14/2011)
05/15/2011   802 MOTION in Limine To Exclude Extrinsic Evidence of Prior Inconsistent Statements by
                 USA as to Azibo Aquart. (Rodriguez-Coss, Jacabed) (Entered: 05/15/2011)
05/16/2011   803 MOTION for Discovery by Azibo Aquart. (Sheehan, Michael) (Entered: 05/16/2011)
05/16/2011   804 ORDER: Defendant's 757 Motion to Admit a Portion of Leroy Whittingham's Grand
                 Jury testimony is GRANTED as set forth on the record of May 13, 2011; Defendant's
                 790 Motion to Preclude Thomas Martin from testifying is DENIED as moot, given the
                 Government's representation that it will not call Martin as a witness during the guilt
                 phase of the trial; the Government's 793 Motion to Quash the subpoena of Christine Roy
                 is DENIED; Defendant's oral Motion for Contempt is DENIED given Roy's compliance
                 with the subpoena; and Defendant's 803 Motion for Discovery is DENIED by
                 agreement of the parties. Signed by Judge Janet Bond Arterton on 5/16/2011. (Kretman,
                 J.) (Entered: 05/16/2011)
05/16/2011   805 ORAL MOTION to Seal Notification of Expert Witness by Azibo Aquart. (Villano, P.)
                 (Entered: 05/17/2011)
05/16/2011   806 Minute Entry for proceedings held before Judge Janet Bond Arterton: granting 805
                 Motion to Seal as to Azibo Aquart (3); Jury Trial as to Azibo Aquart held on 5/16/2011
                 Jury Trial Continued Until 5/17/2011 at 9:30 a.m.. Total Time: 6 hours and 10
                 minutes(Court Reporter Montini, Sharon.) (Villano, P.) (Entered: 05/17/2011)
05/16/2011   807 Sealed Document: Notification of Expert Witness by Azibo Aquart - (Villano, P.)
                 (Entered: 05/17/2011)
05/17/2011   809 ORAL MOTION for Judgment of Acquittal by Azibo Aquart. (Villano, P.) (Entered:
                 05/18/2011)
05/17/2011   810 Minute Entry for proceedings held before Judge Janet Bond Arterton: denying without
                 prejudice 809 Oral Motion for Judgment of Acquittal as to Azibo Aquart (3); Jury
                 Selection as to Azibo Aquart held on 5/17/2011. Total Time: 5 hours and 30
                 minutes(Court Reporter Montini, Sharon.) (Villano, P.) (Villano, P.). (Entered:
                 05/18/2011)
05/17/2011   813 Docket Entry Correction as to Azibo Aquart re 810 Minute Entry. Added pdf to Docket
                 Entry (Villano, P.) (Entered: 05/19/2011)

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05/18/2011   808 TRIAL MEMO In Support of Impeachment by Omission by Azibo Aquart
                 (Attachments: # 1 Exhibit A)(Sheehan, Michael) (Entered: 05/18/2011)
05/18/2011   811 Motion to Permit Defense to ask Leading Questions of Government Agents under Rule
                 611(c) by Azibo Aquart (Sheehan, Michael) Modified on 5/19/2011 to correct event
                 (Kelsey, N.). (Entered: 05/18/2011)
05/18/2011   812 TRIAL MEMO Re: Alternate Jurors by USA as to Azibo Aquart. (Markle, Peter)
                 Modified on 5/19/2011: Document Is Not a Motion (Kelsey, N.). (Entered: 05/18/2011)
05/18/2011   814 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/18/2011 Jury Trial Continued Until 5/20/2011 at 9:30 a.m. Total
                 Time: 3 hours and 0 minutes(Court Reporter Montini, Sharon.)(Villano, P.) (Entered:
                 05/19/2011)
05/18/2011   815 Minute Entry for proceedings held before Judge Janet Bond Arterton:Charging
                 Conference as to Azibo Aquart held on 5/18/2011 Total Time: 1 hours and 20
                 minutes(Court Reporter Montini, Sharon.)(Villano, P.) (Entered: 05/19/2011)
05/19/2011   816 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. A Telephonic Status
                 Conference is set for May 19, 2011 at 2:30 p.m. before Judge Janet Bond Arterton.
                 Counsel for the Government shall initiate the call to Chambers: 203-773-2456.
                 (Kretman, J.) (Entered: 05/19/2011)
05/20/2011   817 MOTION to Seal: Motion to Unseal Transcript by Azikiwe Aquart. (Torres, K.)
                 (Entered: 05/20/2011)
05/20/2011   818 SEALED MOTION to Unseal Transcript - by Azikiwe Aquart. (Torres, K.) (Entered:
                 05/20/2011)
05/20/2011   819 MOTION to Seal: Motion for Transcript by Azikiwe Aquart. (Torres, K.) (Entered:
                 05/20/2011)
05/20/2011   820 SEALED MOTION for Transcript - by Azikiwe Aquart. (Torres, K.) (Entered:
                 05/20/2011)
05/20/2011   830 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/20/2011 Jury Trial Continued Until 5/23/2011 at 9:00 a.m. Total
                 Time: 6 hours and 0 minutes(Court Reporter Montini, Sharon.)(Villano, P.) (Entered:
                 05/23/2011)
05/20/2011   834 Jury Instructions as to Azibo Aquart (Torday, B.) (Entered: 05/23/2011)
05/22/2011   821 TRIAL MEMO Objection to Proposed retention of Alternates by Azibo Aquart
                 (Sheehan, Michael) (Entered: 05/22/2011)
05/22/2011   822 MOTION Request for Pre-Penalty Hearing Regarding Victim Impact Evidence by
                 Azibo Aquart. (Sheehan, Michael) (Entered: 05/22/2011)
05/22/2011   823 Proposed Jury Instructions by Azibo Aquart (Sheehan, Michael) (Entered: 05/22/2011)
05/22/2011   824 Proposed Jury Instructions by USA as to Azibo Aquart (Rodriguez-Coss, Jacabed)
                 (Entered: 05/22/2011)
05/22/2011   825 Memorandum in Opposition by USA as to Azibo Aquart re 822 MOTION Request for
                 Pre-Penalty Hearing Regarding Victim Impact Evidence (Rodriguez-Coss, Jacabed)
                 (Entered: 05/22/2011)
05/22/2011   826 MOTION Motion to Strike Procurement Aggravator by Azibo Aquart. (Sheehan,
                 Michael) (Entered: 05/22/2011)
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05/22/2011   827 Motion in Limine to Preclude prosecutorial Misconduct on Summation by Azibo
                 Aquart. (Sheehan, Michael) Modified on 5/23/2011 to correct event (Kelsey, N.).
                 (Entered: 05/22/2011)
05/22/2011   828 MOTION in Limine to Exclude Execution Impact Evidence from the Penalty Phase by
                 USA as to Azibo Aquart. (Rodriguez-Coss, Jacabed) (Entered: 05/22/2011)
05/22/2011   829 MOTION Motion for Mistrial by Azibo Aquart. (Sheehan, Michael) (Entered:
                 05/22/2011)
05/23/2011   831 MOTION to Preclude Testimony of Thomas L. Martin by Azibo Aquart. (Attachments: #
                 1 Exhibit A - Martin Report, # 2 Exhibit B - Martin Report Continued)(Smith, Justin)
                 (Entered: 05/23/2011)
05/23/2011   832 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/23/2011 Jury Trial Continued Until 5/27/11 AT 9:30AM Total
                 Time: 4 hours(Court Reporter S. Montini.)(Torday, B.) (Entered: 05/23/2011)
05/23/2011   833 JURY VERDICT as to Azibo Aquart (3) Guilty on Count 1sss,2sss-8sss. (Torday, B.)
                 Modified on 5/24/2011 (Torday, B.). (Entered: 05/23/2011)
05/23/2011   835 MOTION in Limine Regarding Government Aggravators by Azibo Aquart. (Sheehan,
                 Michael) (Entered: 05/23/2011)
05/23/2011   836 MOTION in Limine to Preclude Evidence of Armstead Assault by Azibo Aquart.
                 (Sheehan, Michael) (Entered: 05/23/2011)
05/23/2011   837 RESPONSE/REPLY by Azibo Aquart re 822 Motion Regarding Victim Impact
                 Evidence (Sheehan, Michael) Modified on 5/24/2011 to add missing link to underlying
                 motion (Kelsey, N.). (Entered: 05/23/2011)
05/23/2011   838 TRIAL MEMO Initial List of Mitigating Factors by Azibo Aquart (Sheehan, Michael)
                 (Entered: 05/23/2011)
05/23/2011   839 Preliminary Witness List by Azibo Aquart (Sheehan, Michael) (Entered: 05/23/2011)
05/23/2011   840 MOTION in Limine to Exclude Evidence of Conditions of Confinement from the
                 Penalty Phase by USA as to Azibo Aquart. (Rodriguez-Coss, Jacabed) (Entered:
                 05/23/2011)
05/23/2011   841 REQUIREMENT OF PROFFER OF TESTIMONY OF VICTIM-IMPACT
                 WITNESSES: The Government is directed to file a proffer of the expected victim-
                 impact testimony, including the format and any related exhibits, for each victim-impact
                 witness it will offer. This proffer is necessary to enable the Court to perform its
                 functions under 18 U.S.C. § 3593(c) and shall be filed no later than 5:00 p.m. on
                 Tuesday May 24, 2011. Signed by Judge Janet Bond Arterton on 5/23/2011. (Kretman,
                 J.) (Entered: 05/23/2011)
05/23/2011   846 JURY VERDICT(Corrected Entry) as to Azibo Aquart (3) Guilty on Count 5sss-7sss.
                 (Torday, B.) (Entered: 05/24/2011)
05/23/2011   853 Marked Witness List by USA, Azibo Aquart as to Azibo Aquart (Torday, B.) (Entered:
                 05/25/2011)
05/23/2011   854 Marked Exhibit List by USA as to Azibo Aquart (Torday, B.) (Entered: 05/25/2011)
05/23/2011   855 Marked Exhibit List by Azibo Aquart (Torday, B.) (Entered: 05/25/2011)
05/23/2011   856 COURT EXHIBIT LIST as to Azibo Aquart (Torday, B.) (Entered: 05/25/2011)

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05/24/2011   842 RESPONSE/REPLY by Azibo Aquart Objection to Government 828 Motion to Preclude
                 Execution Impact Testimony (Sheehan, Michael) Modified on 5/25/2011to add missing
                 link to underlying motion (Kelsey, N.). (Entered: 05/24/2011)
05/24/2011   843 SEALED and EX PARTE Motion for Witness Travel - by Azibo Aquart. (Kelsey, N.)
                 (Entered: 05/24/2011)
05/24/2011   844 ORDER granting 843 Sealed Motion for witness travel as to Azibo Aquart (3). Signed
                 by Judge Janet Bond Arterton on 5/24/11. (Torday, B.) (Entered: 05/24/2011)
05/24/2011   845 MOTION For Court Order Instructing Connecticut State Juvenile Probation to Answer
                 Questions from Government by USA as to Azibo Aquart. (Rodriguez-Coss, Jacabed)
                 Modified on 5/25/2011 to correct motion event (Kelsey, N.). (Entered: 05/24/2011)
05/24/2011   847 Notice of Compliance with Court Order by USA as to Azibo Aquart. (Rodriguez-Coss,
                 Jacabed) Modified on 5/31/2011 to edit docket entry text and terminate Motion event
                 (Kelsey, N.). (Entered: 05/24/2011)
05/24/2011   848 RESPONSE/REPLY by Azibo Aquart re 836 Motion in Limine, 840 Motion in Limine
                 (Sheehan, Michael) (Entered: 05/24/2011)
05/24/2011   849 ORDER: The Government's 845 Motion for Order is GRANTED. Signed by Judge
                 Janet Bond Arterton on 5/24/2011. (Kretman, J.) (Entered: 05/24/2011)
05/24/2011   850 SCHEDULING ORDER: Presentation of information during the penalty phase will
                 commence on May 31, 2011 and will conclude by June 7, 2011. Jury deliberations will
                 begin on June 13, 2011. Signed by Judge Janet Bond Arterton on 5/24/2011. (Kretman,
                 J.) (Entered: 05/24/2011)
05/24/2011   867 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                 Conference as to Azibo Aquart held on 5/24/2011 30 minutes(Court Reporter S.
                 Montini.)(Torday, B.) (Entered: 05/26/2011)
05/25/2011   851 RESPONSE/REPLY by Azibo Aquart re 847 Motion for Miscellaneous Relief
                 regarding Government's Victim Impact Proffer (Sheehan, Michael) (Entered:
                 05/25/2011)
05/25/2011   852 Memorandum in Opposition by USA as to Azibo Aquart re 829 MOTION Motion for
                 Mistrial (Dayton, Tracy) (Entered: 05/25/2011)
05/25/2011   858 Memorandum in Opposition by USA as to Azibo Aquart re 836 MOTION in Limine to
                 Preclude Evidence of Armstead Assault (Rodriguez-Coss, Jacabed) (Entered:
                 05/25/2011)
05/25/2011   859 Memorandum in Opposition by USA as to Azibo Aquart re 831 MOTION to Preclude
                 Testimony of Thomas L. Martin (Attachments: # 1 Exhibit)(Dayton, Tracy) (Entered:
                 05/25/2011)
05/25/2011   860 RESPONSE/REPLY by USA as to Azibo Aquart re 835 Motion in Limine In
                 Opposition To Defendant's Motion To Preclude Non-Statutory Aggravating Factor
                 (Reynolds, Alina) (Entered: 05/25/2011)
05/25/2011   861 RESPONSE/REPLY by Azibo Aquart to Response 858 to 836 MOTION in Limine to
                 Preclude Evidence of Armstead Assault (Sheehan, Michael) Modified on 5/26/2011 to
                 add missing links to underlying motion (Kelsey, N.). (Entered: 05/25/2011)
05/25/2011   862 Memorandum in Opposition by USA as to Azibo Aquart re 826 MOTION Motion to
                 Strike Procurement Aggravator (Rodriguez-Coss, Jacabed) (Entered: 05/25/2011)
05/25/2011   863 ORDER: The Government's 847 "Motion" in compliance with the Court's 841
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                  Requirement of Proffer of Testimony of Victim-Impact Witnesses fails to contain
                  descriptions of victim-impact testimony sufficient for the Court to determine whether
                  that information will be "unduly inflammatory," see Payne v. Tennessee, 501 U.S. 808,
                  831 (1991) (O'Connor, J., concurring), and admissibility under 18 U.S.C. § 3593(c).
                  Accordingly, the Government is hereby directed to provide by the time of oral argument
                  on May 26, 2011 more detailed descriptions of the testimony said to reflect "unique
                  circumstances" and "impact" of the murders, as well as the letters and photographs the
                  Government will offer. Signed by Judge Janet Bond Arterton on 5/25/2011. (Kretman,
                  J.) (Entered: 05/25/2011)
05/25/2011   864 MOTION to Strike Certain Proposed Mitigating Factors and to Modify Others by USA
                 as to Azibo Aquart. (Rodriguez-Coss, Jacabed) (Entered: 05/25/2011)
05/25/2011   868 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Torres, K.) (Entered:
                 05/26/2011)
05/26/2011   865 Notice of Compliance with Court Order re 863 Order, by USA as to Azibo Aquart.
                 (Rodriguez-Coss, Jacabed) Modified on 5/31/2011 to correct docket entry text and
                 terminate motion (Kelsey, N.). (Entered: 05/26/2011)
05/26/2011   866 RESPONSE/REPLY by Azibo Aquart re 859 Memorandum in Opposition to 831
                 Motion to Preclude Blood Spatter Testimony (Smith, Justin) Modified on 5/27/2011 to
                 add missing link to underlying motion (Kelsey, N.). (Entered: 05/26/2011)
05/26/2011   869 RESPONSE/REPLY by Azibo Aquart re 864 Motion to Strike Certain Mitigating
                 Factors (Attachments: # 1 Affidavit)(Sheehan, Michael) (Entered: 05/26/2011)
05/26/2011   871 Minute Entry for proceedings held before Judge Janet Bond Arterton:Motion Hearing as
                 to Azibo Aquart held on 5/26/2011 re 828 MOTION in Limine to Exclude Execution
                 Impact Evidence from the Penalty Phase filed by USA, 836 MOTION in Limine to
                 Preclude Evidence of Armstead Assault filed by Azibo Aquart, 831 MOTION to
                 Preclude Testimony of Thomas L. Martin filed by Azibo Aquart, 835 MOTION in
                 Limine Regarding Government Aggravators filed by Azibo Aquart, 840 MOTION in
                 Limine to Exclude Evidence of Conditions of Confinement from the Penalty Phase filed
                 by USA Total Time: 3 hours and 45 minutes(Court Reporter S. Montini.)(Torday, B.)
                 (Entered: 05/27/2011)
05/26/2011   872 ORDER denying 828 Motion in Limine as to Azibo Aquart (3); denying 831 Motion to
                 Preclude as to Azibo Aquart (3); granting in part and denying in part 835 Motion in
                 Limine as to Azibo Aquart (3); denying 836 Motion in Limine as to Azibo Aquart (3);
                 denying 840 Motion in Limine as to Azibo Aquart (3). Signed by Judge Janet Bond
                 Arterton on 5/26/11. (Torday, B.) (Entered: 05/27/2011)
05/27/2011   870 MOTION in Limine to Preclude testimony of Proposed new Witness by Azibo Aquart.
                 (Sheehan, Michael) (Entered: 05/27/2011)
05/27/2011   873 Proposed Jury Instructions by Azibo Aquart (Sheehan, Michael) (Main Document 873
                 replaced on 6/1/2011) (Kelsey, N.). (Entered: 05/27/2011)
05/27/2011   874 MOTION for Hearing Pursuant to Fed.R.Evid. 702 by Azibo Aquart. (Smith, Justin)
                 (Entered: 05/27/2011)
05/27/2011   875 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. A Daubert
                 hearing and status conference is scheduled for May 31, 2011 at 8:00 a.m. in Courtroom
                 Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton. (Kretman, J.)
                 (Entered: 05/27/2011)
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05/27/2011   876 RESPONSE/REPLY by USA as to Azibo Aquart Response to Defendant's 870 Motion
                 to Preclude Testimony of Proposed Witness (Reynolds, Alina) Modified on 5/31/2011 to
                 create link to underlying motion (Kelsey, N.). (Entered: 05/27/2011)
05/28/2011   877 Response in Opposition to Defendant's Objections to Court's Proposed Preliminary
                 Instruction for Penalty Phase re 873 Proposed Jury Instructions/Request to Charge by
                 USA as to Azibo Aquart. (Rodriguez-Coss, Jacabed) Modified on 5/31/2011 to correct
                 docket entry text and terminate motion (Kelsey, N.). (Entered: 05/28/2011)
05/29/2011   878 Memorandum in Opposition by USA as to Azibo Aquart re 874 MOTION for Hearing
                 Pursuant to Fed.R.Evid. 702 (Dayton, Tracy) (Entered: 05/29/2011)
05/29/2011   879 MOTION in Limine to Exclude Witness Testimony by Azibo Aquart. (Attachments: # 1
                 Exhibit "A")(Sheehan, Michael) (Entered: 05/29/2011)
05/29/2011   880 TRIAL MEMO Supplemental Memorandum regarding Execution Impact Evidence by
                 Azibo Aquart (Sheehan, Michael) (Entered: 05/29/2011)
05/29/2011   881 RESPONSE/REPLY by Azibo Aquart Supplemental Memorandum Regarding Victim
                 Impact Testimony (Attachments: # 1 Exhibit A)(Sheehan, Michael) (Entered:
                 05/29/2011)
05/29/2011   882 RESPONSE/REPLY by Azibo Aquart Regarding 826 Motion to Strike Procurement
                 Aggravator (Sheehan, Michael) Modified on 5/31/2011 to create link to underlying
                 motion(Kelsey, N.). (Entered: 05/29/2011)
05/29/2011   883 REPLY TO RESPONSE to Motion by Azibo Aquart re 874 MOTION for Hearing
                 Pursuant to Fed.R.Evid. 702 (Attachments: # 1 Exhibit A, # 2 Exhibit A (continued))
                 (Smith, Justin) (Entered: 05/29/2011)
05/29/2011   884 MOTION to Compel Disclosure of Notes of Defense Witnesses by USA as to Azibo
                 Aquart. (Rodriguez-Coss, Jacabed) (Main Document 884 replaced on 7/14/2011)
                 (Kelsey, N.). (Entered: 05/29/2011)
05/29/2011   885 MOTION in Limine to Exclude Unsworn Allocution by Defendant by USA as to Azibo
                 Aquart. (Rodriguez-Coss, Jacabed) (Entered: 05/29/2011)
05/30/2011   886 RESPONSE/REPLY by Azibo Aquart re 877 Motion for Miscellaneous Relief, 873
                 Proposed Jury Instructions/Request to Charge (Sheehan, Michael) (Entered: 05/30/2011)
05/30/2011   887 MOTION to Preclude Hearsay re Jail Assault by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 05/30/2011)
05/30/2011   888 Memorandum in Opposition by USA as to Azibo Aquart re 826 MOTION Motion to
                 Strike Procurement Aggravator (Dayton, Tracy) (Entered: 05/30/2011)
05/30/2011   889 MOTION to Preclude Testimony Regarding Unavailable Videotape by Azibo Aquart.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Smith, Justin) (Entered: 05/30/2011)
05/30/2011   890 MOTION in Limine To Preclude Testimony of Defense Mitigation Witness Marva Lewis
                 by USA as to Azibo Aquart. (Reynolds, Alina) (Entered: 05/30/2011)
05/30/2011   891 Response in Opposition to Supplemental Memorandum in Support of Exclusion of
                 Certain Victim Impact Evidence re 881 Reply/Response Misc by USA as to Azibo
                 Aquart. (Rodriguez-Coss, Jacabed) Modified on 5/31/2011 to correct event and modify
                 docket entry text (Kelsey, N.). (Entered: 05/30/2011)
05/30/2011   892 MOTION to Preclude Evidence of Residual Doubt from the Penalty Phase by USA as to
                 Azibo Aquart. (Rodriguez-Coss, Jacabed) (Main Document 892 replaced on 6/8/2011)
                 (Kelsey, N.). (Entered: 05/30/2011)
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05/30/2011   893 TRIAL MEMO Supplemental Memorandum of Law in Support of Government's
                 Opposition to Defendant's Objections to Proposed Jury Instructions in Penalty by USA
                 as to Azibo Aquart (Rodriguez-Coss, Jacabed) (Entered: 05/30/2011)
05/30/2011   894 ORDER: Defendant's 827 Motion in Limine to Prohibit Specified Types of
                 Prosecutorial Misconduct in Penalty-Phase Summation is GRANTED absent any
                 opposition from the Government. Signed by Judge Janet Bond Arterton on 5/30/2011.
                 (Kretman, J.) (Entered: 05/30/2011)
05/31/2011   895 ORDER granting 868 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Stefan R. Underhill on 5/31/11. (Sbalbi, B.) (Entered: 05/31/2011)
05/31/2011   896 Minute Entry for proceedings held before Judge Janet Bond Arterton:Motion Hearing as
                 to Azibo Aquart held on 5/31/2011 re 822 MOTION Request for Pre-Penalty Hearing
                 Regarding Victim Impact Evidence filed by Azibo Aquart, 826 MOTION Motion to
                 Strike Procurement Aggravator filed by Azibo Aquart, 887 MOTION to Preclude
                 Hearsay re Jail Assault filed by Azibo Aquart, 874 MOTION for Hearing Pursuant to
                 Fed.R.Evid. 702 filed by Azibo Aquart Total Time: 2 hours and 30 minutes(Court
                 Reporter Sharon Montini.)(Torday, B.) (Entered: 05/31/2011)
05/31/2011   897 ORDER granting 822 Motion for a pre-penalty phase hearing as to Azibo Aquart (3);
                 denying 826 Motion to strike as to Azibo Aquart (3); denying 874 Motion for Hearing
                 as to Azibo Aquart (3); granting 887 Motion to Preclude as to Azibo Aquart (3). Signed
                 by Judge Janet Bond Arterton on 5/31/11. (Torday, B.) (Entered: 05/31/2011)
05/31/2011   898 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 5/31/2011 Jury Trial Continued Until 6/1/11 AT 9:30AM, (
                 Motion Hearing set for 6/1/2011 08:45 AM in Courtroom Two, 141 Church St., New
                 Haven, CT before Judge Janet Bond Arterton) Total Time: 5 hours(Court Reporter
                 Sharon Montini.)(Torday, B.) (Entered: 05/31/2011)
05/31/2011   899 Memorandum in Opposition by USA as to Azibo Aquart re 889 MOTION to Preclude
                 Testimony Regarding Unavailable Videotape (Dayton, Tracy) (Entered: 05/31/2011)
06/01/2011   900 ORDER: By agreement of the parties, Defendant's 870 Motion to Preclude New Witness
                 and 879 Motion in Limine to Exclude Witness Testimony are GRANTED as to the
                 Government's case-in-chief, and Defendant's 889 Motion to Preclude Testimony
                 Regarding Unavailable Videotape is DENIED. Signed by Judge Janet Bond Arterton on
                 6/1/2011. (Kretman, J.) (Entered: 06/01/2011)
06/01/2011   901 Docket Entry Correction as to Azibo Aquart re 873 Response to Proposed Jury
                 Instructions: corrected pdf to reflect electronic signature. (Kelsey, N.) (Entered:
                 06/01/2011)
06/01/2011   902 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 6/1/2011 Jury Trial Continued Until 6/2/11 AT 9:30AM Total
                 Time: 4 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 06/01/2011)
06/01/2011   903 ORDER: The Government's 884 Motion for Disclosure Pursuant to Standing Order on
                 Pretrial Discover is GRANTED in part and DENIED in part. Pursuant to the Local
                 Criminal Standing Order on Discovery, Defense counsel will allow the Government to
                 inspect and copy any of the following items that are within the possession, custody or
                 control of the Defendant, the existence of which is known or by the exercise of due
                 diligence may become known to the Defendant: (a) books, papers, documents,
                 photographs or tangible objects that the Defendant intends to introduce as evidence in
                 his case-in-chief at trial; (b) results or reports of physical or mental examinations and of
                 scientific tests or experiments made in connection with this case that the Defendant
                 intends to offer as evidence at trial or which were prepared by a defense witness who
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                   will testify concerning the contents thereof. However, the Standing Order does not
                   require disclosure of notes written by prospective defense witnesses, and therefore,
                   Defendant is not required to provide such notes to the Government if no reports exist.
                   Signed by Judge Janet Bond Arterton on 6/1/2011. (Kretman, J.) (Entered: 06/01/2011)
06/01/2011   904 Proposed Jury Instructions by Azibo Aquart (Sheehan, Michael) (Entered: 06/01/2011)
06/01/2011   905 TRIAL MEMO Proposed Special Verdict Form by Azibo Aquart (Sheehan, Michael)
                 (Entered: 06/01/2011)
06/01/2011   906 MOTION in Limine to Admit Certain Statements of Efrain Johnson by Azibo Aquart.
                 (Sheehan, Michael) (Entered: 06/01/2011)
06/01/2011   907 RESPONSE/REPLY by Azibo Aquart re 890 Motion in Limine Objection to
                 Government's Motion to Exclude testimony of Dr. Marva Lewis (Sheehan, Michael)
                 (Entered: 06/01/2011)
06/01/2011   914 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Torres, K.) (Entered:
                 06/03/2011)
06/02/2011   908 Proposed Jury Instructions by USA as to Azibo Aquart (Rodriguez-Coss, Jacabed)
                 (Entered: 06/02/2011)
06/02/2011   909 Proposed Jury Instructions by USA as to Azibo Aquart (Dayton, Tracy) (Main
                 Document 909 replaced on 6/6/2011) (Kelsey, N.). (Entered: 06/02/2011)
06/02/2011   910 EX PARTE MOTION and Order to Pay Expenses by Azibo Aquart. (Torday, B.)
                 (Entered: 06/02/2011)
06/02/2011   912 MOTION in Limine Regarding Mark Bezy Testimony by Azibo Aquart. (Attachments: #
                 1 Exhibit A)(Sheehan, Michael) (Entered: 06/02/2011)
06/02/2011   913 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 6/2/2011 Jury Trial Continued Until 6/3/11 AT 9:30AM Total
                 Time: 5 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                 06/03/2011)
06/03/2011   918 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                 Azibo Aquart held on 6/3/2011 Jury Trial Continued Until 6/6/11 at 8:30am Total Time:
                 6 hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                 06/06/2011)
06/05/2011   915 Memorandum in Opposition by USA as to Azibo Aquart re 906 MOTION in Limine to
                 Admit Certain Statements of Efrain Johnson (Dayton, Tracy) (Entered: 06/05/2011)
06/05/2011   916 RESPONSE/REPLY by Azibo Aquart re 912 Motion in Limine Supplemental
                 memorandum Regarding Mark Bezy Testimony (Sheehan, Michael) (Entered:
                 06/05/2011)
06/06/2011   917 RESPONSE/REPLY by Azibo Aquart re 906 Motion in Limine, 915 Memorandum in
                 Opposition to Motion in Limine Regarding Johnson Statements (Sheehan, Michael)
                 (Entered: 06/06/2011)
06/06/2011   919 Docket Entry Correction as to Azibo Aquart re 909 Proposed Jury Instructions:
                 corrected pdf to reflect electronic signatures and certificate of service. (Kelsey, N.)
                 (Entered: 06/06/2011)
06/06/2011   920 Minute Entry for proceedings held before Judge Janet Bond Arterton: denying 890
                 Motion in Limine as to Azibo Aquart (3); Jury Trial - Death Penalty Phase as to Azibo
                 Aquart held on 6/6/2011 Jury Trial - Death Penalty Phase Continued Until 6/7/11 at
                                                 GA81
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                  9:30am. Total Time: 6 hours and 45 minutes(Court Reporter S. Montini.) (Torday, B.)
                  (Entered: 06/06/2011)
06/06/2011   921 Minute Entry for proceedings held before Judge Janet Bond Arterton:Charge
                 Conference as to Azibo Aquart held on 6/6/2011 Total Time: 1 hours and 15
                 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 06/07/2011)
06/07/2011   922 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial - Death
                 Penalty Phase as to Azibo Aquart held on 6/7/2011 Jury Trial - Death Penalty Phase
                 Continued Until 6/13/11 AT 9:30AM Total Time: 3 hours and 15 minutes(Court
                 Reporter S. Montini.)(Torday, B.) (Entered: 06/07/2011)
06/07/2011   923 SEALED MOTION to Incur Expenses by Azikiwe Aquart. (Lewis, D) (Entered:
                 06/08/2011)
06/08/2011   924 Docket Entry Correction as to Azibo Aquart re 892 MOTION to Preclude Evidence of
                 Residual Doubt from the Penalty Phase: corrected pdf to reflect electronic signature.
                 (Kelsey, N.) (Entered: 06/08/2011)
06/10/2011   925 TRIAL MEMO In Support of Government's Objections to Court's Final Charge by
                 USA as to Azibo Aquart (Rodriguez-Coss, Jacabed) (Entered: 06/10/2011)
06/11/2011   926 RESPONSE/REPLY by Azibo Aquart re 925 Trial Memo Objecting to Government
                 Requests Regarding Final Jury Instructions (Sheehan, Michael) (Entered: 06/11/2011)
06/11/2011   927 MOTION in Limine to preclude Certain Arguments in Closing by Azibo Aquart.
                 (Sheehan, Michael) (Entered: 06/11/2011)
06/13/2011   928 ORAL MOTION FOR A MISTRIAL by Azibo Aquart. (Torday, B.) (Entered:
                 06/14/2011)
06/13/2011   929 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial - Death
                 Penalty Phase as to Azibo Aquart held on 6/13/2011 Jury Trial - Death Penalty Phase
                 Continued Until 6/14/11 AT 9AM Total Time: 8 hours(Court Reporter S. Montini.)
                 (Torday, B.) (Entered: 06/14/2011)
06/13/2011   930 Court Jury Instructions as to Azibo Aquart (Torday, B.) (Entered: 06/14/2011)
06/13/2011   933 Marked Witness List by USA, Azibo Aquart as to Azibo Aquart (Torday, B.) (Entered:
                 06/15/2011)
06/13/2011   934 Marked Exhibit List by USA as to Azibo Aquart (Torday, B.) (Entered: 06/15/2011)
06/13/2011   935 Marked Exhibit List by Azibo Aquart (Torday, B.) (Entered: 06/15/2011)
06/14/2011   931 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial - Death
                 Penalty Phase as to Azibo Aquart held on 6/14/2011 Jury Trial - Death Penalty Phase
                 Continued Until 6/15 at 9am Total Time: 8 hours(Court Reporter S. Montini.)(Torday,
                 B.) (Entered: 06/15/2011)
06/15/2011   932 ORDER granting 923 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Stefan R. Underhill on 06/15/2011. (Yaster, B.) (Entered: 06/15/2011)
06/15/2011   936 JURY VERDICT as to Azibo Aquart (3) IN PHASE TWO OF TRIAL ON Count 2-7.
                 (Torday, B.) (Entered: 06/15/2011)
06/15/2011        SET MOTION SCHEDULING ORDER DEADLINES as to Azibo Aquart: Substantive
                  Motions due 6/29/11; Government Response due 7/21/11; Defendant Replies due 8/4/11
                  (Torday, B.) (Entered: 06/15/2011)
06/15/2011   937 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial - Death
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                   Penalty Phase as to Azibo Aquart held on 6/15/2011 Total Time: 1 hours and 45
                   minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 06/15/2011)
06/15/2011   938 COURT EXHIBIT LIST as to Azibo Aquart (Torday, B.) (Entered: 06/15/2011)
06/20/2011   939 ORDER granting 914 Motion to Incur Expenses as to Azikiwe Aquart (1). Signed by
                 Judge Stefan R. Underhill on 6/20/11. (Hungerford, A.) (Entered: 06/20/2011)
06/20/2011   940 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Jury Selection
                 set for 9/7/2011 at 9:00 AM in Courtroom One, 915 Lafayette Blvd., Bridgeport, CT
                 before Judge Stefan R. Underhill. Status Conference set for 7/18/2011 at 9:30 AM in
                 Courtroom One, 915 Lafayette Blvd., Bridgeport, CT before Judge Stefan R. Underhill.
                 (Hungerford, A.) (Entered: 06/20/2011)
06/20/2011   941 ORDER granting 817 Motion to Seal as to Azikiwe Aquart (1); granting 818 Sealed
                 Motion as to Azikiwe Aquart (1); granting 819 Motion to Seal as to Azikiwe Aquart (1);
                 granting 820 Sealed Motion as to Azikiwe Aquart (1). Signed by Judge Stefan R.
                 Underhill on 6/20/11. (Hungerford, A.) (Entered: 06/20/2011)
06/20/2011   942 Minute Entry for proceedings held before Judge Stefan R. Underhill:Status Conferences
                 as to Azikiwe Aquart held on 6/20/2011 30 minutes(Court Reporter Susan Catucci.)
                 (Sbalbi, B.) (Entered: 06/21/2011)
06/20/2011         CJA 30: Authorization to Pay Michael O. Sheehan in Death Penalty Proceedings as to
                   Azibo Aquart Voucher # 110617000004. Interim #16 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 6/20/11. (Inferrera, L.) (Entered: 06/29/2011)
06/20/2011         CJA 30: Authorization to Pay Justin T. Smith in Death Penalty Proceedings as to Azibo
                   Aquart Voucher # 110617000003. Interim #23 payment. Signed by Magistrate Judge
                   Joan G. Margolis on 6/20/11. (Inferrera, L.) (Entered: 06/29/2011)
06/21/2011         CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                   Azikiwe Aquart Voucher # 110624000006. Interim #15 payment. Signed by Magistrate
                   Judge Joan G. Margolis on 6/21/11. (Inferrera, L.) (Entered: 06/29/2011)
06/22/2011   943 ORDER granting 910 Sealed Motion as to Azibo Aquart (3). Signed by Judge Janet
                 Bond Arterton on 6/22/11. (Torday, B.) (Entered: 06/22/2011)
06/23/2011   944 MOTION for Extension of Time to File Post Trial Motions until July 20, 2011 by Azibo
                 Aquart. (Sheehan, Michael) (Entered: 06/23/2011)
06/27/2011   945 ORDER granting, defendant's motions to be filed by July 20, 2011, governments
                 response due August 10, 2011, defendant's reply due August 19, 2011. 944 Motion for
                 Extension of Time as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on
                 6/24/11. (Torday, B.) (Entered: 06/27/2011)
07/13/2011   946 MOTION For Extension Of Time by Azibo Aquart. (Smith, Justin) Modified on
                 7/14/2011 to correct relief (Malone, P.). (Entered: 07/13/2011)
07/14/2011   947 ORDER granting with modification, defendant's motions to be filed by August 8, 2011,
                 government response due August 26, 2011; defendant's reply due September 6, 2011.
                 946 Motion for Extension of Time as to Azibo Aquart (3). Signed by Judge Janet Bond
                 Arterton on 7/14/11. (Torday, B.) (Entered: 07/14/2011)
07/14/2011   948 Docket Entry Correction as to Azibo Aquart re 884 MOTION to Compel Disclosure of
                 Notes of Defense Witnesses: Corrected pdf to reflect electronic signatures. (Kelsey, N.)
                 (Entered: 07/14/2011)

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07/18/2011   949 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Hearing Re:
                 Jury Questionnaires set for 8/17/2011 at 5:00 PM in Courtroom One, 915 Lafayette
                 Blvd., Bridgeport, CT before Judge Stefan R. Underhill. (Hungerford, A.) (Entered:
                 07/18/2011)
07/18/2011   950 Minute Entry for proceedings held before Judge Stefan R. Underhill:Pretrial Conference
                 Memorandum as to Azikiwe Aquart held on 7/18/2011 Total Time: 1 hour and 5
                 minutes(Court Reporter Susan Catucci.)(Sbalbi, B.) (Entered: 07/19/2011)
07/21/2011         CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                   Aquart; Voucher # 110629000008; Interim #11 payment. Signed by Judge Stefan R.
                   Underhill on 7/21/2011. (Garguilo, B) (Entered: 08/03/2011)
07/21/2011         CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                   Azikiwe Aquart; Voucher # 110712000008; Interim #16 payment. Signed by Judge
                   Stefan R. Underhill on 7/21/2011. (Garguilo, B) (Entered: 08/03/2011)
07/25/2011   951 FIFTH SUPERSEDING INDICTMENT returned before Judge Holly B.
                 Fitzsimmons.Returned before grand jury number B-11-1 Criminal Rotation, as to
                 Azikiwe Aquart (1) count(s) 1sssss, 2sssss-4sssss, 5sssss-7sssss, 8sssss, 9sssss, Efrain
                 Johnson (4) count(s) 1sss, 2sss-4sss. (Barrille, J.) (Entered: 07/26/2011)
08/08/2011   952 MOTION for New Trial for Penalty Proceedings by Azibo Aquart. (Sheehan, Michael)
                 (Entered: 08/08/2011)
08/12/2011   953 ORDER: granting 670 Motion to Seal as to Azibo Aquart (3); granting 735 Motion to
                 Seal as to Azibo Aquart (3). Signed by Judge Joan G. Margolis on 8/12/2011. (Rodko,
                 B.) (Entered: 08/12/2011)
08/16/2011   954 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Hearing Re:
                 Jury Questionnaires rescheduled for 8/26/2011 at 11:00 AM in Courtroom One, 915
                 Lafayette Blvd., Bridgeport, CT before Judge Stefan R. Underhill. (Hungerford, A.)
                 (Entered: 08/16/2011)
08/22/2011   955 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Change of Plea
                 Hearing set for 8/26/2011 at 12:00 PM in Courtroom One, 915 Lafayette Blvd.,
                 Bridgeport, CT before Judge Stefan R. Underhill. (Hungerford, A.) (Entered:
                 08/22/2011)
08/25/2011   956 NOTICE OF E-FILED CALENDAR as to Efrain Johnson: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Status
                 Conference set for 8/29/2011 01:00 PM in Courtroom Two, 141 Church St., New
                 Haven, CT before Judge Janet Bond Arterton (Torday, B.) (Entered: 08/25/2011)
08/26/2011   957 NOTICE OF E-FILED AMENDED CALENDAR as to Efrain Johnson: THIS IS THE
                 ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                 ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                 Status Conference set for 9/1/2011 02:00 PM in Courtroom Two, 141 Church St., New
                 Haven, CT before Judge Janet Bond Arterton (Torday, B.) (Entered: 08/26/2011)
08/26/2011   958 Memorandum in Opposition by USA as to Azibo Aquart re 952 MOTION for New Trial
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                  for Penalty Proceedings (Dayton, Tracy) (Entered: 08/26/2011)
08/26/2011   959 Minute Entry for proceedings held before Judge Stefan R. Underhill:Plea entered by
                 Azikiwe Aquart (1) Guilty Count 2sssss-4sssss by Azikiwe Aquart, Waiver/Plea
                 Hearing as to Azikiwe Aquart held on 8/26/2011. 40 minutes(Court Reporter Susan
                 Catucci.)(Sbalbi, B.) (Entered: 08/26/2011)
08/26/2011   960 PLEA AGREEMENT as to Azikiwe Aquart (Sbalbi, B.) (Entered: 08/29/2011)
08/29/2011   961 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION., Set/Reset
                 Deadlines/Hearings as to Azikiwe Aquart: Sentencing set for 11/14/2011 at 3:00 PM in
                 Courtroom One, 915 Lafayette Blvd., Bridgeport, CT before Judge Stefan R. Underhill
                 (Sbalbi, B.) (Entered: 08/29/2011)
08/30/2011   962 ORDER OF REFERRAL TO PROBATION FOR PRESENTENCE INVESTIGATION
                 AND REPORT as to Azikiwe Aquart. First Disclosure-PSI due 10/7/2011; Objections
                 Due 10/21/2011; 2nd-Disclosure PSI due 11/4/11; Sentencing Memorandum due 7 days
                 prior to sentencing. Response due 4 days prior to sentencing. Sentencing set for
                 11/14/2011 at 3:00 PM in Courtroom One, 915 Lafayette Blvd., Bridgeport, CT before
                 Judge Stefan R. Underhill. Signed by Judge Stefan R. Underhill on 8/30/2011. (Sbalbi,
                 B.) (Entered: 08/30/2011)
08/30/2011   963 ORDER granting 448 Motion to Seal as to Azibo Aquart (3); denied as moot 482
                 Motion to Compel as to Azibo Aquart (3); granting in part and denying in part 526
                 Motion to Compel as to Azibo Aquart (3); granting in part and denying in part 566
                 Sealed Motion as to Azibo Aquart (3); granting 606 Motion to Seal as to Azibo Aquart
                 (3); denying as moot 623 Sealed Motion as to Azibo Aquart (3); granting 653 Sealed
                 Motion as to Azibo Aquart (3); granting 706 Sealed Motion as to Azibo Aquart (3);
                 granting 758 Motion to Withdraw Document as to Azibo Aquart (3); granting 772
                 Motion in Limine as to Azibo Aquart (3); denying 778 Motion in Limine as to Azibo
                 Aquart (3); denying as moot 797 Motion to Preclude as to Azibo Aquart (3); granting
                 801 Motion in Limine as to Azibo Aquart (3); denying 802 Motion in Limine as to
                 Azibo Aquart (3); granting in part and denying in part 811 Motion as to Azibo Aquart
                 (3); denying 864 Motion to Strike as to Azibo Aquart (3); ening as moot 885 Motion in
                 Limine as to Azibo Aquart (3); denying as moot 892 Motion to Preclude as to Azibo
                 Aquart (3); granting 906 Motion in Limine as to Azibo Aquart (3); granting in part and
                 denying in part 912 Motion in Limine as to Azibo Aquart (3); granting 927 Motion in
                 Limine as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 8/29/11.
                 (Torday, B.) (Entered: 08/30/2011)
09/01/2011   964 ORAL WAIVER of Speedy Trial by Efrain Johnson FROM 9/1/11 TO 1/4/12 (Torday,
                 B.) (Entered: 09/01/2011)
09/01/2011   965 Minute Entry for proceedings held before Judge Janet Bond Arterton:Arraignment as to
                 Efrain Johnson (4) Count 1ss,2sss-4sss held on 9/1/2011, Status Conference as to Efrain
                 Johnson held on 9/1/2011; GRANTING, Oral speedy trial waiver (9/1/11 thru 1/4/12)
                 55 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered: 09/01/2011)
09/06/2011   966 RESPONSE/REPLY by Azibo Aquart In Support of 952 Motion for New Trial
                 (Sheehan, Michael) Modified on 9/7/2011 to create link to motion (Malone, P.).
                 (Entered: 09/06/2011)
09/07/2011   967 SCHEDULING ORDER as to Efrain Johnson Pretrial Motions due 10/28/11;
                 Government Response due 11/14/11; Substantive Motions due 11/28/11; Jury Selection
                 set for 1/4/2012 09:00 AM in Courtroom Two, 141 Church St., New Haven, CT before

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                  Judge Janet Bond Arterton. Signed by Judge Janet Bond Arterton on 9/6/11. (Torday,
                  B.) (Entered: 09/07/2011)
09/07/2011   968 ORDER TO CONTINUE - Ends of Justice as to Efrain Johnson Time excluded from
                 9/1/11 until 1/4/12. Signed by Judge Janet Bond Arterton on 9/6/11. (Torday, B.)
                 (Entered: 09/07/2011)
09/12/2011   970 SEALED MOTION by Azikiwe Aquart. (Lewis, D) (Entered: 09/13/2011)
09/13/2011   969 SEALED MOTION - by Azikiwe Aquart. (Lewis, D) (Entered: 09/13/2011)
09/15/2011   971 ORDER granting 969 Sealed Motion as to Azikiwe Aquart (1); granting 970 Sealed
                 Motion as to Azikiwe Aquart (1). Signed by Judge Stefan R. Underhill on 9/15/11.
                 (Hungerford, A.) (Entered: 09/15/2011)
09/23/2011        CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                  Johnson. Voucher # 110923000007. Interim #11 payment. Signed by Magistrate Judge
                  Joan G. Margolis on 9/23/2011. (Garguilo, B) (Entered: 10/04/2011)
09/23/2011        CJA 30: Authorization to Pay Michael Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart. Voucher # 110923000001. Interim #17 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 9/23/2011. (Garguilo, B) (Entered: 10/04/2011)
09/28/2011   972 ORDER as to Azibo Aquart re 952 MOTION for New Trial for Penalty Proceedings
                 filed by Azibo Aquart, 829 MOTION Motion for Mistrial filed by Azibo Aquart, (
                 Motion Hearing set for 11/22/2011 01:00 PM in Courtroom Two, 141 Church St., New
                 Haven, CT before Judge Janet Bond Arterton). Signed by Judge Janet Bond Arterton on
                 9/27/11. (Torday, B.) (Entered: 09/28/2011)
10/03/2011   973 SEALED MOTION to Incur Expenses by Efrain Johnson. (Villano, P.) (Entered:
                 10/03/2011)
10/03/2011   974 SEALED MOTION to Incur Expenses by Efrain Johnson. (Villano, P.) (Entered:
                 10/03/2011)
10/03/2011        CJA 30: Authorization to Pay Michael Sheehan in Death Penalty Proceedings as to
                  Azibo Aquart. Voucher # 110930000004. Interim #18 payment. Signed by Magistrate
                  Judge Joan G. Margolis on 10/3/2011. (Garguilo, B) (Entered: 10/13/2011)
10/03/2011        CJA 30: Authorization to Pay Colleen Brady in Death Penalty Proceedings as to
                  Azikiwe Aquart. Voucher # 110923000008. Interim #17 payment. Signed by Judge
                  Stefan R. Underhill on 10/3/2011. (Garguilo, B) (Entered: 10/13/2011)
10/03/2011        CJA 30: Authorization to Pay Robert Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart. Voucher # 110923000011. Interim #20 payment. Signed by Judge
                  Stefan R. Underhill on 10/3/2011. (Garguilo, B) (Entered: 10/13/2011)
10/03/2011        CJA 30: Authorization to Pay Robert Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart. Voucher # 110926000006. Interim #21 payment. Signed by Judge
                  Stefan R. Underhill on 10/3/2011. (Garguilo, B) (Entered: 10/13/2011)
10/03/2011        CJA 30: Authorization to Pay Robert Sullivan in Death Penalty Proceedings as to
                  Azikiwe Aquart Voucher # 110923000011. Interim #20 payment. Signed by Judge
                  Stefan R. Underhill on 10/3/2011. (Garguilo, B) (Entered: 11/02/2011)
10/06/2011        CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                  Johnson Voucher # 111006000001. Interim #12 payment. Signed by Judge Joan G.
                  Margolis on 10/6/2011. (Garguilo, B) (Entered: 11/02/2011)
10/11/2011        CJA 30: Authorization to Pay David Hoose in Death Penalty Proceedings as to Efrain
                                              GA86
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                  Johnson Voucher # 111006000009. Interim #13 payment. Signed by Judge Joan G.
                  Margolis on 10/11/2011. (Garguilo, B) (Entered: 11/02/2011)
10/17/2011   975 ORDER: granting 973 Motion to Incur Expenses as to Efrain Johnson (4); granting 974
                 Motion to Incur Expenses as to Efrain Johnson (4). Signed by Judge Joan G. Margolis
                 on 10/17/2011. (Rodko, B.) (Entered: 10/17/2011)
10/28/2011   976 MOTION to Continue Sentencing by Azikiwe Aquart. (Sullivan, Robert) (Entered:
                 10/28/2011)
10/28/2011   977 Consent MOTION for Extension of Time Pretrial Motions until November 4, 2011 by
                 Efrain Johnson. (Bussert, Todd) (Entered: 10/28/2011)
10/29/2011   978 Memorandum in Opposition by USA as to Azikiwe Aquart re 976 MOTION to
                 Continue Sentencing (Reynolds, Alina) (Entered: 10/29/2011)
11/01/2011   979 ORDER granting, until 11/4/11 977 Motion for Extension of Time as to Efrain Johnson
                 (4). Signed by Judge Janet Bond Arterton on 11/1/11. (Torday, B.) (Entered: 11/01/2011)
11/01/2011        CJA 30: Authorization to Pay David Stern in Death Penalty Proceedings as to Azikiwe
                  Aquart Voucher # 111024000007. Interim #8 payment. Signed by Judge Stefan R.
                  Underhill on 11/1/2011. (Garguilo, B) (Entered: 11/04/2011)
11/02/2011   980 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Phone
                 conference set for 11/2/2011 at 12:30 PM before Judge Stefan R. Underhill. The
                 Government will initiate the call. (Hungerford, A.) (Entered: 11/02/2011)
11/02/2011   981 REPLY TO RESPONSE to Motion by Azikiwe Aquart re 976 MOTION to Continue
                 Sentencing (Sullivan, Robert) (Entered: 11/02/2011)
11/02/2011   982 NOTICE OF E-FILED CALENDAR as to Azikiwe Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Sentencing
                 rescheduled for 12/12/2011 at 11:00 AM in Courtroom One, 915 Lafayette Blvd.,
                 Bridgeport, CT before Judge Stefan R. Underhill. (Hungerford, A.) (Entered:
                 11/02/2011)
11/02/2011        Minute Entry for proceedings held before Judge Stefan R. Underhill:Telephone Status
                  Conference as to Azikiwe Aquart held on 11/2/2011 15 minutes(Court Reporter Susan
                  Catucci.)(Sbalbi, B.) (Entered: 11/07/2011)
11/04/2011   983 Consent MOTION for Extension of Time To File Pretrial Motions until November 9,
                 2011 by Efrain Johnson. (Bussert, Todd) (Entered: 11/04/2011)
11/07/2011   984 ORDER granting, until 11/9/11 983 Motion for Extension of Time as to Efrain Johnson
                 (4). Signed by Judge Janet Bond Arterton on 11/7/11. (Torday, B.) (Entered: 11/08/2011)
11/08/2011   985 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.,Motion Hearing
                 set for 11/22/2011 01:00 PM in Courtroom Two, 141 Church St., New Haven, CT
                 before Judge Janet Bond Arterton) Motion Hearing on 928 MOTION MISTRIAL, 829
                 MOTION Motion for Mistrial, 952 MOTION for New Trial for Penalty Proceedings.
                 (Torday, B.) (Entered: 11/08/2011)
11/09/2011   986 Consent MOTION to Continue Jury Selection/Trial; MOTION for Extension of Time to
                 File Pretrial Motions by Efrain Johnson. (Bussert, Todd). Added MOTION for

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                  Extension of Time on 11/10/2011 (Malone, P.). (Entered: 11/09/2011)
11/09/2011   987 MOTION for Juror Questionnaire by Efrain Johnson. (Attachments: # 1 Memorandum
                 in Support, # 2 Exhibit Proposed Questionnaire)(Bussert, Todd) (Entered: 11/09/2011)
11/10/2011   988 NOTICE OF E-FILED CALENDAR as to Efrain Johnson: THIS IS THE ONLY
                 NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                 THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Telephone
                 Status Conference set for 11/15/2011 05:00 PM before Judge Janet Bond Arterton
                 Government to initiate the call to chambers at 203-773-2456.(Torday, B.) (Entered:
                 11/10/2011)
11/15/2011   993 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                 Conference as to Efrain Johnson held on 11/15/2011 Total Time: 1 hours(Torday, B.)
                 (Entered: 11/18/2011)
11/16/2011   989 PRESENTENCE INVESTIGATION REPORT (Draft Report) (SEALED - government
                 and defense counsel) as to Azikiwe Aquart. (available to USA, Azikiwe Aquart)
                 (Attachments: # 1 Indictment, # 2 Plea Agreement, # 3 Financial Statement)(Sheehan,
                 Michael) (Entered: 11/16/2011)
11/17/2011   990 AMENDED NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE
                 ONLY NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS
                 ENTERING THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.
                 Motion Hearing set for 11/22/2011 03:15 PM (NEW TIME) in Courtroom Two, 141
                 Church St., New Haven, CT before Judge Janet Bond Arterton), Motion or Report and
                 Recommendation in case as to Azibo Aquart 928 MOTION MISTRIAL, 829 MOTION
                 Motion for Mistrial, 952 MOTION for New Trial for Penalty Proceedings.(Torday, B.)
                 (Entered: 11/17/2011)
11/18/2011   991 ORDER granting 986 Motion to Continue of jury selection as to Efrain Johnson (4);
                 granting 986 Motion for Extension of Time file motions as to Efrain Johnson (4). Signed
                 by Judge Janet Bond Arterton on 11/17/11. (Torday, B.) (Entered: 11/18/2011)
11/18/2011   992 Reset Deadlines/Hearings as to Efrain Johnson:(Jury Selection set for 1/13/2012 03:00
                 PM and 1/24/12 9:00 a.m.in Courtroom Two, 141 Church St., New Haven, CT before
                 Judge Janet Bond Arterton Jury Trial set for 2/7-17/2012 09:00 AM in Courtroom Two,
                 141 Church St., New Haven, CT before Judge Janet Bond Arterton, Motion Hearing set
                 for 1/6/2012 10:00 AM in Courtroom Two, 141 Church St., New Haven, CT before
                 Judge Janet Bond Arterton, Substantive Motions due 11/28/11; Government Response
                 due 12/14/11; Defendant Replies due 12/28/11;Proposed jury questionnaire and
                 Proposed Voir Dire Questions due 11/29/11 ) (Torday, B.) (Entered: 11/18/2011)
11/22/2011   994 Minute Entry for proceedings held before Judge Janet Bond Arterton:Motion Hearing as
                 to Azibo Aquart held on 11/22/2011 re 928 MOTION MISTRIAL filed by Azibo
                 Aquart, 952 MOTION for New Trial for Penalty Proceedings filed by Azibo Aquart,
                 829 MOTION Motion for Mistrial filed by Azibo Aquart Taken Under Advisement
                 Total Time: 1 hours and 10 minutes(Court Reporter S. Montini.)(Torday, B.) (Entered:
                 11/23/2011)
11/28/2011   995 MOTION to Dismiss for Lack of Jurisdiction or, In the Alternative, for a Bill of
                 Particulars by Efrain Johnson. (Attachments: # 1 Memorandum in Support)(Bussert,
                 Todd) (Entered: 11/28/2011)
11/28/2011   996 MOTION to Suppress Statement by Efrain Johnson. (Bussert, Todd) (Entered:
                 11/28/2011)
12/02/2011   997 REVISED SCHEDULING ORDER as to Efrain Johnson Government Response due
                                               GA88
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                    12/12/11 AND Defendant Replies due 12/22/11 Motion Hearing set for 1/3/2012 10:00
                    AM in Courtroom Two, 141 Church St., New Haven, CT before Judge Janet Bond
                    Arterton. Signed by Judge Janet Bond Arterton on 12/2/11. (Torday, B.) (Entered:
                    12/02/2011)
12/05/2011    998 Proposed Voir Dire by Efrain Johnson (Bussert, Todd) (Entered: 12/05/2011)
12/05/2011    999 Proposed Voir Dire by USA as to Efrain Johnson (Reynolds, Alina) (Entered:
                  12/05/2011)
12/08/2011   1000 PRESENTENCE INVESTIGATION REPORT (Final Report) (SEALED - government
                  and defense counsel) as to Azikiwe Aquart. (available to USA, Azikiwe Aquart)
                  (Attachments: # 1 Indictment, # 2 Plea Agreement, # 3 Addendum, # 4 Financial
                  Statement)(Sheehan, Michael) (Entered: 12/08/2011)
12/08/2011   1001 Sealed Sentencing Recommendation: as to Azikiwe Aquart (Sheehan, Michael)
                  (Entered: 12/08/2011)
12/09/2011   1002 SENTENCING MEMORANDUM by Azikiwe Aquart (Sullivan, Robert) (Entered:
                  12/09/2011)
12/12/2011   1003 RESPONSE/REPLY by USA as to Efrain Johnson re 996 Motion to Suppress
                  (Attachments: # 1 Appendix, # 2 Appendix)(Markle, Peter) (Entered: 12/12/2011)
12/12/2011   1004 MOTION for Extension of Time until December 19, 2011 by USA as to Efrain Johnson.
                  (Reynolds, Alina) (Entered: 12/12/2011)
12/12/2011   1005 ORAL MOTION for Acceptance of Responsibility by USA as to Azikiwe Aquart.
                  (Sbalbi, B.) Modified on 12/14/2011 to correct date of motion. (Sbalbi, B.). (Entered:
                  12/14/2011)
12/12/2011   1006 Minute Entry for proceedings held before Judge Stefan R. Underhill: Sentencing as to
                  Azikiwe Aquart held on 12/12/2011. Oral ruling issued by Judge Underhill finding as
                  moot 976 Motion to Continue as to Azikiwe Aquart (1); granting 1005 Motion for
                  Acceptance of Responsibility as to Azikiwe Aquart (1). 20 minutes(Court Reporter
                  Susan Catucci.) (Sbalbi, B.) (Entered: 12/14/2011)
12/14/2011   1007 JUDGMENT as to Azikiwe Aquart (1), Count(s) 1, 1s, 1ss, 1sss, 1ssss, 1sssss, 2s, 2ss-
                  4ss, 2sss-4sss, 2ssss-4ssss, 5ss, 5sss-7sss, 5ssss-7ssss, 5sssss-7sssss, 6ss, 8sss, 8ssss,
                  8sssss, 9sss, 9ssss, 9sssss, Dismissed on Government motion.; Count(s) 2sssss-4sssss,
                  The defendant is sentenced to Life imprisonment on Count Two, Life imprisonment on
                  Count Three and Life imprisonment on Count Four; a special assessment of $300.00 to
                  be paid immediately; a Fine of $25,000.00 on Count Two, Fine of $25,000.00 on Count
                  Three and a Fine of $25,000.00 on Count Four. Signed by Judge Stefan R. Underhill on
                  12/14/2011. (Lewis, D) (Entered: 12/14/2011)
12/15/2011   1008 ORDER granting, until 12/19/11, any reply by 12/29/11 1004 Motion for Extension of
                  Time as to Efrain Johnson (4). Signed by Judge Janet Bond Arterton on 12/14/11.
                  (Torday, B.) (Entered: 12/15/2011)
12/15/2011          Reset Deadlines re Motion or Report and Recommendation in case as to Efrain Johnson
                    995 MOTION to Dismiss for Lack of Jurisdiction or, In the Alternative, for a Bill of
                    Particulars, 996 MOTION to Suppress Statement., SET / RESET SCHEDULING
                    ORDER DEADLINES as to Efrain Johnson Government Response due 12/19/11
                    Defendant Replies due 12/29/11 Motion Hearing set for 1/6/2012 12:30 PM in
                    Courtroom Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton
                    (Torday, B. (Entered: 12/15/2011)
12/20/2011   1009 Memorandum in Opposition by USA as to Efrain Johnson re 995 MOTION to Dismiss
                                                 GA89
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                    for Lack of Jurisdiction or, In the Alternative, for a Bill of Particulars (Reynolds, Alina)
                    (Entered: 12/20/2011)
12/20/2011   1012 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                  Conference as to Efrain Johnson held on 12/20/2011 Total Time: 1 hours(Court Reporter
                  Sharon Montini.)(Torday, B.) (Entered: 12/23/2011)
12/23/2011   1010 Sealed Document: Motion for Temporary Transfer of Custody by USA as to Efrain
                  Johnson - (Falcone, K.) (Entered: 12/23/2011)
12/23/2011   1011 SEALED ORDER as to Efrain Johnson.. Signed by Judge Janet Bond Arterton on
                  12/23/2011. (Falcone, K.) (Entered: 12/23/2011)
12/23/2011   1013 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of Oral
                  Argument on Motions for Mistrial and New Trial for Penalty Proceedings. Held on
                  11/22/11 before Judge Arterton. Court Reporter: S. Montini. IMPORTANT NOTICE -
                  REDACTION OF TRANSCRIPTS: To remove personal identifier information from
                  the transcript, a party must electronically file a Notice of Intent to Request Redaction
                  with the Clerk's Office within seven (7) calendar days of this date. If no such Notice is
                  filed, the court will assume redaction of personal identifiers is not necessary and the
                  transcript will be made available through PACER without redaction 90 days from
                  today's date. The transcript may be viewed at the court public terminal or purchased
                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                  Restriction. After that date it may be obtained through PACER. The policy governing
                  the redaction of personal information is located on the court website at
                  www.ctd.uscourts.gov. Redaction Request due 1/13/2012. Redacted Transcript Deadline
                  set for 1/23/2012. Release of Transcript Restriction set for 3/22/2012. (Montini, S.)
                  (Entered: 12/23/2011)
12/30/2011   1014 RESPONSE/REPLY by Efrain Johnson re 1009 Memorandum in Opposition re 995
                  Motion to Dismiss (Bussert, Todd) Modified on 1/3/2012 to create link(Falcone, K.).
                  (Entered: 12/30/2011)
01/05/2012   1015 NOTICE OF E-FILED CALENDAR as to Efrain Johnson: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Jury Selection
                  set for 1/11,12,24/2012 09:00 AM in Courtroom Two, 141 Church St., New Haven, CT
                  before Judge Janet Bond Arterton (Torday, B.) (Entered: 01/05/2012)
01/05/2012   1016 Motion Hearing set for 1/6/2012 12:30 PM in Courtroom Two, 141 Church St., New
                  Haven, CT before Judge Janet Bond Arterton RE: 995 MOTION to Dismiss for Lack of
                  Jurisdiction or, In the Alternative, for a Bill of Particulars, 996 MOTION to Suppress
                  Statement. (Torday, B.) (Entered: 01/05/2012)
01/05/2012   1017 RESPONSE/REPLY by USA as to Efrain Johnson re 1014 Reply/Response Misc
                  (Reynolds, Alina) (Entered: 01/05/2012)
01/06/2012   1018 ORDER granting 987 Motion as to Efrain Johnson (4). Signed by Judge Janet Bond
                  Arterton on 1/6/12. (Torday, B.) (Entered: 01/06/2012)
01/06/2012   1019 Minute Entry for proceedings held before Judge Janet Bond Arterton: withdrawing,
                  without prejudice to renew 996 Motion to Suppress as to Efrain Johnson (4); Motion
                  Hearing as to Efrain Johnson held on 1/6/2012 re 995 MOTION to Dismiss for Lack of
                  Jurisdiction or, In the Alternative, for a Bill of Particulars filed by Efrain Johnson. Total
                  Time: 1 hours and 45 minutes(Court Reporter Sharon Montini.) (Torday, B.) (Entered:
                  01/09/2012)
01/09/2012   1020 Proposed Jury Instructions by Efrain Johnson (Bussert, Todd) (Entered: 01/09/2012)
                                                  GA90
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01/10/2012   1021 Proposed Jury Instructions by USA as to Efrain Johnson (Reynolds, Alina) (Entered:
                  01/10/2012)
01/11/2012   1022 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                  to Efrain Johnson held on 1/11/2012 25 minutes(Court Reporter Sharon Montini.)
                  (Torday, B.) (Entered: 01/11/2012)
01/12/2012   1023 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Selection as
                  to Efrain Johnson held on 1/12/2012 50 minutes(Court Reporter Sharon Montini.)
                  (Torday, B.) (Entered: 01/12/2012)
01/20/2012   1024 SEALED MOTION Motion for Temporary Custody by USA as to Efrain Johnson.
                  (Torday, B.) (Entered: 01/20/2012)
01/20/2012   1025 ORDER granting 1024 Sealed Motion as to Efrain Johnson (4). Signed by Judge Janet
                  Bond Arterton on 1/20/12. (Torday, B.) (Entered: 01/20/2012)
01/20/2012   1027 SEALED MOTION for allocation of funds - by Efrain Johnson. (Torday, B.) (Entered:
                  01/23/2012)
01/20/2012   1028 SEALED MOTION for allocation of funds - by Efrain Johnson. (Torday, B.) (Entered:
                  01/23/2012)
01/23/2012   1026 SEALED MOTION for allocation of funds - by Efrain Johnson. (Torday, B.) (Entered:
                  01/23/2012)
01/23/2012   1029 ORDER: granting 1026 Sealed Motion as to Efrain Johnson (4); granting 1027 Sealed
                  Motion as to Efrain Johnson (4); granting 1028 Sealed Motion as to Efrain Johnson (4).
                  Signed by Judge Joan G. Margolis on 1/23/2012. (Rodko, B.) (Entered: 01/23/2012)
01/24/2012   1030 Minute Entry for proceedings held before Judge Janet Bond Arterton:FINAL Jury
                  Selection as to Efrain Johnson held on 1/24/2012, Voir Dire begun on 1/24/2012 Efrain
                  Johnson (4) on Count 1sss,2sss-4sss Total Time: 5 hours and 30 minutes(Court Reporter
                  Sharon Montini.)(Torday, B.) (Entered: 01/24/2012)
01/25/2012   1031 MOTION in Limine For Opening Statements by USA as to Efrain Johnson. (Reynolds,
                  Alina) (Entered: 01/25/2012)
01/25/2012   1032 Memorandum in Support by USA as to Efrain Johnson re 1031 MOTION in Limine For
                  Opening Statements (Reynolds, Alina) (Entered: 01/25/2012)
01/26/2012   1033 ORDER granting 1031 Motion in Limine for opening statements as to Efrain Johnson
                  (4). Signed by Judge Janet Bond Arterton on 1/25/12. (Torday, B.) (Entered:
                  01/26/2012)
01/26/2012   1034 ORDER: Defendant Efrain Johnson's Motion to Dismiss for Lack of Jurisdiction [Doc.
                  # 995] is DENIED. Signed by Judge Janet Bond Arterton on 1/26/2012. (Flagg, K.)
                  (Entered: 01/26/2012)
02/02/2012   1035 SEALED MOTION Temporary Transfer of Custody - by USA as to Efrain Johnson.
                  (Torday, B.) (Entered: 02/02/2012)
02/02/2012   1036 ORDER granting 1035 Sealed Motion as to Efrain Johnson (4). Signed by Judge Joan
                  G. Margolis on 2/2/12. (Torday, B.) (Entered: 02/02/2012)
02/02/2012   1037 SEALED MOTION Temporary Transfer of Custody - by USA as to Efrain Johnson.
                  (Falcone, K.) (Entered: 02/02/2012)
02/02/2012   1038 SEALED ORDER as to Efrain Johnson.. Signed by Judge Joan G. Margolis on
                  2/2/2012. (Falcone, K.) (Entered: 02/02/2012)

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02/03/2012   1039 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Transcript of Oral
                  Argument on Motion to Dismiss. Held on 1/6/12 before Judge Arterton. Court Reporter:
                  S. Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To
                  remove personal identifier information from the transcript, a party must electronically
                  file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                  calendar days of this date. If no such Notice is filed, the court will assume redaction of
                  personal identifiers is not necessary and the transcript will be made available through
                  PACER without redaction 90 days from today's date. The transcript may be viewed at
                  the court public terminal or purchased through the Court Reporter/Transcriber before the
                  deadline for Release of Transcript Restriction. After that date it may be obtained
                  through PACER. The policy governing the redaction of personal information is located
                  on the court website at www.ctd.uscourts.gov. Redaction Request due 2/24/2012.
                  Redacted Transcript Deadline set for 3/5/2012. Release of Transcript Restriction set for
                  5/3/2012. (Montini, S.) (Entered: 02/03/2012)
02/03/2012   1040 SEALED MOTION in Limine by USA as to Efrain Johnson. (Attachments: # 1
                  Attachment)(Falcone, K.) (Entered: 02/06/2012)
02/06/2012   1041 MOTION in Limine re: Testimony of H. Wayne Carver, M.D. and Points and Authorities
                  in Support Thereof by Efrain Johnson. (Bussert, Todd) (Entered: 02/06/2012)
02/06/2012   1042 MOTION to Produce Agents Notes and Points and Authorities in Support Thereof by
                  Efrain Johnson. (Bussert, Todd) (Entered: 02/06/2012)
02/06/2012   1043 MOTION to Compel Disclosure of PSRs and Points and Authorities in Support Thereof
                  by Efrain Johnson. (Bussert, Todd) (Entered: 02/06/2012)
02/07/2012   1044 MOTION in Limine re: 911 Call, Transcript and CAD Report by Efrain Johnson.
                  (Bussert, Todd) (Entered: 02/07/2012)
02/07/2012   1045 MOTION in Limine re: Government's Argument by Efrain Johnson. (Bussert, Todd)
                  (Entered: 02/07/2012)
02/07/2012   1046 MOTION to Preclude 'Other Acts' Evidence by Efrain Johnson. (Bussert, Todd)
                  (Entered: 02/07/2012)
02/08/2012   1047 Minute Entry for proceedings held before Judge Janet Bond Arterton: finding as moot
                  1045 Motion in Limine as to Efrain Johnson (4); granting 1046 Motion to Preclude as to
                  Efrain Johnson (4); Jury Trial as to Efrain Johnson held on 2/8/2012 Jury Trial
                  Continued Until 2/9/12 9am. Total Time: 5 hours and 45 minutes(Court Reporter S.
                  MONTINI.) (Torday, B.) (Entered: 02/09/2012)
02/09/2012   1048 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/9/2012 Jury Trial Continued Until 2/10/12 9:30am Total Time:
                  5 hours and 30 minutes(Court Reporter S. MONTINI.)(Torday, B.) (Entered:
                  02/10/2012)
02/10/2012   1049 SEALED MOTION Temporary Transfer of Custody - by USA as to Efrain Johnson.
                  (Falcone, K.) (Entered: 02/10/2012)
02/10/2012   1050 SEALED ORDER as to Efrain Johnson.. Signed by Judge Janet Bond Arterton on
                  2/10/2012. (Falcone, K.) (Entered: 02/10/2012)
02/10/2012   1051 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/10/2012 Jury Trial Continued Until 2/13/12 9am Total Time: 5
                  hours and 30 minutes(Court Reporter S. MONTINI.)(Torday, B.) (Entered: 02/10/2012)
02/10/2012   1055 ORDER granting 1049 Sealed Motion as to Efrain Johnson (4). Signed by Judge Janet
                  Bond Arterton on 2/10/12. (Torday, B.) (Entered: 02/13/2012)
                                                 GA92
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02/11/2012   1052 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume I. Held on 2/8/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/3/2012. Redacted
                  Transcript Deadline set for 3/13/2012. Release of Transcript Restriction set for
                  5/11/2012. (Montini, S.) (Entered: 02/11/2012)
02/11/2012   1053 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume II. Held on 2/9/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/3/2012. Redacted
                  Transcript Deadline set for 3/13/2012. Release of Transcript Restriction set for
                  5/11/2012. (Montini, S.) (Entered: 02/11/2012)
02/11/2012   1054 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume III. Held on 2/10/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/3/2012. Redacted
                  Transcript Deadline set for 3/13/2012. Release of Transcript Restriction set for
                  5/11/2012. (Montini, S.) (Entered: 02/11/2012)
02/13/2012   1056 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/13/2012 Jury Trial Continued Until 12/14/12 8am Total Time:
                  5 hours(Court Reporter S. MONTINI.)(Torday, B.) (Entered: 02/13/2012)
02/14/2012   1057 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume IV. Held on 2/13/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal

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                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 3/6/2012. Redacted
                    Transcript Deadline set for 3/16/2012. Release of Transcript Restriction set for
                    5/14/2012. (Montini, S.) (Entered: 02/14/2012)
02/14/2012   1058 ORAL MOTION to Preclude testimony of John Taylor by Efrain Johnson. (Torday, B.)
                  (Entered: 02/14/2012)
02/14/2012   1059 ORAL MOTION to Continue trial by Efrain Johnson. (Torday, B.) (Entered:
                  02/14/2012)
02/14/2012   1060 ORAL MOTION for competancy test for John Taylor by Efrain Johnson. (Torday, B.)
                  (Entered: 02/14/2012)
02/14/2012   1061 ORAL MOTION for MISTRIAL by Efrain Johnson. (Torday, B.) (Entered: 02/14/2012)
02/14/2012   1062 Minute Entry for proceedings held before Judge Janet Bond Arterton: denying 1058
                  Motion to Preclude as to Efrain Johnson (4); denying 1059 Motion to Continue trail as
                  to Efrain Johnson (4); denying 1060 Motion for competancy test as to Efrain Johnson
                  (4); denying, without prejudice to renew 1061 Motion for Mistrial as to Efrain Johnson
                  (4); Jury Trial as to Efrain Johnson held on 2/14/2012 Jury Trial Continued Until
                  2/15/12 9AM. Total Time: 7 hours(Court Reporter Sharon Montini.) (Torday, B.)
                  (Entered: 02/14/2012)
02/14/2012   1064 SEALED MOTION Temporary Transfer of Custody - by USA as to Efrain Johnson.
                  (Falcone, K.) (Entered: 02/15/2012)
02/14/2012   1065 SEALED ORDER as to Efrain Johnson.. Signed by Judge Joan G. Margolis on
                  2/14/2012. (Falcone, K.) (Entered: 02/15/2012)
02/15/2012   1063 MOTION in Limine re: Testimony of Susan S. Williams, M.D. by Efrain Johnson.
                  (Bussert, Todd) (Entered: 02/15/2012)
02/15/2012   1066 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/15/2012 Jury Trial Continued Until 2/16/12 9am Total Time: 4
                  hours and 45 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                  02/15/2012)
02/16/2012   1067 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/16/2012 Jury Trial Continued Until 2/17/12 9:30AM Total
                  Time: 5 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered: 02/16/2012)
02/16/2012   1114 ORDER granting 1064 Sealed Motion as to Efrain Johnson (4). Signed by Judge Janet
                  Bond Arterton on 2/16/12. (Torday, B.) (Entered: 05/03/2012)
02/17/2012   1068 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume V. Held on 2/14/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
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                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 3/9/2012. Redacted
                    Transcript Deadline set for 3/19/2012. Release of Transcript Restriction set for
                    5/17/2012. (Montini, S.) (Entered: 02/17/2012)
02/17/2012   1069 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume VI. Held on 2/15/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/9/2012. Redacted
                  Transcript Deadline set for 3/19/2012. Release of Transcript Restriction set for
                  5/17/2012. (Montini, S.) (Entered: 02/17/2012)
02/17/2012   1070 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume VII. Held on 2/16/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/9/2012. Redacted
                  Transcript Deadline set for 3/19/2012. Release of Transcript Restriction set for
                  5/17/2012. (Montini, S.) (Entered: 02/17/2012)
02/17/2012   1071 Memorandum in Opposition by USA as to Efrain Johnson re 1063 MOTION in Limine
                  re: Testimony of Susan S. Williams, M.D. (Reynolds, Alina) (Entered: 02/17/2012)
02/17/2012   1076 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/17/2012 Jury Trial Continued Until 2/21/12 9am Total Time: 5
                  hours and 30 minutes(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                  02/21/2012)
02/20/2012   1072 Proposed Jury Instructions by Efrain Johnson (Bussert, Todd) (Entered: 02/20/2012)
02/20/2012   1073 Proposed Jury Instructions by USA as to Efrain Johnson (Reynolds, Alina) (Entered:
                  02/20/2012)
02/21/2012   1074 ORDER: Defendant Azibo Aquart's Motion for a Mistrial as to the Guilt phase
                  proceedings [Doc. # 829]is DENIED. Signed by Judge Janet Bond Arterton on
                  02/21/2012. (Flagg, K.) (Entered: 02/21/2012)
02/21/2012   1075 ORAL MOTION for Acquittal under Rule 29 by Efrain Johnson. (Torday, B.) (Entered:
                  02/21/2012)
02/21/2012   1077 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/21/2012 Jury Trial Continued Until 2/22/12 9AM ORAL

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                    MOTION UNDER RULE 29 FOR ACQUITTAL Total Time: 6 hours and 6
                    minutes(Court Reporter Sharon Montini.)(Torday, B.) (Main Document 1077 replaced
                    on 3/1/2012) (Torday, B.). (Entered: 02/21/2012)
02/22/2012   1078 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/22/2012 Jury Trial Continued Until 2/23/12 at 9am Total
                  Time: 3 hours(Court Reporter Sharon Montini.)(Torday, B.) (Main Document 1078
                  replaced on 3/1/2012) (Torday, B.). (Entered: 02/22/2012)
02/22/2012   1079 ORDER denying without prejudice to renew 1075 Motion for Acquittal as to Efrain
                  Johnson (4). Signed by Judge Janet Bond Arterton on 2/22/12. (Torday, B.) (Entered:
                  02/22/2012)
02/22/2012   1080 Proposed Jury Instructions by USA as to Efrain Johnson (Reynolds, Alina) (Entered:
                  02/22/2012)
02/22/2012   1081 Proposed Jury Instructions by USA as to Efrain Johnson (Reynolds, Alina) (Entered:
                  02/22/2012)
02/23/2012   1082 Proposed Voir Dire by Efrain Johnson (Bussert, Todd) (Entered: 02/23/2012)
02/23/2012   1083 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume VIII. Held on 2/17/2 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/15/2012. Redacted
                  Transcript Deadline set for 3/25/2012. Release of Transcript Restriction set for
                  5/23/2012. (Montini, S.) (Entered: 02/23/2012)
02/23/2012   1084 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume IX. Held on 2/21/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/15/2012. Redacted
                  Transcript Deadline set for 3/25/2012. Release of Transcript Restriction set for
                  5/23/2012. (Montini, S.) (Entered: 02/23/2012)
02/23/2012   1085 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Trial Transcript,
                  Volume X. Held on 2/22/12 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
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                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 3/15/2012. Redacted
                    Transcript Deadline set for 3/25/2012. Release of Transcript Restriction set for
                    5/23/2012. (Montini, S.) (Entered: 02/23/2012)
02/23/2012   1086 ORAL MOTION for Acquittal by Efrain Johnson. (Torday, B.) (Entered: 02/24/2012)
02/23/2012   1087 Minute Entry for proceedings held before Judge Janet Bond Arterton: denying, without
                  prejudice to renew 1086 ORAL Motion for Acquittal as to Efrain Johnson (4); Jury Trial
                  as to Efrain Johnson held on 2/23/2012 Jury Trial Continued Until 2/24/12 AT 9AM.
                  Total Time: 8 hours and 45 minutes(Court Reporter Sharon Montini.) (Torday, B.)
                  (Entered: 02/24/2012)
02/23/2012   1088 Marked Witness List by USA, Efrain Johnson as to Efrain Johnson (Torday, B.)
                  (Entered: 02/24/2012)
02/23/2012   1089 Marked Exhibit List by USA as to Efrain Johnson (Torday, B.) (Entered: 02/24/2012)
02/23/2012   1090 Marked Exhibit List by Efrain Johnson (Torday, B.) (Entered: 02/24/2012)
02/23/2012   1092 Court Jury Instructions as to Efrain Johnson (Torday, B.) (Entered: 02/27/2012)
02/24/2012   1091 ORDER: Defendant Azibo Aquart's Motion for New Trial as to the Penalty Phase
                  Proceedings [Doc. # 952] is DENIED. Signed by Judge Janet Bond Arterton on 2/24/12.
                  (Flagg, K.) (Entered: 02/24/2012)
02/24/2012   1093 COURT EXHIBIT LIST as to Efrain Johnson (Torday, B.) (Entered: 02/27/2012)
02/24/2012   1094 JURY VERDICT as to Efrain Johnson (4) Guilty on Count 2sss-4sssEfrain Johnson (4)
                  Not Guilty on Count 1sss. (Torday, B.) (Entered: 02/27/2012)
02/24/2012   1095 Minute Entry for proceedings held before Judge Janet Bond Arterton:Jury Trial as to
                  Efrain Johnson held on 2/24/2012 Defendant found not guilty on Ct 1 and guilty on cts
                  2-4 Total Time: 10 hours(Court Reporter Sharon Montini.)(Torday, B.) (Entered:
                  02/27/2012)
02/28/2012   1096 SENTENCING SCHEDULING ORDER as to Azibo Aquart Sentencing set for
                  3/28/2012 03:30 PM in Courtroom Two, 141 Church St., New Haven, CT before Judge
                  Janet Bond Arterton;. Signed by Judge Janet Bond Arterton on 2/27/12. (Torday, B.)
                  (Entered: 02/28/2012)
03/01/2012   1097 Consent MOTION for Extension of Time to File FRCP 29(c) Motion until April 13,
                  2012 by Efrain Johnson. (Bussert, Todd) (Entered: 03/01/2012)
03/01/2012   1098 SENTENCING MEMORANDUM by USA as to Azibo Aquart (Dayton, Tracy)
                  (Entered: 03/01/2012)
03/02/2012   1099 ORDER granting, until 4/13/12, government response due 5/24, 2012; any reply due
                  6/4/12 1097 Motion for Extension of Time as to Efrain Johnson (4). Signed by Judge
                  Janet Bond Arterton on 3/2/12. (Torday, B.) (Entered: 03/02/2012)
03/07/2012   1100 MOTION to Dismiss Indictment by USA as to Nathaniel Grant. (Dayton, Tracy)
                  (Entered: 03/07/2012)
03/07/2012   1101 Amended MOTION to Dismiss by USA as to Nathaniel Grant. (Dayton, Tracy)
                  (Entered: 03/07/2012)
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03/08/2012   1102 MOTION for New Trial by Azibo Aquart. (Sheehan, Michael) (Entered: 03/08/2012)
03/16/2012         DISMISSAL OF COUNTS as to Nathaniel Grant. (Torday, B.) (Entered: 03/27/2012)
03/19/2012   1103 ORDER granting 1100 Motion to Dismiss INDICTMENT as to Nathaniel Grant (2);
                  finding as moot 1101 Motion to Dismiss INDICTMENT as to Nathaniel Grant (2).
                  Signed by Judge Janet Bond Arterton on 3/16/12. (Torday, B.) (Entered: 03/19/2012)
03/19/2012   1104 ORDER as to Azibo Aquart re 1096 Sentencing Scheduling Order. Signed by Judge
                  Janet Bond Arterton on 3/19/12. (Torday, B.) (Entered: 03/19/2012)
03/21/2012   1105 Memorandum in Opposition by USA as to Azibo Aquart re 1102 MOTION for New
                  Trial (Reynolds, Alina) (Entered: 03/21/2012)
04/02/2012   1106 RESPONSE/REPLY re: 1102 Motion for new trialby Azibo Aquart (Sheehan, Michael)
                  Modified on 4/3/2012 to create link(Falcone, K.). (Entered: 04/02/2012)
04/11/2012   1107 Sealed Document:Motion to modify phase three CJA budget by Azibo Aquart -
                  (Falcone, K.) (Entered: 04/11/2012)
04/13/2012   1108 Consent MOTION for Extension of Time To File R29/R33 Motion until April 25, 2012
                  by Efrain Johnson. (Bussert, Todd) (Entered: 04/13/2012)
04/16/2012   1109 ORDER granting, until 4/25/12 1108 Motion for Extension of Time as to Efrain Johnson
                  (4). Signed by Judge Janet Bond Arterton on 4/16/12. (Torday, B.) (Entered:
                  04/16/2012)
04/25/2012   1110 MOTION for Extension of Time To File R29/R33 Motion until May 2, 2012 by Efrain
                  Johnson. (Bussert, Todd) (Entered: 04/25/2012)
04/26/2012   1111 ORDER granting,until 5/2/12; no further extensions will be granted 1110 Motion for
                  Extension of Time as to Efrain Johnson (4). Signed by Judge Janet Bond Arterton on
                  4/26/12. (Torday, B.) (Entered: 04/26/2012)
05/02/2012   1112 Consent MOTION for Extension of Time to File R29/R33 Motion until May 7, 2012 by
                  Efrain Johnson. (Bussert, Todd) (Entered: 05/02/2012)
05/03/2012   1113 ORDER granting 1112 Motion for Extension of Time as to Efrain Johnson to May 7,
                  2012. (4). Signed by Judge Janet Bond Arterton on 5/3/12. (Arterton, Janet) (Entered:
                  05/03/2012)
05/07/2012   1115 MOTION for Extension of Time to File R29/R33 Motion until May 8, 2012 by Efrain
                  Johnson. (Bussert, Todd) (Entered: 05/07/2012)
05/08/2012   1116 ORDER AS stated in open Court during trial:finding as moot 1040 Sealed Motion as to
                  Efrain Johnson (4); finding as moot 1041 Motion in Limine as to Efrain Johnson (4);
                  granting 1042 Motion to Produce as to Efrain Johnson (4); granting 1043 Motion to
                  Compel as to Efrain Johnson (4); granting 1044 Motion in Limine as to Efrain Johnson
                  (4). Signed by Judge Janet Bond Arterton on 2/8/12. (Torday, B.) (Entered: 05/08/2012)
05/08/2012   1117 ORDER As stated in open Court during trial:finding as moot 1063 Motion in Limine as
                  to Efrain Johnson (4). Signed by Judge Janet Bond Arterton on 2/15/12. (Torday, B.)
                  (Entered: 05/08/2012)
05/08/2012   1118 ORDER granting, until 5/8/12 1115 Motion for Extension of Time as to Efrain Johnson
                  (4). Signed by Judge Janet Bond Arterton on 5/8/12. (Torday, B.) (Entered: 05/08/2012)
05/08/2012   1119 MOTION for Acquittal or, In the Alternative, for a New Trial by Efrain Johnson.
                  (Attachments: # 1 Exhibit Jury Instructions)(Bussert, Todd). Added MOTION for New
                  Trial on 5/9/2012 (Falcone, K.). (Entered: 05/08/2012)

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05/10/2012         SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/21/11 before
                   Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day Five.
                   (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1120 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/22/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day Six.
                  (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1121 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/23/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Seven. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1122 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/24/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day Eight.
                  (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1123 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/25/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day Nine.
                  (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1124 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/28/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day Ten.
                  (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1125 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/29/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Eleven. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1126 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/30/11 before
                  Judge Arterton. Court Reporter: S.Montini. Type of Hearing: Jury Selection, Day
                  Twelve. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1127 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 3/31/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Thirteen. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1128 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 4/4/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Fourteen. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1129 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 4/6/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Fifteen. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1130 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 4/11/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Sixteen. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1131 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 4/12/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Seventeen. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1132 SEALED TRANSCRIPT of Proceedings as to Azibo Aquart held on 4/19/11 before
                  Judge Arterton. Court Reporter: S. Montini. Type of Hearing: Jury Selection, Day
                  Eighteen. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1133 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Jury Selection,
                  Day Two. Held on 3/2/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal

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                    identifier information from the transcript, a party must electronically file a Notice of
                    Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                    this date. If no such Notice is filed, the court will assume redaction of personal
                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                    Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                    8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1134 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Jury Selection,
                  Day Four. Held on 3/4/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1135 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Hearing on Pending Motions. Held on 4/14/11 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1136 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume I. Held on 4/20/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted

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                    Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                    8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1137 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume II. Held on 4/21/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1138 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume III. Held on 4/25/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1139 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume IV. Held on 4/26/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1140 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume V. Held on 4/27/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER

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                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                    Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                    8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1141 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume VI. Held on 4/28/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1142 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume VII. Held on 4/29/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1143 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume VIII. Held on 5/2/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1144 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume IX. Held on 5/911 before Judge Arterton. Court Reporter: S. Montini.

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                    IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                    identifier information from the transcript, a party must electronically file a Notice of
                    Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                    this date. If no such Notice is filed, the court will assume redaction of personal
                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                    Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                    8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/10/2012   1145 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume X. Held on 5/4/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/31/2012. Redacted
                  Transcript Deadline set for 6/10/2012. Release of Transcript Restriction set for
                  8/8/2012. (Montini, S.) (Entered: 05/10/2012)
05/11/2012   1146 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XI. Held on 5/5/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1147 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XIII. Held on 5/10/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
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                    Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                    (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1148 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XIV. Held on 5/11/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1149 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XV. Held on 5/12/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1150 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of Guilt
                  Phase Charge Conference, Volume I. Held on 5/13/11 before Judge Arterton. Court
                  Reporter: S. Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS:
                  To remove personal identifier information from the transcript, a party must
                  electronically file a Notice of Intent to Request Redaction with the Clerk's Office within
                  seven (7) calendar days of this date. If no such Notice is filed, the court will assume
                  redaction of personal identifiers is not necessary and the transcript will be made
                  available through PACER without redaction 90 days from today's date. The transcript
                  may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                  date it may be obtained through PACER. The policy governing the redaction of personal
                  information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                  due 6/1/2012. Redacted Transcript Deadline set for 6/11/2012. Release of Transcript
                  Restriction set for 8/9/2012. (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1151 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XVI. Held on 5/13/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER

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                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                    Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                    (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1152 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XVII. Held on 5/16/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1153 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XVIII. Held on 5/17/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1154 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XIX. Held on 5/18/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1155 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of Guilt
                  Phase Charge Conference, Volume II. Held on 5/18/11 before Judge Arterton. Court

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                    Reporter: S. Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS:
                    To remove personal identifier information from the transcript, a party must
                    electronically file a Notice of Intent to Request Redaction with the Clerk's Office within
                    seven (7) calendar days of this date. If no such Notice is filed, the court will assume
                    redaction of personal identifiers is not necessary and the transcript will be made
                    available through PACER without redaction 90 days from today's date. The transcript
                    may be viewed at the court public terminal or purchased through the Court
                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                    date it may be obtained through PACER. The policy governing the redaction of personal
                    information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                    due 6/1/2012. Redacted Transcript Deadline set for 6/11/2012. Release of Transcript
                    Restriction set for 8/9/2012. (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1156 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XX. Held on 5/20/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1157 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXI. Held on 5/23/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1158 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Telephone Conference. Held on 5/24/11 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
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                    Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                    (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1159 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Motions Hearing. Held on 5/26/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/11/2012   1160 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXII. Held on 5/31/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/1/2012. Redacted
                  Transcript Deadline set for 6/11/2012. Release of Transcript Restriction set for 8/9/2012.
                  (Montini, S.) (Entered: 05/11/2012)
05/24/2012   1161 ORDER: granting 1107 Sealed Document Motion to modify phase three CJA budget
                  filed by Azibo Aquart. Signed by Judge Joan G. Margolis on 5/23/2012. (Rodko, B.)
                  (Entered: 05/24/2012)
06/04/2012   1162 First MOTION for Extension of Time to File Response/Reply as to 1119 MOTION for
                  Acquittal or, In the Alternative, for a New Trial MOTION for New Trial until July 2,
                  2012 by USA as to Efrain Johnson. (Reynolds, Alina) (Entered: 06/04/2012)
06/05/2012   1163 ORDER granting, until 7/2/12, defendant's reply due 7/23/12 1162 Motion for Extension
                  of Time to File Response/Reply as to Efrain Johnson (4). Signed by Judge Janet Bond
                  Arterton on 6/5/12. (Torday, B.) (Entered: 06/05/2012)
06/28/2012          CJA 24 as to Efrain Johnson: Authorization to Pay Sharon Montini $ 443.85 for
                    Transcript, Voucher # 120515000042. Date of Court Hearings 2/21/12, 2/22/12, 2/23/12,
                    2/13/12 & 2/14/12. Signed by Judge Janet Bond Arterton on 6/19/12. (Wood, R.)
                    (Entered: 06/28/2012)
06/28/2012          CJA 24 as to Efrain Johnson: Authorization to Pay Sharon Montini $ 218.25 for
                    Transcript, Voucher # 120515000043. Date of Court Hearing 4/16/2012. Signed by
                    Judge Janet Bond Arterton on 6/19/12. (Wood, R.) (Entered: 06/28/2012)
07/02/2012   1164 Second MOTION for Extension of Time to respond to 1119 Motion for Aquittal until
                  August 2, 2012 by USA as to Efrain Johnson. (Reynolds, Alina) Modified on 7/3/2012
                  to correct relief(Falcone, K.). (Entered: 07/02/2012)
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07/05/2012   1165 ORDER granting, until 8/2/12 1164 Motion for Extension of Time to File
                  Response/Reply as to Efrain Johnson (4). Signed by Judge Janet Bond Arterton on
                  7/5/12. (Torday, B.) (Entered: 07/05/2012)
08/01/2012   1166 Final MOTION for Extension of Time to File Response/Reply as to 1119 MOTION for
                  Acquittal or, In the Alternative, for a New Trial MOTION for New Trial until August
                  23, 2012 by USA as to Efrain Johnson. (Markle, Peter) (Entered: 08/01/2012)
08/08/2012   1167 ORDER granting, until 8/23/12, with any reply due 9/4/12 1166 Motion for Extension
                  of Time to File Response/Reply as to Efrain Johnson (4). Signed by Judge Janet Bond
                  Arterton on 8/7/12. (Torday, B.) (Entered: 08/08/2012)
08/23/2012   1168 Memorandum in Opposition by USA as to Efrain Johnson re 1119 MOTION for
                  Acquittal or, In the Alternative, for a New Trial MOTION for New Trial (Reynolds,
                  Alina) (Additional attachment(s) added on 9/4/2012: # 1 REPLACEMENT- MAIN
                  DOCUMENT) (Malone, P.). (Entered: 08/23/2012)
08/31/2012   1169 Consent MOTION for Extension of Time to File Response/Reply as to 1168
                  Memorandum in Opposition to Motion until October 4, 2012 by Efrain Johnson.
                  (Bussert, Todd) Modified on 9/4/2012 to create link(Falcone, K.). (Entered: 08/31/2012)
09/04/2012   1170 Docket Entry Correction Replaced PDF with Corrected Signed PDF, as to Efrain
                  Johnson re 1168 Memorandum in Opposition to Motion, (Malone, P.) (Entered:
                  09/04/2012)
09/05/2012   1171 ORDER granting, until 10/4/12 1169 Motion for Extension of Time to File
                  Response/Reply as to Efrain Johnson (4). Signed by Judge Janet Bond Arterton on
                  9/4/12. (Torday, B.) (Entered: 09/05/2012)
10/04/2012   1172 Consent MOTION for Extension of Time to File Response/Reply re: 1119 Motion for
                  Aquittal until October 8, 2012 by Efrain Johnson. (Bussert, Todd) Modified on
                  10/5/2012 to create link(Falcone, K.). (Entered: 10/04/2012)
10/08/2012   1173 Final MOTION for Extension of Time to File Response/Reply re: 1119 Motion for
                  Aquittal until October 10, 2012 by Efrain Johnson. (Bussert, Todd) Modified on
                  10/9/2012 to create link(Falcone, K.). (Entered: 10/08/2012)
10/10/2012   1174 MOTION for Leave to File Excess Pages by Efrain Johnson. (Attachments: # 1 Exhibit
                  Reply to Response)(Bussert, Todd) (Entered: 10/10/2012)
10/11/2012   1175 ORDER granting 1172 Motion for Extension of Time to File Response/Reply as to
                  Efrain Johnson (4); granting 1173 Motion for Extension of Time to File Response/Reply
                  as to Efrain Johnson (4); granting 1174 Motion for Leave to File Excess Pages as to
                  Efrain Johnson (4). Signed by Judge Janet Bond Arterton on 10/10/12. (Torday, B.)
                  (Entered: 10/11/2012)
10/12/2012   1176 RESPONSE/REPLY by Efrain Johnson re 1168 Memorandum in Opposition to 1119
                  Motion, (Bussert, Todd) Modified on 10/18/2012 to create link to motion (Malone, P.).
                  (Entered: 10/12/2012)
12/06/2012   1177 RULING denying 1102 Motion for New Trial as to Azibo Aquart (3). Signed by Judge
                  Janet Bond Arterton on 12/6/12. (Torday, B.) (Entered: 12/06/2012)
12/06/2012   1178 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Sentencing set
                  for 12/17/2012 01:30 PM in Courtroom Two, 141 Church St., New Haven, CT before
                  Judge Janet Bond Arterton (Torday, B.) (Entered: 12/06/2012)

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12/11/2012   1193 Minute Entry for proceedings held before Judge Janet Bond Arterton:Telephone Status
                  Conference as to Azibo Aquart held on 12/11/2012 Total Time: 1 hours(Torday, B.)
                  (Entered: 01/04/2013)
12/13/2012   1179 SENTENCING MEMORANDUM by Azibo Aquart (Sheehan, Michael) (Entered:
                  12/13/2012)
12/14/2012   1180 ORDER as to Azibo Aquart. Signed by Judge Janet Bond Arterton on 12/14/12.
                  (Tooker, A.) (Entered: 12/14/2012)
12/16/2012   1181 RESPONSE/REPLY by USA as to Azibo Aquart re 1179 Sentencing Memorandum
                  (Reynolds, Alina) (Entered: 12/16/2012)
12/16/2012   1182 RESPONSE/REPLY by Azibo Aquart Regarding 1179 Sentencing (Sheehan, Michael)
                  Modified on 12/17/2012 to create link to 1179(Malone, P.). (Entered: 12/16/2012)
12/17/2012   1183 ORAL MOTION to Dismiss to dismiss all outstanding countsby USA as to Azibo
                  Aquart. (Torday, B.) (Entered: 12/18/2012)
12/17/2012   1184 Minute Entry for proceedings held before Judge Janet Bond Arterton: granting 1183
                  Motion to Dismiss all remaining courts as to Azibo Aquart (3); Sentencing as to Azibo
                  Aquart held on 12/17/2012. 45 minutes(Court Reporter Sharon Montini.) (Torday, B.)
                  (Entered: 12/18/2012)
12/18/2012   1185 JUDGMENT as to Azibo Aquart (3), Count(s) 1, 1s, 1ss, Dismiss by USA; Counts 10ss,
                  10sss, 2s-4s, 2ss-4ss, 5s, 5ss-7ss, 7s, 8ss, Dismissed by USA; Count(s) 1sss, Defendant
                  is hereby sentenced On Count One, the defendant Azibo Aquart is sentenced to a term
                  of imprisonment of ten years with three years of supervised release.All sentences
                  imposed on Counts 1 through 8 are to run consecutively to each Count(s) 2sss-4sss,
                  Pursuant to Title 18, United States Code, Sections 3591-3597 and in accordance with
                  the Special Verdict Form (Penalty Phase) dated June 15, 2011, it is hereby ORDERED
                  that the death penalty be imposed on defendant Azibo Aquart on each of Counts Two
                  and Four.; Count(s) 3, On Count Three, the defendant Azibo Aquart is sentenced to a
                  term of life imprisonment.; On Count Six, the defendant Azibo Aquart is sentenced to a
                  term of life imprisonment. Counts 5sss-7sss, Pursuant to Title 18, United States Code,
                  Sections 3591-3597, and Title 21, United States Code, Section 848(n)(9)(1996), and in
                  accordance with the Special Verdict Form (Penalty Phase) dated June 15, 2011, it is
                  hereby ORDERED that the death penalty be imposed on defendant Azibo Aquart on
                  each of Counts Five and Seven.; Count(s) 8sss, On Count Eight, the defendant Azibo
                  Aquart is sentenced to a term of life imprisonment and supervised release for life..
                  Signed by Judge Janet Bond Arterton on 12/18/12. (Torday, B.) (Entered: 12/18/2012)
12/21/2012   1186 CJA 20 as to Nathaniel Grant: Authorization to Pay Dan E. LaBelle. Voucher #
                  120628000046-1. Final payment. Signed by Judge Janet Bond Arterton on 9/7/12.
                  (Wood, R.) (Entered: 12/21/2012)
12/21/2012   1187 CJA 20 as to Nathaniel Grant: Authorization to Pay Dan E. LaBelle. Voucher #
                  120628000046-2. Final payment. Signed by Judge Janet Bond Arterton on 9/7/12.
                  (Wood, R.) (Entered: 12/21/2012)
12/21/2012   1188 CJA 20 as to Nathaniel Grant: Authorization to Pay Dan E. LaBelle. Voucher #
                  120628000046-3. Final payment. Signed by Judge Janet Bond Arterton on 9/7/12.
                  (Wood, R.) (Entered: 12/21/2012)
12/21/2012   1189 CJA 20 as to Nathaniel Grant: Authorization to Pay Dan E. LaBelle. Voucher #
                  120628000046-4. Final payment. Signed by Judge Janet Bond Arterton on 9/7/12.
                  (Wood, R.) (Entered: 12/21/2012)
12/21/2012   1190 CJA 20 as to Nathaniel Grant: Authorization to Pay Dan E. LaBelle. Voucher #
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                    120628000046-5. Final payment. Signed by Judge Janet Bond Arterton on 9/7/12.
                    (Wood, R.) (Entered: 12/21/2012)
12/30/2012   1191 NOTICE OF APPEAL by Azibo Aquart Filing fee $ 455. (Sheehan, Michael) (Entered:
                  12/30/2012)
12/30/2012          Transmission of Notice of Appeal as to Azibo Aquart to US Court of Appeals re 1191
                    Notice of Appeal - Final Judgment (Bauer, J.) (Entered: 01/02/2013)
01/02/2013   1192 MOTION to Amend/Correct 1185 Judgment by Azibo Aquart. (Sheehan, Michael)
                  Modified on 1/4/2013 to create link(Falcone, K.). (Entered: 01/02/2013)
01/14/2013   1194 ORDER granting 1192 Motion to Amend/Correct as to Azibo Aquart (3). Signed by
                  Judge Janet Bond Arterton on 1/11/13. (Torday, B.) (Entered: 01/14/2013)
01/14/2013   1195 AMENDED JUDGMENT as to Azibo Aquart (3), Count(s) 1, 1s, 1ss, Dismiss by USA;
                  Count(s) 10ss, 10sss, 2s-4s, 2ss-4ss, 5s, 5ss-7ss, 7s, 8ss, Dismissed by USA; Count(s)
                  1sss, Defendant is hereby sentencedOn Count One, the defendant Azibo Aquart is
                  sentenced to a term of imprisonment of ten years with three years of supervised
                  release.All sentences imposed on Counts 1 through 8 are to run consecutively to each
                  other.Count(s) 2sss-4sss, Pursuant to Title 18, United States Code, Sections 3591-3597
                  and in accordance with the Special Verdict Form (Penalty Phase) dated June 15, 2011, it
                  is hereby ORDERED that the death penalty be imposed on defendant Azibo Aquart on
                  each of Counts Two and Four.; Count(s) 3, On Count Three, the defendant Azibo Aquart
                  is sentenced to a term of life imprisonment.; Count(s) 5sss-7sss, Pursuant to Title 18,
                  United States Code, Sections 3591-3597, and Title 21, United States Code, Section
                  848(n)(9)(1996), and in accordance with the Special Verdict Form (Penalty Phase) dated
                  June 15, 2011, it is hereby ORDERED that the death penalty be imposed on defendant
                  Azibo Aquart on each of Counts Five and Seven.; Count(s) 8sss, On Count Eight, the
                  defendant Azibo Aquart is sentenced to a term of life imprisonment and supervised
                  release for life. AMENDED JUDGMENTThe defendant shall pay to the United States a
                  special assessment of $100.00 on each of Counts One through Eight, for a total of $800,
                  which shall be made to the Clerk of Court from defendants earnings under the Bureau of
                  Prisons Inmate Financial Responsibility Program.Title 18, United States Code, Section
                  3013(a).
                  Signed by Judge Janet Bond Arterton on 1/11/13. (Torday, B.) (Entered: 01/14/2013)
02/14/2013   1196 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Sentencing Hearing. Held on 12/17/12 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 3/7/2013. Redacted
                  Transcript Deadline set for 3/17/2013. Release of Transcript Restriction set for
                  5/15/2013. (Montini, S.) (Entered: 02/14/2013)
02/14/2013   1197 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of Jury
                  Selection, Day Three. Held on 3/3/11 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
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                    days of this date. If no such Notice is filed, the court will assume redaction of personal
                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 3/7/2013. Redacted
                    Transcript Deadline set for 3/17/2013. Release of Transcript Restriction set for
                    5/15/2013. (Montini, S.) (Entered: 02/14/2013)
04/02/2013   1198 CJA 24 as to Azibo Aquart: Authorization to Pay Sharon Montini $ 98.55 for
                  Transcript, Voucher # 130306000072. Date of Court Hearing 12/17/12
                  Signed by Judge Janet Bond Arterton on 2/22/13. (Wood, R.) (Entered: 04/02/2013)
04/29/2013   1199 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Telephone Conference. Held on 10/26/10 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/20/2013. Redacted
                  Transcript Deadline set for 5/30/2013. Release of Transcript Restriction set for
                  7/28/2013. (Montini, S.) (Entered: 04/29/2013)
04/29/2013   1200 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Telephone Conference. Held on 11/29/10 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/20/2013. Redacted
                  Transcript Deadline set for 5/30/2013. Release of Transcript Restriction set for
                  7/28/2013. (Montini, S.) (Entered: 04/29/2013)
04/29/2013   1201 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Telephone Conference. Held on 12/11/12 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the

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                    court website at www.ctd.uscourts.gov. Redaction Request due 5/20/2013. Redacted
                    Transcript Deadline set for 5/30/2013. Release of Transcript Restriction set for
                    7/28/2013. (Montini, S.) (Entered: 04/29/2013)
04/29/2013   1202 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Telephone Conference. Held on 2/8/11 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/20/2013. Redacted
                  Transcript Deadline set for 5/30/2013. Release of Transcript Restriction set for
                  7/28/2013. (Montini, S.) (Entered: 04/29/2013)
04/29/2013   1203 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Telephone Conference. Held on 4/18/11 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/20/2013. Redacted
                  Transcript Deadline set for 5/30/2013. Release of Transcript Restriction set for
                  7/28/2013. (Montini, S.) (Entered: 04/29/2013)
05/01/2013   1204 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Hearing
                  Transcript. Held on 3/8/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/22/2013. Redacted
                  Transcript Deadline set for 6/1/2013. Release of Transcript Restriction set for
                  7/30/2013. (Montini, S.) (Entered: 05/01/2013)
05/01/2013   1205 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Status Conference. Held on 7/6/10 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal

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                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 5/22/2013. Redacted
                    Transcript Deadline set for 6/1/2013. Release of Transcript Restriction set for
                    7/30/2013. (Montini, S.) (Entered: 05/01/2013)
05/01/2013   1206 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Status Conference. Held on 8/17/10 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/22/2013. Redacted
                  Transcript Deadline set for 6/1/2013. Release of Transcript Restriction set for
                  7/30/2013. (Montini, S.) (Entered: 05/01/2013)
05/01/2013   1207 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Transcript of
                  Telephone Conference. Held on 8/19/10 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 5/22/2013. Redacted
                  Transcript Deadline set for 6/1/2013. Release of Transcript Restriction set for
                  7/30/2013. (Montini, S.) (Entered: 05/01/2013)
05/21/2013   1208 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Arraignment.
                  Held on 6/29/07 before Judge Peter C. Dorsey. Court Reporter: Suzanne Benoit.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/11/2013. Redacted
                  Transcript Deadline set for 6/21/2013. Release of Transcript Restriction set for
                  8/19/2013. (Benoit, S.) (Entered: 05/21/2013)
05/21/2013   1209 TRANSCRIPT of Proceedings: as to Azikiwe Aquart Type of Hearing: Arraignment.

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                    Held on 4/28/2009 before Judge Joan G. Martolis. Court Reporter: Suzanne Benoit.
                    IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                    identifier information from the transcript, a party must electronically file a Notice of
                    Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                    this date. If no such Notice is filed, the court will assume redaction of personal
                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 6/11/2013. Redacted
                    Transcript Deadline set for 6/21/2013. Release of Transcript Restriction set for
                    8/19/2013. (Benoit, S.) (Entered: 05/21/2013)
05/21/2013   1210 MOTION to Waive Assessment and Fine Fees and Costs by Azikiwe Aquart. (Oliver,
                  T.) (Entered: 05/22/2013)
06/06/2013   1211 Set Deadlines re Motion Hearing as to Efrain Johnson 1119 MOTION for Acquittal or,
                  In the Alternative, for a New Trial MOTION for New Trial. Motion Hearing set for
                  6/21/2013 10:00 AM in Courtroom Two, 141 Church St., New Haven, CT before Judge
                  Janet Bond Arterton (Torday, B.) (Entered: 06/06/2013)
06/21/2013   1212 Minute Entry for proceedings held before Judge Janet Bond Arterton: taking under
                  advisement 1119 Motion for Acquittal as to Efrain Johnson (4); taking under advisement
                  1119 Motion for New Trial as to Efrain Johnson (4); Motion Hearing as to Efrain
                  Johnson held on 6/21/2013 re 1119 MOTION for Acquittal or, In the Alternative, for a
                  New Trial MOTION for New Trial filed by Efrain Johnson. Total Time: 1 hours and 40
                  minutes(Court Reporter SHARON MONTINI.) (Torday, B.) (Entered: 06/24/2013)
06/24/2013   1213 RESPONSE/REPLY by Efrain Johnson -Supplement to Procedural Question Raised at
                  June 21 Hearing (Bussert, Todd) (Entered: 06/24/2013)
07/08/2013   1215 ORDER granting 1119 Motion for Acquittal as to Efrain Johnson (4); finding as moot
                  1119 Motion for New Trial as to Efrain Johnson (4). Signed by Judge Janet Bond
                  Arterton on 7/8/13. (Torday, B.) (Entered: 07/08/2013)
07/08/2013          DISMISSAL OF COUNTS as to Efrain Johnson. (Torday, B.) (Entered: 07/09/2013)
07/26/2013   1216 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Transcript of Oral
                  Argument on Defendant's Motion for Judgment of Acquittal or a New Trial. Held on
                  6/21/13 before Judge Arterton. Court Reporter: S. Montini. IMPORTANT NOTICE -
                  REDACTION OF TRANSCRIPTS: To remove personal identifier information from
                  the transcript, a party must electronically file a Notice of Intent to Request Redaction
                  with the Clerk's Office within seven (7) calendar days of this date. If no such Notice is
                  filed, the court will assume redaction of personal identifiers is not necessary and the
                  transcript will be made available through PACER without redaction 90 days from
                  today's date. The transcript may be viewed at the court public terminal or purchased
                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                  Restriction. After that date it may be obtained through PACER. The policy governing
                  the redaction of personal information is located on the court website at
                  www.ctd.uscourts.gov. Redaction Request due 8/16/2013. Redacted Transcript Deadline
                  set for 8/26/2013. Release of Transcript Restriction set for 10/24/2013. (Montini, S.)
                  (Entered: 07/26/2013)
08/06/2013   1217 NOTICE OF APPEAL by USA as to Efrain Johnson re 1215 Order on Motion for
                  Acquittal, Order on Motion for New Trial (Garguilo, B) (Entered: 08/08/2013)

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08/22/2013   1218 MOTION for sealed transcripts by Azibo Aquart. (Torday, B.) (Entered: 08/29/2013)
08/29/2013   1219 ORDER granting 1218 Motion for sealed transcripts as to Azibo Aquart (3). Signed by
                  Judge Janet Bond Arterton on 8/28/13. (Torday, B.) (Entered: 08/29/2013)
08/29/2013   1220 ORDER as to Azibo Aquart re 1218 MOTION for sealed transcripts filed by Azibo
                  Aquart
                  Signed by Judge Janet Bond Arterton on 8/28/13. (Torday, B.) (Entered: 08/29/2013)
08/30/2013   1221 ORDER as to Azikiwe Aquart re 1218 MOTION for sealed transcripts filed by Azibo
                  Aquart. Appellate counsel for Azibo Aquart are permitted to obtain and review the
                  sealed transcript of the 6/20/11 status conference in the case of Azikiwe Aquart.
                  Signed by Judge Stefan R. Underhill on 8/30/13. (Sbalbi, B.) (Entered: 08/30/2013)
09/04/2013   1222 SEALED TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing:
                  Transcript of Telephone Conference. Held on 3/4/11 before Judge Arterton. Court
                  Reporter: S. Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS:
                  To remove personal identifier information from the transcript, a party must
                  electronically file a Notice of Intent to Request Redaction with the Clerk's Office within
                  seven (7) calendar days of this date. If no such Notice is filed, the court will assume
                  redaction of personal identifiers is not necessary and the transcript will be made
                  available through PACER without redaction 90 days from today's date. The transcript
                  may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                  date it may be obtained through PACER. The policy governing the redaction of personal
                  information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                  due 9/25/2013. Redacted Transcript Deadline set for 10/5/2013. Release of Transcript
                  Restriction set for 12/3/2013. (Montini, S.) Modified on 4/11/2014 (Torday, B.).
                  (Entered: 09/04/2013)
09/20/2013   1223 MOTION to Waive Assessment, Fine Fees and Costs by Azikiwe Aquart. (Payton, R.)
                  (Entered: 09/24/2013)
09/24/2013   1224 TRANSCRIPT of Proceedings: as to Efrain Johnson Type of Hearing: Transcript of
                  Charge Conference, Volume II. Held on 2/22/12 before Judge Arterton. Court Reporter:
                  S. Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To
                  remove personal identifier information from the transcript, a party must electronically
                  file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                  calendar days of this date. If no such Notice is filed, the court will assume redaction of
                  personal identifiers is not necessary and the transcript will be made available through
                  PACER without redaction 90 days from today's date. The transcript may be viewed at
                  the court public terminal or purchased through the Court Reporter/Transcriber before the
                  deadline for Release of Transcript Restriction. After that date it may be obtained
                  through PACER. The policy governing the redaction of personal information is located
                  on the court website at www.ctd.uscourts.gov. Redaction Request due 10/15/2013.
                  Redacted Transcript Deadline set for 10/25/2013. Release of Transcript Restriction set
                  for 12/23/2013. (Montini, S.) (Entered: 09/24/2013)
11/22/2013   1225 MOTION GOVERNMENTS MOTION TO TRANSFER EVIDENCE by USA as to
                  Azibo Aquart, Efrain Johnson. (Attachments: # 1 ATTACHMENT A, # 2
                  ATTACHMENT B, # 3 ATTACHMENT C)(Markle, Peter) (Entered: 11/22/2013)
11/25/2013   1226 ORDER granting, pursunt to the parties agreement 1225 Motion to transfer evidence as
                  to Azibo Aquart (3), Efrain Johnson (4). Signed by Judge Janet Bond Arterton on
                  11/25/13. (Torday, B.) (Entered: 11/25/2013)
11/25/2013   1227 Government exhibits returned this date as to Azibo Aquart, Efrain Johnson: (Torday, B.)

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                    Modified on 12/2/2013 (Torday, B.). (Entered: 11/27/2013)
02/19/2014   1228 MOTION to transfer defense trial exhibits to appellate counsel by Azibo Aquart.
                  (Torday, B.) Modified on 2/20/2014 (Torday, B.). (Entered: 02/20/2014)
02/20/2014   1229 ORDER granting 1228 Motion to transfer defense trial exhibits to appellate counsel as
                  to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 2/19/14. (Torday, B.)
                  (Entered: 02/20/2014)
03/21/2014   1233 MANDATE of USCA dated 3/21/2014 Withdrawing re 1217 Notice of Appeal - Final
                  Judgment as toEfrain Johnson (Payton, R.) (Entered: 05/05/2014)
03/25/2014   1230 Defendant trial exhibits returned as to Azibo Aquart: (Torday, B.) (Entered: 03/26/2014)
04/04/2014   1231 MOTION to transmit sealed documents to appellate counsel by Azibo Aquart. (Torday,
                  B.) (Entered: 04/04/2014)
04/04/2014   1232 ORDER granting 1231 Motion to transmit sealed documents as to Azibo Aquart (3).
                  Signed by Judge Janet Bond Arterton on 4/4/14. (Torday, B.) (Entered: 04/04/2014)
06/03/2014   1234 ORDER denying 1210 Motion waive fees as to Azikiwe Aquart (1); denying 1223
                  Motion waive fees as to Azikiwe Aquart (1). The court has no authority to revise the
                  sentence at this point. Signed by Judge Stefan R. Underhill on 6/3/14. (Sbalbi, B.)
                  (Entered: 06/03/2014)
06/16/2014   1235 MOTION for Modification re: Inmate Financial Responsibility Program Court Payment
                  by Azikiwe Aquart. (Payton, R.) (Entered: 06/18/2014)
10/15/2014   1236 CORRECTED TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing:
                  Trial Transcript, Volume XIV. Held on 5/11/11 before Judge Arterton. Court Reporter:
                  S. Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To
                  remove personal identifier information from the transcript, a party must electronically
                  file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                  calendar days of this date. If no such Notice is filed, the court will assume redaction of
                  personal identifiers is not necessary and the transcript will be made available through
                  PACER without redaction 90 days from today's date. The transcript may be viewed at
                  the court public terminal or purchased through the Court Reporter/Transcriber before the
                  deadline for Release of Transcript Restriction. After that date it may be obtained
                  through PACER. The policy governing the redaction of personal information is located
                  on the court website at www.ctd.uscourts.gov. Redaction Request due 11/5/2014.
                  Redacted Transcript Deadline set for 11/15/2014. Release of Transcript Restriction set
                  for 1/13/2015. (Montini, S.) (Entered: 10/15/2014)
12/11/2014   1237 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXIV. Held on 6/1/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                  Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)

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12/11/2014   1238 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Penalty Phase
                  Charge Conference, Volume I. Held on 6/6/11 before Judge Arterton. Court Reporter: S.
                  Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                  Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1239 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Penalty Phase
                  Charge Conference, Volume II. Held on 6/7/11 before Judge Arterton. Court Reporter:
                  S. Montini. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To
                  remove personal identifier information from the transcript, a party must electronically
                  file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                  calendar days of this date. If no such Notice is filed, the court will assume redaction of
                  personal identifiers is not necessary and the transcript will be made available through
                  PACER without redaction 90 days from today's date. The transcript may be viewed at
                  the court public terminal or purchased through the Court Reporter/Transcriber before the
                  deadline for Release of Transcript Restriction. After that date it may be obtained
                  through PACER. The policy governing the redaction of personal information is located
                  on the court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015.
                  Redacted Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1240 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXV. Held on 6/2/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                  Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1241 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXVI. Held on 6/3/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
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                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                    Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                    3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1242 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXIX. Held on 6/13/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                  Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1243 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXX. Held on 6/14/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                  Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1244 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXXI. Held on 6/15/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                  Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1245 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXVII. Held on 6/6/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of

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                    this date. If no such Notice is filed, the court will assume redaction of personal
                    identifiers is not necessary and the transcript will be made available through PACER
                    without redaction 90 days from today's date. The transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER. The policy governing the redaction of personal information is located on the
                    court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                    Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                    3/11/2015. (Montini, S.) (Entered: 12/11/2014)
12/11/2014   1246 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Trial Transcript,
                  Volume XXVIII. Held on 6/7/11 before Judge Arterton. Court Reporter: S. Montini.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 1/1/2015. Redacted
                  Transcript Deadline set for 1/11/2015. Release of Transcript Restriction set for
                  3/11/2015. (Montini, S.) (Entered: 12/11/2014)
06/01/2015   1247 TRANSCRIPT of Proceedings: as to Azikiwe Aquart Type of Hearing: Change of Plea
                  Hearing. Held on 8/26/11 before Judge Stefan R. Underhill. Court Reporter: Susan E.
                  Catucci. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove
                  personal identifier information from the transcript, a party must electronically file a
                  Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                  days of this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/22/2015. Redacted
                  Transcript Deadline set for 7/2/2015. Release of Transcript Restriction set for
                  8/30/2015. (Catucci, S.) (Entered: 06/01/2015)
06/01/2015   1248 TRANSCRIPT of Proceedings: as to Azikiwe Aquart Type of Hearing: Sentencing.
                  Held on 12/12/11 before Judge Stefan R. Underhill. Court Reporter: Susan E. Catucci.
                  IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: To remove personal
                  identifier information from the transcript, a party must electronically file a Notice of
                  Intent to Request Redaction with the Clerk's Office within seven (7) calendar days of
                  this date. If no such Notice is filed, the court will assume redaction of personal
                  identifiers is not necessary and the transcript will be made available through PACER
                  without redaction 90 days from today's date. The transcript may be viewed at the court
                  public terminal or purchased through the Court Reporter/Transcriber before the deadline
                  for Release of Transcript Restriction. After that date it may be obtained through
                  PACER. The policy governing the redaction of personal information is located on the
                  court website at www.ctd.uscourts.gov. Redaction Request due 6/22/2015. Redacted
                  Transcript Deadline set for 7/2/2015. Release of Transcript Restriction set for
                  8/30/2015. (Catucci, S.) (Entered: 06/01/2015)

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09/25/2015   1249 ATTORNEY APPEARANCE: Sean Joseph Bolser appearing for Azibo Aquart (Bolser,
                  Sean) (Entered: 09/25/2015)
09/29/2015   1250 MOTION Perpetuate Evidence by Azibo Aquart. (Attachments: # 1 Exhibit Declaration
                  of Robson F. Storey, Ph.D., # 2 Text of Proposed Order)(Bolser, Sean) (Entered:
                  09/29/2015)
11/23/2015   1251 ORDER granting 1250 Motion to Perpetuate Evidence. Signed by Judge Janet Bond
                  Arterton on 11/23/15. (Tooker, A.) (Entered: 11/23/2015)
11/24/2015   1252 MOTION for Reconsideration re 1251 Order on Motion for Miscellaneous Relief by
                  USA as to Azibo Aquart. (Rodriguez-Coss, Jacabed) (Entered: 11/24/2015)
11/25/2015   1253 ORDER as to Azibo Aquart, (Defendant's Response to Motion 1252 , due by 12/8/2015)
                  Signed by Judge Janet Bond Arterton on 11/25/15. (Tooker,A.) (Entered: 11/25/2015)
12/04/2015   1254 MOTION for Extension of Time to File Response/Reply as to 1252 MOTION for
                  Reconsideration re 1251 Order on Motion for Miscellaneous Relief , 1253 Order,
                  Set/Reset Motion and R&R Deadlines/Hearings until December 15, 2015 by Azibo
                  Aquart. (Bolser, Sean) (Entered: 12/04/2015)
12/08/2015   1255 ORDER: Defendant's Motion 1254 for Extension of Time to File Response to
                  Government's Motion 1252 for Reconsideration is GRANTED.(Poueymirou, M)
                  (Entered: 12/08/2015)
12/08/2015         Set Deadline re Motion or Report and Recommendation in case as to Azibo Aquart 1252
                   MOTION for Reconsideration re 1251 Order on Motion for Miscellaneous Relief .
                   Responses due by 12/15/2015 (LaMura, K.) (Entered: 12/08/2015)
12/15/2015   1256 Memorandum in Opposition by Azibo Aquart re 1252 MOTION for Reconsideration re
                  1251 Order on Motion for Miscellaneous Relief (Bolser, Sean) (Entered: 12/15/2015)
12/23/2015   1257 REPLY TO RESPONSE to Motion by USA as to Azibo Aquart re 1254 MOTION for
                  Extension of Time to File Response/Reply as to 1252 MOTION for Reconsideration re
                  1251 Order on Motion for Miscellaneous Relief , 1253 Order, Set/Reset Motion and
                  R&R Deadlines/Hearings until December 15, 2015 (Rodriguez-Coss, Jacabed) (Entered:
                  12/23/2015)
01/27/2016   1258 ORDER: The Government's Motion for Reconsideration is DENIED 1252 .
                  (Poueymirou, M) (Entered: 01/27/2016)
04/29/2016   1259 MOTION to Compel by Azibo Aquart. (Attachments: # 1 Text of Proposed Order)
                  (Bolser, Sean) (Entered: 04/29/2016)
05/03/2016   1260 Memorandum in Opposition by USA as to Azibo Aquart re 1259 MOTION to Compel
                  (Attachments: # 1 Exhibit Email, # 2 Exhibit Email Communications, # 3 Exhibit
                  Email)(Rodriguez-Coss, Jacabed) (Entered: 05/03/2016)
05/05/2016   1261 ORDER granting 1259 Motion to Compel Compliance as to Azibo Aquart. Signed by
                  Judge Janet Bond Arterton on 5/5/16. (Tooker, A.) (Entered: 05/05/2016)
05/16/2016   1262 ORDER as to Efrain Johnson
                  Signed by Judge Alexandra D. DiPentima on 5/12/2016. (Villano, P.) (Entered:
                  05/17/2016)
09/14/2016   1263 ORDER STAYING DEATH SENTENCE as to Azibo Aquart
                  Signed by Judge Janet Bond Arterton on 9/13/2016. (Villano, P.) (Entered: 09/14/2016)
03/29/2017   1264 MOTION for Tracy L. Dayton to Withdraw as Attorney by USA as to Azibo Aquart.
                  (Dayton, Tracy) (Entered: 03/29/2017)
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03/30/2017   1265 ORDER granting 1264 Motion to Withdraw as Attorney. Tracy L. Dayton withdrawn
                  from case. as to Azibo Aquart (3). Signed by Judge Janet Bond Arterton on 3/30/2017.
                  (Villano, P.) (Entered: 03/30/2017)
04/21/2017   1266 ORDER denying as moot 1235 MOTION for Modification of Inmate Financial
                  Responsibility with regard to Azikiwe Aquart (1). Signed by Judge Stefan R. Underhill
                  on 04/21/2017. (Jamieson, K) (Entered: 04/21/2017)
12/20/2018   1267 ORDER of USCA (certified copy) as to Azibo Aquart re 1191 Notice of Appeal - Final
                  Judgment. For the reasons stated, the judgment of conviction is AFFIRMED as to
                  defendants guilt; his capital sentence is VACATED and the case is REMANDED for a
                  new penalty proceeding consistent with this opinion. (Freberg, B) (Entered: 01/02/2019)
03/22/2019   1268 MANDATE of USCA dated 3/22/2019 affirming the District Court's conviction,
                  vacating the sentence, and remanding for a new penalty proceeding re 1191 Notice of
                  Appeal - Final Judgment as to Azibo Aquart (Reis, Julia) (Entered: 03/28/2019)
06/07/2019   1269 ORDER: The Court will conduct a telephonic status conference on Tuesday, June 18,
                  2019 at 4:30 p.m. as to Azibo Aquart. The Government shall initiate the call to
                  chambers' conference line: 203-773-2737. Signed by Judge Janet Bond Arterton on
                  6/7/19. (Kolker, J.) (Entered: 06/07/2019)
06/19/2019   1270 SCHEDULING ORDER as to Azibo Aquart
                  Signed by Judge Janet Bond Arterton on 06/19/19. (Barry, Donna) (Entered:
                  06/21/2019)
06/19/2019   1271 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. Telephonic Status Conference
                  set for 11/18/2019 at 10:00 AM before Judge Janet Bond Arterton. The Government
                  shall initiate the conference call to chambers at 203-773-2737. (Barry, Donna) (Entered:
                  06/21/2019)
11/18/2019   1272 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  Status Conference as to Azibo Aquart held on 11/18/2019
                  Total Time: 1 hour (Court Reporter Melissa Cianciullo) (Barry, Donna) (Entered:
                  11/18/2019)
11/18/2019   1273 SCHEDULING ORDER as to Azibo Aquart.
                  Telephonic Status Conference set for 1/29/2020 at 04:00 PM before Judge Janet Bond
                  Arterton.
                  Signed by Judge Janet Bond Arterton on 11/18/19. (Barry, Donna) (Entered:
                  11/19/2019)
11/20/2019   1274 ATTORNEY APPEARANCE Elena Lalli Coronado appearing for USA (Coronado,
                  Elena) (Entered: 11/20/2019)
01/22/2020   1275 ORDER as to Azibo Aquart:
                  Upon consideration of the contents of Attorney Van Ness' correspondence dated January
                  21, 2020, the Court agrees that the status conference scheduled for January 29, 2020
                  should be postponed to allow the described activities by defense and government to be
                  completed. An amended scheduling order will follow.
                  Signed by Judge Janet Bond Arterton on 01/22/20. (Barry, Donna) (Entered:
                  01/22/2020)
01/22/2020   1276 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE.

                    RESET FROM 01/29/20 - A telephonic status conference will be held on March 18,
                                                GA121
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                    2020 at 4:00 p.m. The Government shall initiate the conference call to chambers.(Barry,
                    Donna) (Entered: 01/22/2020)
03/16/2020   1277 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.

                    RESET FROM 03/18/20 - Telephonic Status Conference reset for 5/18/2020 at 03:00
                    PM before Judge Janet Bond Arterton. The Government shall initiate the call to
                    Chambers, 203-773-2737. (Barry, Donna) (Entered: 03/16/2020)
05/15/2020   1279 EX PARTE Application for Appointment of New Counsel by Azibo Aquart. (Barry,
                  Donna) (Entered: 07/15/2020)
05/18/2020          The parties telephonic status conference set down for today, May 18, 2020 at 3:00 p.m.
                    will be held by conference call as follows: 1-877-402-9753; access code: 3535720.
                    (Tooker, Aimee) (Entered: 05/18/2020)
05/18/2020   1278 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  TelephonicStatus Conference as to Azibo Aquart held on 5/18/2020
                  Total Time: 30 minutes (Court Reporter Melissa Cianciullo) (Barry, Donna) (Entered:
                  06/08/2020)
07/15/2020   1280 ORDER granting 1279 ExParte Application as to Azibo Aquart (3) appointing Monica
                  Foster as lead counsel, Marc Bookman as learned counsel and David Moraghan as local
                  counsel. Counsel shall file their appearances forthwith.
                  Signed by Judge Janet Bond Arterton on 05/18/20. (Barry, Donna) Modified on
                  7/17/2020 - corrected spelling of Attorney Moraghan's last name (Barry, Donna).
                  (Entered: 07/15/2020)
07/15/2020   1281 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                  Telephonic Status Conference set for 7/17/2020 at 11:00 a.m. before Judge Janet Bond
                  Arterton. Parties shall join the conference by dialing 1-877-402-9753, access code
                  3535720#. (Barry, Donna) (Entered: 07/15/2020)
07/15/2020   1282 MOTION for Michael O. Sheehan to Withdraw as Attorney by Azibo Aquart. (Sheehan,
                  Michael) (Entered: 07/15/2020)
07/16/2020   1283 ATTORNEY APPEARANCE: Marc Bookman appearing for Azibo Aquart (Bookman,
                  Marc) (Entered: 07/16/2020)
07/16/2020   1284 ORDER granting 1282 Motion to Withdraw as Attorney. Michael O. Sheehan
                  withdrawn from case as to Azibo Aquart (3).
                  Signed by Judge Janet Bond Arterton on 07/16/20. (Barry, Donna) (Entered:
                  07/16/2020)
07/17/2020   1285 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                  TIME CHANGE ONLY - Telephonic Status Conference reset for 7/17/2020 at 12:00
                  p.m. before Judge Janet Bond Arterton. Parties shall join the conference by dialing 1-
                  877-402-9753, access code 3535720#. (Barry, Donna) (Entered: 07/17/2020)
07/17/2020   1286 ATTORNEY APPEARANCE: Monica Foster appearing for Azibo Aquart (Foster,
                  Monica) (Entered: 07/17/2020)
07/17/2020   1287 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  Telephonic Status Conference as to Azibo Aquart held on 7/17/2020

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                    Total Time: 28 minutes (Court Reporter Melissa Cianciullo) (Barry, Donna) (Entered:
                    07/17/2020)
07/17/2020   1288 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                  Telephonic Status Conference set for 9/18/2020 at 10:00 AM before Judge Janet Bond
                  Arterton. Parties shall join the conference by dialing 1-877-402-9753, access code
                  3535720#. (Barry, Donna) (Entered: 07/17/2020)
07/17/2020   1289 ATTORNEY APPEARANCE: David A. Moraghan appearing for Azibo Aquart
                  (Moraghan, David) (Entered: 07/17/2020)
07/17/2020   1290 MOTION for Justin T. Smith to Withdraw as Attorney by Azibo Aquart. (Smith, Justin)
                  (Entered: 07/17/2020)
07/21/2020   1291 ORDER granting 1290 Motion for Attorney Justin T. Smith to Withdraw as Attorney for
                  Azibo Aquart (3).
                  Signed by Judge Janet Bond Arterton on 07/21/20. (Barry, Donna) (Entered:
                  07/22/2020)
09/17/2020   1292 NOTICE of Status Report by Azibo Aquart as to Azikiwe Aquart, Nathaniel Grant,
                  Azibo Aquart, Efrain Johnson (Moraghan, David) (Entered: 09/17/2020)
09/17/2020   1293 STATUS REPORT by USA as to Azibo Aquart (Markle, Peter) (Entered: 09/17/2020)
09/18/2020   1294 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  Status Conference as to Azibo Aquart held on 9/18/2020.
                  After colloquy with counsel on the record, the appearances of Attorneys Bolser, Van
                  Ness, Caruso, Hall, Mosley, Reynolds and Rodriguez-Coss were terminated.

                    A status conference was set for January 19, 2021 at 10:00 a.m., a calendar shall follow.
                    Status reports are due January 12, 2021.
                    Total Time: 43 minutes (Court Reporter Melissa Cianciullo) (Barry, Donna) (Entered:
                    09/18/2020)
09/18/2020          Attorney update in case as to Azibo Aquart:
                    Attorney H. Gordon Hall; Julie B. Mosley; Alina Reynolds; Jacabed Rodriguez-Coss;
                    Beverly Van Ness; Sean Joseph Bolser and Patrick F. Caruso terminated. (Barry, Donna)
                    (Entered: 09/18/2020)
09/18/2020   1295 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE.
                  A telephonic status conference is set for 1/19/2021 at 10:00 a.m. before Judge Janet
                  Bond Arterton. Parties shall call 877-402-9753 and use access code 3535720# to
                  participate. (Barry, Donna) (Entered: 09/18/2020)
09/25/2020   1296 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Telephonic Status
                  Conference. Held on 07/17/2020 before Judge Janet Bond Arterton. Court Reporter:
                  Melissa J. Cianciullo. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS:
                  To remove personal identifier information from the transcript, a party must
                  electronically file a Notice of Intent to Request Redaction with the Clerk's Office within
                  seven (7) calendar days of this date. If no such Notice is filed, the court will assume
                  redaction of personal identifiers is not necessary and the transcript will be made
                  available through PACER without redaction 90 days from today's date. The transcript
                  may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                  date it may be obtained through PACER. The policy governing the redaction of personal
                  information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                                                GA123
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                    due 10/16/2020. Redacted Transcript Deadline set for 10/26/2020. Release of Transcript
                    Restriction set for 12/24/2020. (Cianciullo, Melissa) (Entered: 09/25/2020)
12/22/2020   1297 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE.

                    A telephonic conference concerning a status report by the government is set for
                    12/22/2020 at 11:00 a.m. before Judge Janet Bond Arterton. The parties shall call 877-
                    402-9753 and use access code 3535720# to participate. (Barry, Donna) (Entered:
                    12/22/2020)
12/22/2020   1298 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  Telephonic Status Conference as to Azibo Aquart held on 12/22/2020
                  Total Time: 24 minutes (Court Reporter Melissa Cianciullo) (Barry, Donna) (Entered:
                  12/22/2020)
01/13/2021   1299 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Telephonic Status
                  Conference. Held on 12/22/2020 before Judge Janet Bond Arterton. Court Reporter:
                  Melissa J. Cianciullo. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS:
                  To remove personal identifier information from the transcript, a party must
                  electronically file a Notice of Intent to Request Redaction with the Clerk's Office within
                  seven (7) calendar days of this date. If no such Notice is filed, the court will assume
                  redaction of personal identifiers is not necessary and the transcript will be made
                  available through PACER without redaction 90 days from today's date. The transcript
                  may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                  date it may be obtained through PACER. The policy governing the redaction of personal
                  information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                  due 2/3/2021. Redacted Transcript Deadline set for 2/13/2021. Release of Transcript
                  Restriction set for 4/13/2021. (Cianciullo, Melissa) (Entered: 01/13/2021)
01/19/2021          The parties' telephonic status conference set down for 1/19/21 a 11:00 a.m. has been
                    rescheduled to 3/22/2021 at 11:00 a.m. as follows: 1-877-402-9753; acces code:
                    3535720. Joint Status Report shall be filed 1/29/21 regarding logistics of the
                    Defendant's sentencing.(Tooker, Aimee) (Entered: 01/19/2021)
01/19/2021   1300 MOTION to Continue Conference by Azibo Aquart. (Moraghan, David) (Entered:
                  01/19/2021)
01/20/2021   1301 ORDER granting 1300 Motion to Continue as to Azibo Aquart (3). See text entry dated
                  1/19/21. Signed by Judge Janet Bond Arterton on 1/20/21. (Tooker, Aimee) (Entered:
                  01/20/2021)
01/29/2021   1302 NOTICE Joint Status Report by Azibo Aquart (Moraghan, David) (Entered:
                  01/29/2021)
03/02/2021   1303 ORDER as to Azibo Aquart:
                  At a status conference held on December 22, 2020, the government advised that the
                  Attorney General approved deauthorization in the case against Azibo Aquart and
                  directed the U.S. Attorney's Office to withdraw the death penalty claim against him.
                  This Court now designates this a mega-case. Attorneys Bookman's and Moraghan's
                  request to continue to represent Mr. Aquart to sentencing is approved. CJA counsel must
                  request on or before 05/03/21 a case budget from Alan Nelson, Second Circuit CJA
                  Case Budgeting Attorney. Attorney Nelson can be contacted at
                  Alan_Nelson@ca2.uscourts.gov. The Court will not consider any voucher for a
                  Defendant for whom a budget has not been approved.

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                    Signed by Judge Janet Bond Arterton on 03/02/21. (Barry, Donna) (Entered:
                    03/02/2021)
03/22/2021   1304 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  TelephonicStatus Conference as to Azibo Aquart held on 3/22/2021
                  Total Time: 24 minutes (Court Reporter Melissa Cianciullo) (Barry, Donna) (Entered:
                  03/24/2021)
03/22/2021   1305 SENTENCING SCHEDULING ORDER:
                  All motions relating to sentencing due 06/01/2021, Government Responses due
                  06/15/2021
                  A telephonic status conference is set for 6/28/2021 at 10:00 a.m. Counsel shall call 877-
                  402-9753 and use access code 3535720# to participate.

                    NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                    NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                    THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.

                    Sentencing set for 8/5/2021 at 10:00 a.m. in Courtroom Two, 141 Church St., New
                    Haven, CT before Judge Janet Bond Arterton (Barry, Donna) (Entered: 03/24/2021)
03/25/2021   1306 MOTION for Extension of Time Sentencing until August 9, 2021, MOTION for Leave
                  to File by USA as to Azibo Aquart. (Markle, Peter) (Entered: 03/25/2021)
03/26/2021   1307 ORDER granting 1306 Motion for Extension of Time as to Azibo Aquart (3).
                  Signed by Judge Janet Bond Arterton on 03/26/21. (Barry, Donna) (Entered:
                  04/02/2021)
03/26/2021   1308 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.

                    RESET FROM 08/05/21 - Sentencing is reset for 8/9/2021 at 10:00 a.m. in Courtroom
                    Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton (Barry, Donna)
                    (Entered: 04/02/2021)
04/14/2021   1309 TRANSCRIPT of Proceedings: as to Azibo Aquart Type of Hearing: Telephonic Status
                  Conference. Held on 3/22/2021 before Judge Janet Bond Arterton. Court Reporter:
                  Melissa J. Cianciullo. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS:
                  To remove personal identifier information from the transcript, a party must
                  electronically file a Notice of Intent to Request Redaction with the Clerk's Office within
                  seven (7) calendar days of this date. If no such Notice is filed, the court will assume
                  redaction of personal identifiers is not necessary and the transcript will be made
                  available through PACER without redaction 90 days from today's date. The transcript
                  may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                  date it may be obtained through PACER. The policy governing the redaction of personal
                  information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                  due 5/5/2021. Redacted Transcript Deadline set for 5/15/2021. Release of Transcript
                  Restriction set for 7/13/2021. (Cianciullo, Melissa) (Entered: 04/14/2021)
06/02/2021   1310 MOTION to Dismiss VICAR Counts and Accompanying Memorandum of Law by Azibo
                  Aquart. (Bookman, Marc) (Entered: 06/02/2021)
06/02/2021   1311 MOTION for Leave to File and for the Court to Accept Motions Regarding
                  Resentencing Filed One Day Late by Azibo Aquart. (Bookman, Marc) (Entered:
                  06/02/2021)
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06/02/2021   1312 MOTION to Dismiss Counts Five, Six, and Seven and for Resentencing on Count Eight
                  by Azibo Aquart. (Bookman, Marc) (Entered: 06/02/2021)
06/06/2021   1313 NOTICE of Intent to Adopt Aquart's Pro Se "Defendant's Motion to Dismiss Original
                  and All Superseding Indictments for Speedy Trial Violations and Due Process
                  Concerns" by Azibo Aquart (Attachments: # 1 Exhibit A- Pro Se Motion for Leave to
                  File Additional Motion Pro Se for Consideration at Resentencing Hearing, # 2 Exhibit
                  B- Pro Se Defendant's Motion to Dismiss Original and all Superseding Indictments for
                  Speedy Trial Violations and Due Process Concerns)(Bookman, Marc) (Entered:
                  06/06/2021)
06/11/2021   1314 NOTICE CORRECTED NOTICE OF INTENT TO ADOPT AQUART'S PRO SE
                  "Defendants Motion to Dismiss Original and All Superseding Indictments For Speedy
                  Trial Violations and Due Process Concerns" by Azibo Aquart (Attachments: # 1 Exhibit
                  A, # 2 Exhibit B)(Foster, Monica) (Entered: 06/11/2021)
06/15/2021   1315 MOTION for Extension of Time to File Response/Reply as to 1313 Notice (Other),,
                  1310 MOTION to Dismiss VICAR Counts and Accompanying Memorandum of Law,
                  1312 MOTION to Dismiss Counts Five, Six, and Seven and for Resentencing on Count
                  Eight until June 18, 2021 by USA as to Azibo Aquart. (Coronado, Elena) (Entered:
                  06/15/2021)
06/18/2021   1316 Memorandum in Opposition by USA as to Azibo Aquart re 1310 MOTION to Dismiss
                  VICAR Counts and Accompanying Memorandum of Law, 1312 MOTION to Dismiss
                  Counts Five, Six, and Seven and for Resentencing on Count Eight and re Adopted Pro
                  Se Motion to Dismiss (Coronado, Elena) (Entered: 06/18/2021)
06/23/2021   1317 NOTICE of Intent to File Replies and Withdrawal of Request for Oral Argument by
                  Azibo Aquart (Bookman, Marc) (Entered: 06/23/2021)
06/28/2021   1318 ORDER granting 1311 Motion for Leave to File as to Azibo Aquart (3), nunc pro tunc.
                  Signed by Judge Janet Bond Arterton on 6/28/21. (Tooker, Aimee) (Entered:
                  06/28/2021)
06/28/2021   1319 TRANSCRIPT of Proceedings: as to Azibo Aquart. Type of Hearing: Telephonic Status
                  Conference held on June 28, 2021 before Judge Janet Bond Arterton. Court Reporter:
                  Corinna F. Thompson. IMPORTANT NOTICE - REDACTION OF
                  TRANSCRIPTS: To remove personal identifier information from the transcript, a party
                  must electronically file a Notice of Intent to Request Redaction with the Clerk's Office
                  within seven (7) calendar days of this date. If no such Notice is filed, the court will
                  assume redaction of personal identifiers is not necessary and the transcript will be made
                  available through PACER without redaction 90 days from today's date. The transcript
                  may be viewed at the court public terminal or purchased through the Court
                  Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                  date it may be obtained through PACER. The policy governing the redaction of personal
                  information is located on the court website at www.ctd.uscourts.gov. Redaction Request
                  due 7/19/2021. Redacted Transcript Deadline set for 7/29/2021. Release of Transcript
                  Restriction set for 9/26/2021. (Thompson, C.) (Entered: 06/28/2021)
06/28/2021   1323 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  Status Conference as to Azibo Aquart held on 6/28/2021
                  Total Time: 22 minutes (Court Reporter Corinna Thompson) (Barry, Donna) (Entered:
                  06/29/2021)
06/29/2021   1320 AMENDED TRANSCRIPT of Proceedings: as to Azibo Aquart. Type of Hearing:
                  Amended Transcript of Telephonic Status Conference held on June 28, 2021 before
                  Judge Janet Bond Arterton. Court Reporter: Corinna F. Thompson. IMPORTANT

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                    NOTICE - REDACTION OF TRANSCRIPTS: To remove personal identifier
                    information from the transcript, a party must electronically file a Notice of Intent to
                    Request Redaction with the Clerk's Office within seven (7) calendar days of this date. If
                    no such Notice is filed, the court will assume redaction of personal identifiers is not
                    necessary and the transcript will be made available through PACER without redaction
                    90 days from today's date. The transcript may be viewed at the court public terminal or
                    purchased through the Court Reporter/Transcriber before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER. The policy
                    governing the redaction of personal information is located on the court website at
                    www.ctd.uscourts.gov. Redaction Request due 7/20/2021. Redacted Transcript Deadline
                    set for 7/30/2021. Release of Transcript Restriction set for 9/27/2021. (Thompson, C.)
                    (Entered: 06/29/2021)
06/29/2021   1321 SCHEDULING ORDER as to Azibo Aquart: Pursuant to the colloquy with counsel on
                  the record June 28, 2021, the following is ordered: (1) Initial PSR disclosure 8/9/21. (2)
                  Objections 8/23/21. (3) Final disclosure 9/2/21. (4) Defendants memorandum in aid of
                  sentencing due 9/6/21; Governments sentencing memorandum due 9/13/21; replies, if
                  any, due 9/16/21. (5) Sentencing set down for 9/20/21 at 11:00 a.m., Courtroom Two.
                  Signed by Judge Janet Bond Arterton on 6/29/21. (Tooker, Aimee) (Entered:
                  06/29/2021)
06/29/2021          Set/Reset Deadlines/Hearings as to Azibo Aquart: Sentencing set for 9/20/2021 11:00
                    AM in Courtroom Two, 141 Church St., New Haven, CT before Judge Janet Bond
                    Arterton (Tooker, Aimee) (Entered: 06/29/2021)
06/29/2021   1322 MOTION for Extension of Time to File Response/Reply until July 16, 2021 by Azibo
                  Aquart. (Bookman, Marc) (Entered: 06/29/2021)
06/29/2021   1324 AMENDED SENTENCING SCHEDULING ORDER as to Azibo Aquart.
                  First Disclosure-PSI due 8/9/21, Objections Due 8/23/21, 2nd-Disclosure PSI due
                  9/2/21, Defendant's Sentencing Memorandum due 9/6/21, Government's Sentencing
                  Memorandum due 9/13/21, Replies, if any, due 9/16/21
                  Sentencing reset for 9/20/2021 at 11:00 a.m. in Courtroom Two, 141 Church St., New
                  Haven, CT before Judge Janet Bond Arterton.
                  Signed by Judge Janet Bond Arterton on 6/29/21. (Barry, Donna) (Entered: 06/29/2021)
07/01/2021   1325 ORDER granting 1315 Motion for Extension of Time to File Response/Reply as to
                  Azibo Aquart, nunc pro tunc and absent objection, to 6/18/21 (3); granting 1322 Motion
                  for Extension of Time to File Response/Reply as to Azibo Aquart (3), absent objection,
                  to 7/16/21. Signed by Judge Janet Bond Arterton on 7/1/21. (Tooker, Aimee) (Entered:
                  07/01/2021)
07/14/2021   1326 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.

                    RESET FROM 9/20/21 - Sentencing is reset for 9/22/2021 at 11:00 a.m. in Courtroom
                    Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton. (Barry,
                    Donna) (Entered: 07/16/2021)
07/16/2021   1327 RESPONSE/REPLY by Azibo Aquart re 1316 Memorandum in Opposition to Motion,
                  (Attachments: # 1 Exhibit 1)(Bookman, Marc) (Entered: 07/16/2021)
07/16/2021   1328 MOTION for Leave to File Consolidated Reply Memorandum by Azibo Aquart.
                  (Bookman, Marc) (Entered: 07/16/2021)
07/20/2021          NOTICE regarding hearing via Zoom as to Azibo Aquart:

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                    Defendant and all counsel shall appear in person for the sentencing scheduled for
                    9/22/2021 at 11:00 a.m. Interested parties and members of the public are invited to use
                    the following information to participate in and observe this hearing.

                    Video link is https://www.zoomgov.com/j/1608636126?
                    pwd=ZUYrVTVyc2NJWXl0Znc3N1h2UWJZdz09
                    Call in number: 646-828-7666
                    Meeting ID: 160 863 6126
                    Meeting Password: 801068

                    Please note: Persons granted remote access to proceedings are reminded of the general
                    prohibition against photographing, recording, screenshots, streaming, and
                    rebroadcasting in any form, of court proceedings. The Judicial Conference of the United
                    States, which governs the practices of the federal courts, has prohibited it. Violation of
                    these prohibitions may result in sanctions, including removal of court issued media
                    credentials, restricted entry to future hearings, denial of entry to future hearings, or any
                    other sanctions deemed necessary by the court. (Barry, Donna) (Entered: 07/20/2021)
07/22/2021   1329 ORDER granting Defendant Azibo Aquart's Motion for Leave (Doc. 1328 ) to accept
                  consolidated reply memorandum.
                  Signed by Judge Janet Bond Arterton on 7/22/21. (Barry, Donna) (Entered: 07/23/2021)
07/30/2021   1330 MOTION for Extension of Time for Scheduling deadlines by Azibo Aquart. (Moraghan,
                  David) (Entered: 07/30/2021)
08/02/2021   1331 ORDER granting 1330 Motion for Extension of Time as to Azibo Aquart (3) with
                  modifications. An amended sentencing scheduling order shall follow.
                  Signed by Judge Janet Bond Arterton on 8/2/21. (Barry, Donna) (Entered: 08/02/2021)
08/02/2021   1332 ORDER and AMENDED SENTENCING SCHEDULING ORDER as to Azibo Aquart.
                  In light of the delay of Defendant's presentence interview to August 12, 2021, following
                  his MDC transfer quarantine, Defendant's motion to extend the sentencing schedule
                  (Doc. 1330) was granted over Government's objection as modified below.

                    First Disclosure-PSI due 8/20/21, Objections due 9/03/21, 2nd-Disclosure PSI due
                    9/10/21, Defendant's Sentencing Memorandum due 9/16/21, Government's Sentencing
                    Memorandum due 9/22/21 and Replies, if any due 9/28/21
                    Sentencing reset for 10/8/2021 at 11:00 a.m. in Courtroom Two, 141 Church St., New
                    Haven, CT before Judge Janet Bond Arterton
                    Signed by Judge Janet Bond Arterton on 8/2/21. (Barry, Donna) (Entered: 08/02/2021)
08/06/2021   1333 MOTION to Continue sentencing by Azibo Aquart. (Moraghan, David) (Entered:
                  08/06/2021)
08/17/2021   1334 ORDER granting 1333 Motion to Continue the sentencing hearing as to Azibo Aquart
                  (3). Sentencing is rescheduled for October 21, 2021 at 10:00 a.m.
                  Signed by Judge Janet Bond Arterton on 8/17/21. (Barry, Donna) (Entered: 08/17/2021)
08/17/2021   1335 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING
                  THE COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION.

                    RESET FROM 10/08/21 - Sentencing is reset for 10/21/2021 at 10:00 a.m. in Courtroom
                    Two, 141 Church St., New Haven, CT before Judge Janet Bond Arterton.(Barry, Donna)
                    (Entered: 08/17/2021)
08/20/2021   1336 PRESENTENCE INVESTIGATION REPORT (Draft Report) (SEALED - government
                                                 GA128
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                    and defense counsel) as to Azibo Aquart. (available to USA, Azibo Aquart)
                    (Attachments: # 1 Fourth Superseding Indictment, # 2 Verdict Form, # 3 Financial
                    Statements)(Murphy, Michelle) (Entered: 08/20/2021)
08/31/2021   1337 MOTION for Extension of Time for disclosure dates by Azibo Aquart. (Moraghan,
                  David) (Entered: 08/31/2021)
09/01/2021   1338 ORDER granting defendant's 1337 Motion for Extension of Time over objection. No
                  further extensions will be granted. An amended scheduling order shall follow. Signed by
                  Judge Janet Bond Arterton on 9/1/2021. (Reis, Julia) (Entered: 09/02/2021)
09/01/2021   1339 AMENDED SCHEDULING ORDER as to Azibo Aquart. Objections to the 1st-
                  Disclosure PSI due 9/10/2021. 2nd-Disclosure PSI due 9/17/2021. Defendant's
                  Sentencing Memorandum due 9/24/2021. Government's Sentencing Memorandum due
                  10/1/2021. Any replies due 10/8/2021.
                  Signed by Judge Janet Bond Arterton on 9/1/2021. (Reis, Julia) (Entered: 09/02/2021)
09/07/2021   1340 MOTION to Extend Disclosure Dates by Azibo Aquart. (Gutierrez, Y.) (Entered:
                  09/08/2021)
09/17/2021   1341 PRESENTENCE INVESTIGATION REPORT (Final Report) (SEALED - government
                  and defense counsel) as to Azibo Aquart. (available to USA, Azibo Aquart)
                  (Attachments: # 1 Addendum, # 2 Objection Letter, # 3 Fourth Superseding Indictment,
                  # 4 Verdict Form, # 5 Financial Statement)(Murphy, Michelle) (Entered: 09/17/2021)
09/17/2021   1342 Sealed Sentencing Recommendation: as to Azibo Aquart (Murphy, Michelle) (Entered:
                  09/17/2021)
09/21/2021   1343 ORDER denying as moot 1340 Motion to Extend Disclosure Dates by Azibo Aquart (3).
                  Defendant's requested schedule was issued on 9/1/2021 (Doc. # 1339 ). Signed by Judge
                  Janet Bond Arterton on 9/21/2021. (Reis, Julia) (Entered: 09/22/2021)
09/24/2021   1344 MOTION to Seal Defense Sentencing Memorandum by Azibo Aquart. (Bookman,
                  Marc) (Entered: 09/24/2021)
09/24/2021   1345 SENTENCING MEMORANDUM by Azibo Aquart (Attachments: # 1 Exhibit, # 2
                  Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit)
                  (Bookman, Marc) (Entered: 09/24/2021)
10/02/2021   1346 SENTENCING MEMORANDUM by USA as to Azibo Aquart (Coronado, Elena)
                  (Entered: 10/02/2021)
10/08/2021   1347 MOTION to Reduce Sentence - First Step Act by Azibo Aquart. (Attachments: # 1
                  Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                  Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12)
                  (Bookman, Marc) (Entered: 10/08/2021)
10/08/2021   1348 RESPONSE/REPLY by Azibo Aquart re 1346 Sentencing Memorandum (Attachments:
                  # 1 Exhibit 1, # 2 Exhibit 2)(Bookman, Marc) (Entered: 10/08/2021)
10/14/2021   1349 Sealed Document: Tender of Letters of Support by Azibo Aquart - (Attachments: # 1
                  Supplement Letters of support)(Foster, Monica) (Entered: 10/14/2021)
10/14/2021   1350 NOTICE Tender of Letters of Support by Azibo Aquart (Attachments: # 1 Supplement
                  Letters of support)(Foster, Monica) (Entered: 10/14/2021)
10/14/2021   1351 NOTICE OF E-FILED CALENDAR as to Azibo Aquart: THIS IS THE ONLY
                  NOTICE COUNSEL/THE PARTIES WILL RECEIVE.

                    A Telephonic Status Conference is set for 10/18/2021 at 3:30 PM before Judge Janet
                                                 GA129
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                    Bond Arterton. 1-877-402-9753; access code: 3535720. (Reis, Julia) (Entered:
                    10/14/2021)
10/14/2021   1352 RESPONSE/REPLY by Azibo Aquart re 1314 Notice (Other), Supplemental Reply in
                  support of Speedy-Trial Motion (Bookman, Marc) (Entered: 10/14/2021)
10/18/2021   1353 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  Telephonic Status Conference and Motion Hearing as to Azibo Aquart held on
                  10/18/2021.
                  1344 Motion to Seal Defendant's Sentencing Memorandum as to Azibo Aquart (3) is
                  granted with modification. A redacted version of the Defendant's Sentencing
                  Memorandum shall be filed on the docket. The psychological report may be sealed in its
                  entirety.
                  Total time: 16 minutes (Court Reporter Corinne Thomas) (Reis, Julia) (Entered:
                  10/18/2021)
10/18/2021          NOTICE regarding hearing via Zoom as to Azibo Aquart:
                    Defendant and all counsel shall appear in person for the sentencing scheduled for
                    10/21/2021 at 10:00 a.m. Interested parties and members of the public are invited to use
                    the following information to participate in and observe this hearing.

                    The video link is https://www.zoomgov.com/j/16190030391
                    Call in number: 646-828-7666
                    Meeting ID: 161 9003 0391
                    No Passcode

                    Please note: Persons granted remote access to proceedings are reminded of the general
                    prohibition against photographing, recording, screenshots, streaming, and
                    rebroadcasting in any form, of court proceedings. The Judicial Conference of the United
                    States, which governs the practices of the federal courts, has prohibited it. Violation of
                    these prohibitions may result in sanctions, including removal of court issued media
                    credentials, restricted entry to future hearings, denial of entry to future hearings, or any
                    other sanctions deemed necessary by the court. (Reis, Julia) (Entered: 10/18/2021)
10/18/2021   1354 ORDER denying Defendant's Motion to Dismiss VICAR Counts and Accompanying
                  Mem. of Law 1310 and Defendant's Corrected Notice of Intent to Adopt Aquarts Pro Se
                  Defendants Motion to Dismiss Original and All Superseding Indictments for Speedy
                  Trial Violations and Due Process Concerns 1314 . Defendant's Motion for Resentencing
                  on Count Eight and to Dismiss Counts Five, Six, and Seven and Accompanying Mem.
                  of Law 1312 is denied as to dismissal of Counts Five through Seven and granted as to
                  resentencing on Count Eight. Signed by Judge Janet Bond Arterton on 10/18/21.
                  (Walker, M.) (Entered: 10/18/2021)
10/19/2021   1355 NOTICE Submission of Letter of Support by Azibo Aquart (Attachments: # 1
                  Supplement Letter of support)(Foster, Monica) (Entered: 10/19/2021)
10/21/2021   1356 NOTICE Addtional Objections Offered Under Fed. R. Crim. P. 32(i)(1)(D) And
                  Assertion Of Due-Process Right At Resentencing by Azibo Aquart (Attachments: # 1
                  Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                  Exhibit G, # 8 Exhibit H)(Bookman, Marc) (Entered: 10/21/2021)
10/21/2021   1359 Minute Entry for proceedings held before Judge Janet Bond Arterton:
                  Sentencing and Motion Hearing as to Azibo Aquart held on 10/21/2021.
                  1347 Motion to Reduce Sentence - First Step Act as to Azibo Aquart (3) is denied
                  without prejudice.
                  Total Time: 2 hours and 13 minutes (Court Reporter Corinne Thomas) (Reis, Julia)
                  (Entered: 10/25/2021)
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10/25/2021   1357 MOTION to Withdraw Document 1349 by Azibo Aquart. (Attachments: # 1 Text of
                  Proposed Order)(Foster, Monica) (Entered: 10/25/2021)
10/25/2021   1358 MOTION to Redact Defense Sentencing Memorandum by Azibo Aquart. (Foster,
                  Monica) (Entered: 10/25/2021)
10/28/2021   1360 ORDER granting 1357 Motion to Withdraw Document as to Azibo Aquart (3). The
                  Clerk shall unseal document 1349 . Signed by Judge Janet Bond Arterton on
                  10/28/2021. (Reis, Julia) (Entered: 10/28/2021)
10/28/2021          Document 1349 Unsealed as to Azibo Aquart (Reis, Julia) (Entered: 10/28/2021)
10/28/2021   1361 ORDER granting 1358 Motion to Redact Defense Sentencing Memorandum as to Azibo
                  Aquart (3). Defense counsel is directed to file a redacted sentencing memorandum on
                  the public docket. Signed by Judge Janet Bond Arterton on 10/28/2021. (Reis, Julia)
                  (Entered: 10/28/2021)
10/28/2021   1362 NOTICE OF APPEAL by Azibo Aquart. (Moraghan, David) Modified text to remove
                  filing fee on 10/29/2021 (Gutierrez, Y.). (Entered: 10/28/2021)
10/28/2021   1363 NOTICE Criminal Appeal Transcript Information by Azibo Aquart (Moraghan, David)
                  (Entered: 10/28/2021)
10/29/2021   1364 SENTENCING MEMORANDUM by Azibo Aquart (Foster, Monica) (Entered:
                  10/29/2021)
10/29/2021          Transmission of Notice of Appeal as to Azibo Aquart to US Court of Appeals re 1362
                    Notice of Appeal - Final Judgment (Gutierrez, Y.) (Entered: 10/29/2021)
10/29/2021   1365 CLERK'S CERTIFICATE RE: INDEX AND RECORD ON APPEAL re: 1362 Notice
                  of Appeal - Final Judgment. The attached docket sheet is hereby certified as the entire
                  Index/Record on Appeal in this matter and electronically sent to the Court of Appeals,
                  with the exception of any manually filed documents as noted below. Robin D. Tabora,
                  Clerk. Documents manually filed not included in this transmission: none. (Gutierrez, Y.)
                  (Entered: 10/29/2021)
11/01/2021   1366 JUDGMENT FOLLOWING REMAND with judge's signature redacted as to Azibo
                  Aquart (3).
                  The Defendant was resentenced as to Counts 1, 2-4, 5-7, and 8 of the Fourth
                  Superseding Indictment. As to Count 1 of the Fourth Superseding Indictment, the
                  Defendant is ordered committed to custody of the Attorney General of the United States
                  to be imprisoned for a period of 10 years; supervised release for a term of 3 years. As to
                  Counts 2-4 of the Fourth Superseding Indictment, the Defendant is ordered committed
                  to custody of the Attorney General of the United States to be imprisoned for life;
                  supervised release for a term of 5 years. As to Counts 5-7 of the Fourth Superseding
                  Indictment, the Defendant is ordered committed to custody of the Attorney General of
                  the United States to be imprisoned for a period of 40 years; supervised release for a term
                  of 5 years. As to Count 8 of the Fourth Superseding Indictment, the Defendant is
                  ordered committed to custody of the Attorney General of the United States to be
                  imprisoned for a period of 40 years; supervised release for a term of 5 years. All
                  sentences of imprisonment and supervised release are to run concurrently. The
                  Defendant is ordered to pay a special assessment in the amount of $100 as to each
                  count, for a total of $800, to be paid to the Clerk of Court.
                  Signed by Judge Janet Bond Arterton on 10/28/2021. (Reis, Julia) (Entered: 11/01/2021)
11/05/2021   1367 Statement of Reasons (SEALED - government and defense counsel) as to Azibo Aquart.
                  (available to USA, Azibo Aquart) (Sitek, J.) (Entered: 11/05/2021)

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11/12/2021   1368 TRANSCRIPT of Proceedings: as to Azikiwe Aquart, Nathaniel Grant, Azibo Aquart,
                  Efrain Johnson Type of Hearing: Resentencing. Held on 10/21/2021 before Judge Janet
                  Bond Arterton. Court Reporter: Corinne Thomas. IMPORTANT NOTICE -
                  REDACTION OF TRANSCRIPTS: To remove personal identifier information from
                  the transcript, a party must electronically file a Notice of Intent to Request Redaction
                  with the Clerk's Office within seven (7) calendar days of this date. If no such Notice is
                  filed, the court will assume redaction of personal identifiers is not necessary and the
                  transcript will be made available through PACER without redaction 90 days from
                  today's date. The transcript may be viewed at the court public terminal or purchased
                  through the Court Reporter/Transcriber before the deadline for Release of Transcript
                  Restriction. After that date it may be obtained through PACER. The policy governing
                  the redaction of personal information is located on the court website at
                  www.ctd.uscourts.gov. Redaction Request due 12/3/2021. Redacted Transcript Deadline
                  set for 12/13/2021. Release of Transcript Restriction set for 2/10/2022. (Thomas,
                  Corinne) (Entered: 11/12/2021)
12/13/2021   1369 MOTION for Peter D. Markle to Withdraw as Attorney by USA as to Azikiwe Aquart,
                  Nathaniel Grant, Azibo Aquart, Efrain Johnson. (Markle, Peter) (Entered: 12/13/2021)
12/15/2021   1370 ORDER granting 1369 Motion to Withdraw as Attorney. Attorney Peter D. Markle
                  withdrawn from case as to Nathaniel Grant (2), Azibo Aquart (3), Efrain Johnson (4).
                  Signed by Judge Janet Bond Arterton on 12/15/2021. (Reis, Julia) (Entered: 12/16/2021)



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